Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2125 Filed 01/18/22 Page 1 of 715




                         EXHIBIT A
                          Declaration of Lee Howard
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2126 Filed 01/18/22 Page 2 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2127 Filed 01/18/22 Page 3 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2128 Filed 01/18/22 Page 4 of 715




                       Howard Declaration Ex. 1
                    Expert Report Dated September 29, 2021



                     REDACTED VERSION OF DOCUMENT
           TO BE FILED UNDER SEAL PURSUANT TO LR 5.3(b)(3)(B)(iii)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2129 Filed 01/18/22 Page 5 of 715




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



   MATTHEW N. FULTON, DDS, P.C.,                         )
   individually and on behalf of all others              )
   similarly situated,                                   )
                                                         )
                       Plaintiffs,                       )   Case No. 16-cv-13777
                v.                                       )   Hon. Denise Page Hood
                                                         )
   ENCLARITY, INC., LEXISNEXIS RISK                      )
   SOLUTIONS INC., LEXISNEXIS RISK                       )
   SOLUTIONS GA INC., LEXISNEXIS RISK                    )
   SOLUTIONS FL INC.,                                    )
                                                         )
                       Defendants.                       )
                                                         )




                             Expert Report of Lee Howard

         1.     A complete statement of all opinions I will express and the basis and

   reasons for same, the facts or data considered by me in forming same, and the

   documents used to summarize and support same are as follows.

         2.     I am not a party to this matter.

         3.     I have acknowledged and agreed to be bound by the protective order as

   to confdentiality in this case.


                                              1
                       Attorneys Eyes Only Pursuant to Protective Order
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2130 Filed 01/18/22 Page 6 of 715


         4.   I have worked since before 2001 as a fax consultant for many companies in

deploying computer-based faxing services for their businesses. I am a developer of fax

software. I have designed and developed fax software applications, as well as a software

modem. I work full-time as the president and chief technology offcer for a company that

manufactures and sells hardware fax modems, provides an on-line fax service, develops

associated fax software, and provides technical and consulting support to its customers

for these associated products and services. I have been called upon as an expert witness

in many other cases involving fax issues. Due to my experience and qualifcations, I have

been hired by plaintiff’s counsel, Bock Hatch & Oppenheim, LLC, to consult with them

and analyze fax communication data involved in this case. My CV is given on this report

as Appendix A.

         5.   The following is a list of all publications authored by me in the previous 10

years:

              http://hylafax.sourceforge.net            (website)

              http://iaxmodem.sourceforge.net           (website)

              http://mainpine.com                       (website, only portions are my work)

         6.   The following is a list of all other cases in which I have testifed as an expert

at trial or by deposition within the last four years:




                                              2
                       Attorneys Eyes Only Pursuant to Protective Order
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2131 Filed 01/18/22 Page 7 of 715


             a.     Dr. Louis L. Sobol, M.D. v. Imprimis Pharmaceuticals, Inc., Case No.

                    2:16-cv-14339 (U.S.D.C. E.D. Mi.); deposed Jan. 19, 2018

             b.     KHS Corp. v. Singer Financial Corp., et al., Case No. 2:16-cv-00055

                    (U.S.D.C. E.D. Pa.); deposed Jan. 24, 2019

             c.     Brian Lyngaas D.D.S. v. Curaden AG, et al., Case No. 2:17-cv-10910

                    (U.S.D.C. E.D. Mi.), deposed Dec. 5, 2018 and June 13, 2019; trial

                    testimony Sept. 18, 2019

      7.     Compensation for case examination, testimony preparation, and deposition

testimony in this case will be at my usual and customary hourly rates as follows:

             a.     $400 per hour for expert report drafting and all testimony given in

                    deposition and trial.

             b.     $225 per hour for data processing, including examination of provided

                    data and computer programming for processing of data.

      8.     I reserve the right to amend or supplement this report as new information

becomes available, or to further clarify the opinions expressed in this report in response

to questioning at deposition or trial.

      9.     I was present at or have read and examined the following testimonies

provided to me by plaintiff’s counsel along with deposition exhibits which were:

             Deposition of Matthew Fulton – June 11, 2021



                                             3
                      Attorneys Eyes Only Pursuant to Protective Order
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2132 Filed 01/18/22 Page 8 of 715


             Deposition of Jill Christ – August 23, 2021

             Deposition of Alan Bergman – September 1, 2021

             Deposition of Alex Szymanski – September 17, 2021

       10.   I have also read and examined the following which were provided to me by

plaintiff’s counsel:

             a.        “Fax Services Agreement”, (ENC_184 - Sfax Services Agreement (07-

                       27-11).pdf.pdf) [sic]

             b.        “Received Faxes”, (Received Faxes.pdf), ENC_00000497,

                       ENC_00000498, ENC_00000500, ENC_00000501, ENC_00001473

                       through ENC_00001483 sequentially, and ENC_00001489.

             c.        “Phone Call Data”, ENC_00001528 through ENC_00001530

                       sequentially.

             d.        “Transmission Data”, ENC_00001519 through ENC_00001527

                       sequentially.

             e.        “Re: Fax Number Verifcation for Delivery of Patient PHI (Internal

                       ID:34290748)”, (Ex A subject fax-1.pdf) copy of fax to Dr. Matthew

                       Norman Fulton, DDS.

             f.        ENC_160 and ENC_00000504




                                                4
                         Attorneys Eyes Only Pursuant to Protective Order
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2133 Filed 01/18/22 Page 9 of 715


       11.   Fax communication protocol employed by all fax machines, fax servers, and

other fax devices is defned by an international standard known as “ITU-T T.30” or just

“T.30” for short.   This standard was developed, enhanced, and is supported by an

organization known as the International Telecommunications Union, a specialized agency

of the United Nations with headquarters in Geneva, Switzerland. As the procedure and

signals defned by T.30 are highly relevant to my conclusions regarding this matter, a

copy of the current revision of T.30 is provided as Appendix B.

       12.   T.30 utilizes many other documented ITU standards in its defnitions

including V.21, V.34, V.17, V.29, V.27ter, T.4, and T.6. T.30 is referenced by related fax

standards such as T.37, T.38, T.31, and T.32. Analysis of the specifcs defned by these

other standards is not necessary to reach my conclusions in this matter.

       13.   T.30 signals transmitted from one fax station to another are converted from

a digital message into an audio waveform through a process known as “modulation”. The

modulated signal is communicated over the audio telephone connection by the frst

endpoint, and the other endpoint will convert the waveform back into a digital signal

through a process known as “demodulation”.

       14.   Fax communication protocol as found in T.30 involves fve general phases as

follows:

             Phase A:     call establishment



                                             5
                      Attorneys Eyes Only Pursuant to Protective Order
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2134 Filed 01/18/22 Page 10 of 715


              Phase B:     identifcation and parameters negotiation

              Phase C:     document communication

              Phase D:     message confrmation

              Phase E:     disconnection

       15.    During Phase B the fax terminal which receives the call (“receiver”) frst

 transmits various identifcation and handshaking signals.          Among these are signals

 known as “NSF” (non-standard facilities), “CSI” (called subscriber identifcation), and

 “DIS” (digital identifcation signal). NSF is a signal that the receiver may transmit to

 identify its manufacturer and a unique set of proprietary facilities given to it by the

 manufacturer. CSI is a signal that the receiver may transmit to identify itself in a limited

 set of plain-text characters. DIS is a signal that the receiver must transmit to identify its

 standard set of facilities based on Table 2/T.30.

       16.    During Phase B the fax terminal which initiated the call (“sender”) and

 detected a valid DIS signal from the receiver may respond with signals such as “TSI”

 (transmitting subscriber identifcation), “DCS” (digital command signal), and “TCF”

 (training check). TSI is a signal that the sender may transmit to identify itself in a

 limited set of plain-text characters. DCS is a signal that the sender must transmit to

 identify a selection of the facilities indicated in the receiver’s DIS signal. TCF is a signal




                                              6
                       Attorneys Eyes Only Pursuant to Protective Order
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2135 Filed 01/18/22 Page 11 of 715


 that the sender must transmit to allow the receiver to train its demodulator in

 preparation for the upcoming Phase C signal from the sender.

       17.    Still in Phase B and following transmission of a TCF signal the sender

 expects to detect either a “CFR” (confrmation to receive) or an “FTT” (failure to train)

 signal from the receiver. If CFR is detected, then the sender proceeds to Phase C. If FTT

 is detected, then the sender repeats its portion of Phase B.

       18.    During Phase C the sender transmits encoded message data to the receiver

 as identifed by the sender’s DCS signal.        For practically all relevant fax systems,

 including those used in this matter, the message data being communicated in Phase C

 always corresponds to fax page image data.

       19.    During Phase D the sender transmits a signal such as “MPS” (multi page

 signal), “EOP” (end of procedure), or “PPS” (partial page signal) and expects to hear a

 signal such as “MCF” (message confrmation) from the receiver. It is the detection of this

 MCF signal that permits the sender to reliably produce a confrmation receipt for the fax

 transmission. If the receiver does not properly receive the data in Phase C then it will

 signal something else such as “PPR” (partial page request) or “RTN” (retrain negative),

 instead of MCF.




                                              7
                       Attorneys Eyes Only Pursuant to Protective Order
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2136 Filed 01/18/22 Page 12 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2137 Filed 01/18/22 Page 13 of 715




       27.   Consistent with common practice in the industry, I analyzed “Transmission

 Data” and “Phone Call Data” by importing that data into a database program and

 performing queries against that data.

       28.   The cumulative transmission data show that                  faxes were sent to

         distinct fax numbers between the dates 2012-10-30 and 2016-12-06.

       29.   Based on the evidence in the case the fax telephone number,

 was assigned to Plaintiff, Matthew N. Fulton, and was connected to a fax machine




                                             9
                      Attorneys Eyes Only Pursuant to Protective Order
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2138 Filed 01/18/22 Page 14 of 715


 manufactured by Hewlett Packard, model LaserJet Pro 400 MFP M425dn. The user

 manual for this fax machine is given as Appendix C.

        30.   Plaintiff’s counsel requested that I compile two separate sets of data in the

 form of spreadsheets from provided “Transmission Data” (ENC_00001519 through

 ENC_00001527, sequentially) and “Phone Call Data”.

        31.   The frst set of data was to contain summaries from “Transmission Data” for

 each distinct fax number where a date expressed in the                              column

 preceded any date expressed in                    for any record associated with that fax

 number and also preceded any date expressed in                 from “Phone Call Data” for

 any    record   associated   with    that   fax   number     (collectively   identifed   as

 “frst_response_date”). The sum of all               felds for each distinct fax number were

 to be provided as well as the sum of all               felds for each distinct fax number

 that occurred prior to “frst_response_date” (identifed as “deliveries_adjusted”).

        32.   This frst set of data contained            distinct fax numbers containing a

 total of           in the “deliveries” column and              in the “deliveries_adjusted”

 column. This list is provided as a Microsoft Excel spreadsheet with this report as Exhibit

 A along with sample pages in PDF copy in Appendix D1.

        33.   The second set of data was to contain summaries from “Transmission Data”

 for each distinct fax number where no record for that fax number included a



                                            10
                      Attorneys Eyes Only Pursuant to Protective Order
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2139 Filed 01/18/22 Page 15 of 715


                   and where no record involving that fax number appeared in “Phone Call

 Data”.

          34.   This second set of data contained          distinct fax numbers containing a

 total of           in the “deliveries” column. This list is provided as a Microsoft Excel

 spreadsheet with this report as Exhibit B along with sample pages in PDF copy in

 Appendix D2.

          35.




          36.




          37.




                                              11
                        Attorneys Eyes Only Pursuant to Protective Order
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2140 Filed 01/18/22 Page 16 of 715


       38.




       39.    Based upon my knowledge of the T.30 fax standard protocol, explained above,

 based upon my professional experience in the fax industry, and in reasonable reliance on

 the aforementioned testimonies, it is my opinion to a reasonable degree of professional

 certainty that the summary fax transmission data provided in Exhibits A and B

 accurately represent fax communication between Enclarity/LexisNexis and the indicated

 recipient fax numbers.

       40.    All opinions set forth in this report are based upon a reasonable degree of

 professional certainty.




 Dated: September 29, 2021


                                   By:   /s/




                                             12
                       Attorneys Eyes Only Pursuant to Protective Order
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2141 Filed 01/18/22 Page 17 of 715




                             Appendix A
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2142 Filed 01/18/22 Page 18 of 715




   C. Lee Howard
   Residence:                                                          51 E Way to Tipperary St.
                                                                       Shelton, WA 98584-6608
                                                                       Phone: (360) 427-8160
                                                                       Fax: (360) 427-8160
                                                                       E-mail: faxguy@howardsilvan.com
   Expertise:
               UNIX (Linux and BSD)                                      HylaFAX and fax protocol
               Microsoft Windows (all versions                           Apache, and BIND
                including NT Server)                                      bash and common shell utilities
               Mac OS                                                    C, C++, Java, Perl programming
               PC Hardware                                               fax modem development
               MySQL                                                     networking
               PHP                                                       VoIP, especially Asterisk administration
               E-mail processing, sendmail, postfix                      electric vehicle charging protocol

   Experience and Skills:

   Mainpine, Inc.
   CONSULTANT                                                                                          2007 - 2008
            examine fax session logs of modem communication from various fax software for diagnostic purposes
             and provide feedback for fax software developers in problem resolution to make company's products
             more compatible with fax software
            evaluate company's hardware and firmware products, diagnose problems, and provide feedback for
             problem resolution in order to “harden” the products
   SUPPORT MANAGER                                                                  2008 – 2009, 2009 - present
            oversee, manage, and lead a team of support technicians in troubleshooting and diagnosing problems
             with customers' use of company's products
            develop support procedures which greatly reduced the time necessary for diagnosing problems and
             made it possible for the hiring of persons inexperienced with fax to be trained on the procedures and
             work as support technicians
            train new employees as support technicians
   SOFTWARE DEVELOPMENT LEAD                                                                        2008 - present
            design and lead development of fax software to be integrated with Microsoft Windows Fax Service
             which would fix numerous problems with Microsoft's implementation and support extended features in
             company's products which are not supported in Microsoft's implementation
            design and lead development of various software utilities and extensions to Microsoft Fax aimed at
             extending software features, improving customer support, and rapidly detecting hardware problems
            develop a suite of test software designed to be used to test post-production manufacturing of fax
             modem hardware
   CHIEF TECHNICAL OFFICER                                                                          2012 - present
            guide the company's direction in product research and development and use of technology
            develop EV (electric vehicle) products such as a charging station controller and monitoring software
   PRESIDENT                                                                                        2020 - present
            streamline company operations to meet market changes
            design and develop internal database system to replace use of Netsuite CRM
            procure limited company financing
            operate accounts payable and human resources functions
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2143 Filed 01/18/22 Page 19 of 715




   HylaFAX.org and hylafax.sourceforge.net                                                    2000 - present
   DEVELOPER
         recognized the need for, authored, and maintained the HylaFAX HOWTO which became collectively
           the most-visited section on the HylaFAX.org website for many years
         led the creation of the HylaFAX+ software development project and website at Sourceforge net,
           including testing, hardening, and producing code releases and binary software packages
         updated and corrected much of manpage and online software documentation
         spearheaded software development efforts and coded patches to make HylaFAX functional on
           OpenBSD, Mac OS X, and RedHat Linux 7.2
         coded patches to place “From” fields on default fax cover sheets
         spearheaded development effort to build a priority scheduling mechanism for POSIX systems
         developed multiple enhancements to the code base, allowing functionality with various Cirrus Logic,
           3Com/US Robotics, Hayes, Rockwell, Lucent, MultiTech, Zoom, AT&T, UMC, Prometheus, Practical
           Peripherals, Motorola, Eicon, and Zyxel modems
         researched, developed, and tested patches to the Class 1 code base resolving timing issues and adding
           new configuration settings which have contributed to the Class 1 code base surpassing most
           manufacturers’ Class 2 firmware in faxing success ratios
         developed server-side job archiving
         provided key feedback and suggestions in the development of the Cypheus client
         provide timely response to posts on the hylafax-users and hylafax-devel mailing lists and assist in
           incorporating submitted patches into the code base and developing patches for reported code flaws
         initiated, hosted, and participated in development efforts watched by MultiTech engineers which
           resulted in HylaFAX support for Class 2.1, V.34-fax modems, and MultiTech’s Real-Time Fax
           Compression Conversion mechanism – becoming the first public fax software to support these features
         developed HylaFAX support of extended resolutions up to 400 X 400 dpi in both fax sending and fax
           receiving
         developed HylaFAX support of error correction and MMR compression in fax Class 1 protocol,
           effectively making HylaFAX’s Class 1 protocol more feature-rich than most modem manufacturers’
           fax Class 2 firmware protocols
         developed JBIG and JPEG data compression support in HylaFAX as well as led the development
           process for JBIG support in the libtiff TIFF library software
         developed HylaFAX support for receiving and sending of color faxes
         designed and developed SSL Fax feature and support

   iaxmodem.sourceforge.net                                                                   2006 - present
   DEVELOPER
         develop an entirely software-based Class 1 fax modem by using and modifying existing PBX and DSP
           libraries
         develop and maintain website content detailing software installation, configuration, and usage
         serve as mailing-list technical support response for software users

   Bock Hatch & Oppenheim - Chicago, Illinois                                                 2017 - present
   EXPERT ON FAX
          produce expert opinions, technical expertise and consulting in Telephone Consumer Protection Act
            (TCPA) cases.

   Anderson + Wanca - Rolling Meadows, Illinois                                               2010 - present
   EXPERT ON FAX
          produce expert opinions in Telephone Consumer Protection Act (TCPA) cases.

   Wells Rural Electric Cooperative – Wells, Nevada                                           2006 - 2014
   CONSULTANT
         implement a company-wide backup system between Windows workstations and servers and UNIX
           backup servers
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2144 Filed 01/18/22 Page 20 of 715



              implement a public mail proxy and spam-filtering server to a privately-accessible Microsoft Exchange
               Server
              seamlessly transition 300+ mail users and public company website from a hosting service to their own
               equipment
              provide recurring consultation and technical support to their technical staff for administering the
               UNIX services on their equipment including DNS, DHCP, SMTP, POP3, IP routing, etc.

   Telechoice Solutions – Houston, Texas                                                            2006 - 2008
   CONSULTANT
         design, develop and deploy a system to reliably communicate faxes to and from a remote oil rig in the
           Gulf of Mexico via satellite internet connectivity – involved tight integration, modification, and
           development of PBX, soft modems, and fax software
         provide recurring consultation and technical support to their technical staff for administering the fax
           services on the equipment that they provide to their customers

   Platinum Mortgage Partners – Honolulu, Hawaii                                                  2006 - 2015
   CONSULTANT
         remotely administer and maintain an internet router and other network services including Voice-over-
           IP equipment
         provide ongoing technical support assistance and consultation to office employees and managers
         design, develop and deploy a system whereby employees and agents can remotely connect to internal
           office network resources and work from outside the office



   Pacific Home Finance – Honolulu, Hawaii                                                        2006 - 2010
   CONSULTANT
         remotely administer and maintain an internet router and other network services including Voice-over-
           IP equipment
         provide ongoing technical support assistance and consultation to office employees and managers

   Abe Lee Realty – Honolulu, Hawaii                                                                 2006 - 2009
   CONSULTANT
         remotely administer and maintain an internet router and other network services including Voice-over-
           IP equipment and the integration with multiple traditional analog phone lines.
         design, develop, and deploy an internet web and fax service site, servicing both incoming and
           outgoing faxing via an internet web site

   Integrity Escrow and Title – Honolulu, Hawaii                                                     2005 - 2009
   CONSULTANT
         remotely administer and maintain an internet router and other network services including Voice-over-
           IP equipment and the integration with multiple traditional analog phone lines.
         provide ongoing technical support assistance and consultation to office employees and managers

   Impact Services – Cincinnati, Ohio                                                             2005 - present
   CONSULTANT
         remotely administer a network of fax, file, PBX, web, and mail servers servicing several thousand
           users and handling tens of thousands of fax pages daily – delivering incoming faxes to recipients both
           via e-mail and via web site access
         design, develop, and deploy a replacement for the bulk of the network infrastructure, modernizing and
           improving functionality and reliability
         serve as call-in technical support for customers

   Lexington Die Casting and Machining – Lakewood, New York                                          2004 - 2009
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2145 Filed 01/18/22 Page 21 of 715



   CONSULTANT
         installed, configured and remotely maintain a UNIX fax server connected to unique “analog DID”
           trunks providing individual fax numbers to company employees using HylaFAX delivering images via
           e-mail

   Financial Management & Design – Brigham City, Utah                                             2004 – 2010
   CONSULTANT
         built, configured, and maintained a UNIX internet server to provide internet access, mail services, web
           services, and remote desktop administration to several desktop workstations
         provide ongoing consultation and technical support services for workstation and networking issues

   Mortgage Brokers Consortium – Honolulu, Hawaii                                                   2001 - 2008
   CONSULTANT
         replaced a dysfunctional existing fax system with HylaFAX server and Cypheus clients to deliver to
           and send faxes from a network of workstations
         develop and deploy an interstate network of automated fax servers and a browser-driven database to
           provide for weekly nationwide marketing-by-fax campaigns to a large client list
         built, installed, configured, seamlessly migrated, and maintain several UNIX internet servers to allow
           the business to host its own website, domain, dial-up, and mail services on its existing large-bandwidth
           frame-relay connection
         developed a redundant backup mechanism for large amounts of business data
         developed an on-line business application designed to handle traffic generated by the fax-based
           marketing
         designed, implemented, and maintain remote access systems, allowing employees and management to
           work from home, while traveling, and at remote office locations
         developed and maintain automated UNIX servers which continuously display marketing presentations
           on large display screens, integrating StarOffice applications with customized scripting
         developed and maintained a multi-office interstate and roaming-agent common phone system
           integrating voice-over-IP and traditional PSTN technologies

   Plaza Home Mortgage – CA, WA, NM, TX, MA, AZ                                                   2002 – present
   CONSULTANT
         built, configured and remotely maintain numerous UNIX fax servers using HylaFAX to deliver
           incoming faxes to the network via e-mail
         provide consulting and networking services for troubleshooting disconnectivity problems

   Lori Bonn Design – Oakland, California                                                           2003 – 2010
   CONTRACTOR
         supervised, directed, and maintain the development of the www.loribonn.com website
         configured and implemented authenticated SMTP services for the company’s mail server
         provide remote UNIX maintenance services

   Rocky Mountain Surety – Evergreen, Colorado                                                      2001 – 2004
   CONSULTANT
         installed and configured HylaFAX server for outbound faxing on Linux PPC and Mac OS X (then an
           unsupported platform) for use in automated faxing of database-created PDF invoices and other
           business documents
         assist in developing browser-driven applications for creating PDF images, invoicing, and importing
           spreadsheet information into an SQL database

   iFax, Inc.                                                                                       2002 – 2003
   CONTRACTOR
         reworked a troublesome two-system, 48-modem, fax server installation for a client in the financial
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2146 Filed 01/18/22 Page 22 of 715



               industry to eliminate failed fax receptions, correct fax recurring sending failures, and ensure delivery
               of a very large volume of incoming faxes directly to several network printers, saving the company
               thousands of dollars in lost business
              developed, for an international wireless service provider, HylaFAX support for Kyocera/Qualcomm
               mobile fax phones which suffered from a significant number of firmware problems and
               inconsistencies, requiring alterations to HylaFAX source code, communication protocol analysis, and
               troubleshooting
              developed HylaFAX enhancements to store caller identification information within HylaFAX
               statistical data tables, the fax file itself., and then to utilize that information at every statistical
               reporting opportunity

   Deanox, Inc. – Logan, Utah                                                                           1998 - 2002
   PRESIDENT/OWNER/GENERAL MANAGER
          successfully transitioned the business from a failing retail sales strategy to a service-oriented plan
          transitioned the business away from multiple separate and independent data systems into a
            consolidated and integrated sales, service, accounting, purchasing, and inventory solution
          built, installed, configured, and maintain multiple UNIX internet servers which hosted the company’s
            web, domain, mail, printing, dial-up, and fax services
          implemented a fax-to-email gateway, delivering incoming faxes to the network
          developed an email-to-fax gateway which allowed in-use RelayFax Windows clients to deliver fax
            jobs to HylaFAX server despite RelayFax not being designed to do so by its authors
          managed (until January 2002) the day-to-day affairs of the business, including hiring, training,
            accounting, as well as involving myself in the day-to-day work of servicing and sales

   Thoughtform Corporation – Bountiful, Utah                                                            2000 – 2002
   CONSULTANT
         networked over a dozen independent desktop workstations and used a UNIX internet server to provide
           broadband connectivity for all systems as well as host their own web and mail services.
         provided continued maintenance and technical support for network, server, and workstations

   Trenton Feed – Trenton, Utah                                                                          2000 - 2001
   CONSULTANT
         built, configured, and maintained a UNIX internet server to provide internet access and mail services
           to several desktop workstations
         built, configured, and maintained a Windows 2000 server to provide services for a proprietary
           database system



   1Cache.com – Logan, Utah                                                                              2000 - 2001
   CONSULTANT
         built, configured, and maintained a UNIX internet server to provide broadband connectivity for a
           dozen network desktop workstations
         configured and maintained a mailing list program to send marketing campaigns to tens of thousands of
           customers

   Quality First Insurance – Logan, Utah                                                                          2001
   CONSULTANT
         networked several desktop workstations to a broadband internet connection
         built, configured and maintained a UNIX fax server using HylaFAX to deliver incoming faxes to the
           network via e-mail

   Rush Logistics – Chicago, Illinois                                                             2001, 2002, 2005
   CONSULTANT
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2147 Filed 01/18/22 Page 23 of 715



               installed and configured HylaFAX server and clients on several UNIX servers and workstations for
                outbound faxing from a custom database application

   iPub.com & Linden Works – Oakland, California                                                                 2001
   CONSULTANT
         troubleshot and fixed a HylaFAX installation used for automated faxing of web-placed orders for their
           Pizza Boy service which was having troubles due to misconfiguration and an incompatibility between
           HylaFAX and a particular USR modem

   Crystal Hot Springs – Honeyville, Utah                                                                        1993
   CONSULTANT
         developed a graphical database program to track registrations, payments, and earnings for a resort
           campground

   Education:

            Utah State University
                      Logan, Utah
            Fall 1992, 1995, 1996, 1997; Winter 1993, 1996, 1997; Spring 1993, 1996, 1997
            Status: senior
            Advisor: Donna Eckburg
            Major: physics
            Classes taken outside major: calculus, English, philosophy, psychology, computer science, mythology,
                      Spanish, macroeconomics, physiology, and chemistry
            Extracurricular: Statesman (university paper) “features” staff writer
            Awards: academic tuition scholarship 1992, 1995

   Other:
            ClueCon 2006 Telecommunications Conference Speaker
            ClueCon 2007 Telecommunications Conference Speaker
                     Omni Hotel, Chicago, Illinois
            Upon invitation by conference organizers, spoke to conference attendees regarding specific difficulties
            involving fax and VoIP technologies and discussed potential solutions, in particular IAXmodem and
            HylaFAX.

            Chile, Santiago South Mission
            The Church of Jesus Christ of Latter-day Saints
                      Santiago, Chile, South America
            Service: July 1993 through July 1995
            Status: honorably released
            Responsibilities: general proselyting, teaching, motivating, and service
            Skills learned: communication, Spanish fluency, leadership, teamwork
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2148 Filed 01/18/22 Page 24 of 715




                             Appendix B
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2149 Filed 01/18/22 Page 25 of 715




             I n t e r n a t i o n a l   T e l e c o m m u n i c a t i o n   U n i o n




             ITU-T                                                           T.30
             TELECOMMUNICATION                                               (09/2005)
             STANDARDIZATION SECTOR
             OF ITU




             SERIES T: TERMINALS FOR TELEMATIC SERVICES


             Procedures for document facsimile
             transmission in the general switched telephone
             network




             ITU-T Recommendation T.30
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2150 Filed 01/18/22 Page 26 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2151 Filed 01/18/22 Page 27 of 715


  ITU-T Recommendation T.30

                  Procedures for document facsimile transmission in the
                          general switched telephone network




  Summary
  This Recommendation defines the procedures used by Group 3 facsimile terminals as defined in
  ITU-T Rec. T.4. These procedures enable documents to be transmitted on the general switched
  telephone network, international leased circuits and the Integrated Services Digital Network (ISDN).
  Further, these procedures allow communication to be manual or automatic and for document
  transmission to be requested alternatively with telephone conversation.
  With this revision, the colour spaces defined in ITU-T Rec. T.30 will be aligned with those in ITU-T
  Rec. T.44. Additionally, the scope and applicability of T.30 and T.44-based facsimile applications
  are expanded. The following methods are defined for introducing T.44 YCC colour space to T.30.
  1)      New negotiation bit 119 "T.44 colour space" is added with new Note 83.
  2)      Note 39 (for bit 74 custom illuminant) and Note 40 (for bit 75 custom gamut range) are
          modified to reflect the addition of bit 119.




  Source
  ITU-T Recommendation T.30 was approved on 13 September 2005 by ITU-T Study Group 16
  (2005-2008) under the ITU-T Recommendation A.8 procedure.




                                                                  ITU-T Rec. T.30 (09/2005)         i
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2152 Filed 01/18/22 Page 28 of 715




                                                  FOREWORD
  The International Telecommunication Union (ITU) is the United Nations specialized agency in the field of
  telecommunications. The ITU Telecommunication Standardization Sector (ITU-T) is a permanent organ of
  ITU. ITU-T is responsible for studying technical, operating and tariff questions and issuing
  Recommendations on them with a view to standardizing telecommunications on a worldwide basis.
  The World Telecommunication Standardization Assembly (WTSA), which meets every four years,
  establishes the topics for study by the ITU-T study groups which, in turn, produce Recommendations on
  these topics.
  The approval of ITU-T Recommendations is covered by the procedure laid down in WTSA Resolution 1.
  In some areas of information technology which fall within ITU-T's purview, the necessary standards are
  prepared on a collaborative basis with ISO and IEC.




                                                      NOTE
  In this Recommendation, the expression "Administration" is used for conciseness to indicate both a
  telecommunication administration and a recognized operating agency.
  Compliance with this Recommendation is voluntary. However, the Recommendation may contain certain
  mandatory provisions (to ensure e.g. interoperability or applicability) and compliance with the
  Recommendation is achieved when all of these mandatory provisions are met. The words "shall" or some
  other obligatory language such as "must" and the negative equivalents are used to express requirements. The
  use of such words does not suggest that compliance with the Recommendation is required of any party.




                                    INTELLECTUAL PROPERTY RIGHTS
  ITU draws attention to the possibility that the practice or implementation of this Recommendation may
  involve the use of a claimed Intellectual Property Right. ITU takes no position concerning the evidence,
  validity or applicability of claimed Intellectual Property Rights, whether asserted by ITU members or others
  outside of the Recommendation development process.
  As of the date of approval of this Recommendation, ITU had received notice of intellectual property,
  protected by patents, which may be required to implement this Recommendation. However, implementors
  are cautioned that this may not represent the latest information and are therefore strongly urged to consult the
  TSB patent database.




                                                   ¤ ITU 2006
  All rights reserved. No part of this publication may be reproduced, by any means whatsoever, without the
  prior written permission of ITU.




  ii        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2153 Filed 01/18/22 Page 29 of 715


                                                                  CONTENTS
                                                                                                                                                Page
  1        Scope ............................................................................................................................      1
           1.1      General ...........................................................................................................            1
           1.2      Classification of operating methods ...............................................................                            1
           1.3      Terminal identification ...................................................................................                    2
           1.4      General provisions..........................................................................................                   2
           1.5      Optional provisions ........................................................................................                   3
           1.6      References ......................................................................................................              3
  2        Terms and definitions ...................................................................................................               4
           2.2     Time sequence of a facsimile call ..................................................................                            4
           2.3     Description of phases .....................................................................................                     5
  3        Description of a facsimile call ......................................................................................                  6
           3.1      Phase A – Call establishment .........................................................................                         6
           3.2      Phases B, C and D – Facsimile procedure......................................................                                  6
           3.3      Phase E – Call release.....................................................................................                    7
  4        Tonal signal functions and formats...............................................................................                      14
           4.1      Automatic answer sequence ...........................................................................                         14
           4.2      Calling tone (CNG) ........................................................................................                   15
  5        Binary coded signalling procedure ...............................................................................                      15
           5.1     Description .....................................................................................................              16
           5.2     Flow diagrams – Figures 5-2a to 5-2x (see also Appendix IV) .....................                                              17
           5.3     Binary coded signal functions and formats ....................................................                                 43
           5.4     Binary coded signalling implementation requirements..................................                                          78
  6        Use of the modulation system defined in ITU-T Rec. V.34.........................................                                       80
           6.1      Procedures ......................................................................................................             80
  Annex A – Procedure for G3 document facsimile transmission in the general switched
        telephone network incorporating error correction ........................................................                                 82
        A.1     Introduction ....................................................................................................                 82
        A.2     Definitions ......................................................................................................                83
        A.3     Block size and frame size ...............................................................................                         83
        A.4     Information field (see also 5.3.6) ...................................................................                            84
        A.5     Flow control procedure...................................................................................                         89
        A.6     Procedure interrupt .........................................................................................                     90
        A.7     Flow diagrams ................................................................................................                    91
        A.8     Signal sequence examples in case of error correction procedure...................                                                 91
  Annex B – BFT diagnostic message ........................................................................................                      101
        B.1    Introduction ....................................................................................................                 101
        B.2    Normative references......................................................................................                        102
        B.3    Definitions ......................................................................................................                102

                                                                                                     ITU-T Rec. T.30 (09/2005)                    iii
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2154 Filed 01/18/22 Page 30 of 715


                                                                                                                                      Page
            B.4         Signals and components for BFT file transfer operations ..............................                         102
            B.5         Service models for BFT negotiations .............................................................              102
            B.6         Signals and components for BFT negotiations...............................................                     103
            B.7         Procedures for BFT negotiations....................................................................            105
            B.8         Presentation of BFT negotiations data ...........................................................              106
  Annex C – Procedure for Group 3 document facsimile transmission on the Integrated
        Services Digital Network or on the GSTN using duplex modulation systems............                                            108
        C.1      Introduction ....................................................................................................     108
        C.2      Definitions ......................................................................................................    109
        C.3      Facsimile procedure........................................................................................           110
        C.4      Flow control procedure...................................................................................             113
        C.5      Flow diagrams ................................................................................................        113
        C.6      Signal sequence examples ..............................................................................               135
        C.7      Procedures for using Annex C within analog transmission environments.....                                             158
  Annex D – Optional automatic terminal selection procedures ................................................                          159
  Annex E – Procedure for the Group 3 document facsimile transmission of continuous-
        tone colour images........................................................................................................     162
        E.1      Introduction ....................................................................................................     162
        E.2      Definitions ......................................................................................................    162
        E.3      Normative references......................................................................................            163
        E.4      Negotiation procedure ....................................................................................            163
  Annex F – Procedures for Group 3 facsimile transmission using the half-duplex
        modulation system defined in ITU-T Rec. V.34 ..........................................................                        164
        F.1     Introduction ....................................................................................................      164
        F.2     References ......................................................................................................      164
        F.3     Procedures ......................................................................................................      164
        F.4     Half-duplex operating procedures of ITU-T Recs V.34 and V.8 for Group
                3 facsimile ......................................................................................................     166
        F.5     Examples of sequences...................................................................................               166
  Annex G – Procedures for secure Group 3 document facsimile transmission using the
        HKM and HFX system .................................................................................................           183
        G.1     Introduction ....................................................................................................      183
        G.2     Outline of the secure facsimile document procedure .....................................                               183
        G.3     References ......................................................................................................      184
        G.4     Definitions ......................................................................................................     184
        G.5     Abbreviations .................................................................................................        184
        G.6     Facsimile procedures ......................................................................................            185
        G.7     Flow diagrams ................................................................................................         188
        G.8     Flow diagrams ................................................................................................         209
        G.9     Signal sequence examples in case of secure facsimile procedure ..................                                      224


  iv           ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2155 Filed 01/18/22 Page 31 of 715


                                                                                                                                        Page
  Annex H – Security in facsimile G3 based on the RSA algorithm..........................................                                229
        H.1     Preamble .........................................................................................................       229
        H.2     Introduction ....................................................................................................        229
        H.3     References ......................................................................................................        229
        H.4     Security mechanisms ......................................................................................               229
        H.5     Security parameters ........................................................................................             234
        H.6     Exchanges of security parameters ..................................................................                      236
  Annex I – Procedure for the Group 3 document facsimile transmission of colour and
        gray-scale images using T.43 .......................................................................................             271
        I.1      Introduction ....................................................................................................       271
        I.2      Definitions ......................................................................................................      272
        I.3      Normative references......................................................................................              272
        I.4      Negotiation procedure ....................................................................................              273
  Annex J – Procedure for Group 3 document facsimile transmission of Mixed Raster
        Content (MRC) images.................................................................................................            274
        J.1      Scope ..............................................................................................................    274
        J.2      References ......................................................................................................       274
        J.3      Definitions ......................................................................................................      274
        J.4      Image representation ......................................................................................             274
        J.5      Layer transmission order ................................................................................               276
        J.6      Negotiation .....................................................................................................       276
        J.7      Application requirements summary ...............................................................                        277
  Annex K – Procedure for the Group 3 document facsimile transmission of continuous-
        tone colour and gray scale images (sYCC)...................................................................                      278
        K.1      Introduction ....................................................................................................       278
        K.2      Definitions ......................................................................................................      279
        K.3      References ......................................................................................................       279
        K.4      Negotiation procedure ....................................................................................              280
  Appendix I – Index of abbreviations used in this Recommendation .......................................                                280
  Appendix II – List of commands and appropriate responses...................................................                            282
  Appendix III – Alternative procedures used by some terminals which conform to the pre-
       1996 versions of this Recommendation........................................................................                      283
       III.1     Alternative automatic answering sequence ....................................................                           283
       III.2     Optional binary coded preamble ....................................................................                     284
  Appendix IV – Signal sequence examples...............................................................................                  285
  Appendix V – Procedure for binary file transmission with protocol examples.......................                                      298
       V.1      Introduction ....................................................................................................        298
       V.2      Definitions ......................................................................................................       299
       V.3      BFT file transfer-protocol overview...............................................................                       299
       V.4      ECM-BFT data format ...................................................................................                  299

                                                                                                ITU-T Rec. T.30 (09/2005)                  v
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2156 Filed 01/18/22 Page 32 of 715


                                                                                                                                 Page
           V.5         Simple BFT negotiation via Phase C method.................................................                 300
           V.6         Extended BFT Negotiation via Phase B Method ...........................................                    302
  Appendix VI – Mixed Raster Content examples .....................................................................               304
  Appendix VII – Application rules for use of V.8 with Group 3 facsimile ..............................                           307
       VII.1 Introduction ....................................................................................................    307
       VII.2 Application rules ............................................................................................       307
  Appendix VIII – Examples for Internet routing/polling ..........................................................                308
       VIII.1 Internet routing using email fax through onramp and offramp gateways ......                                         308
       VIII.2 Internet routing using real-time fax................................................................                310
       VIII.3 Internet polling ...............................................................................................    310




  vi          ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2157 Filed 01/18/22 Page 33 of 715


  Introduction
  i)     This Recommendation is intended to apply to document facsimile terminals covered by
         ITU-T Rec. T.4. It describes the procedures and signals to be used where facsimile
         terminals are operated over the general switched telephone network. When an existing
         terminal is operating in a non-ITU-T manner, it shall not interfere with a terminal operating
         in accordance with the T-series Recommendations.
  ii)    Arrangements for automatic calling/answering on the general switched telephone network
         have been aligned as closely as possible with those described in the V-series
         Recommendations for data terminal equipment.
         The answering procedures for multifunction terminal configurations are contained in
         Annex D.
  iii)   While there are eight possible operating methods (see Table 1), each may be described by
         five separate and consecutive phases:
         Phase A: Call set-up.
         Phase B: Pre-message procedure for identifying and selecting the required facilities.
         Phase C: Message transmission (includes phasing and synchronization where
                      appropriate).
         Phase D: Post-message procedure including end-of-message and confirmation and multi-
                      document procedures.
         Phase E: Call release.
  iv)    For digital document facsimile terminals conforming to ITU-T Rec. T.4, the binary coded
         system defined in this Recommendation shall be the standard signalling arrangement.
  v)     The binary coded signalling system is based on a High Level Data Link Control (HDLC)
         format developed for data transmission procedures. The basic HDLC structure consists of a
         number of frames, each of which is subdivided into a number of fields. It provides for
         frame labelling, error checking and confirmation of correctly received information and the
         frames can be easily extended if this should be required in the future.
  vi)    The transmission of the facsimile message itself (phase C) will be according to the
         modulation system described in the appropriate Recommendation for the facsimile
         terminal.




                                                                   ITU-T Rec. T.30 (09/2005)       vii
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2158 Filed 01/18/22 Page 34 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2159 Filed 01/18/22 Page 35 of 715


  ITU-T Recommendation T.30

                    Procedures for document facsimile transmission in the
                            general switched telephone network1

  The ITU-T,
            considering
  a)        that facilities exist for facsimile transmission over the general switched telephone network;
  b)     that such facsimile transmission may be requested either alternatively with telephone
  conversation or when either or both terminals are not attended;
  c)      that for this reason the operations involved in establishing and/or releasing a facsimile call
  should be capable of automatic operation,
            unanimously declares the view
  that the facsimile terminal should be designed and operated according to the following standards.

  1         Scope

  1.1       General
  1.1.1 This Recommendation is concerned with the procedures which are necessary for document
  transmission between two facsimile terminals in the general switched telephone network.
  These procedures essentially comprise the following:
  –       call establishment and call release;
  –       compatibility checking, status and control command;
  –       checking and supervision of line conditions;
  –       control functions and facsimile operator recall.
  1.1.2     Only the procedures with their corresponding signals are specified in this Recommendation.

  1.2       Classification of operating methods
  1.2.1 This Recommendation regulates the operational sequence of manually operated facsimile
  terminals as well as of automatic terminals.
  The automatic facsimile terminal is understood to be a terminal which is capable of performing all
  procedures (listed in 1.1) automatically. In this case, an operator is not necessary.
  If, however, an operator is required for any of these procedures, the terminal must be regarded as a
  manually operated terminal.
  1.2.2 Based upon all combinations which may result from the fact that there are manually
  operated terminals and automatic facsimile terminals, the operating methods shown in Table 1 are
  possible.




  ____________________
  1    Facsimile terminals referred to as Group 3 in this Recommendation are those conforming to ITU-T
       Rec. T.4.

                                                                      ITU-T Rec. T.30 (09/2005)         1
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2160 Filed 01/18/22 Page 36 of 715


                                                   Table 1/T.30
      Method                                                        Direction of facsimile        Overall
                     Description of operating method
       No.                                                              transmission            designation
                 Manual operation at calling terminal and      Calling terminal transmits to       1-T
                                                               called terminal
        1
                 Manual operation at called terminal           Calling terminal receives from      1-R
                                                               called terminal
                 Manual operation at calling terminal and      Calling terminal transmits to       2-T
                                                               called terminal
        2
                 Automatic operation at called terminal        Calling terminal receives from      2-R
                                                               called terminal
                 Automatic operation at calling terminal and   Calling terminal transmits to       3-T
                                                               called terminal
        3
                 Manual operation at called terminal           Calling terminal receives from      3-R
                                                               called terminal
                 Automatic operation at calling terminal and   Calling terminal transmits to       4-T
                                                               called terminal
        4
                 Automatic operation at called terminal        Calling terminal receives from      4-R
                                                               called terminal
                 Automatic operation using the procedures      Calling terminal transmits to       4-T
                 defined in ITU-T Rec. V.8 at calling          called terminal using the
                 terminal and                                  procedures defined in ITU-T
                                                               Rec. V.8
       4 bis
                 Automatic operation using the procedures      Calling terminal receives from      4-R
                 defined in ITU-T Rec. V.8 at called           called terminal using the
                 terminal                                      procedures defined in ITU-T
                                                               Rec. V.8
   NOTE – There may also be operating methods which will allow messages to be received by more than one
   terminal (multipoint connection).

  1.3          Terminal identification
  1.3.1 For the purpose of classifying an automatic facsimile terminal as a non-speech terminal, a
  tone must be transmitted to line. As both automatic calling and called facsimile terminals transmit
  tones to line during call establishment, a normal telephone user who becomes inadvertently
  connected to one will receive tone signals for a period of sufficient duration to indicate clearly to
  him that he is incorrectly connected.
  1.3.2 Additionally an automatic verbal announcement may be used which can provide terminal
  identification.

  1.4          General provisions
  1.4.1 The control signals specified in this Recommendation have been chosen in such a way that
  the telephone service is not affected.
  1.4.2 If any malfunction of the facsimile procedures described in this Recommendation is
  detected, the call should be released.
  1.4.3 Where the called destination is an automatic facsimile terminal which is not ready or not
  able to operate, the call should not be answered automatically.




  2             ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2161 Filed 01/18/22 Page 37 of 715


  1.4.4 This Recommendation includes procedures for switching from facsimile to speech.
  However, speech facilities may be omitted if this is permitted by the regulations of the
  Administrations.

  1.5     Optional provisions
  1.5.1 The operator at each terminal may have the possibility of calling the other terminal at any
  time during the progress of the facsimile procedure (see 2.2).
  1.5.2 The procedures in this Recommendation allow a facsimile terminal to transmit and/or
  receive several documents successively without the aid of an operator.
  1.5.3 This Recommendation includes procedures for incorporating a unique terminal
  identification command if required to prevent unauthorized terminals from demanding a message.
  If enhanced security is required, this may be provided by the use of the non-standard facilities
  frame.

  1.6     References
  The following ITU-T Recommendations and other references contain provisions which, through
  reference in this text, constitute provisions of this Recommendation. At the time of publication, the
  editions indicated were valid. All Recommendations and other references are subject to revision;
  users of this Recommendation are therefore encouraged to investigate the possibility of applying the
  most recent edition of the Recommendations and other references listed below. A list of the
  currently valid ITU-T Recommendations is regularly published. The reference to a document within
  this Recommendation does not give it, as a stand-alone document, the status of a Recommendation.
  –       ITU-T Recommendation G.726 (1990), 40, 32, 24, 16 kbit/s Adaptive Differential Pulse
          Code Modulation (ADPCM).
  –       ITU-T Recommendation T.4 (2003), Standardization of Group 3 facsimile terminals for
          document transmission.
  –       ITU-T Recommendation T.6 (1988), Facsimile coding schemes and coding control
          functions for Group 4 facsimile apparatus.
  –       ITU-T Recommendation T.36 (1997), Security capabilities for use with Group 3 facsimile
          terminals.
  –       ITU-T Recommendation T.43 (1997), Colour and gray-scale image representations using
          lossless coding scheme for facsimile.
  –       ITU-T Recommendation T.44 (2005), Mixed Raster Content (MRC).
  –       ITU-T Recommendation T.81 (1992) | ISO/IEC 10918-1:1994, Information technology –
          Digital compression and coding of continuous-tone still images – Requirements and
          guidelines.
  –       ITU-T Recommendation T.82 (1993) | ISO/IEC 11544:1993, Information technology –
          Coded representation of picture and audio information – Progressive bi-level image
          compression.
  –       ITU-T Recommendation T.85 (1995), Application profile for Recommendation T.82 –
          Progressive bi-level image compression (JBIG coding scheme) for facsimile apparatus.
  –       ITU-T Recommendation T.434 (1999), Binary file transfer format for the telematic
          services.
  –       ITU-T Recommendation V.8 (2000), Procedures for starting sessions of data transmission
          over the public switched telephone network.


                                                                    ITU-T Rec. T.30 (09/2005)        3
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2162 Filed 01/18/22 Page 38 of 715


  –       ITU-T Recommendation V.17 (1991), A 2-wire modem for facsimile applications with
          rates up to 14 400 bit/s.
  –       ITU-T Recommendation V.27 ter (1988), 4800/2400 bits per second modem standardized
          for use in the general switched telephone network.
  –       ITU-T Recommendation V.29 (1988), 9600 bits per second modem standardized for use on
          point-to-point 4-wire leased telephone-type circuits.
  –       ITU-T Recommendation V.33 (1988), 14 400 bits per second modem standardized for use
          on point-to-point 4-wire leased telephone-type circuits.
  –       ITU-T Recommendation V.34 (1998), A modem operating at data signalling rates of up to
          33 600 bit/s for use on the general switched telephone network and on leased point-to-point
          2-wire telephone-type circuits.
  The referenced RFC documents contain provisions that are themselves described in yet other
  documents and which through indirect reference constitute provisions of this Recommendation. A
  list of the status of Internet RFCs and updates to other RFCs is regularly published.
  –         IETF RFC 822 (1982), Standard for the format of ARPA Internet text messages.
  –         IETF RFC 1738 (1994), Uniform Resource Locators (URL).

  2       Terms and definitions
  This Recommendation defines the following terms:
  2.1     facsimile terminal main functions: One or more terminals at the end of the line providing
  three main functions.
  2.1.1 call establishment and call release: The establishment and release of a connection
  according to the normal rules of using the general switched telephone network.
  2.1.2 procedure: To identify, to supervise and to control the facsimile transmission according to
  a protocol.
  2.1.3   message transmission: To transmit and/or receive the facsimile message.

  2.2     Time sequence of a facsimile call
  See Figure 1.
                                                    In-message
                                                     procedure

                                                      Phase C1
                        Phase A        Phase B                         Phase D     Phase E
                                                     Phase C2

                                                      Message
                                                    transmission

                                                 Facsimile procedure

                                                    Facsimile call
                                                                                 T0813020-99/d001


                       Activity progress




                                                  Figure 1/T.30




  4        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2163 Filed 01/18/22 Page 39 of 715


  2.3       Description of phases
  2.3.1     Phase A – Call establishment
  Call establishment can be realized manually and/or automatically.
  2.3.2     Phase B – Pre-message procedure
  The pre-message procedure consists of the identification of capabilities and the commanding of the
  chosen conditions as well as the confirmation of acceptable conditions.
  When connection is established between a terminal operating in accordance with this
  Recommendation and a terminal operating in a non-ITU-T manner, the terminals should disconnect
  before the in-message procedure unless both terminals include optional, compatible procedures.
  2.3.2.1      Identification section
  –         capabilities identification;
  –         confirmation for reception;
  –         terminal identification (option);
  –         non-standard facilities identification (option).
  2.3.2.2    Command section
  –       capabilities command;
  –       training;
  –       synchronization;
  as well as the following optional commands:
  –        non-standard facilities command;
  –        terminal identification command;
  –        polling (send) command;
  –        echo suppressor disabling.
  2.3.3     Phase C1 – In-message procedure
  The in-message procedure takes place at the same time as message transmission and controls the
  complete signalling for in-message procedure, e.g., in-message synchronization, error detection and
  correction and line supervision.
  2.3.4     Phase C2 – Message transmission
  The message transmission procedure is covered by ITU-T Rec. T.4.
  2.3.5     Phase D – Post-message procedure
  The post-message procedure includes information regarding:
  –      end-of-message signalling;
  –      confirmation signalling;
  –      multipage signalling;
  –      end-of-facsimile procedure signalling.
  2.3.6     Phase E – Call release
  Call release shall be realized manually and/or automatically.




                                                                  ITU-T Rec. T.30 (09/2005)        5
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2164 Filed 01/18/22 Page 40 of 715


  3         Description of a facsimile call

  3.1       Phase A – Call establishment2
  The establishment of a facsimile call may be realized either manually, if an operator is in
  attendance, or automatically. To accomplish this, four operating methods have been defined.
  For automatic operation at the calling side, the timer T0 is used for the terminals which conform to
  the 1997 and later versions of this Recommendation. Timer T0 is detailed in 5.4.3.1.
  3.1.1     Operating method 1
  Manual operation at both the calling and called terminal. Figure 2 indicates the operators' actions
  required to establish a call.
  3.1.2     Operating method 2
  Manual operation at the calling terminal and automatic operation at the called terminal. Figure 3
  indicates the operator's and terminal actions required to establish a call.
  3.1.3     Operating method 3
  Automatic operation at the calling terminal and manual operation at the called terminal. Figure 4
  indicates the operator's and terminal actions required to establish a call.
  3.1.4     Operating method 4
  Automatic operation at both the calling and called terminals. Figure 5 indicates the actions required
  by the terminal to establish a call.
  3.1.5     Operating method 4 bis
  3.1.5.1     Operating method 4 bis a
  Automatic operation at both the calling and called terminals when either or both the calling and
  called terminal are capable of V.8 and V.34 operation. Figure 6a indicates the actions required by
  the terminal to establish a call.
  3.1.5.2     Operating method 4 bis b
  Manual operation at the calling and automatic operation at the called terminal when either or both
  the calling and called terminals are capable of V.8 and V.34 operation. Figure 6b indicates the
  actions required by the terminal to establish a call.

  3.2       Phases B, C and D – Facsimile procedure
  When entering phase B, the following rules should be adhered to:
  All manual receiving terminals and all auto-answering terminals must enter phase B by identifying
  their capabilities (i.e., Node R of the flow diagram in 5.2). All manual transmitting terminals and all
  auto-calling terminals must enter phase B prepared to detect the capabilities and issue the
  appropriate mode setting command (i.e., Node T of the flow diagram in 5.2). To allow for operating
  method 2-R, the delay between the transmission of the digital identification signals shall be
  4.5 s ± 15% when sent from a manual receiving terminal.
  The detailed information pertaining to the binary coded facsimile procedures is contained in
  clause 5.



  ____________________
  2   See Appendix I for abbreviations used in this Recommendation.

  6          ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2165 Filed 01/18/22 Page 41 of 715


  3.2.1   Signal sequences
  The recommended system utilizes the interchange of signals between the two terminals to verify
  compatibility and assure operation. To do this, the called terminal identifies its capabilities. The
  calling terminal responds to this accordingly with a command. Now the transmitter continues
  phase B.
  Following the transmission of the message, the transmitter sends an end-of-message signal and the
  receiver confirms reception. Multiple documents can then be transmitted by the repetition of this
  procedure.
  The flow of signals is shown in Figure 7 for the configuration where the calling terminal is
  transmitting.
  The condition where the calling terminal is to receive documents is shown in Figure 8.

  3.3     Phase E – Call release
  Call release occurs after the last post-message signal of the procedure or under certain conditions,
  for example:
  3.3.1   Time-out
  When a signal as specified by the facsimile procedure is not received within the specified time-out
  period, the terminal may signal to the operator (if one is in attendance) or disconnect the telephone
  connection. The appropriate time-out periods are specified in clause 5.
  3.3.2   Procedural interrupt
  The facsimile procedure may be interrupted by sending a procedural interrupt signal, by notifying
  the attending operator or by disconnecting the connection. The signal is defined in clause 5.
  3.3.3   Command
  The call may be immediately terminated by the appropriate commands, as specified in clause 5.




                                                                    ITU-T Rec. T.30 (09/2005)        7
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2166 Filed 01/18/22 Page 42 of 715


      Call event No.                       Calling terminal                                       Called terminal
             1         Operator hears dial tone and dials desired number
             2         Operator hears ringing tone                            Call rings and operator answers the call
             3         Verbal identification                                  Verbal identification
             4         Facsimile terminal is switched to line and transmits   Facsimile terminal is switched to line
                       CNG
            5          Begin facsimile procedure (see clauses 4 and/or 5)     Begin facsimile procedure (see clauses 4 and/or 5)

                                        Calling terminal                                    Called terminal




                                   Dial tone        No
                                    heard?


                                        Yes


                                 Dial number
                                                                                                        No
                                                                                     Ring heard?


                                                                    No                      Yes


                                 Ringing tone     No
                                                            Time elapsed?            Answer call
                                    heard?


                                         Yes                         Yes


                               Verbal exchange               Disconnect            Verbal exchange




                               Switch facsimile                                    Switch facsimile
                               machine to line                                     machine to line




                                                                                      Optionally
                                Transmit CNG
                                                                                    transmit CED


                                                                                             T0817140-99/d002


                                Enter Phase B                                       Enter Phase B


                              Figure 2/T.30 – Call establishment, operating method 1




  8             ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2167 Filed 01/18/22 Page 43 of 715


    Call event No.                     Calling terminal                                       Called terminal
           1         Operator hears dial tone and dials desired number
           2         Operator hears ringing tone                          Terminal detects ring and answers the call
           3                                                              Optionally, a recorded verbal announcement may be
                                                                          transmitted
          4          Operator hears CED or an optional recorded           Transmit CED
                     announcement and facsimile terminal is switched to
                     line and transmits CNG
          5          Begin facsimile procedure (see clauses 4 and/or 5)   Begin facsimile procedure (see clauses 4 and/or 5)

                                   Calling terminal                                    Called terminal




                             Dial tone        No
                              heard?


                                    Yes


                            Dial number

                                                                                                  No
                                                                              Ring detected?
                                                              No

                                                                                       Yes
                              Ringing          No
                            tone heard?               Time elapsed?
                                                                                 Ready to         No
                                                                                 operate?
                                   Yes                         Yes
                                                                                       Yes
                                                       Disconnect
                                                                                Answer call


                                                              No

                                               No                               Optionally
                            CED heard?                Time elapsed?             recorded
                                                                              announcement

                                   Yes                        Yes


                          Switch facsimile
                                                       Disconnect             Transmit CED
                          machine to line


                                                                                       T0817150-99/d003


                           Transmit CNG                                       Enter Phase B
                                                                                 Node R


                           Enter Phase B



                          Figure 3/T.30 – Call establishment, operating method 2




                                                                                  ITU-T Rec. T.30 (09/2005)                    9
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2168 Filed 01/18/22 Page 44 of 715


   Call event No.                          Calling terminal                                            Called terminal
          1           Terminal detects dial tone and dials desired number
                      (Note). To clearly indicate to a called operator that he is
                      connected to a facsimile terminal or to a normal
                      telephone user that he is inadvertently connected, CNG
                      will be transmitted to line during the time that signals are
                      attempted to be detected
          2                                                                          Call rings and operator answers the call
          3                                                                          Operator detects CNG and switches facsimile
                                                                                     terminal to line (optionally CED may be
                                                                                     generated)
        4           Begin facsimile procedure (see clauses 4 and/or 5)               Begin facsimile procedure (see clauses 4 and/or 5)
   NOTE – An alternative procedure may be specified by Administrations.

                            Calling terminal                                         Called terminal




                      Dial tone        No
                      detected?


                            Yes


                    Dial number
                                                                                                No
                                                                              Ring heard?


                                                                                     Yes

                      Start T0
                                                                              Answer call




                                                                                                                No

                                                                                                No
                                                                                 CNG
                    Transmit CNG                                                                         Time elapsed?
                                                                               detected?


                                                         No                          Yes                         Yes

                                       No
                       Signal                    T0 elapsed?                Switch facsimile
                                                                                                          Disconnect
                      detected?                                             machine to line


                                                         Yes                                                 T0829280-99/d004


                                                                               Optionally
                                                  Disconnect                 transmit CED
                            Yes




                    Enter Phase B                                            Enter Phase B
                       Node T


                             Figure 4/T.30 – Call establishment, operating method 3




  10          ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2169 Filed 01/18/22 Page 45 of 715


     Call event No.                      Calling terminal                                      Called terminal
            1         Terminal detects dial tone and dials desired number
                      (Note). To clearly indicate to a normal telephone
                      user that he is inadvertently connected, CNG will
                      be transmitted to line during the time that signals
                      are attempted to be detected
           2                                                                Terminal detects ring and answers the call
           3                                                                Optionally, a recorded verbal announcement may
                                                                            be transmitted
          4                                                                 Transmit CED
          5           Begin facsimile procedure (see clauses 4 and/or 5)    Begin facsimile procedure (see clauses 4 and/or 5)
    NOTE – An alternative procedure may be specified by Administrations.


                                 Calling terminal                                     Called terminal




                           Dial tone       No                                                     No
                                                                              Ring detected?
                           detected?

                                  Yes                                                 Yes


                          Dial number



                                                                                Answer call

                            Start T0


                                                                                Optionally
                                                                                recorded
                                                                              announcement

                         Transmit CNG


                                                            No                Transmit CED

                                            No           T0
                             Signal
                                                      elapsed?
                           detected?


                                 Yes                         Yes


                                                     Disconnect




                         Enter Phase B                                        Enter Phase B      T0829290-99/d005
                            Node T                                               Node R



                           Figure 5/T.30 – Call establishment, operating method 4




                                                                                     ITU-T Rec. T.30 (09/2005)                   11
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2170 Filed 01/18/22 Page 46 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2171 Filed 01/18/22 Page 47 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2172 Filed 01/18/22 Page 48 of 715


                                Calling transmitter               Called receiver

                                                             Called terminal identification
                          Phase A

                                                             Capabilities identification
                                    Command information

                          Phase B
                                                  Training

                                                             Confirmation to receive


                                                 Message
                          Phase C

                                          End of message

                                                             Message confirmation
                          Phase D
                                                                               T0813080-93/d008




                           Figure 7/T.30 – Calling terminal is transmitting

                                    Calling receiver               Called transceiver

                                                             Called terminal identification
                          Phase A

                                                             Capabilities identification (DIS)

                              Transmit command (DTC)

                                                             Receive command (DCS)
                          Phase B
                                                             Training

                           Confirmation to receive (CFR)

                          Phase C
                                                             Message


                          Phase D                            End of message (EOM)

                            Message confirmation (MCF)

                                                                               T0813090-93/d009




                             Figure 8/T.30 – Calling terminal is receiving


  4       Tonal signal functions and formats

  4.1     Automatic answer sequence
  Group 3 facsimile terminals may automatically answer calls in accordance with either 4.1.1 or
  4.1.2.
  4.1.1 For a period of at least 0.2 s after it is connected to line, it shall transmit no signal. After
  this period, it shall transmit the Called terminal identification (CED) answer tone, a continuous
  2100 Hz ± 15 Hz tone for a duration of not less than 2.6 s and not more than 4.0 s and then follow
  the procedures defined in clause 5. The terminal delays for a period of 75 ± 20 ms after transmitting
  the CED tone before transmitting further signals.
  4.1.2 If the terminal incorporates the optional procedures defined in ITU-T Rec. V.8, it transmits
  the answer tone ANSam defined in ITU-T Rec. V.8 and then follows the procedures defined in
  clause 6.



  14       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2173 Filed 01/18/22 Page 49 of 715


  NOTE – Some terminals which conform to the pre-1996 versions of this Recommendation may transmit a
  different automatic answer sequence to that described above. This alternative sequence is shown in
  Figure III.1.

  4.2      Calling tone (CNG)
  Format
  See Figure 9.
                                     1100 Hz




                                          0.5 s         3s
                                                                         T0813160-99/d010


                                      1100 Hz, ON for 0.5 second, OFF for 3 seconds.
                             NOTE – Tolerances: timing, ± 15%: frequency, 1100 Hz ± 38 Hz.



                                                   Figure 9/T.30

  Function
  1)     To indicate a calling non-speech terminal. This signal is mandatory for automatic calling
         terminals and for manual terminals. However, manual calling terminals conforming to the
         1993 and previous versions of this Recommendation may not transmit this signal.
  2)     To indicate that the terminal is in the transmit mode and is ready to transmit on receipt of
         the Digital Identification Signal (DIS).
  3)     Where a terminal is capable of sending more than one document without the necessity of
         operator assistance, this signal may be transmitted between documents whilst the
         transmitter is waiting for the Digital Identification Signal (DIS). It would indicate to an
         operator that the transmitter was still connected to line.

  5        Binary coded signalling procedure
  300 bits per second is the standard data signalling rate for the transmission of binary coded
  procedural data.
  Except as otherwise noted, the binary coded control procedures should be transmitted in a
  synchronous mode on the general switched telephone network at 300 bits per second ±0.01%
  utilizing the characteristics of V.21 channel No. 2 modulation system. For the tolerances, see
  clause 3/V.21. Signal generators should have a distortion not exceeding 1% and the control signal
  receivers should accept signals with a distortion not exceeding 40%.
  An error correction capability is utilized as a recognized option. This procedure is defined in
  Annex A.
  A capability to operate over public digital networks or on the GSTN using duplex modulation
  systems is provided as a standardized option. This procedure is defined in Annex C.
  NOTE 1 – The transmission of training, TCF, and all in-message signals, shall be at the data rate of the high-
  speed message channel.
  NOTE 2 – It is acknowledged that existing terminals may not conform in all aspects to this
  Recommendation. Other methods may be possible as long as they do not interfere with the recommended
  operation.




                                                                                  ITU-T Rec. T.30 (09/2005)   15
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2174 Filed 01/18/22 Page 50 of 715


  NOTE 3 – Transmission of signals utilizing the modulation system of V.21 channel No. 2 should be
  followed by a delay of 75 ± 20 ms before the signalling, utilizing a different modulation system, commences
  (e.g., the delay between DCS and the V.27 ter or V.29 training sequence).
  NOTE 4 – The transmission of signalling utilizing the modulation systems of ITU-T Recs V.27 ter, V.29, or
  V.17 should be followed by a delay of 75 ± 20 ms before the signalling, utilizing a different modulation
  system, commences (e.g., the delay between RTC and MPS).
  NOTE 5 – Terminals using the modulation system defined in ITU-T Rec. V.17 (as specified by bits 11, 12,
  13 and 14 of Table 2/V.17) shall use the short resynchronization sequence defined in Table 3/V.17 for all
  trellis mode training except during a TCF message and the first high-speed message after a CTC/CTR ECM
  message sequence. The long synchronization sequence shall be used in the TCF and the first high-speed
  message after the CTC/CTR sequence.

  5.1        Description
  Phases B, C and D
  Case 1: Calling terminal wishes to transmit (see Figure 7).


                     Calling terminal                                 Called terminal
                                                     1.    Transmit DIS
        2.      DIS detected
        3.      Transmit DCS
                                                     4.    DCS detected
                                                     5.    Select mode
        6.      Transmit training
                                                     7.    Training
                                                     8.    Transmit CFR
        9.      Detect CFR
        10.     Transmit message
                                                     11.   Receive message
        12.     At the end of message send either:
                a) EOM; or
                b) EOP; or
                c) MPS; or
                d) PRI-Q; or
                e) PPS-NULL; or
                f) PPS-MPS; or
                g) PPS-EOM; or
                h) PPS-EOP; or
                i) PPS-PRI-Q
                                                     13.   Detect EOM, EOP, MPS, PRI-Q,
                                                           PPS-NULL, PPS-MPS, PPS-EOM,
                                                           PPS-EOP or PPS-PRI-Q
                                                     14.   Transmit one of the confirmation signals of
                                                           post-message responses (see 5.3.6.1.7)
        NOTE – Binary coded signals must be preceded by a preamble (see 5.3.1).




  16          ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2175 Filed 01/18/22 Page 51 of 715


  Case 2: Calling terminal wishes to receive (see Figure 8).


                      Calling terminal                               Called terminal
                                                    1.    Transmit DIS
        2.      DIS detected
        3.      Transmit DTC
                                                    4.    DTC detected
                                                    5.    Transmit DCS
        6.      DCS detected
        7.      Select mode
                                                    8.    Transmit training
        9.      Training
        10.     Transmit CFR
                                                    11.   Detect CFR
                                                    12.   Transmit message
        13.     Receive message
                                                    14.   At the end of message send either:
                                                          a) EOM; or
                                                          b) EOP; or
                                                          c) MPS; or
                                                          d) PRI-Q; or
                                                          e) PPS-NULL; or
                                                          f) PPS-MPS; or
                                                          g) PPS-EOM; or
                                                          h) PPS-EOP; or
                                                          i) PPS-PRI-Q
        15.     Detect EOM, EOP, MPS, PRI-Q,
                PPS-NULL, PPS-MPS, PPS-EOM,
                PPS-EOP or PPS-PRI-Q
        16.     Transmit one of the confirmation
                signals of post-message responses
                (see 5.3.6.1.7)

  5.2        Flow diagrams – Figures 5-2a to 5-2x (see also Appendix IV)
  For the Notes and an explanation of terms to the flow diagrams, see 5.2.1.




                                                                         ITU-T Rec. T.30 (09/2005)   17
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2176 Filed 01/18/22 Page 52 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2177 Filed 01/18/22 Page 53 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2178 Filed 01/18/22 Page 54 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2179 Filed 01/18/22 Page 55 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2180 Filed 01/18/22 Page 56 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2181 Filed 01/18/22 Page 57 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2182 Filed 01/18/22 Page 58 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2183 Filed 01/18/22 Page 59 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2184 Filed 01/18/22 Page 60 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2185 Filed 01/18/22 Page 61 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2186 Filed 01/18/22 Page 62 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2187 Filed 01/18/22 Page 63 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2188 Filed 01/18/22 Page 64 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2189 Filed 01/18/22 Page 65 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2190 Filed 01/18/22 Page 66 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2191 Filed 01/18/22 Page 67 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2192 Filed 01/18/22 Page 68 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2193 Filed 01/18/22 Page 69 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2194 Filed 01/18/22 Page 70 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2195 Filed 01/18/22 Page 71 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2196 Filed 01/18/22 Page 72 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2197 Filed 01/18/22 Page 73 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2198 Filed 01/18/22 Page 74 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2199 Filed 01/18/22 Page 75 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2200 Filed 01/18/22 Page 76 of 715


  5.2.1   Flow diagram key
   COMMAND REC             The "command received" subroutine searches for an error-free
                           standard command. The decision diamonds in the flow diagram refer
                           to the most recent standard command received (e.g., EOM, MPS, etc.).
   COMPT REMOTE            The FIF associated with the DIS has indicated a REC "compatible
   REC                     remote receiver".
   DOC TO XMIT             The terminal has "at least one document to be transmitted".
   COMPT REMOTE            The FIF associated with the DIS has indicated a "compatible remote
   XMTR                    transmitter" which has documents to send.
   RESPONSE REC            The "response received" subroutine which searches for an error-free
                           standard response.
   LAST DOC                The "last document", for the given operating mode, has been
                           transmitted.
   SET MODE                The system controller will "set the appropriate mode" of operation.
   3rd TRY                 The command has been repeated three times without an appropriate
                           response.
   CAPABLE RE-XMIT         The transmitting terminal is "capable of retransmitting" a document
                           which was not received with acceptable quality.
   MSG CARRIER REC         The "message channel carrier has been received". This carrier is
                           1 800 Hz for the basic Group 3 modulation scheme. For details of the
                           optional modulation schemes, refer to the relevant V-series
                           Recommendations.
   TRAIN OK                The training TCF signal has been analysed and the results of "training
                           were OK".
   CHANGE MODE             The transmitting terminal desires to exit from the transmitting mode of
                           operation and re-establish the capabilities.
   NSP REQ                 A "non-specified procedure" has been "recognized" by a terminal
                           compatible with the terminal initiating that procedure.
   COPY QUALITY OK         By some algorithm, the "copy quality was deemed OK".
   RETRAIN                 By some algorithm, it is deemed desirable to transmit a new training
                           signal.
   FLAG                    There has been the detection of a "flag".
   RECEIVE A FRAME         The terminal has "received one complete HDLC frame".
   FCS ERROR               The HDLC frame received contained an "FCS error".
   OPTIONAL RESPNS         The HDLC frame received contained one of the listed "optional
                           responses".
   OPTIONAL                The HDLC frame received contained one of the listed "optional
   COMMAND                 commands".
   CRP OPTION              The facsimile terminal has the "CRP option" and can, therefore,
                           request an immediate retransmission of the most recent command.
   LOCAL INT               Either the "local" terminal or the "local" operator wishes to generate an
                           interrupt of the standard facsimile procedures. An operator would use
                           this as a means to request the establishment of voice contact.

  42      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2201 Filed 01/18/22 Page 77 of 715



   LINE REQ                     This means that the local operator has "requested" that the telephone
                                line be connected to the handset for voice contact with the remote end.
   PRI-Q                        A general term referring to either PRI-EOM, a PRI-MPS, or a PRI-
                                EOP post-message command, i.e., the fifth bit of the standard post-
                                message command is set to "1".
   END OF PAGE?                 The transmitting terminal may have further data to transmit to
                                complete the page.
   4th PPR?                     PPR has been received 4 times.
   TRANSMIT ERROR               The frames defined in the information field associated with PPR are
   FRAMES                       transmitted using the V.27 ter/V.29/V.17 modulation system.
   CONTINUE TO                  The transmitting terminal by some algorithm decides to continue
   CORRECT?                     correcting the previous message.
   CONTINUE WITH                The transmitting terminal by some algorithm decides to continue and
   NEXT MESSAGE?                transmit the next message. The previous message was not satisfactorily
                                transmitted.
   PPS-PRI-Q?                   The terminal has "received either PPS-PRI-EOM, PPS-PRI-MPS or
                                PPS, PRI-EOP post-message command".
   PPS-Q?                       The terminal has "received either PPS-EOM, PPS-MPS, PPS-EOP or
                                PPS-NULL post-message command".
   EOR-PRI-Q?                   The terminal has "received either EOR-PRI-EOM, EOR-PRI-MPS or
                                EOR-PRI-EOP post-message command".
   EOR-Q?                       The terminal has "received either EOR-EOM, EOR-MPS, EOR-EOP
                                or EOR-NULL post-message command".
   RECEIVE READY?               The receiving terminal is ready to receive the next message.
   RR RESPONSE                  The "RR response received" subroutine searches for an error-free
   REC?                         response for the RR command.
   CTC RESPONSE                 The "CTC response received" subroutine searches for an error free
   REC?                         response for the CTC command.
  NOTE 1 – The non-specified procedure, NSP, refers to a procedure which takes 6 s or less to complete. It
  may not necessarily be a definable signal sequence.
  NOTE 2 – The error correction mode is defined in Annex A.
  NOTE 3 – The PRI-EOM, PRI-EOP, PRI-MPS post-message commands are sent when a local interrupt
  request is pending.
  NOTE 4 – At any time during the operation an interrupt may be generated which would result in a
  procedural interrupt. It is understood that if this interrupt happens during the transmission of the document,
  the RTC/RCP signal will be transmitted prior to invoking the procedural interrupt.
  NOTE 5 – Where the symbols { } are used, the signals within these symbols are a response to DIS from the
  calling terminal wishing to receive.
  NOTE 6 – Where the symbols ( ) are used, the signals within these symbols are optional.
  NOTE 7 – Maximum number of tries is between 1 and 3.

  5.3      Binary coded signal functions and formats
  An HDLC frame structure is utilized for all binary coded facsimile control procedures. The basic
  HDLC structure consists of a number of frames, each of which is subdivided into a number of


                                                                          ITU-T Rec. T.30 (09/2005)          43
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2202 Filed 01/18/22 Page 78 of 715


  fields. It provides for frame labelling, error checking and confirmation of correctly received
  information.
  More specifically, the example in Figure 10 of a format is used for binary coded signalling. This
  example shows an initial identification sequence (see 5.3.6.1.1).
  In the following descriptions of the fields, the order in which the bits are transmitted is from the
  most to the least significant bit, i.e., from left to right as printed. The exception to this is the CSI
  format (see 5.3.6.2.4).
  The equivalent between binary notation symbols and the significant conditions of the signalling
  code should be in accordance with ITU-T Rec. V.1.
  NOTE 1 – Any initial (capabilities identification) non-standard frame which is transmitted shall be
  accompanied by a mandatory frame. The mandatory frame shall always be the last one transmitted (see
  Figure 10).
  NOTE 2 – A terminal which receives optional frame(s) which it does not recognize shall discard the frame(s)
  and use the mandatory frames in continuing the procedure.
  5.3.1       Preamble
  The preamble shall precede all binary coded signalling whenever a new transmission of information
  begins in any direction (i.e., for each line turnaround). This preamble assures that all elements of the
  communication channel (e.g., echo suppressors) are properly conditioned so that the subsequent
  data may be passed unimpaired. This preamble shall be a series of flag sequences for 1 s ± 15%.
  NOTE – Some terminals which conform to the pre-1996 versions of this Recommendation may transmit an
  optional binary coded preamble at 2400 bit/s – see Appendix III.
  5.3.2       Message/signalling delineation

                                  Preamble                      Binary coded information




                                 Non-standard                   Called subscriber                        Digital
                                facilities frame               identification frame              identification frame




                                                                   HDLC information field

                                                              Facsimile                            Frame
       Flag           Flag                                     control            Facsimile       checking          Flag
                                 Address           Control
                                                                (DIS)            information      sequence




                                                             Basic G3            Additional G3
                                                             capability    +      capabilities
                                                                                                               T0826800-97/d033




                                                     Figure 10/T.30




  44           ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2203 Filed 01/18/22 Page 79 of 715


  5.3.2.1 When the V.27 ter, V.29 or V.17 modulation scheme is employed, the delineation is
  obtained by the transmission of the RTC signal (see 4.1.4/T.4) and an RCP frame (see
  Annex A/T.4). This signals the T.4 modulation system to drop off the line and be replaced by the
  binary coded modulation system. When the V.34 modulation scheme is employed, the delineation is
  obtained as defined in Annex F.
  NOTE – If the receiver detects at least one RCP frame correctly, it may initiate post-message command
  reception.
  When operating in the duplex mode, the RCP frame is not used and delineation is obtained by use
  of the facsimile control field.
  5.3.2.2 The transmission of the delineation signal, either the RTC signal or the RCP frame, shall be
  followed by a delay of 75 ± 20 ms before the binary coded modulation system commences to
  transmit.
  5.3.2.3 After receipt of a signal using the binary coded modulation system, the transmitting
  terminal must wait at least 75 ms before sending any signals using V.27 ter/V.29/V.17 modulation
  system.
  5.3.3     Flag sequence
  The eight-bit HDLC flag sequence is used to denote the beginning and end of the frame. For the
  facsimile procedure, the flag sequence is used to establish bit and frame synchronization. The
  trailing flag of one frame may be the leading flag of the following frame.
  Continued transmission of the flag sequence may be used to signal to the distant terminal that the
  terminal remains on line but is not presently prepared to proceed with the facsimile procedure.
  Format: 0111 1110
  5.3.4     Address field
  The eight-bit HDLC address field is intended to provide identification of specific terminal(s) in a
  multipoint arrangement. In the case of transmission on the general switched telephone network, this
  field is limited to a single format.
  Format: 1111 1111
  5.3.5     Control field
  The eight-bit HDLC control field provides the capability of encoding the commands and responses
  unique to the facsimile control procedures.
  Format: 1100 X000
  X = 0 for non-final frames within the procedure, X = 1 for final frames within the procedure. A
  final frame is defined as the last frame transmitted prior to an expected response from the distant
  terminal.
  5.3.6     Information field
  The HDLC information field is of variable length and contains specific information for the control
  and message interchange between two facsimile terminals. In this Recommendation it is divided
  into two parts, the Facsimile Control Field (FCF) and the Facsimile Information Field (FIF).
  5.3.6.1     Facsimile Control Field (FCF)
  The facsimile control field is defined to be the first 8 or 16 bits of the HDLC information field. An
  FCF of 16 bits should be applied only for the optional T.4 error correction mode. This field contains
  the complete information regarding the type of information being exchanged and the position in the
  overall sequence. The bit assignments within the FCF are as follows:



                                                                    ITU-T Rec. T.30 (09/2005)       45
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2204 Filed 01/18/22 Page 80 of 715


  Where X appears as the first bit of FCF, X will be defined as follows:
  –      X is set to "1" by the terminal which receives a valid DIS signal;
  –      X is set to "0" by the terminal which receives a valid and appropriate response to a
         DIS signal;
  –      X will remain unchanged until the terminal again enters the beginning of phase B.
  5.3.6.1.1 Initial identification
  From the called to the calling terminal.
  Format: 0000 XXXX
  1)      Digital Identification Signal (DIS) – Characterizes the standard ITU-T capabilities of the
          called terminal.
          Format: 0000 0001
  2)      Called Subscriber Identification (CSI) – This optional signal may be used to provide the
          specific identity of the called subscriber by its international telephone number (see
          5.3.6.2.4, CSI coding format).
          Format: 0000 0010
  3)      Non-Standard Facilities (NSF) – This optional signal may be used to identify specific user
          requirements which are not covered by the T-series Recommendations.
          Format: 0000 0100
  5.3.6.1.2 Command to send
  From a calling terminal wishing to be a receiver to a called terminal which is capable of
  transmitting.
  Format: 1000 XXXX
  1)      Digital Transmit Command (DTC) – The digital command response to the standard
          capabilities identified by the DIS signal.
          Format: 1000 0001
  2)      Calling Subscriber Identification (CIG) – This optional signal indicates that the following
          FIF information is an identification of that calling terminal. It may be used to provide
          additional security to the facsimile procedure (see 5.3.6.2.5, CIG coding format).
          Format: 1000 0010
  3)      Non-Standard facilities Command (NSC) – This optional signal is the digital command
          response to the information contained in the NSF signal.
          Format: 1000 0100
  4)      Password (PWD) – This optional signal indicates that the following FIF information is a
          password for the polling mode. It may be used to provide additional security to the
          facsimile procedure (see 5.3.6.2.8, PWD coding format). PWD is only sent if bit 50 in DIS
          is set. This signal shall only be used once in each signal sequence i.e., concatenated signals
          are not permitted.
          Format: 1000 0011
  5)      Selective Polling (SEP) – This optional signal indicates that the following FIF information
          is:
          a) a subaddress for the polling mode; or
          b) a specific document number.



  46       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2205 Filed 01/18/22 Page 81 of 715


          (See 5.3.6.2.9, SEP coding format.) SEP is only sent if bit 47 in DIS is set. This signal shall
          only be used once in each signal sequence, i.e., concatenated signals are not permitted.
          Format: 1000 0101
          NOTE – When PSA and SEP are used together in the polling mode, option b) is applied.
  6)      Polled Subaddress (PSA) – This optional signal indicates that the following
          FIF information is a subaddress for polling (see 5.3.6.2.14, PSA coding format). PSA is
          only sent if bit 35 in the DIS is set. This signal shall only be used once in each signal
          sequence, i.e., concatenated signals are not permitted.
          Format: 1000 0110
  7)      Calling subscriber Internet Address (CIA) – This optional signal indicates that the
          following FIF information is an address in the Internet of that calling station (see 5.3.6.2.12,
          CSA, TSA, CIA, IRA and ISP coding format). CIA is sent with DTC only when Internet
          capabilities (Bit 1 or 3) in DIS is set. Sending multiple Internet address is for further study.
          Format: 1000 0111
  8)      Internet Selective Polling Address (ISP) – This optional signal indicates that the following
          FIF information is an address in the Internet for the polling mode. It may be used to
          indicate that a specific document shall be polled at the called gateway (see 5.3.6.2.12, CSA,
          TSA, CIA, IRA and ISP coding format). ISP is only sent if bit 101 in DIS is set. Sending
          multiple Internet address is for further study.
          Format: 1000 1000
  5.3.6.1.3 Command to receive
  From the transmitter to the receiver.
  Format: X100 XXXX
  1)      Digital Command Signal (DCS) – The digital set-up command responding to the standard
          capabilities identified by the DIS signal.
          Format: X100 0001
  2)      Transmitting Subscriber Identification (TSI) – This optional signal indicates that the
          following FIF information is the identification of the transmitting terminal. It may be used
          to provide additional security to the facsimile procedures. (See 5.3.6.2.6, TSI coding
          format.)
          Format: X100 0010
  3)      Non-Standard facilities Set-up (NSS) – This optional signal is the digital command response
          to the information contained in the NSC or NSF signal.
          Format: X100 0100
  4)      Subaddress (SUB) – This optional signal indicates that the following FIF information is a
          subaddress in the called subscriber's domain. It may be used to provide additional routing
          information in the facsimile procedure (see 5.3.6.2.10, SUB coding format). SUB is only
          sent if bit 49 in DIS/DTC is set. This signal shall only be used once in each signal
          sequence, i.e., concatenated signals are not permitted.
          Format: X100 0011
  5)      Sender Identification (SID) – This optional signal indicates that the following FIF
          information is the sender identity (see 5.3.6.2.11, SID coding format). SID is only sent if bit
          50 in DIS is set. This signal shall only be used once in each signal sequence,
          i.e., concatenated signals are not permitted.
          Format: X100 0101


                                                                     ITU-T Rec. T.30 (09/2005)         47
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2206 Filed 01/18/22 Page 82 of 715


  6)      Training Check (TCF) – This digital command is sent through the T.4 modulation system
          to verify training and to give a first indication of the acceptability of the channel for this
          data rate.
          Format: A series of 0 for 1.5 s ± 10%.
          NOTE – No HDLC frame is required for this command.
  7)      Continue To Correct (CTC) – This digital command is only used in the optional T.4 error
          correction mode. See item 1) of A.4.1.
  8)      Transmitting Subscriber Internet address (TSA) – This optional signal indicates that the
          following FIF information is an address in the Internet of that transmitting station
          (see 5.3.6.2.12, CSA, TSA, CIA, IRA and ISP coding format). TSA is sent with DCS only
          when Internet capabilities (Bit 1 or 3) in DIS is set to 1. Sending multiple Internet address
          is for further study.
          Format: X100 0110
  9)      Internet Routing Address (IRA) – This optional signal indicates that the following FIF
          information is an address in the Internet. It may be used to provide additional routing
          information for gateways in the facsimile procedure (see 5.3.6.2.12, CSA, TSA, CIA, IRA
          and ISP coding format). IRA is only sent if bit 102 in DIS/DTC is set. Sending multiple
          Internet address is for further study.
          Format: X100 0111
  5.3.6.1.4 Pre-message response signals
  From the receiver to the transmitter.
  Format: X010 XXXX
  1)      Confirmation To Receive (CFR) – A digital response confirming that the entire pre-message
          procedure has been completed and the message transmissions may commence.
          Format: X010 0001
  2)      Failure To Train (FTT) – A digital response rejecting the training signal and requesting a
          retrain.
          Format: X010 0010
  3)      Response for Continue To Correct (CTR) – This digital response is only used in the
          optional T.4 error correction mode. For further details, refer to item 1) of A.4.2.
  4)      Called Subscriber Internet Address (CSA) – This optional signal indicates that the
          following FIF information is an address in the Internet of that called station (see 5.3.6.2.12,
          CSA, TSA, CIA, IRA and ISP coding format). CSA is sent with CFR only when Internet
          capabilities (Bit 1 or 3) in DCS is set to 1. Sending multiple Internet address is for further
          study.
          Format: X010 0100
  NOTE 1 – Transmitter will send message when CFR or CSA/CFR is detected.
  NOTE 2 – Transmitter will send message, but will not request retransmission of CSA, when CFR is detected
  but CSA is not detected.
  NOTE 3 – Transmitter will request retransmission of CFR when only CSA is detected.
  5.3.6.1.5 In-message procedure
  From the transmitter to the receiver. The in-message procedure formats and specific signals shall be
  consistent with ITU-T Rec. T.4.




  48       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2207 Filed 01/18/22 Page 83 of 715


  5.3.6.1.6 Post-message commands
  From the transmitter to the receiver.
  Format: X111 XXXX
  1)      End Of Message (EOM) – To indicate the end of a complete page of facsimile information
          and to return to the beginning of phase B.
          Format: X111 0001
  2)      MultiPage Signal (MPS) – To indicate the end of a complete page of facsimile information
          and to return to the beginning of phase C upon receipt of a confirmation.
          Format: X111 0010
  3)      End Of Procedure (EOP) – To indicate the end of a complete page of facsimile information
          and to further indicate that no further documents are forthcoming and to proceed to phase
          E, upon receipt of a confirmation.
          Format: X111 0100
  4)      Procedure Interrupt-End Of Message (PRI-EOM) – To indicate the same as an
          EOM command with the additional optional capability of requesting operator intervention.
          If operator intervention is accomplished, further facsimile procedures shall commence at
          the beginning of phase B.
          Format: X111 1001
  5)      Procedure Interrupt-MultiPage Signal (PRI-MPS) – To indicate the same as an
          MPS command with the additional optional capability of requesting operator intervention.
          If operator intervention is accomplished, further facsimile procedures shall commence at
          the beginning of phase B.
          Format: X111 1010
  6)      Procedure Interrupt-End Of Procedure (PRI-EOP) – To indicate the same as an
          EOP command with the additional optional capability of requesting operator intervention.
          If operator intervention is accomplished, further facsimile procedures shall commence at
          the beginning of phase B.
          Format: X111 1100
  NOTE 1 – Commands EOM, MPS, EOP, PRI-Q should not be used in the optional T.4 error correction
  mode.
  NOTE 2 – In the duration between partial-pages, procedure interrupt signals should not be transmitted in the
  optional T.4 error correction mode.
  7)      End Of Selection (EOS) – This optional command from the multiple-SEP-capable polling
          transmitter to the SEP-capable polling receiver shall be used to indicate that the end (last
          page or last block) of the currently selected document has been reached and that a return to
          phase B is expected for the purpose of eliciting any new SEP-selected document request.
          EOS may only be transmitted if bit 34 was set in the receiver's DTC.
          Format: X111 1000
  8)      Partial Page Signal (PPS) – This digital command is only used in the optional T.4 error
          correction mode. See item 1) of A.4.3.
  9)      End Of Retransmission (EOR) – This digital command is only used in the optional T.4 error
          correction mode. See item 2) of A.4.3.
  10)     Receive ready (RR) – This digital command is only used in the optional T.4 error correction
          mode or optional flow control mode. With respect to the optional T.4 error correction
          mode, see item 3) of A.4.3.



                                                                        ITU-T Rec. T.30 (09/2005)          49
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2208 Filed 01/18/22 Page 84 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2209 Filed 01/18/22 Page 85 of 715


          NOTE 1 – RTP is not applicable to the optional T.4 error correction mode.
  3)      Retrain Negative (RTN) – To indicate that the previous message has not been satisfactorily
          received. However, further receptions may be possible, provided training is retransmitted.
          Format: X011 0010
          NOTE 2 – RTN is not applicable to the optional T.4 error correction mode.
  4)      Procedure Interrupt Positive (PIP) – To indicate that a message has been received but that
          further transmissions are not possible without operator intervention. Failing operator
          intervention and if further documents are to follow, the facsimile procedure shall begin at
          the beginning of phase B. This is a positive response only to MPS, EOM, EOP, PRI-Q,
          PPS-MPS, PPS-EOM, PPS-EOP, PPS-PRI-Q.
          Format: X011 0101
  5)      Procedure Interrupt Negative (PIN) – To indicate that the previous (or in-process) message
          has not been satisfactorily received and that further transmissions are not possible without
          operator intervention. Failing operator intervention and if further documents are to follow,
          the facsimile procedure shall begin at the beginning of phase B. This is a negative response
          only to MPS, EOM, EOP, PRI-Q, PPS-MPS, PPS-EOM, PPS-EOP, PPS-PRI-Q,
          EOR-MPS, EOR-EOM, EOR-EOP and EOR-PRI-Q.
          Format: X011 0100
          NOTE 3 – All terminals shall be able to recognize the PIN and PIP signals. The ability to transmit
          these signals is optional.
          NOTE 4 – In the duration between partial-pages, RTP, RTN, PIP and PIN signals should not be
          transmitted in the optional T.4 error correction mode.
  6)      Partial Page Request (PPR) – This digital response is only used in the optional T.4 error
          correction mode. See item 1) of A.4.4.
  7)      Receive Not Ready (RNR) – This digital response is only used in the optional T.4 error
          correction mode or optional flow control mode. With respect to the optional T.4 error
          correction mode, see item 2) of A.4.4.
  8)      Response for End of Retransmission (ERR) – This digital response is only used in the
          optional T.4 error correction mode. See item 3) of A.4.4.
  9)      File Diagnostics Message (FDM) – This digital response may be used in place of MCF. See
          Appendix V for more information.
          Format: X011 1111
          NOTE 5 – Applicable only to the optional BFT mode.
  5.3.6.1.8 Other line control signals
  For the purpose of handling errors and controlling the state of the line.
  Format: X101 XXXX
  1)      Disconnect (DCN) – This command indicates the initiation of phase E (call release). This
          command requires no response.
          Format: X101 1111
  2)      Command Repeat (CRP) – This optional response indicates that the previous command was
          received in error and should be repeated in its entirety (i.e., optional frames included).
          Format: X101 1000
  3)      Field Not Valid (FNV) – This optional signal indicates that the last received PWD, SEP,
          SUB, SID, TSI, PSA or secure fax signal (or any combination of these) is invalid or not
          accepted. FNV is only sent if bit 33 in DIS/DTC and DCS is set.


                                                                       ITU-T Rec. T.30 (09/2005)         51
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2210 Filed 01/18/22 Page 86 of 715


            NOTE 1 – FNV shall be sent in place of CFR/FTT when the FIF of one or more optional signals
            associated with DCS is invalid or not accepted. FNV shall also be sent in response to the DTC when
            one or more of the related optional signals is invalid or not accepted. FNV may also be sent in
            response to the DEC, DES, DTR or DER signals (as defined in Annex H).
            Format: X101 0011
  4)        Transmit not ready (TNR) – This optional command is used to indicate that the transmitter
            is not ready to transmit.
            Format: X101 0111
  5)        Transmit ready (TR) – This optional response is used to ask for the status for transmitter.
            Format: X101 0110
            NOTE 2 – TNR, TR are applicable only to the optional flow control mode. The transmitter can send
            TNR instead of any commands after exchanging DIS/DTC and DCS signals.
  5.3.6.2       Facsimile Information Field (FIF)
  In many cases the FIF will be followed by the transmission of additional 8-bit octets to further
  clarify the facsimile procedure. This information for the basic binary coded system would consist of
  the definition of the information in the DIS, DCS, DTC, CSI, CIG, TSI, NSC, NSF, NSS, PWD,
  SEP, SUB, FDM, CTC, PPS and PPR signals.
  5.3.6.2.1 DIS standard capabilities
  Additional information fields will be transmitted immediately following the DIS facsimile control
  field. The bit assignment for this information is given in Table 2 where a 1 indicates the condition is
  valid, except where specifically noted otherwise (e.g., bits 11, 12, 13, 14 and 21, 22, 23).
  5.3.6.2.2 DCS standard commands
  When issuing the command, bits 1, 4 and 9 shall be set to 0. The DCS standard commands are
  formatted as shown in Table 2.
  5.3.6.2.3 DTC standard commands
  The DTC standard capabilities are formatted as shown in Table 2.

                                                     Table 2/T.30
       Bit No.                     DIS/DTC                 Note                 DCS                  Note
            1           Store and forward Internet fax-    60, 63   Store and forward Internet      60, 63
                        Simple mode (ITU-T                          fax- Simple mode (ITU-T
                        Rec. T.37)                                  Rec. T.37)
            2           Reserved                             1      Reserved                           1
            3           Real-time Internet fax (ITU-T      61, 63   Real-time Internet fax (ITU-T   61, 63
                        Rec. T.38)                                  Rec. T.38)
            4           3rd Generation Mobile               71      3rd Generation Mobile             71
                        Network                                     Network
            5           Reserved                             1      Reserved                           1
            6           V.8 capabilities                    23      Invalid                           24
            7           "0" = 256 octets preferred         23, 42   Invalid                           24
                        "1" = 64 octets preferred
            8           Reserved                             1      Reserved                           1




  52          ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2211 Filed 01/18/22 Page 87 of 715




                                                    Table 2/T.30
        Bit No.                     DIS/DTC               Note                   DCS                     Note
            9            Ready to transmit a facsimile     18      Set to "0"
                         document (polling)
            10           Receiver fax operation            19      Receiver fax operation                 20
   11 12 13 14           Data signalling rate                      Data signalling rate
    0   0        0   0   ITU-T Rec. V.27 ter fall-back             2400 bit/s, ITU-T Rec. V.27 ter       33
                         mode
    0   1        0   0   ITU-T Rec. V.27 ter                3      4800 bit/s, ITU-T Rec. V.27 ter
    1   0        0   0   ITU-T Rec. V.29                           9600 bit/s, ITU-T Rec. V.29
    1   1        0   0   ITU-T Recs V.27 ter and V.29              7200 bit/s, ITU-T Rec. V.29
    0   0        1   0   Not used                                  Invalid                                31
    0   1        1   0   Reserved                                  Invalid                                31
    1   0        1   0   Not used                                  Reserved
    1   1        1   0   Invalid                           32      Reserved
    0   0        0   1   Not used                                  14 400 bit/s, ITU-T Rec. V.17
    0   1        0   1   Reserved                                  12 000 bit/s, ITU-T Rec. V.17
    1   0        0   1   Not used                                  9600 bit/s, ITU-T Rec. V.17
    1   1        0   1   ITU-T Recs V.27 ter, V.29,        31      7200 bit/s, ITU-T Rec. V.17
                         and V.17
    0   0        1   1   Not used                                  Reserved
    0   1        1   1   Reserved                                  Reserved
    1   0        1   1   Not used                                  Reserved
    1   1        1   1   Reserved                                  Reserved
                                                         10, 11,
                         R8 × 7.7 lines/mm and/or                  R8 × 7.7 lines/mm or               10, 11,
            15                                           13, 25,
                         200 × 200 pels/25.4 mm                    200 × 200 pels/25.4 mm            13, 25, 34
                                                           34
                         Two-dimensional coding
            16                                                     Two-dimensional coding
                         capability
        17 18            Recording width capabilities      27      Recording width                       27
        0        0       Scan line length 215 mm ± 1%              Scan line length 215 mm ± 1%
        0        1       Scan line length 215 mm ± 1%
                         and
                         Scan line length 255 mm ± 1%              Scan line length 303 mm ± 1%
                         and
                         Scan line length 303 mm ± 1%
        1        0       Scan line length 215 mm ± 1%
                         and                                       Scan line length 255 mm ± 1%
                         Scan line length 255 mm ± 1%
        1        1       Invalid                            6      Invalid




                                                                             ITU-T Rec. T.30 (09/2005)          53
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2212 Filed 01/18/22 Page 88 of 715




                                                         Table 2/T.30
           Bit No.                       DIS/DTC               Note                    DCS             Note
           19 20            Recording length capability                 Recording length
           0        0       A4 (297 mm)                          2      A4 (297 mm)                      2
           0        1       Unlimited                                   Unlimited
                            A4 (297 mm) and B4
           1        0                                                   B4 (364 mm)
                            (364 mm)
           1        1       Invalid                                     Invalid
                            Minimum scan line time
       21 22 23                                               4, 8, 23 Minimum scan line time          8, 24
                            capability at the receiver

       0       0        0   20 ms at 3.85 l/mm: T7 7 =
                                                                        20 ms
                            T3 85

       0       0        1   40 ms at 3.85 l/mm: T7 7 =
                                                                        40 ms
                            T3 85

       0       1        0   10 ms at 3.85 l/mm: T7 7 =
                                                                        10 ms
                            T3 85
       1       0        0   5 ms at 3.85 l/mm: T7 7 = T3 85             5 ms

       0       1        1   10 ms at 3.85 l/mm: T7 7 = 1/2
                            T3 85

       1       1        0   20 ms at 3.85 l/mm: T7 7 = 1/2
                            T3 85

       1       0        1   40 ms at 3.85 l/mm: T7 7 = 1/2
                            T3 85
       1       1        1   0 ms at 3.85 l/mm: T7 7 = T3 85             0 ms
               24           Extend field                         5      Extend field                     5
               25           Reserved                           1, 41    Reserved                       1, 41
               26           Uncompressed mode                           Uncompressed mode
               27           Error correction mode               17      Error correction mode           17
                                                                        Frame size 0 = 256 octets        7
               28           Set to "0"
                                                                        Frame size 1 = 64 octets        24
               29           Reserved                             1      Reserved                         1
               30           Reserved                             1      Reserved                         1
               31           T.6 coding capability              9, 17    T.6 coding enabled             9, 17
               32           Extend field                         5      Extend field                     5
               33           Field not valid capability                  Field not valid capability
                            Multiple selective polling
               34                                               52      Set to "0"
                            capability
                                                              26, 44,
               35           Polled Subaddress                           Set to "0"
                                                                45
                                                              17, 25,
                                                                                                      17, 25,
                                                              34, 35,
               36           T.43 coding                                 T.43 coding                   34, 35,
                                                              37, 39,
                                                                                                     37, 39, 40
                                                                40
               37           Plane interleave                   25, 46   Plane interleave              25, 46


  54            ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2213 Filed 01/18/22 Page 89 of 715




                                            Table 2/T.30
      Bit No.               DIS/DTC               Note                    DCS                 Note
                 Voice coding with 32 k                    Voice coding with 32 k
        38                                        58, 59                                  17, 58, 59
                 ADPCM (ITU-T Rec. G.726)                  ADPCM (ITU-T Rec. G.726)
                 Reserved for the use of                   Reserved for the use of
        39                                          1                                           1
                 extended voice coding                     extended voice coding
        40       Extend field                       5      Extend field                         5
        41       R8 × 15.4 lines/mm               10, 62   R8 × 15.4 lines/mm                 10, 62
        42       300 × 300 pels/25.4 mm           34, 80   300 × 300 pels/25.4 mm              34
                                                 10, 12,
                 R16 × 15.4 lines/mm and/or                R16 × 15.4 lines/mm and/or      10, 12,
        43                                       13, 34,
                 400 × 400 pels/25.4 mm                    400 × 400 pels/25.4 mm          13, 34
                                                   80
                                                           Resolution-type selection
                 Inch-based resolution
        44                                        13, 14   "0": metric-based resolution       13, 14
                 preferred
                                                           "1": inch-based resolution
                 Metric-based resolution
        45                                        13, 14   Don't care
                 preferred
                 Minimum scan line time
                 capability for higher
        46       resolutions                       15      Don't care
                 "0": T15 4 = T7 7
                 "1": T15 4 = 1/2 T7 7
        47       Selective polling                26, 44   Set to "0"
        48       Extend field                       5      Extend field                         5
        49       Subaddressing capability                  Subaddressing transmission          26
                                                           Sender Identification
        50       Password                          26                                          26
                                                           transmission
                 Ready to transmit a data file
        51                                        17, 21   Set to "0"
                 (polling)
        52       Reserved                           1      Reserved                             1
                                                 16, 17,
        53       Binary File Transfer (BFT)                Binary File Transfer (BFT)         16, 17
                                                   21
                 Document Transfer Mode                    Document Transfer Mode
        54                                        17, 21                                       17
                 (DTM)                                     (DTM)
                 Electronic Data Interchange               Electronic Data Interchange
        55                                        17, 21                                       17
                 (EDI)                                     (EDI)
        56       Extend field                       5      Extend field                         5
        57       Basic Transfer Mode (BTM)        17, 21   Basic Transfer Mode (BTM)          17, 59
        58       Reserved                           1      Reserved                             1
                 Ready to transmit a character
        59       or mixed mode document           17, 22   Set to "0"
                 (polling)
        60       Character mode                   17, 22   Character mode                      17
        61       Reserved                           1      Reserved                             1
        62       Mixed mode (Annex E/T.4)         17, 22   Mixed mode (Annex E/T.4)           17, 22


                                                                  ITU-T Rec. T.30 (09/2005)            55
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2214 Filed 01/18/22 Page 90 of 715




                                                Table 2/T.30
       Bit No.                  DIS/DTC               Note                    DCS              Note
         63        Reserved                             1      Reserved                          1
         64        Extend field                         5      Extend field                      5
                   Processable mode 26                         Processable mode 26
         65                                           17, 22                                   17, 22
                   (ITU-T Rec. T.505)                          (ITU-T Rec. T.505)
         66        Digital network capability          43      Digital network capability        43
         67        Duplex and half-duplex                      Duplex and half-duplex
                   capabilities                                capabilities
         0         Half-duplex operation only                  Half-duplex operation only
         1         Duplex and half-duplex                      Duplex operation
                   operation
                                                     17, 25,                                   17, 25,
         68        JPEG coding                       34, 35,   Full colour mode                34, 35,
                                                     39, 40                                    39, 40
         69        Full colour mode                   25, 35   Full colour mode                25, 35
         70        Set to "0"                          36      Preferred Huffman tables        25, 36
         71        12 bits/pel component              25, 37   12 bits/pel component           25, 37
         72        Extend field                         5      Extend field                      5
         73        No subsampling (1:1:1)             25, 38   No subsampling (1:1:1)          25, 38
         74        Custom illuminant                  25, 39   Custom illuminant               25, 39
         75        Custom gamut range                 25, 40   Custom gamut range              25, 40
                   North American Letter                       North American Letter
         76                                            28
                   (215.9 × 279.4 mm) capability               (215.9 × 279.4 mm)
                   North American Legal                        North American Legal
         77                                            28
                   (215.9 × 355.6 mm) capability               (215.9 × 355.6 mm)
                   Single-progression sequential               Single-progression sequential
                                                     17, 29,
         78        coding (ITU-T Rec. T.85)                    coding (ITU-T Rec. T.85)        17, 29
                                                       30
                   basic capability                            basic
                   Single-progression sequential               Single-progression sequential
                                                     17, 29,
         79        coding (ITU-T Rec. T.85)                    coding (ITU-T Rec. T.85)        17, 29
                                                       30
                   optional L0 capability                      optional L0
         80        Extend field                         5      Extend field                      5
                   HKM key management                          HKM key management
         81
                   capability                                  selected
                   RSA key management                          RSA key management
         82                                                                                      47
                   capability                                  selected
         83        Override capability                 53      Override mode selected            53
         84        HFX40 cipher capability                     HFX40 cipher selected
                   Alternative cipher number 2                 Alternative cipher number 2
         85                                            56                                        56
                   capability                                  selected
                   Alternative cipher number 3                 Alternative cipher number 3
         86                                            56                                        56
                   capability                                  selected
         87        HFX40-I hashing capability                  HFX40-I hashing selected
         88        Extend field                         5      Extend field                      5

  56      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2215 Filed 01/18/22 Page 91 of 715




                                              Table 2/T.30
      Bit No.               DIS/DTC                 Note                    DCS                 Note
                 Alternative hashing system                  Alternative hashing system
        89                                           57                                          57
                 number 2 capability                         number 2 selected
                 Alternative hashing system                  Alternative hashing system
        90                                           57                                          57
                 number 3 capability                         number 3 selected
                 Reserved for future security                Reserved for future security
        91                                            1                                           1
                 features                                    features
                                                   17, 50,
        92       T.44 (Mixed Raster Content)                 T.44 (Mixed Raster Content)    17, 50, 69
                                                     69
                                                   17, 50,
        93       T.44 (Mixed Raster Content)                 T.44 (Mixed Raster Content)    17, 50, 69
                                                     69
                                                   17, 50,
        94       T.44 (Mixed Raster Content)                 T.44 (Mixed Raster Content)    17, 50, 69
                                                     69
                 Page length maximum strip                   Page length maximum strip
        95       size for T.44 (Mixed Raster         51      size for T.44 (Mixed Raster         51
                 Content)                                    Content)
        96       Extend field                         5      Extend field                         5
                 Colour/gray-scale 300 pels/                 Colour/gray-scale
                 25.4 mm × 300 lines/                        300 pels/25.4 mm ×
        97       25.4 mm or 400 pels/               49, 80   300 lines/25.4 mm or                49
                 25.4 mm × 400 lines/                        400 pels/25.4 mm ×
                 25.4 mm resolution                          400 lines/25.4 mm resolution
                 100 pels/25.4 mm ×                          100 pels/25.4 mm ×
        98       100 lines/25.4 mm                  10, 48   100 lines/25.4 mm                  10, 48
                 for colour/gray scale                       for colour/gray scale
                 Simple Phase C BFT                          Simple Phase C BFT
        99                                          54, 55                                      54, 55
                 Negotiations capability                     Negotiations capability
                 Extended BFT Negotiations
       100                                                   Set to "0"
                 capability
                 Internet Selective Polling
       101                                           26      Set to "0"
                 Address (ISP)
                 Internet Routing Address                    Internet Routing Address
       102                                           26                                          26
                 (IRA)                                       (IRA) transmission
       103       Reserved                             1      Reserved                             1
       104       Extend field                         5      Extend field                         5
                 600 pels/25.4 mm ×                          600 pels/25.4 mm ×
       105                                           81
                 600 lines/25.4 mm                           600 lines/25.4 mm
                 1200 pels/25.4 mm ×                         1200 pels/25.4 mm ×
       106                                           81
                 1200 lines/25.4 mm                          1200 lines/25.4 mm
                 300 pels/25.4 mm ×                          300 pels/25.4 mm ×
       107                                           62                                          62
                 600 lines/25.4 mm                           600 pels/25.4 mm
                 400 pels/25.4 mm ×                          400 pels/25.4 mm ×
       108                                           62                                          62
                 800 lines/25.4 mm                           800 lines/25.4 mm
                 600 pels/25.4 mm ×                          600 pels/25.4 mm ×
       109                                           62                                          62
                 1200 lines/25.4 mm                          1200 lines/25.4 mm


                                                                    ITU-T Rec. T.30 (09/2005)            57
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2216 Filed 01/18/22 Page 92 of 715




                                                         Table 2/T.30
            Bit No.                       DIS/DTC              Note                     DCS                 Note
                              Colour/gray scale                          Colour/gray scale
                110           600 pels/25.4 mm ×               64, 81    600 pels/25.4 mm ×                  64
                              600 lines/25.4 mm resolution               600 lines/25.4 mm resolution
                              Colour/gray scale                          Colour/gray scale
                111           1200 pels/25.4 mm ×              65, 81    1200 pels/25.4 mm ×                 65
                              1200 lines/25.4 mm resolution              1200 lines/25.4 mm resolution
                112           Field Extend                       5       Field Extend                         5
                              Double-sided printing                      Double-sided printing
                113                                            66, 67                                        67
                              capability (alternate mode)                capability (alternate mode)
                              Double-sided printing            66, 67,   Double-sided printing
                114                                                                                          67
                              capability (continuous mode)       68      capability (continuous mode)
                              Black and white mixed raster     17, 50,
                115                                                      Not used set to "0"              17, 50, 69
                              content profile (MRCbw)            69
                              T.45 (run length colour                    T.45 (run length colour
                116                                            17, 78                                      17, 78
                              encoding)                                  encoding)
           117 118            SharedDataMemory capacity          70      SharedDataMemory required           70
            0         0       Not available                              Not Used
            0         1       Level 1 = 1.0 Mbytes                       Level 1 = 1.0 Mbytes
            1         0       Level 2 = 2.0 Mbytes                       Level 2 = 2.0 Mbytes
            1         1       Level 3 = unlimited                        Level 3 = unlimited
                              (i.e., ≥32 Mbytes)                         (i.e., ≥32 Mbytes)
                119           T.44 Colour Space                  83      T.44 Colour Space                   83
                120           Extend field                               Extend field
                              Flow Control Capability for                Flow Control Capability for
                121                                            72, 73                                      72, 73
                              T.38 communication                         T.38 communication
                122           K>4                                74      K>4                                 74
                              Internet aware T.38 mode fax               Internet aware fax device
                123                                              75                                        76, 77
                              device capability                          operating in T.38 mode
                              T.89 (Application profiles for             T.89 (Application profiles for
   124 125 126                                                 78, 79                                      78, 79
                              ITU-T Rec. T.88)                           ITU-T Rec. T.88)
       0         0        0   Not used                                   Not used
       0         0        1   Profile 1                                  Profile 1
       0         1        0   Profile 2                                  Profile 2
       0         1        1   Profile 3                                  Profile 3
       1         0        0   Profiles 2 and 3                           Invalid
       1         0        1   Reserved                                   Reserved
       1         1        0   Reserved                                   Reserved
       1         1        1   Reserved                                   Reserved
                127           sYCC-JPEG coding                 17, 82    sYCC-JPEG coding                  17, 82




  58             ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2217 Filed 01/18/22 Page 93 of 715




                                                 Table 2/T.30
   NOTE 1 – Bits that are indicated as "Reserved" shall be set to "0".
   NOTE 2 – Standard facsimile terminals conforming to ITU-T Rec. T.4 must have the following capability:
   Paper length = 297 mm.
   NOTE 3 – Where the DIS or DTC frame defines V.27 ter capabilities, the terminal may be assumed to be
   operable at either 4800 or 2400 bit/s.
   Where the DIS or DTC frame defines V.29 capabilities, the terminal may be assumed to be operable at
   either 9600 or 7200 bit/s per ITU-T Rec. V.29; where it defines ITU-T Rec. V.17, the terminal may be
   assumed to be operable at 14 400 bit/s, 12 000 bit/s, 9600 bit/s or 7200 bit/s per ITU-T Rec. V.17.
   NOTE 4 – T7 7 and T3 85 refer to the scan line times to be utilized when the vertical resolution
   is 7.7 lines/mm (or 200 lines/25.4 mm or 300 lines/25.4 mm) or 3.85 lines/mm, respectively (see bit 15
   above). T7 7 = 1/2 T3 85 indicates that when the vertical resolution is 7.7 lines/mm or 200 lines/25.4 mm or
   300 lines/25.4 mm, the scan line time can be decreased by half.
   NOTE 5 – The standard FIF field for the DIS, DTC and DCS signals is 24 bits long. If the "extend field"
   bit(s) is a "1", the FIF field shall be extended by an additional 8 bits.
   NOTE 6 – Existing terminals may send the invalid (1,1) condition for bits 17 and 18 of their DIS signal. If
   such signal is received, it should be interpreted as (0,1).
   NOTE 7 – The values of bit No. 28 in the DCS command is valid only when the indication of the T.4 error
   correction mode is invoked by bit 27.
   NOTE 8 – The optional T.4 error correction mode of operation and IAFD mode require 0 ms of the
   minimum scan line time capability. Bits 21-23 in DIS/DTC signals indicate the minimum scan line time of
   a receiver regardless of the availability of the error correction mode and IAFD mode.
   In case of error correction mode and IAFD mode, the sender sends DCS signal with bits 21-23 set to "1, 1,
   1" indicating 0 ms capability.
   In case of normal transmission, the sender sends DCS signal with bits 21-23 set to the appropriateness
   according to the capabilities of the two terminals.
   NOTE 9 – T.6 coding scheme capability specified by bit 31 is valid only when bit 27 (error correction
   mode) is set as a "1".
   NOTE 10 – Resolutions of R4, R8 and R16 are defined as follows:
      R4 = 864 pels/(215 mm ± 1%) for ISO A4, North American Letter and Legal.
      R4 = 1024 pels/(255 mm ± 1%) for ISO B4.
      R4 = 1216 pels/(303 mm ± 1%) for ISO A3.
      R8 = 1728 pels/(215 mm ± 1%) for ISO A4, North American Legal and Letter.
      R8 = 2048 pels/(255 mm ± 1%) for ISO B4.
      R8 = 2432 pels/(303 mm ± 1%) for ISO A3.
      R16 = 3456 pels/(215 mm ± 1%) for ISO A4, North American Letter and Legal.
      R16 = 4096 pels/(255 mm ± 1%) for ISO B4.
      R16 = 4864 pels/(303 mm ± 1%) for ISO A3.
   NOTE 11 – Bit 15, when set to "1", is interpreted according to bit 44 and 45 as follows:
   Bit 44          Bit 45                 Interpretation
      0               0                     (invalid)
      1               0                     200 pels/25.4 mm × 200 lines/25.4 mm
      0               1                     R8 × 7.7 lines/mm
      1               1                     R8 × 7.7 lines/mm and
                                            200 pels/25.4 mm × 200 lines/25.4 mm
   "1" in bit 15 without bits 41, 42, 43, 44, 45 and 46 indicates R8 × 7.7 lines/mm.




                                                                          ITU-T Rec. T.30 (09/2005)          59
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2218 Filed 01/18/22 Page 94 of 715




                                                    Table 2/T.30
   NOTE 12 – Bit 43, when set to "1", is interpreted according to bit 44 and 45 as follows:
   Bit 44           Bit 45                  Interpretation
       0               0                    (invalid)
       1               0                    400 pels/25.4 mm × 400 lines/25.4 mm
       0               1                    R16 × 15.4 lines/mm
       1               1                    R16 × 15.4 lines/mm and
                                            400 pels/25.4 mm × 400 lines/25.4 mm.
   NOTE 13 – Bits 44 and 45 are used only in conjunction with bits 15 and 43. Bit 44 in DCS, when used,
   shall correctly indicate the resolution of the transmitted document, which means that bit 44 in DCS may
   not always match the indication of bits 44 and 45 in DIS/DTC. Cross selection will cause the distortion
   and reduction of reproducible area.
   If a receiver indicates in DIS that it prefers to receive metric-based information, but the transmitter has
   only the equivalent inch-based information (or vice versa), then communication shall still take place.
   NOTE 14 – Bits 44 and 45 do not require the provision of any additional features on the terminal to
   indicate to the sending or receiving user whether the information was transmitted or received on a metric-
   metric, inch-inch, metric-inch, inch-metric basis.
   NOTE 15 – T15 4 refers to the scan line times to be utilized when the vertical resolution is 15.4 lines/mm,
   400 lines/25.4 mm, 600 lines/25.4 mm and 1200 lines/25.4 mm.
   T15 4 = 1/2 T7 7 indicates that when T7 7 is 10, 20 or 40 ms, the scan line time can be decreased by half in
   higher resolution mode.
   When T7 7 is 5 ms [i.e., (bit 21, bit 22, bit 23) = (1,0,0), (0,1,1)] or 0 ms [i.e., (1,1,1)], bit 46 in DIS/DTC
   should be set to "0" (T15 4 = T7 7).
   NOTE 16 – The binary file transfer protocol is described in ITU-T Rec. T.434.
   NOTE 17 – When either bit of 31, 36, 38, 51, 53, 54, 55, 57, 59, 60, 62, 65, 68, 78, 79, 115, 116 and 127 is
   set to "1", bit 27 shall also be set to "1". If the value of bits 92 to 94 is non-zero, then bit 27 shall be set
   to "1".
   NOTE 18 – Bit 9 indicates that there is a facsimile document ready to be polled from the answering
   terminal. It is not an indication of a capability.
   NOTE 19 – Bit 10 indicates that the answering terminal has receiving capabilities.
   NOTE 20 – Bit 10 in DCS is a command to the receiving terminal to set itself in the receive mode.
   NOTE 21 – Bit 51 indicates that there is a data file ready to be polled from the answering terminal. It is
   not an indication of a capability. This bit is used in conjunction with bits 53, 54, 55 and 57.
   NOTE 22 – Bit 59 indicates that there is a character-coded or mixed-mode document ready to be polled
   from the answering terminal. It is not an indication of a capability. This bit is used in conjunction with bits
   60, 62 and 65.
   NOTE 23 – When the optional procedure defined in Annex C is used, in DIS/DTC bits 6 and 7 shall be set
   to "0" and bits 21 to 23 and 27 shall be set to "1".
   NOTE 24 – When the optional procedure defined in Annex C is used, in DCS bits 6, 7 and 28 shall be set
   to "0" and bits 21 to 23 and 27 shall be set to "1".
   NOTE 25 – The optional continuous-tone colour mode and gray-scale mode (JPEG mode) protocols and
   the optional lossless encoded colour and gray-scale mode (T.43 mode) are described in Annexes E and I
   respectively. If bit 68 in the DIS/DTC frame is set to "1", this indicates JPEG mode capability. If bits 36
   and 68 are set to "1", this indicates that the T.43 capability is also available. Bit 36 in the DIS/DTC frame
   shall only be set to "1" when bit 68 is also set to "1". Additionally, then bits 15 and 27 in the DIS/DTC
   frame shall also be set to "1", if bit 68 or bits 36 and 68 are set to "1". Bit 15 indicates 200 pels/25.4 mm ×
   200 lines/25.4 mm resolution capability, which is basic for colour facsimile. Bit 27 indicates error
   correction mode capability, which is mandatory for colour facsimile. Bits 69 to 71, 73 to 75 and 92 to 94



  60        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2219 Filed 01/18/22 Page 95 of 715




                                                   Table 2/T.30
    are relevant only if bit 68 is set to "1". Bit 73 is relevant only for JPEG mode. Bits 69, 71, 74 and 75 are
    relevant for JPEG mode and/or T.43 mode. Bit 37 is relevant only when bit 36 is set to "1" – see also
    Notes 39 and 40.
    NOTE 26 – To provide an error recovery mechanism, when PWD/SEP/SUB/SID/PSA/IRA/ISP frames
    are sent with DCS or DTC, bits 49, 102 and 50 in DCS or bits 47, 101, 50 and 35 in DTC shall be set to
    "1" with the following meaning:
    Bit set to "1"    DIS                           DTC                           DCS
          35          Polled SubAddress             Polled SubAddress             Not allowed – set to "0"
                      capability                    transmission
          47          Selective polling             Selective polling             Not allowed – set to "0"
                      capability                    transmission
          49          Subaddressing capability      Not allowed (Set to "0")      Subaddressing
                                                                                  transmission
          50          Password                      Password transmission         Sender Identification
                                                                                  transmission
         101          Internet Selective Polling    Internet Selective Polling    Not allowed – set to "0"
                      Address capability            Address transmission
         102          Internet Routing Address      Not allowed (Set to "0")      Internet Routing Address
                      capability                                                  transmission
   Terminals conforming to the 1993 version of this Recommendation may set the above bits to "0" even
   though PWD/SEP/SUB frames are transmitted.
   NOTE 27 – The corresponding scan line lengths for inch-based resolutions can be found in clause 3/T.4.
   NOTE 28 – While using bits 76 and 77 in DIS/DTC, the terminal is required to be able to receive ISO A4
   documents in every combination of bits 76 and 77. A4, B4 and A3 transmitters may ignore the settings of
   bits 76 and 77.
   NOTE 29 – The coding scheme indicated by bits 78 and 79 is defined in ITU-T Rec. T.85.
   NOTE 30 – When bit 79 in DIS is set to "1", bit 78 shall also be set to "1".
   NOTE 31 – In the case of setting (1,1,0,1) in DIS/DTC bits 11-14 in order to announce the capability to
   receive in ITU-T Rec. V.17, some terminals which conform to the 1994 version and earlier versions of this
   Recommendation recognize the capability to receive in ITU-T Rec. V.33 and may set (0,0,1,0) or (0,1,1,0)
   in DCS bits 11-14. Therefore, the terminal which has the capability to receive, using the modulation
   system defined in ITU-T Rec. V.17, may optionally support the capability to receive using the modulation
   system defined in ITU-T Rec. V.33.
   NOTE 32 – Some terminals which conform to the 1994 and earlier versions of this Recommendation may
   have used this bit sequence to indicate use of the V.27ter, V.29 and V.33 modulation system.
   NOTE 33 − When the modulation system defined in ITU-T Rec. V.34 is used or Internet-Aware Fax
   Device in DCS (Bit 123) is set to "1", bits 11-14 in DCS are invalid and should be set to "0".
   NOTE 34 – Setting bit 68 to "0" indicates that the called terminal's JPEG mode and T.43 mode are not
   available and it cannot decode JPEG or T.43 encoded data. In a DCS frame, setting bit 68 to "1" indicates
   that the calling terminal's JPEG mode is used and JPEG encoded image data are sent. The horizontal
   image size parameter X of the JPEG data stream shall conform to the values defined in clause 2/T.4.
   Setting bit 68 to "0" and bit 36 to "1" indicates that the calling terminal's T.43 mode is used and T.43
   encoded image data are sent. In the DCS frame, if bit 68 or 36 is set to "1" or the value of bits 92 to 94 is
   non-zero, then bits 15 or 42 or 43 or 98 or 105 or 106 and 27 in the DCS frame shall also be set to "1".
   Bits 98, 42, 43, 105 and 106 indicate 100 × 100, 300 × 300 and 400 × 400, 600 × 600 and 1200 pels/25.4
   mm × 1200 lines/25.4 mm resolution respectively. Setting bit 68 and 36 to "0" indicates neither the JPEG
   mode nor the T.43 mode is used, image is not encoded using JPEG nor T.43.



                                                                            ITU-T Rec. T.30 (09/2005)              61
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2220 Filed 01/18/22 Page 96 of 715




                                                   Table 2/T.30
   NOTE 35 – In a DIS/DTC frame, setting bit 69 to "1" indicates that the called terminal has full colour
   capability. It can accept full colour image data in CIELAB space. If bit 36 is also set to "1", it can also
   accept colour image defined in ITU-T Rec. T.43. Setting bit 69 to "0" and bit 68 or bits 36 and 68 to "1"
   indicates that the called terminal has gray-scale mode only, it accepts only the lightness component (the
   L* component) in the CIELAB representation for JPEG mode and for T.43 mode respectively. In a DCS
   frame, setting bits 68 and 69 to "1" indicates that the calling terminal sends image in full colour
   representation in the CIELAB space in JPEG mode. In a DCS frame, setting bits 36 and 69 to "1" indicates
   that the calling terminal sends colour image in T.43 mode. Setting bit 36 or 68 to "1" and bit 69 to "0"
   indicates that the calling terminal sends only the lightness component (the L* component) in the CIELAB
   representation for JPEG or T.43 mode respectively. Note that colour image will be transmitted only when
   bits 68 and 69 or 36 and 69 are both set to "1".
   NOTE 36 – Bit 70 is called "Indication of default Huffman tables". A means is provided to indicate to the
   called terminal that the Huffman tables are the default tables. Default tables are specified only for the
   default image intensity resolution (8 bits/pel/component). The default Huffman tables are to be determined
   (for example, Tables K.3 to K.6/T.81). In a DIS/DTC frame, bit 70 is not used and is set to zero. In a DCS
   frame, setting bit 70 to 0 indicates that the calling terminal does not identify the Huffman tables that it uses
   to encode the image data as the default tables. Setting bit 70 to "1" indicates that the calling terminal
   identifies the Huffman tables that it uses to encode the image data as the default tables.
   NOTE 37 – In a DIS/DTC frame, setting bit 71 to "0" indicates that the called terminal can only accept
   image data which has been digitized to 8 bits/pel/component for JPEG mode. This is also true for T.43
   mode if bit 36 is also set to "1". Setting bit 71 to "1" indicates that the called terminal can also accept
   image data that are digitized to 12 bits/pel/component for JPEG mode. This is also true for T.43 mode if
   bit 36 is also set to "1". In a DCS frame, setting bit 71 to "0" indicates that the calling terminal's image
   data are digitized to 8 bits/pel/component for JPEG mode. This is also true for T.43 mode if bit 36 is also
   set to "1". Setting bit 71 to "1" indicates that the calling terminal transmits image data which has been
   digitized to 12 bits/pel/component for JPEG mode. This is also true for T.43 mode if bit 36 is also set
   to "1".
   NOTE 38 – In a DIS/DTC frame, setting bit 73 to "0" indicates that the called terminal expects a 4:1:1
   subsampling ratio of the chrominance components in the image data; the a* and b* components in the
   CIELAB colour space representation are subsampled four times to one against the L* (Lightness)
   component. The details are described in Annex E/T.4. Setting bit 73 to "1" indicates that the called
   terminal, as an option, accepts no subsampling in the chrominance components in the image data. In a
   DCS frame, setting bit 73 to "0" indicates that the called terminal uses a 4:1:1 subsampling ratio of the a*
   and b* components in the image data. Setting bit 73 to "1" indicates that the called terminal does no
   subsampling.
   NOTE 39 – In a DIS/DTC frame, setting bit 74 to "0" indicates that the called terminal expects that the
   CIE Standard Illuminant D50 is used in the colour image data as specified in ITU-T Rec. T.42/LAB or the
   CIE Standard Illuminant D65 is used in the colour image data as specified in ITU-T Rec. T.42/YCC.
   Setting bit 74 to "1" indicates that the called terminal can also accept other illuminant types besides the
   D50 illuminant only for LAB. Setting bit 68 to "1" indicates that the terminal has the JPEG coding
   capability as described in Annex E/T.4. Setting bit 36 to "1" indicates that the terminal has the colour
   coding capability as described in ITU-T Rec. T.43. In a DCS frame, setting bit 74 to "0" and bit 68 or bit
   36 to "1", indicates the calling terminal uses the D50 illuminant in the colour image data representation a
   specified in ITU-T Rec. T.42/LAB. Setting bit 74 to "1" indicates that another type of illuminant is used
   for LAB . When bits 68 and 74 are set to "1" the specification is embedded into the JPEG syntax as
   described in Annex E/T.4. When bits 36 and 74 are set to "1", the specification is embedded into the T.43
   syntax as described in ITU-T Rec. T.43. Setting one or more of bits 92-94 to "1" indicates that the terminal
   has the MRC coding capability as described in ITU-T Rec. T.44. Available illuminants for all
   combinations of bit 74, 92, 93, 94 and 119 are shown in the following table.




  62        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2221 Filed 01/18/22 Page 97 of 715




                                                               Table 2/T.30
                               Available illuminant for DIS/DTC bits 74, 92, 93, 94 and 119


                       Bit                            Mode of T.44 and available illuminant for colour space
      74 92 93 94 119                              Mode of T.44           Available Illuminant for colour space
      0        1       0       0       0        Mode 1               Only D50 for LAB
      0        1       0       0       1        Mode 1               Only D65 for YCC
               x       1       x       0        Mode 2 or higher     Only D50 for LAB
      0        x       x       1
               x       1       x       1        Mode 2 or higher     D50 and other illuminant for LAB
      0
               x       x       1
      1        1       0       0       0        Mode 1               D50 and other illuminant for LAB
      1        1       0       0       1        Mode 1               Invalid
               x       1       x       0        Mode 2 or higher     D50 and other illuminant for LAB
      1        x       x       1
               x       1       x       1        Mode 2 or higher     D50 and other illuminant for LAB and D65 for
      1        x       x       1                                     YCC

   x: 0 or 1
                                               Illuminant for DCS bits 74, 92, 93, 94 and 119
             Bit                                            Mode of T.44 and illuminant for colour space
       74 92 93 94 119                              Mode of T.44                Illuminant for colour space
          0        1       0       0       0     Mode 1               D50 for LAB
          0        1       0       0       1     Mode 1               D65 for YCC
                   x       1       x       0     Mode 2 or higher     D50 for LAB
          0
                   x       x       1
                   x       1       x       1     Mode 2 or higher     D65 for YCC or mixing of D65 for YCC and
          0                                                           D50 for LAB
                   x       x       1
          1        1       0       0       0     Mode 1               D50 and/or other illuminant for LAB
          1        1       0       0       1     Mode 1               Invalid
                   x       1       x       0     Mode 2 or higher     D50 and/or other illuminant for LAB
          1
                   x       x       1
                   x       1       x       1     Mode 2 or higher     D65 for YCC or mixing of D65 for YCC and
          1                                                           D50 and/or other illuminant for LAB
                   x       x       1
   x: 0 or 1




                                                                                      ITU-T Rec. T.30 (09/2005)     63
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2222 Filed 01/18/22 Page 98 of 715




                                                   Table 2/T.30
   NOTE 40 – In a DIS/DTC frame, setting bit 75 to "0" indicates that the called terminal expects that the
   colour image data are represented using the default gamut range as specified in ITU-T Rec. T.42/LAB or
   T.42/YCC. Setting bit 75 to "1" indicates that the called terminal can also accept other gamut ranges.
   Setting bit 68 to "1" indicates that the terminal has the JPEG coding capability, as described in
   Annex E/T.4. Setting bit 36 to "1" indicates that the terminal has the colour coding capability, as described
   in ITU-T Rec. T.43. In a DCS frame, setting bit 75 to "0" and bit 68 or bit 36 to "1", indicates that the
   calling terminal uses the default gamut range as specified in ITU-T Rec. T.42/LAB. Setting bit 75 to "1"
   indicates that the calling terminal uses a different gamut range for LAB. When bits 68 and 75 are set to
   "1", the specification is embedded into the JPEG syntax as described in Annex E/T.4. When bits 36 and 75
   are set to "1", the specification is embedded into the T.43 syntax as described in ITU-T Rec. T.43. When
   one or more of bits 92-94 and bit 75 are set to "1", the specification is embedded into the MRC syntax as
   described in ITU-T Recs T.42 and T.44.
   NOTE 41 – Some terminals which conform to the pre-1996 versions of this Recommendation may set this
   bit to "1". Such terminals will give an answering sequence as shown in Figure III.2.
   NOTE 42 – It is understood that for backwards compatibility, a transmitting terminal may ignore the
   request for the 64-octet frame and therefore the receiving terminal must be prepared to handle 256-octet
   frames by some means.
   NOTE 43 – See C.7.2.
   NOTE 44 – Clarification on the use of selective polling based on the settings of bit 47 and bit 35 is given
   in 5.3.6.1.2, item 5).
   NOTE 45 – Clarification on the use of subaddress for polling based on the setting of bit 35 is given in
   5.3.6.1.2, item 6).
   NOTE 46 – In a DIS/DTC frame, setting bit 37 to "0" indicates that the called terminal can only accept
   image data that are interleaved by stripe interleave (128 line/stripe or less). Setting bit 37 to "1" indicates
   that the called terminal can also accept plane interleaved image data. In a DCS frame, setting bit 37 to "0"
   indicates that the calling terminal's image data are interleaved through stripe interleave. Setting bit 37 to
   "1" indicates that the calling terminal's image data are interleaved through plane interleave. The detail of
   both interleaving methods are described in ITU-T Rec. T.43.
   NOTE 47 – The DCS is not emitted in the context of Annex H; FIF of DCS is included within the new
   signal "DEC' (see H.6.1) where the corresponding bit 82 must be set to "1".
   NOTE 48 – In a DIS/DTC frame, setting bit 98 to "0" indicates that the called terminal does not have the
   capability to accept 100 pels/25.4 mm × 100 lines/25.4 mm spatial resolution for colour or gray-scale
   images. Setting bit 98 to "1" indicates that the called terminal does have the capability to accept
   100 pels/25.4 mm × 100 lines/25.4 mm spatial resolution for colour or gray-scale images. Bit 98 is valid
   only when bit 68 is set to "1". In a DCS frame, setting bit 98 to "0" indicates that the calling terminal does
   not use 100 pels/25.4 mm × 100 lines/25.4 mm spatial resolution for colour or gray-scale images. Setting
   bit 98 to "1" indicates that the calling terminal uses 100 pels/25.4 mm × 100 lines/25.4 mm spatial
   resolution for colour or gray-scale images.
   NOTE 49 – In a DIS/DTC frame, setting bit 97 to "0" indicates that the called terminal does not have the
   capability to accept 300 pels/25.4 mm × 300 lines/25.4 mm or 400 pels/25.4 mm × 400 lines/25.4 mm
   resolutions for colour/gray-scale images or T.44 Mixed Raster Content (MRC) mask layer. Setting bit 97
   to "1" indicates that the called terminal does have the capability to accept 300 pels/25.4 mm ×
   300 lines/25.4 mm or 400 pels/25.4 mm × 400 lines/25.4 mm resolutions for colour/gray-scale images and
   MRC mask layer. Bit 97 is valid only when bits 68 and 42 or 43 (300 pels/25.4 mm × 300 lines/25.4 mm
   or 400 pels/25.4 mm × 400 lines/25.4 mm) are set to "1". In a DCS frame, setting bit 97 to "0" indicates
   that the calling terminal does not use 300 pels/25.4 mm × 300 lines/25.4 mm or 400 pels/25.4 mm ×
   400 lines/25.4 mm resolutions for colour/gray-scale images and mask layer. Setting bit 97 to "1" indicates
   that the calling terminal uses 300 pels/25.4 mm × 300 lines/25.4 mm or 400 pels/25.4 mm ×
   400 lines/25.4 mm resolutions for colour/gray-scale images and MRC mask layer. Bit 97 is valid only
   when bits 68 and 42 or 43 (300 pels/25.4 mm × 300 lines/25.4 mm and 400 pels/25.4 mm × 400
   lines/25.4 mm) are set to "1".


  64        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2223 Filed 01/18/22 Page 99 of 715




                                                  Table 2/T.30
   NOTE 50 – In a DIS/DTC frame, setting the value of bits 92 through 94 to "0" indicates that the called
   terminal does not have the capability to accept T.44 Mixed Raster Content (MRC) pages. Setting the value
   of bits 92 through 94 to non-zero (>0) indicates that the called terminal does have the capability to accept
   MRC pages. Bits 92 through 94 are valid only when bit 68 or 115 is set to "1". In a DCS frame, setting the
   value of bits 92 through 94 to "0" indicates that the calling terminal does not transmit MRC pages. Setting
   the value of bits 92 through 94 to non-zero (>0) indicates that the calling terminal transmits MRC colour
   or black-and-white only pages. The non-zero value of bits 92 through 94, ranging from X'01' to X'07',
   identifies the greatest functional mode (performance level) of MRC that is supported, as per ITU-T
   Rec. T.44. For hexadecimal value interpretation, bit 94 is defined as the MSB while bit 92 is the LSB (e.g.,
   100 for mode X'01'). Mode value X'01' identifies the base mode of T.44, each incremental mode shall
   support the capabilities defined in the previous mode. In the DIS/DTC, setting the mode value >0 together
   with bit 68 or 115 defines the capabilities, of the colour (as defined in T.44) or black-and-white only
   (MRCbw as defined in Annex H/T.4) profiles of MRC respectively, that are supported by the called
   terminal. In the DCS frame, the mode value may be set to any value less than or equal to that identified in
   the called terminals DIS/DTC frame. The mode value identified in the DCS frame defines the greatest
   MRC mode that will be applied to the transmitted data stream.
   NOTE 51 – In a DIS/DTC frame, setting bit 95 to "0" indicates that the called terminal does not have the
   capability to accept page length maximum stripe size when receiving T.44 Mixed Raster Content (MRC)
   pages. Setting bit 95 to 1 indicates that the called terminal does have the capability to accept page length
   maximum stripe size when receiving MRC pages. Bit 95 is valid only when the value of bits 92 through 94
   is set non-zero (>0). In a DCS frame, setting bit 95 to 0 indicates that the calling terminal does not use
   page length maximum stripe size when transmitting MRC pages. Setting bit 95 to "1" indicates that the
   calling terminal uses page length maximum stripe size when transmitting MRC pages. Bit 95 is valid only
   when the value of bits 92 through 94 is non-zero (>0).
   NOTE 52 – If bit 34 in a DIS frame is set to "1", this indicates the transmitter has multiple selective
   polling capability. If bit 34 in a DTC frame is set to "1", this indicates additional selection of document
   continues after current one. The transmitter can send EOS after the transmission of the final page of
   current document only if bit 34 in the received DTC is set to "1".
   NOTE 53 – Bit 83 is used in the scope of Annex G (see G.2.3) and Annex D/T.36 (see D.2/T.36).
   NOTE 54 – Bit 99 indicates the use of the simple Phase C BFT negotiation method defined in Annex B.
   Some appropriate examples are given in Appendix V.
   NOTE 55 – The BFT negotiations capability specified by bit 99 is valid only when bit 53 (binary file
   transfer) is set to "1".
   NOTE 56 – Bits 85 and 86 are reserved for future enhancement to Annex D/T.36.
   NOTE 57 – Bits 89 and 90 are reserved for future enhancement to Annex E/T.36.
   NOTE 58 – Bits 38 and 39 are used in the scope of Annex B/T.4 (see B.4.5/T.4).
   NOTE 59 – When bit 38 and 39 are set to "1", bit 57 shall also be set to "1".
   NOTE 60 – Bit 1 set to "1" indicates that the terminal has the Simple mode capability defined in ITU-T
   Rec. T.37.
   NOTE 61 – Bit 3 set to "1" indicates that the terminal has the capability to communicate using ITU-T
   Rec. T.38.
   NOTE 62 – Non-square resolutions are applicable only to black and white images.
   NOTE 63 – Internet address signals CIA, TSA or CSA can be sent and received when Internet capabilities,
   bit 1 or 3 of DIS, DCS and DTC, are indicated. When a terminal indicates Internet capabilities by DIS,
   DCS or DTC of bit 1 or 3, the recipient terminal may process or ignore these signals.




                                                                            ITU-T Rec. T.30 (09/2005)            65
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2224 Filed 01/18/22 Page 100 of 715




                                                  Table 2/T.30
   NOTE 64 – In a DIS/DTC frame, setting bit 110 to "0" indicates that the called terminal does not have the
   capability to accept 600 pels/25.4 mm × 600 lines/25.4 mm resolutions for colour/gray-scale images or
   T.44 Mixed Raster Content (MRC) mask layer. Setting bit 110 to "1" indicates that the called terminal
   does have the capability to accept up to 600 pels/25.4 mm × 600 lines/25.4 mm resolutions for
   colour/gray-scale images and MRC mask layer. The acceptable resolution values are determined by the
   DIS resolution bit settings. Bit 110 is valid only when bits 68 and 105 (600 pels/25.4 mm ×
   600 lines/25.4 mm) are set to "1". In a DCS frame, setting bit 110 to 0 indicates that the calling terminal
   does not use 600 pels/25.4 mm × 600 lines/25.4 mm resolutions for colour/gray-scale images and mask
   layer. Setting bit 110 to "1" indicates that the calling terminal uses 600 pels/25.4 mm × 600 lines/25.4 mm
   resolutions for colour/gray-scale images and MRC mask layer. Bit 110 is valid only when bits 36 or 68
   and 105 (600 pels/25.4 mm × 600 lines/25.4 mm) are set to "1".
   NOTE 65 – In a DIS/DTC frame, setting bit 111 to "0" indicates that the called terminal does not have the
   capability to accept 1200 pels/25.4 mm × 1200 lines/25.4 mm resolutions for colour/gray-scale images or
   T.44 Mixed Raster Content (MRC) mask layer. Setting bit 111 to "1" indicates that the called terminal
   does have the capability to accept up to 1200 pels/25.4 mm × 1200 lines/25.4 mm resolutions for
   colour/gray-scale images and MRC mask layer. The acceptable resolution values are determined by the
   DIS resolution bit settings. Bit 111 is valid only when bits 68 and 106 (1200 pels/25.4 mm ×
   1200 lines/25.4 mm) are set to "1". In a DCS frame, setting bit 111 to "0" indicates that the calling
   terminal does not use 1200 pels/25.4 mm × 1200 lines/25.4 mm resolutions for colour/gray-scale images
   and mask layer. Setting bit 111 to "1" indicates that the calling terminal uses 1200 pels/25.4 mm ×
   1200 lines/25.4 mm resolutions for colour/gray-scale images and MRC mask layer. Bit 111 is valid only
   when bits 36 or 68 and 106 (1200 pels/25.4 mm × 1200 lines/25.4 mm) are set to "1".
   NOTE 66 – The receiving terminal may print the image data only on to one side even if this bit is set
   to "1".
   NOTE 67 – Alternate mode is defined as transmission of a front page and a reverse page alternately.
   Continuous mode is defined as transmission all front pages and then of all reverse pages.
   NOTE 68 – When bit 114 in DIS is set to "1", bit 113 shall be set to "1".
   NOTE 69 – In a DIS/DTC frame, setting the value of bit 115 to "0" indicates that the called terminal does
   not have the capability to accept Annex H/T.4 black-and-white mixed raster content profile (MRCbw)
   pages. Setting the value of bit 115 to "1" and the value of bits 92 through 94 to non-zero (>0) indicates that
   the called terminal does have the capability to accept MRCbw pages. The value of bits 92 through 94
   determines the highest MRCbw mode supported. Interpretation of the values of bits 92 through 94 is
   defined in Note 50. In the DCS frame, bit 115 shall be set to "0" and the value of bits 92 through 94 shall
   determine the MRC modes as defined in Note 50.
   NOTE 70 − SharedDataMemory is the memory used by a decoder to store data that is typically used more
   than once in the decoding of a data stream. In a DIS/DTC frame, setting the value of bits 117 through 118
   to "0" indicates that the called terminal does not have SharedDataMemory capacity. Setting the value of
   bits 117 through 118 to non-zero (>0) indicates that the called terminal does have SharedDataMemory
   capacity. In a DCS frame, setting the value of bits 117 through 118 to "0" indicates that the data stream
   does not require use of SharedDataMemory. Setting the value of bits 117 through 118 to non-zero (>0)
   indicates that the data stream does require use of SharedDataMemory. Each value of the three non-zero
   values of bits 117 through 118 represents a different level of receiver SharedDataMemory capacity or
   SharedDataMemory required in decoding the data stream.
   NOTE 71 − Bit 4 set to "1" indicates 3rd Generation Mobile Network Access to the GSTN Connection.
   Bit 4 set to "0" conveys no information about the type of connection.
   NOTE 72 − Bit 121 can only be set in the communication through the T.38 gateway to cope with delay of
   network.
   NOTE 73 − T.x timer (12 ± 1 s) should be used after emitting RNR or TNR; however, after receiving
   PPS signal in ECM mode, T.5 timer should be used.




   66       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2225 Filed 01/18/22 Page 101 of 715




                                                   Table 2/T.30
   NOTE 74 − For resolutions greater than 200 lines/25.4 mm, 4.2.1.1/T.4 specifies the use of specific K
   factors for each standardized vertical resolution. To ensure backward compatibility with earlier versions of
   ITU-T Rec. T.4, bit 122 indicates when such K factors are being used.
   NOTE 75 − This bit should be set to "1" if the fax device is an Internet-Aware Fax Device as defined in
   ITU-T Rec. T.38 and if it is not affected by the data signal rate indicated by the DIS and DTC signals
   when communicating with another Internet-Aware Fax Device operating in T.38 mode. This bit shall not
   be used in the GSTN mode.
   NOTE 76 − This bit should be set to "1" if the fax device elects to operate in an Internet-Aware Fax mode
   as defined in ITU-T Rec. T.38 in response to a device which has set the related DIS bit to "1".
   NOTE 77 − When this bit is set to "1", the data signal rate of the modem (bits 11-14) should be set to "0".
   NOTE 78 − In a DIS/DTC frame, bit 116 is valid only when:
   1) bit 68 is set to "1" (i.e., JPEG);
   2) the value of bits 92 through 94 is set to "4" or greater (i.e., unconstrained colour T.44 "Mixed Raster
      Content (MRC)" Mode 4 is available); and
   3) the value of bits 124 through 126 is set to 2 or 4 (i.e., JBIG2 Profile 2 is available).
   The value of bits 117 through 118 is typically non-zero (i.e., SharedDataMemory is available for symbol
   dictionaries). In a DCS frame, bit 116 is valid only when:
   1) the value of bits 92 through 94 is set to "4" or greater (i.e., unconstrained colour MRC Mode 4 is being
      used);
   2) the value of bits 124 through 126 is set to 2 (i.e., JBIG2 Profile 2 is being used); and
   3) the value of bits 117 through 118 is typically non-zero (i.e., the data stream requires
      SharedDataMemory for storage of symbol dictionaries).
   NOTE 79 − In a DIS/DTC frame, setting the value of bits 124 through 126 to "0" indicates that the called
   terminal does not have the capability to accept T.89 profiles of JBIG2 (ITU-T Rec. T.88). Setting the
   value of bits 124 through 126 to non-zero (>0) indicates that the called terminal does have the capability to
   accept JBIG2 encoded pages. Each of the non-zero values of bits 124 through 126 represents a different
   level of JBIG2 profile support. Support for Profile 1 is mandatory for all JBIG2 implementations. In other
   words, implementations of profile(s) greater than Profile 1 will also include support for Profile 1, although
   the Profile 1 bit is not activated. Interpretation of the profiles is defined in ITU-T Rec. T.89 (Application
   Profiles for ITU-T Rec. T.88). Bits 124 through 126 are valid only when bits 92 through 94 comprise a
   value equal or greater than "4" (i.e., ITU-T Rec. T.44 or ITU-T Annex H/T.4 "Black-and-White Mixed
   Raster Content Profile (MRCbw)" provision and Mode 4 or greater of each is available). The value of bits
   117 through 118 is typically non-zero (i.e., >0). In a DCS frame, setting the value of bits 124 through 126
   to "0" indicates that the calling terminal does not transmit JBIG2 encoded pages. Setting the value of
   bits 124 through 126 to non-zero (i.e., >0) indicates that the calling terminal transmits JBIG2 encoded
   pages. The non-zero value of bits 124 through 126 identifies the profile of T.89 that is used during the
   transmission. Bits 124 through 126 are valid only when bits 92 through 94 comprise a value equal or
   greater than "4". The value of bits 117 through 118 is typically non-zero (i.e., >0). The calling terminal
   shall not transmit a dictionary (e.g., symbol or halftone pattern dictionaries) or a collection of dictionaries
   that result in outstanding dictionary memory requirement (i.e., sum of all transmitted dictionaries for
   which a forget disposition has not been issued) greater than the capacity indicated by the value of
   DIS/DTC bits 117 through 118.
   NOTE 80 − In a DIS/DTC frame, combinations of bit 42, bit 43 and bit 97 indicate that the called terminal
   has higher resolution capabilities as follows:




                                                                             ITU-T Rec. T.30 (09/2005)           67
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2226 Filed 01/18/22 Page 102 of 715




                                                       Table 2/T.30

                                                             Resolution capabilities (pels/25.4 mm)
                    DIS/DTC
                                                       Monochrome                             Colour/gray-scale
               42       43          97         300 × 300           400 × 400           300 × 300         400 × 400
                0          0        0             no                  no                      no             no
                1          0        0             yes                 no                      no             no
                0          1        0             no                  yes                     no             no
                1          1        0             yes                 yes                     no             no
                0          0        1                                           (invalid)
                1          0        1             yes                 no                      yes            no
                0          1        1             no                  yes                     no            yes
                1          1        1             yes                 yes                     yes           yes
   "yes" means that the called terminal has the corresponding capability.
   "no" means that the called terminal does not have the corresponding capability.
   NOTE 81 − In a DIS/DTC frame, combinations of bit 105, bit 106, bit 110 and bit 111 indicate that the
   called terminal has higher resolution capabilities as follows:

                                                               Resolution capabilities (pels/25.4 mm)
                       DIS/DTC
                                                          Monochrome                           Colour/gray-scale
             105     106       110       111      600 × 600         1200 × 1200             600 × 600   1200 × 1200
               0       0        0         0             no                 no                  no            no
               1       0        0         0             yes                no                  no            no
               0       1        0         0             no               yes                   no            no
               1       1        0         0             yes              yes                   no            no
               0       0        1         0                                       (invalid)
               1       0        1         0             yes                no                  yes           no
               0       1        1         0                                       (invalid)
               1       1        1         0             yes              yes                   yes           no
               0       0        0         1                                       (invalid)
               1       0        0         1                                       (invalid)
               0       1        0         1             no              yes                    no            yes
               1       1        0         1             yes             yes                    no            yes
               0       0        1         1                                       (invalid)
               1       0        1         1                                       (invalid)
               0       1        1         1                                       (invalid)
               1       1        1         1             yes             yes                    yes           yes


   "yes" means that the called terminal has the corresponding capability.
   "no" means that the called terminal does not have the corresponding capability.




   68       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2227 Filed 01/18/22 Page 103 of 715




                                                        Table 2/T.30
    NOTE 82 – Annex K describes the optional continuous-tone colour and gray scale images mode
    (sYCC-JPEG mode) protocol. When bit 127 in DIS/DTC frame is set to "1", the called terminal has the
    capability to accept sYCC-JPEG mode. This is defined with complete independent in the colour space
    CIELAB. In addition, when bit 127 in DCS frame is set to "1", bit 27 in DCS frame should be set to "1"
    and bits 15, 17, 18, 19, 20, 41, 42, 43, 45, 46, 68, 69, 71, 73, 74, 75, 76, 77, 97, 98, 105, 106, 107, 108,
    109, 110 and 111 in DCS frame should be "Don't care", i.e., they should be set to "0". In the case of
    transmission of multiple images, a post message signal PPS-MPS between pages, PPS-NULL between
    partial pages and PPS-EOP following the last page should be sent from the calling terminal to the called
    terminal.
    NOTE 83 –This bit defines the available colour space, when bit 92, 93 or 94 is set to "1".
    Available colour space for all combinations of bits 92, 93, 94 and 119 are shown in the following table.
    It should be noted that terminals which conform to the 2003 and earlier versions of this Recommendation
    will send LAB with "1" in bit 92, 93 or 94 even if bit 119 is set to "1".
                             Available colour space for DIS/DTC bits 92, 93, 94 and 119

                            Bit                          Mode of T.44 and available colour space
                  92   93         94    119        Mode of T.44               Available colour space
                  0    0           0     x     Not available             –
                  1    0           0     0     Mode 1                    LAB only
                  1    0           0     1     Mode 1                    YCC only
                  x    1           x     0     Mode 2 or higher          LAB only
                  x    x           1
                  x    1           x     1     Mode 2 or higher          LAB and YCC
                  x    x           1

      x: 0 or 1
                                       Colour space for DCS bits 92, 93, 94 and 119

                            Bit                                Mode of T.44 and colour space
                92     93         94   119        Mode of T.44                      Colour space
                  0    0          0     x*    Not available             –
                  1    0          0      0    Mode 1                    LAB
                  1    0          0      1    Mode 1                    YCC
                  x    1          x      0    Mode 2 or higher          LAB
                  x    x          1
                  x    1          x      1    Mode 2 or higher          YCC or mixing of YCC and LAB
                  x    x          1
    x: 0 or 1

   5.3.6.2.4 CSI coding format
   The facsimile information field of the CSI signal shall be the international telephone number
   including the "+" character, the telephone country code, area code and subscriber number. This field
   shall consist of 20 numeric digits coded as shown in Table 3 but excluding the "*" and "#"
   characters. The least significant bit of the least significant digit shall be the first bit transmitted.


                                                                              ITU-T Rec. T.30 (09/2005)            69
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2228 Filed 01/18/22 Page 104 of 715


   5.3.6.2.5 CIG coding format
   The facsimile information field of the CIG signal shall be the international telephone number
   including the "+" character, telephone country code, area code and subscriber number. This field
   shall consist of 20 numeric digits coded as shown in Table 3 but excluding the "*" and "#"
   characters. The least significant bit of the least significant digit shall be the first bit transmitted.
   5.3.6.2.6 TSI coding format
   The facsimile information field of the TSI signal shall be the international telephone number
   including the "+" character, telephone country code, area code and subscriber number. This field
   shall consist of 20 numeric digits coded as shown in Table 3 but excluding the "*" and "#"
   characters. The least significant bit of the least significant digit shall be the first bit transmitted.
   5.3.6.2.7 Non-standard capabilities (NSF, NSC, NSS)
   When a non-standard capabilities FCF is utilized, it must be immediately followed by an FIF. This
   information field will consist of at least two octets. The first octet will contain an ITU-T country
   code (see Note below). Additional information could then be transmitted within the FIF field. This
   information is not specified and can be used to describe non-standard features, etc.
   NOTE – The procedure for obtaining a registered ITU-T code is given in ITU-T Rec. T.35.
   The country code shall be mapped to the FIF by mapping the most significant bit of the non-
   standard capabilities information to the most significant bit of the FIF. The order in which the bits
   are transmitted is from the most to the least significant bit (bit 8 to bit 1).
   Note that some existing terminals may perform the bit mapping in the wrong order (bit 1 to bit 8).
   This may result in these terminals masquerading as a terminal with a different country code,
   possibly causing erroneous operation.
   5.3.6.2.8 PWD coding format
   The facsimile information field of the PWD signal shall consist of 20 numeric digits coded as
   shown in Table 3 but excluding the "+" character. The least significant bit of the least significant
   digit shall be the first bit transmitted. The unused octets in the information field shall be filled with
   the "space" character and the information should be right justified.
   5.3.6.2.9 SEP coding format
   The facsimile information field of the SEP signal shall consist of 20 numeric digits coded as shown
   in Table 3 but excluding the "+" character. The least significant bit of the least significant digit shall
   be the first bit transmitted. The unused octets in the information field shall be filled with the "space"
   character and the information should be right justified.
   5.3.6.2.10 SUB coding format
   The facsimile information field of the SUB signal shall consist of 20 numeric digits coded as shown
   in Table 3 but excluding the "+" character. The least significant bit of the least significant digit shall
   be the first bit transmitted. The unused octets in the information field shall be filled with the "space"
   character and the information should be right justified.
   5.3.6.2.11 SID coding format
   The facsimile information field of the SID signal shall consist of 20 numeric digits coded as shown
   in Table 3 but excluding the "+" character. The least significant bit of the least significant digit shall
   be the first bit transmitted. The unused octets in the information field shall be filled with the "space"
   character and the information should be right justified.




   70       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2229 Filed 01/18/22 Page 105 of 715


                                                 Table 3/T.30
                    Digit                MSB (FB)                 Bits                    LSB
                         +                  0                   010101                      1
                         0                  0                   011000                      0
                         1                  0                   011000                      1
                         2                  0                   011001                      0
                         3                  0                   011001                      1
                         4                  0                   011010                      0
                         5                  0                   011010                      1
                         6                  0                   011011                      0
                         7                  0                   011011                      1
                         8                  0                   011100                      0
                         9                  0                   011100                      1
                   Space                    0                   010000                      0
                         *                  0                   010101                      0
                         #                  0                   010001                      1
             MSB Most Significant Bit
             LSB Least Significant Bit
             FB Fill Bit
             NOTE 1 – The "+" character shall not be used in the PWD/SEP/SUB signals.
             NOTE 2 – The "*" and "#" characters shall not be used in the CSI/CIG/TSI signals.

   5.3.6.2.12 CSA, TSA, CIA, IRA and ISP coding format
   The facsimile information field of the CSA, TSA, CIA, IRA and ISP signal shall be the Internet
   address.
   Internet address is email address, URL, TCP/IP or international telephone number.

               Sequence Number            Type         Length                  Internet address


   Multiple frames are transmitted for an Internet address, if the length of the Internet address is more
   than 77 octets.
   Format of the facsimile information field:

                1st octet            Sequence number of Internet address frame
                2nd octet            Type of Internet address
                3rd octet            Length of Internet address
                4th octet            First character of Internet address
                   ...
                xx octet             Last character of Internet address

   1st octet of the FIF indicates the sequence number of frame for multiple transmission. The sequence
   number for the first frame is 00 to 7F(127). MSB of 1st octet of the FIF is the extend bit where "0"
   indicates the last frame and "1" indicates a non-last frame.




                                                                           ITU-T Rec. T.30 (09/2005)   71
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2230 Filed 01/18/22 Page 106 of 715


   Format of the sequence number:

                         Bit No.                                  Meaning
                           1           LSB of sequence number
                           2           Sequence number
                           3           Sequence number
                           4           Sequence number
                           5           Sequence number
                           6           Sequence number
                           7           MSB of sequence number
                           8           Extend bit

   2nd octet of the FIF indicates the type of Internet address. The attribute indicates the type of
   email address, URL, TCP/IP V4 and International telephone number.
   1)      Email address: use of email address in ITU-T Rec. T.38 is for further study.
   2)      URL: for further study.
   3)      TCP/IP V4 and V6: for further study.
   4)      International telephone number: including the "+" character, telephone country code, area
           code and subscriber number.
   The format of the type of Internet address is shown below.


                            Bit No.                               Meaning
                               1          Type of Internet address
                               2          Type of Internet address
                               3          Type of Internet address
                               4          Type of Internet address
                               5          Reserved – set to "0"
                               6          Reserved – set to "0"
                               7          Reserved – set to "0"
                               8          Reserved – set to "0"

   The permitted setting of bits 1-4 is shown below.


        Bit 1      Bit 2       Bit 3    Bit 4                        Internet address type
         0           0          0         0     Reserved – set to "0"
         1           0          0         0     Reserved for email address
         0           1          0         0     Reserved for Uniform Resource Locator address
         1           1          0         0     Reserved for TCP/IP Version 4 address
         0           0          1         0     Reserved for TCP/IP Version 6 address
         1           0          1         0     International telephone number
         0           1          1         0     Reserved – set to "0"
         1           1          1         0     Reserved
         X           X          X         1     Reserved

   72           ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2231 Filed 01/18/22 Page 107 of 715


   3rd octet of the FIF indicates the length of Internet address in the frame. MSB of 3rd octet of the
   FIF is extended bit. Extended bit is used to indicate when the Internet address is divided into
   multiple frames. "0" indicates the last frame of the Internet address and "1" indicates a non-last
   frame of the Internet address.
   The format of the length of Internet address is shown below.


                        Bit No.                                   Meaning
                               1          LSB of the length of Internet address
                               2          The length of Internet address
                               3          The length of Internet address
                               4          The length of Internet address
                               5          The length of Internet address
                               6          The length of Internet address
                               7          MSB of the length of Internet address
                               8          Extend bit

   4th octet of the FIF is the first character of Internet address.
   The bit transmission sequence is LSB of first byte of email address. The least significant bit of the
   first character of Internet address shall be the first bit transmitted.
   xx octet of the FIF is the last character of Internet address.
   "xx" must be no more than 80.
   5.3.6.2.13 FNV coding format
   The structure of the FIF for the FNV signal is as follows:

               Reason Octets                 Frame Number Octet               Diagnostic Information Octets


   At least one reason octet is required in the FIF of the FNV signal. The other octets are optional, but
   a frame number octet is required if any of the optional diagnostic information octets are presented.
   Use of the optional octets is application-dependent. Terminals which implement the FNV signal
   must be able to receive these octets but are not required to process or respond to them.
   Format for reason octets
   The first octet is known as a reason octet and is used to identify cases where the contents of the
   Facsimile Information Field (FIF) for the specified signals are not valid. The values which apply for
   this octet are shown in the table below. A bit setting of "0" indicates "OK" and a bit setting of "1"
   indicates "invalid". Bit 8 is an extend bit, which shall be set to "1" if there are additional reason
   octets in the FIF. If the extend bit is set to "0", there are no additional reason octets.




                                                                           ITU-T Rec. T.30 (09/2005)          73
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2232 Filed 01/18/22 Page 108 of 715




              Bit No.                                                Meaning
                 1             Incorrect password (PWD)
                 2             Selective polling reference (SEP) not known
                 3             Subaddress (SUB) not known
                 4             Sender identity (SID) not known
                 5             Secure fax error
                 6             Transmitting Subscriber Identification (TSI) not accepted
                 7             Polled Subaddress (PSA) not known
                 8             Extend Bit – default "0"; set to "1" if extension used
                 9             BFT Negotiations Request not accepted
                10             Internet Routing Address (IRA) not known
                11             Internet Selective Polling address (ISP) not known
                12             Reserved – set to "0"
                13             Reserved – set to "0"
                14             Reserved – set to "0"
                15             Reserved – set to "0"
                16             Extend Bit – default "0"
        NOTE – As additional reason octets are defined, they shall have a bit structure which is consistent with
        the first reason octet. The first seven bits shall identify reasons (or be reserved) and the eighth bit is an
        extend bit for reason octets.

   Format for frame number of FNV
   This is an eight-bit binary number. The frame number 0-255 (maximum number is 255) is used to
   identify the sequence number of an FNV frame. The frame 0 is the first frame to be transmitted in a
   series of FNV frames. The least significant bit is transmitted first.

   Format for diagnostic information octets of FNV
   The diagnostic information for one or more signals may optionally be presented. The diagnostic
   information for each signal is presented in a series of octets using a type, length, value encoding.
   The order of transmission for the diagnostic information octets shall be left to right as printed and
   the least significant bit (right-most) shall be the first one transmitted, except as noted (see rules for
   value octets below).

   The format for the diagnostic information for each signal is as follows:

                                                                  Value – Invalid FIF content or other diagnostic
                        Type                  Length
                                                                     information (variable number of octets)


   Type – Specified based on reversing the FCF (Facsimile Control Field) of the signal or another
   unique designation. One octet identifiers are normally used, but an extension method is available.
   The types are defined as follows:




   74          ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2233 Filed 01/18/22 Page 109 of 715




                 Type                                             Description
              1100 0001            Incorrect password (PWD)
              1010 0001            Selective polling reference (SEP) not known
              1100 001X            Subaddress (SUB) not known
              1010 001X            Sender identify (SID) not known
              0000 1000            Secure fax error
              0100 001X            Transmitting subscriber identification (TSI) not accepted
              0110 0001            Polled Subaddress not known
       NOTE – X is as defined in 5.3.6.1.

   Length – Number of octets in the value to follow. One octet is normally used, but an extension
   method is available.

   Value – Contains the portion of the FIF which was invalid for the signal type or other diagnostic
   information. For cases where all or a portion of an unaccepted FIF is being returned, the data shall
   be presented in the same bit and octet order as originally transmitted.

   If diagnostic information is available for more than one signal, the "type" octet for the second signal
   will immediately follow the last "value" octet for the prior signal. In a similar manner, all of the
   diagnostic information for all signals shall be presented in the FIF of the FNV until all diagnostic
   information has been transmitted. In cases where the amount of diagnostic information to be
   transmitted exceeds the limits for a single T.30 frame, the remaining diagnostic information shall be
   placed in additional FNV frames and the frame number will be incremented by 1 for each new
   frame. For such additional frames, the contents of the reason octets shall be identical to the first
   FNV frame and the content of the diagnostic information octets shall continue from the previous
   frame.
   Syntax of FNV facsimile information field
   The detailed syntax of the FNV FIF is presented below in Backus-Naur Form (BNF). The symbols
   used in the BNF are defined in H.6.1.4.5.

   <bit>                    ::= <0> | <1>
   <octet>                  ::= <bit><bit><bit><bit><bit><bit><bit><bit>
   <8_bit_tag>              ::= <octet>
   <extend_octet>           ::= {<1><1><1><1><1><1><1><1>}
   <FNV_type>               ::= <8_bit_tag>|<extend octet><8_bit_tag><8_bit_tag>
   <parameter_value>        ::= <octet>{<octet>}
   <count_extend_octet>     ::= <0><0><0><0><0><0><0><0>
   <parameter_length>       ::= <octet>|<count_extend_octet><octet><octet>
   <Diagnostic_Information> ::= {<FNV_type><parameter_length><parameter_value>}
   <frame_number>           ::= <octet>
   <FNV_Reason_Octets> ::= <octet>{<octet>}
   <FIF_of_FNV>             ::= <FNV_Reason_Octets>[<frame_number><Diagnostic_Information>]




                                                                         ITU-T Rec. T.30 (09/2005)     75
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2234 Filed 01/18/22 Page 110 of 715


   Coding examples for FNV facsimile information fields
   Case A)
   Password is invalid and no diagnostic information is sent.

                                                                             Reason
                                                                             Octet 1
                                                       Printed              10000000
                                                        order
                                                                            b1    b8
                                                       Transmit             10000000
                                                        order
                                                                             b1   b8

   Case B)
   Password is invalid and diagnostic information is sent.
   The example of the password is "123456789"

                       Reason     Frame        Type          Length                                Value (ex. Password)
                       Octet 1    number
        Printed       10000000   00000000    11000001       00010100         20    20        ...        31     32         ...   38   39
         order
                                 b7    b0
        Transmit      10000000   00000000    11000001       00101000         39    38        ...        31     20         ...   20   20
         order
                      b1   b8    b0   b7
                                                                                                       00000100
                                                                                                    Transmit bit order

   Case C)
   New error bits are defined in the second reason octet.
   An error occurs in bit 1 of the second reason octet and diagnostic information is not sent.

                                                                   Reason               Reason
                                                                   Octet 1              Octet 2
                                            Printed               00000001             10000000
                                             order

                                            Transmit              00000001             10000000
                                             order
                                                                  b1   b8          b9       b16

   Case D)
   A new error bit is defined in the second reason octet.
   An error occurs in bit 1 of the second reason octet and diagnostic information is sent for a case
   where the FIF of the invalid signal is being returned.




   76              ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2235 Filed 01/18/22 Page 111 of 715


                          Reason        Reason           Frame                            Type           Length           Value
                          Octet 1       Octet 2         number
         Printed         00000001      10000000        00000000                         FCF              length           Return
          order                                                                       (reverse                            of FIF
                                                                                       order)                            (reverse
                                                                                                                          order)
                                                       b7    b0
        Transmit         00000001      10000000        00000000                         FCF              length           Return
         order                                                                        (normal                             of FIF
                                                                                       order)                            (normal
                                                                                                                          order)
                         b1   b8       b9      b16     b0     b7

   Case E)
   New error bits are defined in the second reason octet. A portion of the Subaddress is invalid
   (see bit 3) and an error is indicated in bit 9 or the second reason octet. Diagnostic Information is
   included for both errors. The example of the subaddress is "SSSSSSSSSSS1002#2002" and only
   extension 1002 is being rejected. A portion of the value of the Diagnostic Information for the
   second error extends over the frame boundary, so a second frame is transmitted with the
   continuation of the value. The diagnostic information for the second error does not include the
   return of a previous FIF, so the general rule for transmission bit order (LSB or right-most bit first)
   applies.
   First frame

                    Reason      Reason           Frame         Type 1         Length (4)         Value (Returned Portion of FIF)
                    Octet 1     Octet 2         number         (SUB)
      Printed      00100001    10000000        00000000       11000011        00000100           31       30        30        32
       order
                                                b7    b0                      Length of
                                                                              1st block
     Transmit      00100001    10000000        00000000       11000011        00100000           32       30        30        31
      order
                   b1   b8     b9     b16       b0    b7
                                                                                                                     10001100
                                                                                                                    Transmit bit
                                                                                                                       order

   First frame (continued)

                                                     Type 2         Length          value
                                                                     (128)
                                    Printed          Type          10000000         value
                                     order

                                    Transmit         Type          00000001        value
                                     order           (LSB                          (LSB
                                                     order)                        order)




                                                                                   ITU-T Rec. T.30 (09/2005)                        77
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2236 Filed 01/18/22 Page 112 of 715


   Second frame

                                       Reason      Reason       Frame          value
                                       Octet 1     Octet 2    number (2)   (continuation)
                          Printed     00100001    10000000    00000001         value
                           order                                            (continued)
                                                               b7    b0
                         Transmit     00100001    10000000     10000000        value
                          order                                                (LSB
                                                                               first)
                                      b1    b8    b9    b16    b0    b7

   5.3.6.2.14 PSA coding format
   The facsimile information field of the PSA signal shall consist of 20 numeric digits coded as shown
   in Table 3 but excluding the "+" character. The least significant bit of the least significant digit shall
   be the first bit transmitted. The unused octets in the information field shall be filled with the "space"
   character and the information should be right justified.
   5.3.7       Frame Check Sequences (FCSs)
   The FCS shall be a 16-bit sequence. It shall be the 1s complement of the sum (modulo 2) of:
   1)     remainder of xk (x15 + x14 + x13 +. . . + x2 + x + 1) divided (modulo 2) by the generator
          polynomial x16 + x12 + x5 + 1, where k is the number of bits in the frame existing between,
          but not including, the final bit of the opening flag and the first bit of the FCS, excluding bits
          inserted for transparency; and
   2)     the remainder after multiplication by x16 and then division (modulo 2) by the generator
          polynomial x16 + x12 + x5 + 1, of the content of the frame, existing between, but not
          including, the final bit of the opening flag and the first bit of the FCS, excluding bits
          inserted for transparency.
   As a typical implementation, at the transmitter, the initial remainder of the division is preset to all
   1s and is then modified by division by the generator polynomial (as described above) on the
   address, control and information fields; the 1s complement of the resulting remainder is transmitted
   as the 16-bit FCS sequence.
   At the receiver, the initial remainder is preset to all 1s and the serial incoming protected bits and the
   FCS when divided by the generator polynomial will result in a remainder of 0001110100001111
   (x15 through x0, respectively) in the absence of transmission errors.
   The FCS shall be transmitted to the line commencing with the coefficient of the highest term.

   5.4       Binary coded signalling implementation requirements
   5.4.1     Commands and responses
   Whereas 5.2 defines a flow diagram to give an accurate example of the typical use of the binary
   coded procedures, these procedures are defined specifically in terms of the actions that occur on
   receipt of commands by the receiving terminal (see 5.3).
   A response must be sent, and only sent, upon detecting a valid command. Upon receiving a valid
   response, a new command must be issued within 3 s.
   5.4.1.1     Optional command and response frames
   If optional frames (e.g., NSF or NSF CSI) are sent, they must directly precede any mandatory
   command/response frame which is sent. In this case, bit 5 of the control field is "0" for the optional
   frames and is "1" only for the final frame (refer to 5.3.5).



   78         ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2237 Filed 01/18/22 Page 113 of 715


   5.4.1.2       Options within standard frames
   Certain optional portions of standard signals (e.g., the fifth bit of the PRI-Q signal) need not be
   utilized at either the transmitting terminal or the receiving terminal. However, the use of these
   optional portions of standard signals shall not cause erroneous operation.
   5.4.2      Line control procedures and error recovery
   Once the transmitting and receiving terminals have been identified, all commands are initiated by
   the transmitting terminal and solicit an appropriate response from the receiving terminal (see
   Appendix II). Furthermore, the transmission of a response is permitted only when solicited by a
   valid command. If the transmitting terminal does not receive an appropriate valid response within
   3 s ± 15%, it will repeat the command. After three unsuccessful attempts, the transmitting terminal
   will send the disconnect (DCN) command and terminate the call. A command or a response is not
   valid and should be discarded if:
   i)      any of the frames, optional or mandatory, have an FCS error;
   ii)        any single frame exceeds 3 s ± 15% (see Note 1);
   iii)       the final frame does not have the control bit 5 set to a binary "1";
   iv)        the final frame is not a recognized standard command/response frame (see Appendix II).
   The delay of 3 s before retransmission of the command can be shortened by the use of the optional
   command repeat (CRP) response. If the transmitting terminal receives a CRP response, it may
   immediately retransmit the most recent command.
   During the initial pre-message procedure, neither terminal has a defined role (i.e., transmitter or
   receiver). Therefore, the terminal transmitting the DIS command will continue to retransmit it until,
   according to the procedures, each terminal has identified itself and the normal line control
   procedures may be followed.
   After receipt of a signal using the T.30 binary coded modulation system or V.27 ter/V.29/V.17
   modulation system, the terminal must respond within the time period of 1.5 s. However, alternative
   procedures used by some terminals which conform to the pre-2001 version of this Recommendation
   may exist.
   NOTE 1 – The implications of a maximum frame length of 3 s ± 15% are:
   a)     no transmitted frame should exceed 2.55 s (i.e., 3 s – 15%);
   b) any frame which is received and is detected as greater than 3.45 s shall be discarded (i.e., 3 s + 15%);
   c)     a frame received which is between 2.55 and 3.45 s duration may be discarded.
   NOTE 2 – A terminal may discard a received DIS signal with the identical bit allocation as that terminal has
   issued.
   5.4.3      Timing considerations
   5.4.3.1       Time-outs
   Time-out T0 defines the amount of time an automatic calling terminal waits for the called terminal
   to answer the call.
   T0 begins after the dialling of the number is completed and is reset:
   a)     when T0 times out; or
   b)     when timer T1 is started; or
   c)     if the terminal is capable of detecting any condition which indicates that the call will not be
          successful, when such a condition is detected.
   The recommended value of T0 is 60 ± 5 s; however, when it is anticipated that a long call set-up
   time may be encountered, an alternative value of up to 120 s may be used.

                                                                           ITU-T Rec. T.30 (09/2005)             79
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2238 Filed 01/18/22 Page 114 of 715


   NOTE – National regulations may require the use of other values for T0.
   Time-out T1 defines the amount of time two terminals will continue to attempt to identify each
   other. T1 is 35 ± 5 s, begins upon entering phase B, and is reset upon detecting a valid signal or
   when T1 times out.
   For operating methods 3 and 4 (see 3.1), the calling terminal starts time-out T1 upon reception of
   the V.21 modulation scheme.
   For operating method 4 bis a (see 3.1), the calling terminal starts time-out T1 upon starting
   transmission using the V.21 modulation scheme.
   Time-out T2 makes use of the tight control between commands and responses to detect the loss of
   command/response synchronization. T2 is 6 ± 1 s and begins when initiating a command search
   (e.g., the first entrance into the "command received" subroutine, reference flow diagram in 5.2).
   T2 is reset when an HDLC flag is received or when T2 times out.
   Time-out T3 defines the amount of time a terminal will attempt to alert the local operator in
   response to a procedural interrupt. Failing to achieve operator intervention, the terminal will
   discontinue this attempt and shall issue other commands or responses. T3 is 10 ± 5 s, begins on the
   first detection of a procedural interrupt command/response signal (i.e., PIN/PIP or PRI-Q) and is
   reset when T3 times out or when the operator initiates a line request.
   Time-out T5 is defined for the optional T.4 error correction mode. Time-out T5 defines the amount
   of time waiting for clearance of the busy condition of the receiving terminal. T5 is 60 ± 5 s and
   begins on the first detection of the RNR response. T5 is reset when T5 times out or the MCF or PIP
   response is received or when the ERR or PIN response is received in the flow control process after
   transmitting the EOR command. If the timer T5 has expired, the DCN command is transmitted for
   call release.
   The time-outs for the optional mode of operation over public digital networks are given in Annex C.

   6       Use of the modulation system defined in ITU-T Rec. V.34

   6.1     Procedures
   The use of Error Correction Mode (ECM) is mandatory for all facsimile messages using the V.34
   half-duplex and duplex modulation system. The procedures in Annex A shall be followed except as
   indicated in Annexes C and F. A Group 3 facsimile terminal which supports the duplex mode is
   required also to support the half-duplex mode. The start-up procedures defined in ITU-T Rec. V.8
   are common to both half-duplex and duplex modes of ITU-T Rec. V.34, the terminal shall follow
   the procedures defined in ITU-T Rec. V.8, except as noted here.
   6.1.1 An answering V.34 capable facsimile terminal shall transmit ANSam until a valid CM
   response is received or until an ANSam time-out (2.6 to 4.0 s) has expired.
   6.1.2 A calling V.34 capable terminal shall respond to the detection of ANSam by transmitting a
   call menu (CM). The direction of facsimile transmission shall be determined by the call terminal
   selecting one of the V.8 call function codes shown in Table 4.




   80        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2239 Filed 01/18/22 Page 115 of 715


                                  Table 4/T.30 – The call function category
      Start   b0   b1   b2   b3     b4   b5   b6   b7   Stop                Octet – "callf0"
        0      1    0   0    0      0    0    0    1     1     Transmit facsimile from call terminal
        0      1    0   0    0      0    1    0    1     1     Receive facsimile at call terminal
    NOTE – The same codepoints are used for duplex and half-duplex modes.

   6.1.3 After receiving a valid CM, the terminal shall follow the procedures described in ITU-T
   Rec. V.8. However, if the ANSam time-out expires, the answer terminal shall proceed with the
   binary coded signalling procedures described in clause 5 using the basic 300 bit/s modulation. Bit 6
   of the DIS frame shall be set to "1".
   6.1.4 If a call terminal, while in the 300 bit/s mode receives a DIS frame with bit 6 set to "1", it
   may reinitiate the V.8 procedures by transmitting a CI signal. When an answer terminal, expecting a
   response to a DIS frame, detects a CI signal, it shall enter the V.8 mode by resending the answer
   tone ANSam.
   6.1.5 If the CM/JM exchange indicates that the modulation system defined in ITU-T Rec. V.34 is
   available in both the calling and called terminals, then the procedures defined in Annex C shall be
   followed in the case of duplex operation and Annex F in the case of half-duplex operation.
   6.1.6 If the CM/JM exchange indicates that the modulation system defined in ITU-T Rec. V.34 is
   not available in both the calling and called terminals, then the procedures defined in clause 5 shall
   be followed.
   6.1.7 At any time during a GSTN call and while in telephony mode, the parties might verbally
   negotiate that they want to send a document via fax terminals. In this manual communication mode,
   the fax terminal which sends a document shall be defined as the call terminal and it uses the call
   modem procedure in ITU-T Recs V.8 and V.34. The fax terminal which receives a document shall
   be defined as the answer terminal and it uses the answer modem procedure in ITU-T Recs V.8 and
   V.34. The designation remains valid for the duration of the ensuing facsimile communication. The
   terminal which intends to send a document shall detect ANSam and send CM. The terminal which
   intends to receive a document shall enter the V.8 procedure by sending ANSam. Afterwards the call
   terminal and answer terminal procedures will be followed by the corresponding terminal regardless
   of which is the original caller.
   6.2     The procedure for selecting the relevant mode is shown in Figure 11. The procedures for
   duplex and half-duplex operation are contained in Annexes C and F, respectively.
   6.2.1 Optional codepoints are available during the V.8 procedure to select. Extended
   Negotiations. The procedures for selecting Extended Negotiations via V.8 are for further study.




                                                                      ITU-T Rec. T.30 (09/2005)        81
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2240 Filed 01/18/22 Page 116 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2241 Filed 01/18/22 Page 117 of 715


   The transmitting terminal can decide to use either 256 or 64 octets for the frame size by using
   DCS command. The receiving terminal must be able to receive 256 and 64 octets of frame size. The
   receiving terminal can express a preference for the frame size by using the DIS/DTC command.
   The transmitting terminal divides the coded data specified in clause 4/T.4 into a number of frames
   and transmits them with each frame number.
   When the previous message has not been satisfactorily received, the receiving terminal transmits
   PPR response to indicate that the frames specified in the associated facsimile information field are
   required to be retransmitted.
   When PPR is received, the transmitting terminal retransmits the requested frames specified in
   PPR information field.
   When PPR is received four times for the same block, either the EOR command is transmitted for
   end of retransmission or CTC (continue to correct) command is sent for continuous retransmission.
   In the case of continuous retransmission, the modem speed may fall back or continue at the same
   speed in accordance with the decision of the transmitting terminal.

   A.2     Definitions
   A.2.1 The signals and definitions used in the error correction procedure are as defined in the main
   body of this Recommendation, unless specified otherwise.
   A.2.2 Frame formats of RCP frame and FCD frame for the in-message procedure are defined in
   Annex A/T.4.
   A.2.3   Relations between a page, blocks, partial pages and frames
   One page of coded data specified in clause 4/T.4 is divided into a number of blocks. The block
   contains a number of frames. A partial page is defined as one transmitted block or a number of
   retransmitted frames.
   A.2.4   Block size
   The block size is defined as the maximum number of frames that can be sent by the transmitter
   before receiving the response.

   A.3     Block size and frame size
   A.3.1 For T.4 error correction mode, a transmitting terminal indicates frame size by using
   DCS signal.
   A.3.2 The following values of frame size are applicable: 256 or 64 octets. These values of frame
   size do not include either FCF or frame number octet. Therefore, the total length of the
   HDLC information field including both the FCF and the frame number octet is as follows: 258 or
   66 octets.
   A.3.3   The receiving terminal must have the following conditions:
   –       frame size: 256 or 64 octets;
   –       block size: 256 frames.
   A.3.4 The transmitting terminal may send the block whose size is less than 256 frames at the end
   of each page. This block is called a short block.
   A.3.5 The frame size should not be changed during a transmission of one page. In order to change
   the frame size, indication of mode change should be made using PPS-EOM or EOR-EOM
   command at the page boundary.



                                                                    ITU-T Rec. T.30 (09/2005)       83
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2242 Filed 01/18/22 Page 118 of 715


   A.4     Information field (see also 5.3.6)
   The HDLC information fields are of variable length and contain the specific information for the
   control and message interchange between two facsimile terminals. In this Recommendation, it is
   divided into two parts: the Facsimile Control Field (FCF) and the Facsimile Information Field
   (FIF).
   1)      Facsimile Control Field (FCF) – The facsimile control field is defined to be the first 8 bits
           or 16 bits of the HDLC information field. FCF of 16 bits should be applied only for the
           optional T.4 error correction mode. This field contains the complete information regarding
           the type of information being exchanged and the position in the overall sequence. The bit
           assignments within the FCF are as follows:
           Where X appears as the first bit of FCF, X will be defined as follows:
           – X is set to "1" by the terminal which receives a valid DIS signal;
           – X is set to "0" by the terminal which receives a valid and appropriate response to a DIS
               signal;
           – X will remain unchanged until the terminal again enters the beginning of phase B.
   2)      Facsimile Information Field (FIF) – In many cases the FCF will be followed by the
           transmission of additional 8-bit octets to further clarify the facsimile procedure. This
           information for the basic binary coded system would consist of the definition of the
           information in DIS, DCS, DTC, CSI, CIG, TSI, NSC, NSF, NSS, CTC, PPS and PPR
           signals.
   A.4.1   Command to receive (see also 5.3.6.1.3)
   From the transmitter to the receiver.
   Format: X100 XXXX
   1)      Continue To Correct (CTC) – This command indicates that the transmitting terminal shall
           continue to correct the previous message. This is a response to the 4th PPR received, and
           indicates that the transmitting terminal shall immediately send the requested frames
           specified in PPR information field.
           When the transmitter receives PPR four times, the modem speed may fall back or continue
           the previous transmission speed using CTC command.
           This command should have the FIF of 2 octets, which corresponds to bits 1-16 of DCS
           standard command (see Table 2). The receiving terminal uses only bits 11-14 to determine
           the data signalling rate.
           Format: X100 1000
   A.4.2   Pre-message response signals (see also 5.3.6.1.4)
   From the receiver to the transmitter.
   Format: X010 XXXX
   1)      Response for Continue To Correct (CTR) – This signal is the digital response to CTC
           signal, so that the receiving terminal can accept the contents included in the CTC signal.
           Format: X010 0011




   84       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2243 Filed 01/18/22 Page 119 of 715


   A.4.3   Post-message commands (see also 5.3.6.1.6)
   From the transmitter to the receiver.
   Format: X111 XXXX
   1)      Partial Page Signal (PPS) – This command indicates the end of a partial page or a
           complete page of facsimile information and also indicates to return to the beginning of
           phase B or C upon receipt of MCF.
           Format: X111 1101
   The frame construction of PPS command and transmission order of bits included in I1-I3 are shown
   in Figure A.1.
   2)      End Of Retransmission (EOR) – This command indicates that the transmitter decides to
           terminate the retransmission of error frames in the previous partial page and to transmit the
           next block upon receipt of ERR response.
           Format: X111 0011
   The frame construction of EOR command is shown in Figure A.2.
   3)      Receive Ready (RR) – This command is used to ask for the status of the receiver.
           Format: X111 0110
           NOTE 1 – This signal is defined for flow control.
           NOTE 2 – For flow control, refer to A.5.




                                                                     ITU-T Rec. T.30 (09/2005)       85
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2244 Filed 01/18/22 Page 120 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2245 Filed 01/18/22 Page 121 of 715


                                                                HDLC
                                                             information
                                                                 field



                                                        FCF1
                                          F    A   C    (EOR)       FCF2     FCS       F

                                                                           T0830130-00/d036




                  FCF1     Facsimile control field 1: Extension signal for error correction (EOR)
                  FCF2     Facsimile control field 2: Post-message command (NULL, MPS, EOM, EOP and PRI-Q)

                  NOTE – FCF2 indicates the post-message commands in case of the T.4 error correction mode
                  and the format of FCF2 is shown hereafter.
                    FCF2                               Meaning
                  0000 0000     NULL code which indicates the partial page boundary
                  1111 0001     EOM in optional T.4 error correction mode
                  1111 0010     MPS in optional T.4 error correction mode
                  1111 0100     EOP in optional T.4 error correction mode
                  1111 1001     PRI-EOM in optional T.4 error correction mode
                  1111 1010     PRI-MPS in optional T.4 error correction mode
                  1111 1100     PRI-EOP in optional T.4 error correction mode
                  The other bit combinations are not used.
                  The signal EOR is excluded from use during file transfer, character mode and mixed mode.


                                                       Figure A.2/T.30

   A.4.4    Post-message responses (see also 5.3.6.1.7)
   From the receiver to the transmitter.
   Format: X011 XXXX
   1)      Partial Page Request (PPR) – This signal indicates that the previous message has not been
           satisfactorily received and that the frames specified in the associated facsimile information
           field are required to be retransmitted.
           Format: X011 1101
   The facsimile information field of the PPR signal is a fixed length of 256 bits, each bit corresponds
   to an FCD frame, i.e., the first bit to the first frame, etc. For FCD frames which are received
   correctly, the corresponding bit in the PPR information field will be set to "0"; those that are
   received incorrectly or not received will have their bit set to "1".
   If more than one PPR signal is transmitted, the bit corresponding to an FCD frame which has been
   received correctly must always be set to "0".
   The frame construction of PPR response is shown in Figure A.3.
   The process of an error correction is shown in Figure A.4.
   NOTE 1 – The number of frames in a partial page is less than or equal to 256 frames. Therefore in some
   circumstances, there may be extra bits that do not correspond to any frames. These bits are set to "1" (see
   Figure A.5.)
   NOTE 2 – The first bit in the FIF corresponds to the first frame (frame No. 0).




                                                                                           ITU-T Rec. T.30 (09/2005)   87
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2246 Filed 01/18/22 Page 122 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2247 Filed 01/18/22 Page 123 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2248 Filed 01/18/22 Page 124 of 715


                                        Send                     Receive


                                                  Fax message


                                                   PPS-MPS
                                                      PPR
                                                     Training


                                               Retransmission frame

                                                   PPS-MPS

                             T4                                        Receive not ready
                                                      RNR

                                                       RR
                                                      RNR
                             T4
                                   T5
                                                       RR

                             T4                                        Receive ready
                                                      MCF
                                   Reset
                                    the
                                                    Training
                                  T5 timer


                                                  Fax message
                                                                      T0813310-93/d040




                                               Figure A.6/T.30

   A.5.4.1 Inactivity timer T5 is defined as follows:
   T5 = 60 s ± 5 s.
   NOTE – As the use of the T5 timer reduces transmission efficiency, implementation which minimizes its
   effect is desirable.
   A.5.4.2 The timer T5 is started at the timing of the first RNR response recognition.
   A.5.4.3 If the timer T5 has expired, the transmitter sends a DCN command for call release.
   A.5.4.4 If RNR response is not received correctly, an RR command is retransmitted to the receiver.
   After three unsuccessful attempts, the transmitter sends a DCN command for call release.
   A.5.4.5 After receiving RNR response, the transmitter immediately sends an RR command until an
   MCF/PIP response or an ERR/PIN response is received correctly.
   A.5.4.6 An MCF or ERR response indicates that the busy condition is cleared and the receiver
   ready to receive the data which follows the interruption.

   A.6     Procedure interrupt
   A.6.1   Procedure interrupt signals are not allowed at the partial page boundaries.
   A.6.2 Procedure interrupt after detection or transmission of PIP and PIN signals is accomplished
   by using the procedure defined in the main body of this Recommendation. This procedure is outside
   the scope of the error correction mode specified in this annex.




   90       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2249 Filed 01/18/22 Page 125 of 715


   A.7     Flow diagrams
   The flow diagrams in 5.2 show the phase B, pre-message procedures, phase C, message procedure,
   phase D, post-message procedures and phase E, call release for both the transmitting and receiving
   terminals.

   A.8     Signal sequence examples in case of error correction procedure
   The examples in Figure A.7 are based on the flow diagrams and for illustrative and instructional
   purposes only. They should not be interpreted as establishing or limiting the protocol. The exchange
   of the various commands and responses is limited only by the rules specified in this
   Recommendation.
   In the following diagrams, the dashed lines indicate transmission at the message data rate (ITU-T
   Recs V.27 ter, V.29, V.17, V.34) and (X, Y) means (page modulo number, block modulo number).
                       Example 1   An auto calling terminal wishing to transmit to an auto answer
                                   terminal: example of T.4 error correction.

                        Calling terminal                                             Called terminal
                                                         CNG
                                                         CED
                                                    (NSF) (CSI) DIS
                                                       (TSI) DCS
                                                     Training, TCF
                                                         CFR
                                                  Training, FAX MSG
                                                    PPS-NULL (0, 0)
                                                         MCF
                                                  Training, FAX MSG
                                                    PPS-MPS (0, 1)
                                                         MCF
                                                  Training, FAX MSG
                                                    PPS-NULL (1, 0)
                                                         MCF
                                                  Training, FAX MSG
                                                    PPS-EOP (1, 1)
                                                         MCF
                                                         DCN
                                                                      T0829340-00/d041




                                           Figure A.7/T.30 (sheet 1 of 13)




                                                                                   ITU-T Rec. T.30 (09/2005)   91
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2250 Filed 01/18/22 Page 126 of 715


                      Example 2    An auto calling terminal wishing to transmit to an auto answer
                                   terminal: example of PPR sequence with errors.

                      Calling terminal                                              Called terminal
                                                        CNG
                                                        CED
                                                      (CSI) DIS
                                                      (TSI) DCS
                                                    Training, TCF
                                                        CFR
                                                 Training, FAX MSG
                                                                                         (error)
                                                   PPS-NULL (0, 0)
                                                        PPR
                                           Training, FAX MSG (retransmit)
                                                   PPS-NULL (0, 0)
                                                        MCF
                                                 Training, FAX MSG
                                                   PPS-EOP (0, 1)
                                                        MCF
                                                        DCN
                                                                      T0829350-00/d042



                                      Figure A.7/T.30 (sheet 2 of 13)
                  Example 3   An auto calling terminal wishing to transmit to an auto answer terminal:
                              example of post-message commands with errors.

                      Calling terminal                                             Called terminal
                                                         CNG
                                                         CED
                                                   (NSF) (CSI) DIS
                                                      (TSI) DCS
                                                    Training, TCF
                                                         CFR
                                                  Training, FAX MSG
                                                                                         (error)
                                                    PPS-MPS (0, 0)
                                                         PPR
                                            Training, FAX MSG (retransmit)
                                                                                         (error)
                                                    PPS-MPS (0, 0)
                                                         PPR
                                            Training, FAX MSG (retransmit)
                                                    PPS-MPS (0, 0)
                                                         MCF
                                                  Training, FAX MSG
                                                                                         (error)
                                                    PPS-EOP (1, 0)
                                                         PPR
                                            Training, FAX MSG (retransmit)
                                                    PPS-EOP (1, 0)
                                                         MCF
                                                         DCN
                                                                      T0829360-00/d043




                                      Figure A.7/T.30 (sheet 3 of 13)

   92     ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2251 Filed 01/18/22 Page 127 of 715


                Example 4        An auto calling terminal wishing to transmit to an auto answer terminal:
                                 example of first command failure with message errors.


                     Calling terminal                                                  Called terminal
                                                            CNG
                                                            CED
                                                      (NSF) (CSI) DIS
                                                         (TSI) DCS
                                                       Training, TCF
                                                            CFR
                                                     Training, FAX MSG
                                                                                            (error)
                                                      PPS-NULL (0, 0)


                            T4

                                                      PPS-NULL (0, 0)
                                                            PPR
                                               Training, FAX MSG (retransmit)
                                                      PPS-NULL (0, 0)
                                                            MCF
                                                     Training, FAX MSG
                                                       PPS-EOP (0, 1)
                                                            MCF
                                                            DCN

                                                                         T0829370-00/d044



                                        Figure A.7/T.30 (sheet 4 of 13)




                                                                                    ITU-T Rec. T.30 (09/2005)   93
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2252 Filed 01/18/22 Page 128 of 715


                 Example 5   An auto calling terminal wishing to transmit to an auto answer terminal:
                             example of response failure with message errors.
                         Calling terminal                                            Called terminal
                                                          CNG
                                                           CED
                                                     (NSF) (CSI) DIS
                                                        (TSI) DCS
                                                      Training, TCF
                                                           CFR
                                                   Training, FAX MSG
                                                                                          (error)
                                                     PPS-NULL (0, 0)


                                                           PPR
                             T4

                                                     PPS-NULL (0, 0)

                                                           PPR
                                             Training, FAX MSG (retransmit)
                                                     PPS-NULL (0, 0)
                                                          MCF
                                                   Training, FAX MSG
                                                     PPS-EOP (0, 1)
                                                          MCF
                                                           DCN
                                                                       T0829380-00/d045




                                    Figure A.7/T.30 (sheet 5 of 13)




   94     ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2253 Filed 01/18/22 Page 129 of 715


                Example 6   An auto calling terminal wishing to transmit to an auto answer terminal:
                            example of fall-back (CTC).

                     Calling terminal                                            Called terminal
                                                       CNG
                                                       CED
                                                 (NSF) (CSI) DIS
                                                    (TSI) DCS
                                                  Training, TCF
                                                       CFR
                                                Training, FAX MSG
                                                                                       (error)
                                                 PPS-NULL (0, 0)
                                                       PPR
                                          Training, FAX MSG (retransmit)
                                                                                       (error)
                                                 PPS-NULL (0, 0)
                                                       PPR
                                          Training, FAX MSG (retransmit)
                                                                                       (error)
                                                 PPS-NULL (0, 0)

                                                       PPR
                                          Training, FAX MSG (retransmit)
                                                                                       (error)
                                                 PPS-NULL (0, 0)
                                                       PPR
                                                       CTC
                                                       CTR
                                          Training, FAX MSG (retransmit)
                                                 PPS-NULL (0, 0)

                                                      MCF
                                                                    T0829390-00/d046




                                    Figure A.7/T.30 (sheet 6 of 13)




                                                                                ITU-T Rec. T.30 (09/2005)   95
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2254 Filed 01/18/22 Page 130 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2255 Filed 01/18/22 Page 131 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2256 Filed 01/18/22 Page 132 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2257 Filed 01/18/22 Page 133 of 715


                Example 11   An auto calling terminal wishing to transmit to an auto answer terminal:
                             example of EOR (first block message was not satisfactorily
                             received).


                     Calling terminal                                           Called terminal
                                                      CNG
                                                      CED
                                                (NSF) (CSI) DIS
                                                   (TSI) DCS
                                                 Training, TCF
                                                      CFR
                                               Training, FAX MSG
                                                                                     (error)
                                                PPS-NULL (0, 0)
                                                      PPR
                                         Training, FAX MSG (retransmit)
                                                                                     (error)
                                                PPS-NULL (0, 0)
                                                      PPR
                                         Training, FAX MSG (retransmit)
                                                                                     (error)
                                                PPS-NULL (0, 0)
                                                      PPR
                                         Training, FAX MSG (retransmit)
                                                                                     (error)
                                                PPS-NULL (0, 0)
                                                      PPR
                                                   EOR-NULL
                                                      ERR
                                               Training, FAX MSG
                                                PPS-NULL (0, 1)
                                                      MCF

                                                                  T0829440-00/d051




                                   Figure A.7/T.30 (sheet 11 of 13)




                                                                               ITU-T Rec. T.30 (09/2005)   99
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2258 Filed 01/18/22 Page 134 of 715


                 Example 12   An auto calling terminal wishing to transmit to an auto answer terminal:
                              example of EOR (first page was not satisfactorily received).



                       Calling terminal                                            Called terminal
                                                        CNG
                                                        CED
                                                  (NSF) (CSI) DIS
                                                     (TSI) DCS
                                                    Training, TCF
                                                        CFR
                                                 Training, FAX MSG
                                                                                        (error)
                                                  PPS-NULL (0, 0)
                                                        PPR
                                           Training, FAX MSG (retransmit)
                                                                                        (error)
                                                  PPS-NULL (0, 0)
                                                        PPR
                                           Training, FAX MSG (retransmit)
                                                                                        (error)
                                                  PPS-NULL (0, 0)
                                                        PPR
                                           Training, FAX MSG (retransmit)
                                                                                        (error)
                                                  PPS-NULL (0, 0)
                                                        PPR
                                                     EOR-MPS
                                                        ERR
                                                 Training, FAX MSG
                                                  PPS-NULL (1, 0)
                                                        MCF
                                                                     T0829450-00/d052




                                    Figure A.7/T.30 (sheet 12 of 13)




   100    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2259 Filed 01/18/22 Page 135 of 715


                    Example 13       An auto calling terminal wishing to transmit to an auto answer terminal:
                                     example of all frames and flag sequences in FAX MSG failure to
                                     receive.



                  Calling terminal                                            Called terminal

                                                    CNG
                                                    CED
                                              (NSF) (CSI) DIS
                                                 (TSI) DCS
                                                Training, TCF
                                                    CFR
                                             Training, FAX MSG
                                               PPS-NULL (0, 0)
                                                    MCF
                                                                                    When either all the frames or
                                      Training, FAX MSG                             flag sequences in FAX MSG
                                                                                    are destroyed, the receiver can
                                            PPS-MPS (0, 1)                          detect the FAX MSG which was
                                                                                    lost by checking block counter
                                                    PPR
                                       Training, FAX MSG (retransmit)
                                               PPS-MPS (0, 1)
                                                    MCF



                                             Training, FAX MSG
                                               PPS-MPS (1, 0)
                                                    MCF
                                                                                    When either all the frames or
                                      Training, FAX MSG                             flag sequences in FAX MSG
                                                                                    are destroyed, the receiver can
                                            PPS-EOP (2, 0)                          detect the FAX MSG which was
                                                                                    lost by checking page counter
                                                    PPR
                                       Training, FAX MSG (retransmit)
                                               PPS-EOP (2, 0)
                                                    MCF
                                                                 T0829460-00/d053




                                           Figure A.7/T.30 (sheet 13 of 13)



                                                          Annex B

                                             BFT diagnostic message
   B.1     Introduction
   This annex defines the signals and procedures which shall be used when conducting Binary File
   Transfer (BFT) or BFT negotiation operations within Group 3 facsimile. The syntax and use of the
   file diagnostic message (FDM) frame within Group 3 facsimile are defined. The methods which are
   described shall be applicable when using the Binary File Transfer format defined within ITU-T
   Rec. T.434. The purpose of BFT negotiations within Group 3 facsimile is to confirm that the
   attributes of a file transfer request will be acceptable to the receiver prior to the actual transfer of
   binary file data.



                                                                                        ITU-T Rec. T.30 (09/2005)     101
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2260 Filed 01/18/22 Page 136 of 715


   B.2     Normative references
   –       ITU-T Recommendation T.434 (1999), Binary file transfer format for the telematic
           services.
   –       ITU-T Recommendation X.680 (2002) | ISO/IEC 8824-1:2002, Information technology –
           Abstract Syntax Notation One (ASN.1): Specification of basic notation.

   B.3     Definitions
   The File Diagnostic Message (FDM) frame is an optional post-message response which may be
   sent by the receiver. It provides the transmitter with diagnostic information concerning the current
   transfer taking place. The semantics and the syntax of the FDM are described in ITU-T Rec. T.434
   and extended for use in Group 3 facsimile within this annex (see B.8.2.1).

   B.4     Signals and components for BFT file transfer operations
   B.4.1   Diagnostic messages in Group 3 facsimile
   The file diagnostic message may be used during BFT file transfer operations or as part of
   BFT negotiations within Phase C of the facsimile procedure. The syntax and procedures for use of
   diagnostic messages within Group 3 facsimile file transfer procedures are defined below. The use of
   diagnostic messages during BFT negotiations in Phase C is defined in B.6.3.1.
   B.4.2   Use of diagnostic messages during file transfer operations
   The diagnostic information may be composed of one or more messages. Each message is
   informative, transient or permanent. An informative message does not require recovery and does
   not affect the current state of the BFT. A transient message may not re-occur if the sequence of
   events is repeated but does imply the failure of the present BFT being performed. A permanent
   message is sent every time the sequence of events is repeated, and implies the failure of at least the
   present BFT being performed.
   A diagnostic message may be sent in place of an MCF frame. The message may be sent using one
   or more HDLC frames. If more than one HDLC frame is used, only the last one will have the
   control field set for a final frame. The encapsulation of the diagnostic information within a frame is
   completely independent of attribute boundaries. However, each frame must meet the transmission
   requirements of this Recommendation.
   If the transmitter receives a transient or permanent message, it should review the set-up for the
   current binary file being transmitted. Control will continue as though four PPRs were received
   (emission of CTC command).
   B.4.3   Syntax of FDM Facsimile Information field
   The syntax for the FDM Facsimile Information field is defined in B.8.2.

   B.5     Service models for BFT negotiations
   There are two service models for Binary File Transfer negotiations within Group 3 facsimile. The
   two models are:
   1)      File Transfer Request;
   2)      Identification of Capabilities.
   Depending upon the application, elements of one or both service models may be used in order to
   successfully complete a BFT negotiation. The two service models are defined below.




   102      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2261 Filed 01/18/22 Page 137 of 715


   B.5.1   File Transfer Request
   When this service model is used, the facsimile transmitter makes a File Transfer Request and the
   receiver responds with either a positive or negative acknowledgement. If the initial request is not
   accepted, the transmitter may choose to make additional requests.
   B.5.2   Identification of Capabilities
   In this service model, the called facsimile terminal identifies its file transfer capabilities, optionally
   including a list of support file types, and then the sender makes a selection from the list of
   supported capabilities.

   B.6     Signals and components for BFT negotiations
   It is possible to conduct Binary File Transfer negotiations via either a simple Phase C mode, using
   the traditional DIS/DTC/DCS negotiations or in an extended, Phase B, mode, using extended
   signals. The signals and settings which are used for the simple mode and the extended mode are
   defined below.
   B.6.1   Settings for DIS/DTC bits
   A receiver shall indicate support for the simple Phase C method by setting bit 99 within the DIS or
   DTC to "1". A transmitter may indicate the intention to proceed with a file request using the simple
   Phase C method by setting bit 99 within the DCS.
   A receiver shall indicate support for the extended Phase B method, by setting bit 100 in the DIS or
   DTC to "1", and by using the extended settings as shown in the next clause.
   B.6.2   Settings for extended signals
   Extended signals protocol may optionally be used to conduct Binary File Transfer negotiations that
   support extended features. The extended features may include:
   1)      identification of BFT capabilities;
   2)      conducting single or multi-pass BFT negotiations via the file request method within
           Phase B of the Group 3 facsimile procedure.
   The use of the extended signals to select further BFT negotiations method via the Phase C method
   is for further study.
   The following signals are used for Phase B negotiations:
   –       FNV, RNR and RR as defined in the main body of this Recommendation (see 5.3);
   –       DES, DER, DTR, DEC, TNR, TR, DNK as defined in Annex H (see H.6.1).
   Supergroups
   The following Supergroup 8 bit code should be used to introduce the groups which are applicable
   for extended Binary File Transfer Negotiations: "0000 0100".




                                                                        ITU-T Rec. T.30 (09/2005)        103
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2262 Filed 01/18/22 Page 138 of 715


   Groups
   The groups which may be used for extended Binary File Transfer negotiations are shown below.

                      Table B.1/T.30 – Groups for Binary File Transfer negotiations
     Group code               Name                  Data content                         Description
      0000 0001       Negotiations            Bit settings defined in       Define bit settings for Phase B
                                              Table B.2
      0000 0010       Transfer Request        See guidelines in B.7.1.      Transmitter presents tags for a file
                                                                            transfer request.
      0000 0011       File Types              See guidelines in B.7.2.      Receiver presents a list of supported
                                                                            binary file types.
      0000 0101       Media types             See guidelines in B.7.2.      Receiver presents a list of supported
                                                                            media methods
      0000 0100       Compression Types       See guidelines in B.7.2.      Receiver presents a list of supported
                                                                            compression methods.
      0000 0101       Capabilities Request    Bit settings as defined in    Request to see if receiver supports
                                              Table B.3                     specific lists of capabilities
    NOTE – The unused bits of this value octet are set to "0" by default.


                  Table B.2/T.30 – Coding of the value octet for the negotiations group
                    Meaning of codes                      Coding of the value octet of the negotiations group
    Reserved for Simple Phase C BFT Negotiations                           Bit No. 7 6 5 4 3 2 1 0
    Capability/Command                                                             1xxxxxxx
    Extended BFT Negotiations Capability/Command                           Bit No. 7 6 5 4 3 2 1 0
                                                                                   x1xxxxxx
    Bits 0 to 5 are reserved for future use                                Bit No. 7 6 5 4 3 2 1 0
                                                                                   xxxxxxxx
    NOTE – The unused bits of this value octet are set to "0" by default.


             Table B.3/T.30 – Coding of the value octet for the Capabilities Request group
                    Meaning of codes                      Coding of the value octet of the negotiations group
    Request List of Supported File Types                                   Bit No. 7 6 5 4 3 2 1 0
                                                                                   1xxxxxxx
    Request list of Supported Compression Types                            Bit No. 7 6 5 4 3 2 1 0
                                                                                   x1xxxxxx
    Request List of Supported Media Types                                  Bit No. 7 6 5 4 3 2 1 0
                                                                                   xx1xxxxx
    Bits 0 to 4 are reserved for future use                                Bit No. 7 6 5 4 3 2 1 0
                                                                                   xxxxxxxx

   B.6.3     Use of Group 3 Fax Signals for BFT negotiations
   B.6.3.1     Simple Phase C method
   The Simple Phase C method for BFT negotiations may be selected using the traditional DIS/DTC
   negotiations method. A file transfer request using the Simple Phase C method is submitted by


   104        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2263 Filed 01/18/22 Page 139 of 715


   presenting BFT negotiations data within Facsimile Coded Data frames available within Group 3
   error correction mode. The MCF (message confirmation) signal is used to accept the file request
   and the File Diagnostic Message (FDM) is used to reject the file request. The syntax of the FIF of
   the FDM signal for Group 3 facsimile is defined in B.8.2.1.
   B.6.3.2     Extended Method – Phase B
   A facsimile receiver may identify its BFT negotiations capabilities, optionally including lists of
   supported file types and values for other BFT attributes, using the DES signal. Where applicable,
   for polling operations, a terminal may identify its BFT negotiations capabilities using the DTR
   signal.
   The following extended signals may be used when conducting file transfer negotiations within
   Phase B: DES, DEC, DER, DTR.
   The FNV signal shall be used for the purpose of a negative acknowledgement, when it is necessary
   to reject all or part of a BFT file request via Phase B. Per Annex H, when all extended negotiations
   are complete, the CFR signal is issued by the receiver.
   The following signals may be used for flow control during Phase B, per the procedures defined
   within H.6.3: TNR, TR, RNR, RR. The FNV and DNK signals provide error control features as
   defined within H.6.

   B.7       Procedures for BFT negotiations
   B.7.1     File Transfer Request
   B.7.1.1     Phase C method
   A receiver shall indicate support for the Phase C method by setting bit 99 within the DIS or DTC to
   "1". A transmitter may indicate the intention to proceed with a file request using the Phase C
   method by setting bit 99 within the DCS.
   B.7.1.2     Phase B method
   A transmitting terminal may issue a file transfer request within Phase B by using either the DER or
   DEC signal, where the FIF shall include the BFT Negotiations supergroup and the Transfer Request
   group. The data content of the Transfer Request group shall consist of all or a subset of the T.434
   tags for the proposed file transfer (see B.7.2.1). The DER signal shall be used where additional
   information is needed from the receiver before completing the negotiation. The DEC signal shall be
   used when issuing a command where further information is not requested from the receiver.
   B.7.2     Identification of Capabilities
   A called or receiving terminal may identify its BFT capabilities using the DES signal (or the DTR
   signal when polled operations are to be requested). The capabilities are contained within the
   Facsimile Information Field of the DES/DTR and are encoded using the BFT supergroup and one or
   more related groups. The terminal indicates support for BFT negotiations using the Negotiations
   group. The terminal may indicate support for specific capabilities using the following groups:
   1)      File Types – list of supported BFT file types.
   2)      Compression Types – list of supported BFT compression types.
   3)      Media Types – list of supported BFT media types.
   NOTE – Identification of Capabilities is only available with the Phase B method.




                                                                         ITU-T Rec. T.30 (09/2005)   105
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2264 Filed 01/18/22 Page 140 of 715


   B.7.3     BFT File Transfer Response
   B.7.3.1     Simple Phase C method
   The receiver indicates acceptance of a file transfer request by issuing an MCF signal. The receiver
   may reject a file transfer request by issuing an FDM signal containing a T.434 diagnostic message
   code indicating the reason for the rejection. The receiver may optionally return the T.434 tags and
   values which are not accepted as part of the FDM diagnostic information.
   B.7.3.2     Enhanced Phase B method
   The receiver indicates acceptance of a file transfer request by issuing a DES signal in response to a
   request made via the DER signal or a CFR in response to the DEC command. The receiver may
   reject a file transfer request by issuing an FNV signal with the BFT negotiations reason code set and
   is required to return a T.434 diagnostic message code indicating the reason for the rejection. The
   receiver may optionally return the T.434 tags and values which are not accepted as part of the FNV
   diagnostic information.

   B.8       Presentation of BFT negotiations data
   This clause offers rules on how BFT data should be presented during BFT negotiations and syntax
   for the related signals.
   B.8.1     BFT File Transfer Request
   For a binary file transfer request, the full ASN.1 coding for a BINARY-DATA-Message shall be
   used as defined in ITU-T Rec. T.434. All or a subset of the tags may be presented during the
   request. The data-contents tag, length and value may be omitted. Only definite length coding shall
   be used.
   B.8.1.1     Phase C method File Transfer Request
   Syntax for Phase C method Transfer Request:
   Phase C Signal ::= <T.434 Binary Data Message>
   B.8.1.2     Phase B method File Transfer Request
   Syntax for Phase B method Transfer Request:
   Phase B method signal: DER or DEC.
   Group Structure:
   Tag Encoded Data ::=
   <BFT Negotiations SG><SG Length>< Transfer Request Group Tag><Group Length><Group
   Value>
   <Group Value> ::= <T.434 Binary Data Message>
   B.8.2     BFT File Transfer Response
   For a response to a BFT File Transfer request, the following presentation rules apply:
   1)       Only definite length coding is permitted.
   2)       If multiple tags are to be returned, use the "IMPLICIT SEQUENCE OF SEQUENCE"
            coding.
   3)       If only a single tag is to be returned, only present the ASN.1 syntax for that tag (and data as
            applicable).




   106        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2265 Filed 01/18/22 Page 141 of 715


   B.8.2.1     Phase C method File Transfer Response
   Phase C method signals: FDM, MCF.
   Syntax for FDM Response
   FIF ::= <Diagnostic Code>[<Frame Number><Diagnostic Information>]
   where the <Diagnostic Information> ::= <Length><Rejected T.434 data>
   The structure of the octets of the FIF for the FDM frame shall be as follows:


             Octet              Contents             Requirements            Additional comments
    First                 Diagnostic code          Mandatory          Values defined in Table B.3/T.434
    Second                Frame number             Optional           To allow multi-frame responses.
    Additional octets     Diagnostic information   Optional           Structure for rejected T.434 data

   The format of the rejected T.434 data shall follow the rules defined in B.8.2.
   B.8.2.2     Phase B Method File Transfer Response
   Phase B method signals: FNV, DES, CFR.
   Syntax for FNV Response.
   FNV bit setting for BFT Negotiations Rejection: bit n
   FIF ::= <first octet><extend octet><frame_number><FDM_diagnostic_code><length>
   <rejected_T434_data>
   The rejected T.434 data are coded based on the presentation rules for responses. The values for the
   FDM_diagnostic_code are contained in Table B.3/T.434.
   B.8.3     Lists of Capabilities
   For lists of capabilities of a single attribute, called terminals or receivers use the ASN.1 "OF"
   syntax, followed by the list of tags and values. The following rules apply:
   –        Only definite length coding is permitted.
   –        Fax transmitters may make a specific request for lists of capabilities using the "Capabilities
            Request" group, whose structure and syntax is defined in B.8.4.
   B.8.3.1     Syntax for File Types Capability List
   Phase B method signal: DES or DTR.
   Group Structure:
   Tag Encoded Data ::=
   <BFT Negotiations SG><SG Length><File Types Group Tag><Group Length><Group Value>
   <Group Value> ::= <SEQUENCE OF OBJECT IDENTIFIER >
   B.8.3.2     Syntax for Compression Types Capability List
   Phase B method signal: DES or DTR.
   Group Structure:
   Tag Encoded Data ::=
   <BFT Negotiations SG><SG Length><Compression Types Group Tag><Group Length><Group
   Value>


                                                                      ITU-T Rec. T.30 (09/2005)           107
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2266 Filed 01/18/22 Page 142 of 715


   <Group Value> ::= <SEQUENCE OF OBJECT IDENTIFIER >
   B.8.3.3     Syntax for Media Types Capability List
   B method signal: DES or DTR.
   Group Structure:
   Tag Encoded Data ::=
   <BFT Negotiations SG><SG Length><Media Types Group Tag><Group Length><Group Value>
   <Group Value> ::= <SEQUENCE OF Mime-Media-Type-Attribute >
   NOTE – The syntax of the Mime-Media-Type-Attribute is defined in ITU-T Rec. T.434.
   B.8.4     Capabilities Request
   Transmitters may make a specific request for lists of capabilities using the "Capabilities Request"
   group. One or more requests may be made at a time, depending upon the bit settings for the group
   value octet.
   B.8.4.1     Syntax for Capabilities Request
   B Method signal: DER.
   Group Structure:
   Tag Encoded Data ::=
   <BFT Negotiations SG><SG Length><Capabilities Request Group Tag><Group Length><Group
   Value>
   The group value is a single octet as defined in Table B.3.



                                                 Annex C

                   Procedure for Group 3 document facsimile transmission
                      on the Integrated Services Digital Network or on
                        the GSTN using duplex modulation systems
   C.1       Introduction
   C.1.1 This annex describes the protocol used by Group 3 document facsimile terminals when
   operating over the Integrated Services Digital Network. Optionally, the protocols described in this
   annex may be used on digital networks other than the ISDN. The protocols described in this annex
   may also be used on the GSTN using modulation schemes. The procedures and signals used are
   based upon those defined in the main body as well as in Annex A. The protocol operates in either
   half-duplex only or duplex and half-duplex mode. In both cases, error correction is an integral part
   of the protocol. The Group 3 facsimile option described in this annex may be referred to as Group 3
   Option C or Group 3C.
   C.1.2     Outline of the error correction method
   The error correction method described in this Recommendation is based on page selective repeat
   ARQ (Automatic Repeat Request) technique. An HDLC frame structure is utilized for all facsimile
   message procedures.
   The transmitting terminal divides the message into a number of concatenated frames as described in
   Annex A/T.4 and transmits it as a number of pages and/or partial pages.


   108        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2267 Filed 01/18/22 Page 143 of 715


   The transmitting terminal uses a frame size of 256 octets as indicated in the DCS command and the
   receiving terminal must be able to receive a frame of that size. Optionally, when operating over
   analogue networks, a frame size of 64 octets may be indicated by the transmitting terminal.
   In the duplex mode of operation, the transmitting terminal transmits subsequent partial pages
   without waiting for a response to the preceding partial page. If corrections are required, they are
   sent at the end of the next partial page transmission. If there are any unacknowledged commands
   from previous pages or partial pages, these are retransmitted prior to any corrections. In the
   half-duplex case, all corrections are sent and acknowledged before a subsequent partial page is sent.
   When the previous message has not been satisfactorily received, the receiving terminal transmits a
   PPR response to indicate that the frames specified in the associated facsimile information field are
   required to be retransmitted. The PPR signal contains the page and block numbers as well as the
   required frame numbers.
   When a PPR signal is received, the transmitting terminal retransmits the requested frames specified
   in the PPR information field.
   There is no predefined number of attempts to correct a page, the decision is left up to the
   transmitter. If it is considered that too many attempts have been made, then the transmitter will send
   the DCN signal.
   If the receiver is unable to continue to receive new information, it sends RNR continuously until it
   is ready to receive new information. During this time the transmitter will send any outstanding
   correction frames and any unacknowledged commands. If there are no outstanding corrections, then
   it will continuously transmit any unacknowledged commands until it receives a response other than
   RNR.
   The transmitter will send no new information until all previously transmitted pages are
   acknowledged as having been received correctly.
   The format of the initial identification is a repeated sequence of XID + DIS or XID + NSF + DIS or
   XID + NSF + CSI + DIS sent three times concatenated together followed by 256 flags. This
   sequence is transmitted until a valid response is received from the calling terminal subject to a
   maximum time of 5 seconds.
   The flow diagrams in C.5 do not address the issue of resilience against the remainder of the
   sequence but rather consider that this is implicitly ensured.

   C.2     Definitions
   C.2.1 When operating in the Group 3C mode, only the signals listed below are used. When used
   over the ISDN, the procedures and signals specified in this annex are carried on the B-channel.
   Unless stated otherwise, the signal functions and formats are as defined in the main body and/or in
   Annex A.
   CIG         Calling Subscriber Identification (see Note)
   CRP         Command Repeat
   CSI         Called Subscriber Identification (see Note)
   DCN         Disconnect
   DCS         Digital Command Signal
   DIS         Digital Identification Signal
   DTC         Digital Transmit Command
   FCD         Facsimile Coded Data
   FCF         Facsimile Control Field

                                                                     ITU-T Rec. T.30 (09/2005)       109
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2268 Filed 01/18/22 Page 144 of 715


   FIF          Facsimile Information Field
   MCF          Message Confirmation (see C.3)
   NSC          Non-Standard Facilities Command (see Note)
   NSF          Non-Standard Facilities (see Note)
   NSS          Non-Standard Set-up (see Note)
   PID          Procedure Interrupt Disconnect (see C.3)
   PPR          Partial Page Request
   PPS-EOM Partial Page Signal-End Of Message
   PPS-EOP      Partial Page Signal-End Of Procedure
   PPS-MPS Partial Page Signal-Multipage Signal
   PPS-NULL Partial Page Signal-Null
   RCP          Return to Control for Partial Page
   RNR          Receiver Not Ready
   TSI          Transmitting Subscriber Identification (see Note)
   XID          EXchange IDentification procedure (see C.3)
   NOTE – This signal is optional.

   C.3     Facsimile procedure
   C.3.1   Call establishment procedures
   The call establishment procedures for this option are defined in Annex F/T.90.
   C.3.2   Initial identification
   Exchange identification procedure (XID) – This signal indicates that the called terminal has Group
   3C capabilities and also can be used to facilitate identification of the characteristics of the remote
   terminal when interworking with other facsimile groups. This signal is defined in ITU-T Rec. T.90.
   The format of the XID frame is defined in Annex F/T.90.
   C.3.3   In-message procedure
   From the transmitter to the receiver. The in-message procedure formats and specific signals shall be
   as defined in Annex A/T.4.
   C.3.4   Post-message responses
   From the receiver to the transmitter.
   Format: X011 XXXX
   1)      Message Confirmation (MCF) – This digital response indicates that a complete message
           has been satisfactorily received and that additional messages may follow. This is a positive
           response to PPS-MPS, PPS-EOM, PPS-EOP and PPS-NULL.
           Format: X011 0001




   110       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2269 Filed 01/18/22 Page 145 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2270 Filed 01/18/22 Page 146 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2271 Filed 01/18/22 Page 147 of 715


   C.3.6     Facsimile information field (FIF)
   C.3.6.1     DIS standard capabilities
   The bit assignment for this information is given in Table 2 where a "1" indicates the condition is
   valid.
   C.3.6.2     DCS standard commands
   The DCS standard commands are formatted as shown in Table 2.
   C.3.6.3     DTC standard command
   The DTC standard capabilities are formatted as shown in Table 2.
   C.3.7     Implementation requirements
   C.3.7.1     Commands and responses
   Whereas C.5 defines a flow diagram to give an accurate example of the typical use of the binary
   coded procedures, these procedures are defined specifically in terms of the actions that occur on
   receipt of commands by the receiving terminal.
   A response must be sent, and only sent, upon detecting a valid command. Upon receiving a valid
   response, a new command must be issued within 3 seconds.
   C.3.7.2     Timing considerations
   C.3.7.2.1 Time-outs
   Time-out T6 defines the amount of time two terminals will continue to attempt to identify each
   other. T6 is 5 ± 0.5 s. The time-out begins upon entering Phase B and is reset upon detecting a valid
   signal or when T6 times out.
   Time-out T7 is used to detect loss of command/response synchronization. T7 is 6 ± 1 s. The time-
   out begins when initiating a command search (e.g., the first entrance into the "command received"
   subroutine – see flow diagram in C.5) and is reset upon detecting a valid signal or when T7 times
   out.
   Time-out T8 defines the amount of time waiting for clearance of the busy condition of the receiving
   terminal. T8 is 10 ± 1 s, begins on the first detection of the combination of no outstanding
   corrections and the RNR response. T8 is reset when T8 times out or MCF response is received. If
   the timer T8 has expired, DCN command is transmitted for call release.

   C.4       Flow control procedure
   C.4.1 Flow control in the transmitting terminal is made by continuous flag transmission between
   frames or before the first frame.
   C.4.2     The maximum transmission time of flags should be less than the value of timer T6.
   C.4.3 In the case of transmission on noisy channel, a long flag sequence may be destroyed by
   noise. Therefore, it is recommended that the receiver implements a control procedure to discard
   invalid frames which are obtained from erroneous flag sequences.
   C.4.4 Flow control in the receiving terminal is made using the RNR signal. An example is shown
   in Figure C.3.

   C.5       Flow diagrams
   The flow diagrams of Figures C.4 to C.23 show the Phase B pre-message procedures, Phase C
   message procedure, Phase D post-message procedures and Phase E call release for both the
   transmitting and receiving terminals.

                                                                     ITU-T Rec. T.30 (09/2005)      113
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2272 Filed 01/18/22 Page 148 of 715


   For the notes and an explanation of terms to the flow diagrams, see 5.2.1 and C.5.1.
   C.5.1    Explanation of flow chart terms
   Unless defined otherwise below, the definition of the flow chart terms is given in the main body
   and/or in Annex A.
   COPY QUALITY OK                          All message frames have been received correctly or have been
                                            corrected.
   OUTSTANDING COMMANDS                     There are still some commands to which a response has not
                                            yet been received.
   OUTSTANDING CORR?                        There are still some pages or partial pages to which a positive
                                            acknowledgement has not yet been received.
   RE-ISSUE COMMANDS                        The "outstanding commands" are transmitted in their
                                            chronological order prior to transmission of the next page or
                                            partial page.
   NOTE 1 – At any time during the operation, an interrupt may be generated which would result in a
   procedural interrupt. It is understood that if this interrupt happens during the transmission of the document,
   all the outstanding partial pages will be corrected if necessary prior to invoking the procedural interrupt.
   NOTE 2 – CRP is used only in the case of a pre-message command being received in error.
                          Send                                                 Receive


                                              Facsimile message


                                 PPS-EOP                              Flags

                                 PPS-EOP                              PPR



                                             Retransmission frames


                                 PPS-EOP                              RNR               Receive
                                                                                        not ready
                                 PPS-EOP                              RNR

                                 PPS-EOP                              RNR

                                 PPS-EOP                              RNR

                                 PPS-EOP                              RNR

                                 PPS-EOP                              RNR               Receive
                                                                                        ready
                                 PPS-EOP                              MCF

                                   DCN                                Flags

                                                                     T0807040-91/d056




                                                Figure C.3/T.30




   114       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2273 Filed 01/18/22 Page 149 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2274 Filed 01/18/22 Page 150 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2275 Filed 01/18/22 Page 151 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2276 Filed 01/18/22 Page 152 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2277 Filed 01/18/22 Page 153 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2278 Filed 01/18/22 Page 154 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2279 Filed 01/18/22 Page 155 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2280 Filed 01/18/22 Page 156 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2281 Filed 01/18/22 Page 157 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2282 Filed 01/18/22 Page 158 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2283 Filed 01/18/22 Page 159 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2284 Filed 01/18/22 Page 160 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2285 Filed 01/18/22 Page 161 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2286 Filed 01/18/22 Page 162 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2287 Filed 01/18/22 Page 163 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2288 Filed 01/18/22 Page 164 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2289 Filed 01/18/22 Page 165 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2290 Filed 01/18/22 Page 166 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2291 Filed 01/18/22 Page 167 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2292 Filed 01/18/22 Page 168 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2293 Filed 01/18/22 Page 169 of 715


   C.6     Signal sequence examples
   C.6.1   Duplex operation
   The examples below (Figures C.24 to C.37) are based on the flow diagrams and are for illustrative
   and instructional purpose only. They should not be interpreted as establishing or limiting the
   protocol. The exchange of the various commands and responses is limited only by the rules
   specified in this Recommendation.
   C.6.2   Half-duplex operation
   The examples below (Figures C.38 to C.51) are based on the flow diagrams and are for illustrative
   and instructional purpose only. They should not be interpreted as establishing or limiting the
   protocol. The exchange of the various commands and responses is limited only by the rules
   specified in this Recommendation.
               Example 1    A calling terminal wishing to transmit to an answering terminal.

                            The document being transmitted consists of a single partial page with no errors on the
                            received document.
                     Calling                                                                      Called
                                                                                     Flags
                               Flags                                                 Flags
                               Flags                                                 3 X XID (NSF) (CSI) DIS
                               Flags                                                 3 X XID (NSF) (CSI) DIS
                     3 X (TSI) DCS                                                   3 X XID (NSF) (CSI) DIS
                       FCD frames                                                    Flags
                                                                                     Flags
                                                                                     Flags
                       FCD frames                                                    Flags
              3 X PPS-EOP (1, 1, x)                                                  Flags
              3 X PPS-EOP (1, 1, x)                                                  3 X MCF (1, 1)
                           3 X DCN                                                   3 X MCF (1, 1)
                                                                                      T0829540-00/d077




                                                   Figure C.24/T.30




                                                                                    ITU-T Rec. T.30 (09/2005)        135
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2294 Filed 01/18/22 Page 170 of 715


                Example 2 A calling terminal wishing to transmit to an answering terminal.

                            The document being transmitted consists of several partial pages with no errors on
                            the received document.


                         Calling                                                               Called
                               Flags                                                 Flags
                               Flags                                                 Flags
                               Flags                                                 3 X XID (NSF) (CSI) DIS
                               Flags                                                 3 X XID (NSF) (CSI) DIS
                      3 X (TSI) DCS                                                  3 X XID (NSF) (CSI) DIS
                        FCD frames                                                   Flags
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags
              3 X PPS-NULL (1, 1, x)                                                 Flags
                        FCD frames                                                   3 X MCF (1, 1)
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags
               3 X PPS-EOP (1, 2, x)                                                 Flags
               3 X PPS-EOP (1, 2, x)                                                 3 X MCF (1, 2)
               3 X PPS-EOP (1, 2, x)                                                 3 X MCF (1, 2)
                           3 X DCN                                                   3 X MCF (1, 2)
                                                                                    T0829550-00/d078




                                                 Figure C.25/T.30




   136    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2295 Filed 01/18/22 Page 171 of 715


              Example 3 A calling terminal wishing to transmit to an answering terminal.

                           The document being transmitted consists of several partial pages with errors on the
                           received document.


                      Calling                                                               Called
                                Flags                                               Flags
                                Flags                                               Flags
                                Flags                                                3 X XID (NSF) (CSI) DIS
                                Flags                                                3 X XID (NSF) (CSI) DIS
                     3 X (TSI) DCS                                                   3 X XID (NSF) (CSI) DIS
                       FCD frames                                                   Flags
                                                                                    Flags
                                                error                               Flags
                                                                                    Flags
             3 X PPS-NULL (1, 1, x)                                                 Flags
                       FCD frames                                                   Flags
                                                                                     3 X PPR (1, 1, z)
                                                                                    Flags
                                                                                    Flags
              3 X PPS-EOP (1, 2, y)                                                 Flags
                  FCD error frames                                                   3 X MCF (1, 2)
                                                                                    Flags
                                                                                    Flags
             3 X PPS-NULL (1, 1, z)                                                 Flags
             3 X PPS-NULL (1, 1, z)                                                  3 X MCF (1, 1)
                          3 X DCN                                                    3 X MCF (1, 1)
                                                                                   T0829560-00/d079




                                                 Figure C.26/T.30




                                                                                 ITU-T Rec. T.30 (09/2005)       137
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2296 Filed 01/18/22 Page 172 of 715


               Example 4 A calling terminal wishing to transmit to an answering terminal.

                           The document being transmitted consists of several partial pages with errors on the
                           received document and errors on the corrections.

                     Calling                                                                    Called
                               Flags                                                 Flags
                               Flags                                                 Flags
                               Flags                                                 3 X XID (NSF) (CSI) DIS
                               Flags                                                 3 X XID (NSF) (CSI) DIS
                      3 X (TSI) DCS                                                  3 X XID (NSF) (CSI) DIS
                        FCD frames                                                   Flags
                                                                                     Flags
                                                 error                               Flags
                                                                                     Flags
              3 X PPS-NULL (1, 1, x)                                                 Flags
                        FCD frames                                                   3 X PPR (1, 1, z)
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags
               3 X PPS-EOP (1, 2, y)                                                 Flags
                   FCD error frames                                                  3 X MCF (1, 2)
                                                 error                               Flags
                                                                                     Flags
              3 X PPS-NULL (1, 1, z)                                                 Flags
              3 X PPS-NULL (1, 1, z)                                                 3 X PPR (1, 1, a)
                   FCD error frames                                                  Flags
                                                                                     Flags

              3 X PPS-NULL (1, 1, a)                                                 Flags
              3 X PPS-NULL (1, 1, a)                                                 3 X MCF (1, 1)
                           3 X DCN                                                   3 X MCF (1, 1)
                                                                                    T0829570-00/d080




                                                 Figure C.27/T.30




   138    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2297 Filed 01/18/22 Page 173 of 715


              Example 5 A calling terminal wishing to transmit to an answering terminal.

                          The document being transmitted consists of several partial pages with errors on
                          a post-message command.

                      Calling                                                                 Called
                                Flags                                               Flags
                                Flags                                               Flags
                                Flags                                               3 X XID (NSF) (CSI) DIS
                                Flags                                               3 X XID (NSF) (CSI) DIS
                      3 X (TSI) DCS                                                 3 X XID (NSF) (CSI) DIS
                        FCD frames                                                  Flags
                                                                                    Flags
                                                                                    Flags
                                                                                    Flags
              3 X PPS-NULL (1, 1, x)            error                               Flags
                        FCD frames                                                  Flags

                                                                                    Flags
                                                                                    Flags
                                                                                    Flags
              3 X PPS-MPS (1, 2, y)                                                 Flags
              3 X PPS-NULL (1, 1, x)                                                3 X PPR (1, 2, y)
                        FCD frames                                                  3 X PPR (1, 1, x)
                                                                                    Flags
                                                                                    Flags
                                                                                    Flags
              3 X PPS-EOP (2, 1, z)                                                 Flags
                   FCD error frames                                                 3 X MCF (2, 1)
                                                                                    Flags
                                                                                    Flags
                                                                                    Flags
              3 X PPS-MPS (1, 2, y)                                                 Flags
                   FCD error frames                                                 Flags
                                                                                    3 X MCF (1, 2)
                                                                                    Flags
                                                                                    Flags
              3 X PPS-NULL (1, 1, x)                                                Flags
              3 X PPS-NULL (1, 1, x)                                                3 X MCF (1, 1)
              3 X PPS-NULL (1, 1, x)                                                3 X MCF (1, 1)
                           3 X DCN                                                  3 X MCF (1, 1)

                                                                                   T0829580-00/d081




                                                Figure C.28/T.30




                                                                                 ITU-T Rec. T.30 (09/2005)    139
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2298 Filed 01/18/22 Page 174 of 715


             Example 6 A calling terminal wishing to transmit to an answering terminal.

                         The document being transmitted consists of several partial pages with errors on the last
                         post-message command.



                     Calling                                                               Called
                               Flags                                               Flags
                               Flags                                               Flags
                               Flags                                               3 X XID (NSF) (CSI) DIS
                               Flags                                               3 X XID (NSF) (CSI) DIS
                    3 X (TSI) DCS                                                  3 X XID (NSF) (CSI) DIS
                      FCD frames                                                   Flags
                                                                                   Flags
                                                                                   Flags
                                                                                   Flags
            3 X PPS-NULL (1, 1, x)                                                 Flags
                      FCD frames                                                   3 X MCF (1, 1)
                                                                                   Flags
                                                                                   Flags
                                                                                   Flags
             3 X PPS-MPS (1, 2, y)                                                 Flags
                      FCD frames                                                   3 X MCF (1, 2)
                                                                                   Flags
                                                                                   Flags
                                                                                   Flags
             3 X PPS-EOP (2, 1, z)            error                                Flags
             3 X PPS-EOP (2, 1, z)            error                                Flags
             3 X PPS-EOP (2, 1, z)                                                 Flags
             3 X PPS-EOP (2, 1, z)                                                 3 X MCF (2, 1)
             3 X PPS-EOP (2, 1, z)                                                 3 X MCF (2, 1)
                         3 X DCN                                                   3 X MCF (2, 1)
                                                                                  T0829590-00/d082




                                                 Figure C.29/T.30




   140    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2299 Filed 01/18/22 Page 175 of 715


                 Example 7 A calling terminal wishing to transmit to an answering terminal.

                             The document being transmitted consists of several partial pages with an error on
                             the pre-message command.

                         Calling                                                        Called
                             Flags                                                  Flags
                             Flags                                                  Flags
                             Flags                                                  3 X XID (NSF) (CSI) DIS
                             Flags                                                  3 X XID (NSF) (CSI) DIS
                     3 X (TSI) DCS            error                                 3 X XID (NSF) (CSI) DIS
                       FCD frames                                                   3 X CRP
                                                                                    3 X CRP
                     3 X (TSI) DCS                                                  3 X CRP
                       FCD frames                                                   Flags
                                                                                    Flags
                                                                                    Flags
                                                                                    Flags
             3 X PPS-NULL (1, 1, x)                                                 Flags
                       FCD frames                                                   3 X MCF (1, 1)
                                                                                    Flags
                                                                                    Flags
                                                                                    Flags
             3 X PPS-EOP (1, 2, x)                                                  Flags
             3 X PPS-EOP (1, 2, x)                                                  3 X MCF (1, 2)
                          3 X DCN                                                   3 X MCF (1, 2)
                                                                                   T0829600-00/d083




                                                 Figure C.30/T.30




                                                                                 ITU-T Rec. T.30 (09/2005)       141
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2300 Filed 01/18/22 Page 176 of 715


                 Example 8 A calling terminal wishing to transmit to an answering terminal.

                             The document being transmitted consists of several partial pages with no response to
                             the last post-message command.



                         Calling                                                                Called
                                   Flags                                               Flags
                                   Flags                                               Flags

                                   Flags                                               3 X XID (NSF) (CSI) DIS
                                   Flags                                               3 X XID (NSF) (CSI) DIS
                         3 X (TSI) DCS                                                 3 X XID (NSF) (CSI) DIS
                           FCD frames                                                  Flags
                                                                                       Flags
                                                                                       Flags
                                                                                       Flags
                3 X PPS-NULL (1, 1, x)                                                 Flags
                           FCD frames                                                  3 X MCF (1, 1)
                                                                                       Flags
                                                                                       Flags
                                                                                       Flags
                 3 X PPS-MPS (1, 2, y)                                                 Flags
                           FCD frames                                                  3 X MCF (1, 2)
                                                                                       Flags
                                                                                       Flags
                                                                                       Flags

                 3 X PPS-EOP (2, 1, z)           error                                 Flags
                 3 X PPS-EOP (2, 1, z)            error                                Flags
                 3 X PPS-EOP (2, 1, z)            error                                Flags
                                                  error                                Flags
              Repeat for up to
                                                 error                                 Flags
              5 seconds
              i.e. T6 expires                     error                                Flags
                                                  error                                Flags
                                 3 X DCN                                               Flags
                                                                                      T0829610-00/d084




                                                 Figure C.31/T.30




   142    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2301 Filed 01/18/22 Page 177 of 715


               Example 9 A calling terminal wishing to transmit to an answering terminal.

                          The document being transmitted consists of several partial pages with errors on
                          the received document and receiver indicating it is not ready to receive new
                          information.

                         Calling                                                      Called
                              Flags                                              Flags
                              Flags                                              Flags
                              Flags                                              3 X XID (NSF) (CSI) DIS
                              Flags                                              3 X XID (NSF) (CSI) DIS
                      3 X (TSI) DCS                                              3 X XID (NSF) (CSI) DIS
                        FCD frames                                               Flags
                                                                                 Flags
                                                                                 Flags
                                                                                 Flags
              3 X PPS-NULL (1, 1, x)                                             Flags
                        FCD frames                                               3 X MCF (1, 1)
                                                                                 Flags
                                               error                             Flags
                                                                                 Flags
               3 X PPS-MPS (1, 2, y)                                             Flags
                        FCD frames                                               3 X PPR (1, 2, a)
                                                                                 Flags
                                                                                 Flags
                                                                                 Flags
              3 X PPS-NULL (2, 1, z)                                             Flags
                   FCD error frames                                              Flags
                                                                                 Flags
                                                                                 Flags
               3 X PPS-MPS (1, 2, a)                                             Flags
                        FCD frames                                               Flags
                                                                                 RNR
                                                                                 RNR
              3 X PPS-MPS (2, 2, p)                                              RNR
               3 X PPS-MPS (1, 2, a)                                             RNR
              3 X PPS-NULL (2, 1, z)                                             RNR
               3 X PPS-MPS (2, 2, p)                                             3 X MCF (1, 2)
              3 X PPS-NULL (2, 1, z)                                             RNR
               3 X PPS-MPS (2, 2, p)                                             RNR
              3 X PPS-NULL (2, 1, z)                                             RNR
               3 X PPS-MPS (2, 2, p)                                             3 X MCF (2, 1)
               3 X PPS-MPS (2, 2, p)                                             3 X MCF (2, 2)
                        FCD frames                                               Flags
                                                                                 Flags
               3 X PPS-EOP (3, 1, q)                                             Flags
               3 X PPS-EOP (3, 1, q)                                             3 X MCF (3, 1)
                           3 X DCN                                               3 X MCF (3, 1)

                                                                                T0829620-00/d085




                                               Figure C.32/T.30




                                                                                ITU-T Rec. T.30 (09/2005)   143
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2302 Filed 01/18/22 Page 178 of 715


                Example 10 A calling terminal wishing to transmit to an answering terminal.

                             The document being transmitted consists of several partial pages with errors on
                             the received document, receiver indicating it is not ready to receive new information
                             and transmitter timing out.

                        Calling                                                                Called
                                  Flags                                              Flags
                                  Flags                                              Flags
                                  Flags                                               3 X XID (NSF) (CSI) DIS
                                  Flags                                               3 X XID (NSF) (CSI) DIS
                       3 X (TSI) DCS                                                  3 X XID (NSF) (CSI) DIS
                           FCD frames                                                Flags
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags
               3 X PPS-NULL (1, 1, x)                                                Flags
                           FCD frames                                                 3 X MCF (1, 1)
                                                                                     Flags
                                                 error                               Flags
                                                                                     Flags
                3 X PPS-MPS (1, 2, y)                                                Flags
                           FCD frames                                                 3 X PPR (1, 2, a)
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags
               3 X PPS-NULL (2, 1, z)                                                Flags
                    FCD error frames                                                  3 X MCF (2, 1)
                                                                                     Flags
                                                                                     Flags
                3 X PPS-MPS (1, 2, a)                                                Flags
                           FCD frames                                                RNR
                                                                                     RNR
                                                                                     RNR
                3 X PPS-MPS (2, 2, b)                                                RNR
                                                                                      3 X MCF (1, 2)
                                                                                     RNR
              Repeat for                                                             RNR
              up to
                                                                                     RNR
              10 seconds
                                                                                     RNR
                                                                                     RNR
                             3 X DCN                                                 RNR
                                                                                    T0829630-00/d086




                                                 Figure C.33/T.30




   144    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2303 Filed 01/18/22 Page 179 of 715


               Example 11 A calling terminal wishing to transmit to an answering terminal.

                             The document being transmitted consists of several partial pages with errors on the
                             received document, receiver indicating it cannot receive any new information.



                           Calling                                                           Called

                                  Flags                                                Flags
                                  Flags                                                Flags
                                  Flags                                                3 X XID (NSF) (CSI) DIS
                                  Flags                                                3 X XID (NSF) (CSI) DIS
                        3 X (TSI) DCS                                                  3 X XID (NSF) (CSI) DIS
                         FCD frames                                                    Flags
                                                                                       Flags
                                                 error                                 Flags
                                                                                       Flags
             3 X PPS-NULL (1, 1, x)                                                    Flags
                         FCD frames                                                    3 X PPR (1, 1, a)
                                                                                       Flags
                                                                                       PID
              3 X PPS-EOP (1, 2, y)                                                    Flags
                   FCD error frames                                                    Flags
                                                                                       Flags
                                                                                       Flags
             3 X PPS-NULL (1, 1, a)                                                    Flags
             3 X PPS-NULL (1, 1, a)                                                    Flags
             3 X PPS-NULL (1, 1, a)                                                    3 X MCF (1, 1)
                             3 X DCN                                                   3 X MCF (1, 1)
                                                                                      T0829640-00/d087




                                                   Figure C.34/T.30

           Example 12     A calling terminal wishing to transmit to an answering terminal.

                          The calling terminal receives no recognizable signals from the called
                          terminal and times out.

                        Calling                                                                          Called

                                                                                             Flags
                                     Flags                                                   Flags
                                     Flags                                 error             3 X XID (NSF) (CSI) DIS
                                     Flags                                 error             3 X XID (NSF) (CSI) DIS
                                     Flags                                 error             3 X XID (NSF) (CSI) DIS
                                     Flags                                 error             3 X XID (NSF) (CSI) DIS
             Timer T6                                                      error
                                     Flags                                                   3 X XID (NSF) (CSI) DIS
             expires
                                     Flags                                 error             3 X XID (NSF) (CSI) DIS
                                  3 X DCN                                  error             3 X XID (NSF) (CSI) DIS
                                                                                        T0830140-00/d088




                                                   Figure C.35/T.30




                                                                                    ITU-T Rec. T.30 (09/2005)          145
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2304 Filed 01/18/22 Page 180 of 715


                  Example 13    A calling terminal wishing to receive from an answering terminal.

                                The called terminal receives no recognizable signals from the calling
                                terminal and times out.

                Calling                                                            Called
                                                                           Flags
                    Flags                                                  Flags
                    Flags                                                  3 X XID (NSF) (CSI) DIS
                    Flags
                    Flags                                                           Repeat until
                                                                                    timer T6
                    Flags                                                           expires
                    Flags
                    Flags
                    Flags                                                  3 X DCN
                                                                          T0830150-00/d089




                                                Figure C.36/T.30

               Example 14 A calling terminal wishing to receive from an answering terminal.

                            The document being transmitted consists of a single partial page with no errors
                            on the received document.



                  Calling                                                               Called

                                                                               Flags
                       Flags                                                   Flags
                       Flags                                                   3 X XID (NSF) (CSI) DIS
                       Flags                                                   3 X XID (NSF) (CSI) DIS
               3 X (CIG) DTC                                                   3 X XID (NSF) (CSI) DIS
               3 X (CIG) DTC                                                   3 X (TSI) DCS
                       Flags                                                   FCD frames
                       Flags
                       Flags
                       Flags
                       Flags                                                   3 X PPS-EOP (1, 1, x)
               3 X MCF (1, 1)                                                  3 X PPS-EOP (1, 1, x)
               3 X MCF (1, 1)                                                  3 X DCN
                                                                             T0829650-00/d090




                                                Figure C.37/T.30




   146    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2305 Filed 01/18/22 Page 181 of 715


               Example 1 A calling terminal wishing to transmit to an answering terminal.

                           The document being transmitted consists of a single partial page with no errors
                           on the received document.



                      Calling                                                               Called
                                Flags                                               Flags
                                Flags                                               Flags
                                Flags                                               3 X XID (NSF) (CSI) DIS
                                Flags                                               3 X XID (NSF) (CSI) DIS
                     3 X (TSI) DCS                                                  3 X XID (NSF) (CSI) DIS
                       FCD frames                                                   Flags
                                                                                    Flags
                                                                                    Flags
                       FCD frames                                                   Flags
              3 X PPS-EOP (1, 1, x)                                                 Flags
              3 X PPS-EOP (1, 1, x)                                                 3 X MCF (1, 1)
                          3 X DCN                                                   3 X MCF (1, 1)
                                                                                               T0829660-00/d091




                                                 Figure C.38/T.30

              Example 2   A calling terminal wishing to transmit to an answering terminal.

                          The document being transmitted consists of several partial pages with no errors
                          on the received document.


                      Calling                                                                  Called

                                Flags                                                Flags
                                Flags                                                Flags
                                Flags                                                3 X XID (NSF) (CSI) DIS
                                Flags                                                3 X XID (NSF) (CSI) DIS
                     3 X (TSI) DCS                                                   3 X XID (NSF) (CSI) DIS
                       FCD frames                                                    Flags
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags
             3 X PPS-NULL (1, 1, x)                                                  Flags
             3 X PPS-NULL (1, 1, x)                                                  3 X MCF (1, 1)
                       FCD frames                                                    3 X MCF (1, 1)
                                                                                     Flags
                                                                                     Flags
              3 X PPS-EOP (1, 2, y)                                                  Flags
              3 X PPS-EOP (1, 2, x)                                                  3 X MCF (1, 2)
                          3 X DCN                                                    3 X MCF (1, 2)
                                                                                    T0829670-00/d092




                                                 Figure C.39/T.30




                                                                                  ITU-T Rec. T.30 (09/2005)       147
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2306 Filed 01/18/22 Page 182 of 715


               Example 3 A calling terminal wishing to transmit to an answering terminal.

                           The document being transmitted consists of several partial pages with errors on the
                           received document.


                      Calling                                                                  Called
                                Flags                                                 Flags
                                Flags                                                 Flags
                                Flags                                                 3 X XID (NSF) (CSI) DIS
                                Flags                                                 3 X XID (NSF) (CSI) DIS
                     3 X (TSI) DCS                                                    3 X XID (NSF) (CSI) DIS
                        FCD frames                                                    Flags
                                                                                      Flags
                                                error                                 Flags
                                                                                      Flags
             3 X PPS-NULL (1, 1, x)                                                   Flags
             3 X PPS-NULL (1, 1, x)                                                   3 X PPR (1, 1, z)
                  FCD error frames                                                    3 X PPR (1, 1, z)
                                                                                      Flags
                                                                                      Flags
             3 X PPS-NULL (1, 1, z)                                                   Flags
             3 X PPS-NULL (1, 1, z)                                                   3 X MCF (1, 1)
                        FCD frames                                                    3 X MCF (1, 1)
                                                                                      Flags
                                                                                      Flags
                                                                                      Flags
              3 X PPS-EOP (1, 2, p)                                                   Flags
              3 X PPS-EOP (1, 2, p)                                                  3 X MCF (1, 2)
                           3 X DCN                                                   3 X MCF (1, 2)
                                                                                    T0829680-00/d093




                                                 Figure C.40/T.30




   148    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2307 Filed 01/18/22 Page 183 of 715


              Example 4 A calling terminal wishing to transmit to an answering terminal.

                          The document being transmitted consists of several partial pages with errors on the
                          received document and errors on the corrections.

                     Calling                                                                   Called
                               Flags                                                 Flags
                               Flags                                                 Flags
                               Flags                                                 3 X XID (NSF) (CSI) DIS
                               Flags                                                 3 X XID (NSF) (CSI) DIS
                     3 X (TSI) DCS                                                   3 X XID (NSF) (CSI) DIS
                       FCD frames                                                    Flags
                                                                                     Flags
                                                error                                Flags
                                                                                     Flags

             3 X PPS-NULL (1, 1, x)                                                  Flags

             3 X PPS-NULL (1, 1, x)                                                  3 X PPR (1, 1, z)
                  FCD error frames                                                   3 X PPR (1, 1, z)
                                                error                                Flags
                                                                                     Flags

             3 X PPS-NULL (1, 1, z)                                                  Flags
             3 X PPS-NULL (1, 1, z)                                                  3 X PPR (1, 1, a)
                  FCD error frames                                                   3 X PPR (1, 1, a)
                                                                                     Flags

             3 X PPS-NULL (1, 1, a)                                                  Flags
             3 X PPS-NULL (1, 1, a)                                                  3 X MCF (1, 1)
                       FCD frames                                                    3 X MCF (1, 1)
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags

              3 X PPS-EOP (1, 2, p)                                                  Flags
              3 X PPS-EOP (1, 2, p)                                                  3 X MCF (1, 2)
                          3 X DCN                                                    3 X MCF (1, 2)
                                                                                     T0829690-00/d094




                                                 Figure C.41/T.30




                                                                                 ITU-T Rec. T.30 (09/2005)      149
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2308 Filed 01/18/22 Page 184 of 715


               Example 5 A calling terminal wishing to transmit to an answering terminal.

                           The document being transmitted consists of several partial pages with errors on a
                           post-message command.



                      Calling                                                                   Called
                                Flags                                                Flags
                                Flags                                                Flags
                                Flags                                                 3 X XID (NSF) (CSI) DIS
                                Flags                                                 3 X XID (NSF) (CSI) DIS
                     3 X (TSI) DCS                                                    3 X XID (NSF) (CSI) DIS
                       FCD frames                                                    Flags
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags
             3 X PPS-NULL (1, 1, x)              error                               Flags
             3 X PPS-NULL (1, 1, x)                                                  Flags
             3 X PPS-NULL (1, 1, x)                                                   3 X MCF (1, 1)
                       FCD frames                                                     3 X MCF (1, 1)
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags
              3 X PPS-MPS (1, 2, y)                                                  Flags
              3 X PPS-MPS (1, 2, y)                                                   3 X MCF (1, 2)
                       FCD frames                                                     3 X MCF (1, 2)
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags
              3 X PPS-EOP (2, 1, z)                                                  Flags
              3 X PPS-EOP (2, 1, z)                                                   3 X MCF (2, 1)
              3 X PPS-EOP (2, 1, z)                                                   3 X MCF (2, 1)
                           3 X DCN                                                    3 X MCF (2, 1)

                                                                                      T0829700-00/d095




                                                 Figure C.42/T.30




   150    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2309 Filed 01/18/22 Page 185 of 715


               Example 6 A calling terminal wishing to transmit to an answering terminal.

                           The document being transmitted consists of several partial pages with errors on the
                           last post-message command.

                    Calling                                                                   Called

                              Flags                                                  Flags
                              Flags                                                  Flags
                              Flags                                                  3 X XID (NSF) (CSI) DIS
                              Flags                                                  3 X XID (NSF) (CSI) DIS
                     3 X (TSI) DCS                                                   3 X XID (NSF) (CSI) DIS
                       FCD frames                                                    Flags
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags
             3 X PPS-NULL (1, 1, x)                                                  Flags
             3 X PPS-NULL (1, 1, x)                                                  3 X MCF (1, 1)
                       FCD frames                                                    3 X MCF (1, 1)
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags
             3 X PPS-MPS (1, 2, y)                                                   Flags
             3 X PPS-MPS (1, 2, y)                                                   3 X MCF (1, 2)
                       FCD frames                                                    3 X MCF (1, 2)
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags
             3 X PPS-EOP (2, 1, z)              error                                Flags
             3 X PPS-EOP (2, 1, z)              error                                Flags
             3 X PPS-EOP (2, 1, z)                                                   Flags
             3 X PPS-EOP (2, 1, z)                                                   3 X MCF (2, 1)
             3 X PPS-EOP (2, 1, z)                                                   3 X MCF (2, 1)
                          3 X DCN                                                    3 X MCF (2, 1)
                                                                                      T0829710-00/d096




                                                 Figure C.43/T.30




                                                                                  ITU-T Rec. T.30 (09/2005)      151
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2310 Filed 01/18/22 Page 186 of 715


               Example 7 A calling terminal wishing to transmit to an answering terminal.

                           The document being transmitted consists of several partial pages with an error on
                           the pre-message command.


                      Calling                                                                  Called
                                Flags                                                Flags
                                Flags                                                Flags
                                Flags                                                3 X XID (NSF) (CSI) DIS
                                Flags                                                3 X XID (NSF) (CSI) DIS
                      3 X (TSI) DCS             error                                3 X XID (NSF) (CSI) DIS
                        FCD frames                                                   3 X CRP
                                                                                     Flags
                      3 X (TSI) DCS                                                  Flags
                        FCD frames                                                   Flags
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags
              3 X PPS-NULL (1, 1, x)                                                 Flags
              3 X PPS-NULL (1, 1, x)                                                 3 X MCF (1, 1)
                        FCD frames                                                   3 X MCF (1, 1)
                                                                                     Flags
                                                                                     Flags
                                                                                     Flags
               3 X PPS-EOP (1, 2, y)                                                 Flags
               3 X PPS-EOP (1, 2, y)                                                 3 X MCF (1, 2)
                           3 X DCN                                                   3 X MCF (1, 2)
                                                                                      T0829720-00/d097




                                                 Figure C.44/T.30




   152    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2311 Filed 01/18/22 Page 187 of 715


                Example 8 A calling terminal wishing to transmit to an answering terminal.

                                The document being transmitted consists of several partial pages with no response to
                                the last post-message command.



                       Calling                                                                       Called
                                   Flags                                                   Flags
                                   Flags                                                   Flags
                                   Flags                                                   3 X XID (NSF) (CSI) DIS
                                   Flags                                                   3 X XID (NSF) (CSI) DIS
                       3 X (TSI) DCS                                                       3 X XID (NSF) (CSI) DIS
                          FCD frames                                                      Flags

                                                                                           Flags
                                                                                           Flags
                                                                                           Flags
              3 X PPS-NULL (1, 1, x)                                                       Flags
              3 X PPS-NULL (1, 1, x)                                                       3 X MCF (1, 1)
                          FCD frames                                                       3 X MCF (1, 1)
                                                                                           Flags
                                                                                           Flags
                                                                                           Flags
               3 X PPS-MPS (1, 2, y)                                                       Flags
               3 X PPS-MPS (1, 2, y)                                                       3 X MCF (1, 2)
                          FCD frames                                                       3 X MCF (1, 2)
                                                                                           Flags
                                                                                           Flags
                                                                                           Flags
               3 X PPS-EOP (2, 1, z)                  error                                Flags
               3 X PPS-EOP (2, 1, z)                  error                                Flags
               3 X PPS-EOP (2, 1, z)                  error                               Flags
                                                      error                                Flags
              Repeat for up                           error                                Flags
              to 5 seconds                            error                                Flags
              i.e. T6 expires
                                                      error                                Flags
                                3 X DCN                                                    Flags
                                                                                           T0829730-00/d098




                                                   Figure C.45/T.30




                                                                                    ITU-T Rec. T.30 (09/2005)          153
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2312 Filed 01/18/22 Page 188 of 715


                Example 9 A calling terminal wishing to transmit to an answering terminal.

                            The document being transmitted consists of several partial pages with errors on
                            the received document and receiver indicating it is not ready to receive new
                            information.

                       Calling                                                         Called
                                 Flags                                       Flags
                                 Flags                                       Flags
                                 Flags                                       3 X XID (NSF) (CSI) DIS
                                 Flags                                       3 X XID (NSF) (CSI) DIS
                       3 X (TSI) DCS                                         3 X XID (NSF) (CSI) DIS
                         FCD frames                                          Flags
                                                                             Flags
                                                                             Flags
                                                                             Flags
               3 X PPS-NULL (1, 1, x)                                        Flags
                        FCD frames                                           3 X MCF (1, 1)
                                                                             Flags
                                               error                         Flags
                                                                             Flags
                3 X PPS-MPS (1, 2, y)                                        Flags
                3 X PPS-MPS (1, 2, y)                                        3 X PPR (1, 2, a)
                    FCD error frames                                         3 X PPR (1, 2, a)
                                                                             Flags
                                                                             Flags
                                                                             Flags
                3 X PPS-MPS (1, 2, a)                                        Flags
                3 X PPS-MPS (1, 2, a)                                        RNR
                3 X PPS-MPS (1, 2, a)                                        RNR
                3 X PPS-MPS (1, 2, a)                                        RNR
                3 X PPS-MPS (1, 2, a)                                        RNR
                3 X PPS-MPS (1, 2, a)                                        RNR
                3 X PPS-MPS (1, 2, a)                                        RNR
                3 X PPS-MPS (1, 2, a)                                        RNR
                3 X PPS-MPS (1, 2, a)                                        3 X MCF (1, 2)
                         FCD frames                                          3 X MCF (1, 2)
                                                                             Flags
                                                                             Flags
                                                                             Flags
               3 X PPS-NULL (2, 1, z)                                        Flags
               3 X PPS-NULL (2, 1, z)                                        3 X MCF (2, 1)
                        FCD frames                                           3 X MCF (2, 1)
                                                                             Flags
                                                                             Flags
                3 X PPS-EOP (2, 2, q)                                        Flags
                3 X PPS-EOP (2, 2, q)                                        3 X MCF (2, 2)
                           3 X DCN                                           3 X MCF (2, 2)
                                                                              T0829740-00/d099




                                                Figure C.46/T.30




   154    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2313 Filed 01/18/22 Page 189 of 715


              Example 10 A calling terminal wishing to transmit to an answering terminal.

                             The document being transmitted consists of several partial pages with errors on the
                             received document, receiver indicating it is not ready to receive new information and
                             transmitter timing out.



                       Calling                                                               Called
                                 Flags                                              Flags
                                 Flags                                              Flags
                                 Flags                                              3 X XID (NSF) (CSI) DIS
                                 Flags                                              3 X XID (NSF) (CSI) DIS
                       3 X (TSI) DCS                                                3 X XID (NSF) (CSI) DIS
                        FCD frames                                                  Flags
                                                                                    Flags
                                                                                    Flags
                                                                                    Flags
               3 X PPS-NULL (1, 1, x)                                               Flags
                        FCD frames                                                  3 X MCF (1, 1)
                                                                                    Flags
                                                 error                              Flags
                                                                                    Flags
               3 X PPS-MPS (1, 2, y)                                                Flags
               3 X PPS-MPS (1, 2, y)                                                3 X PPR (1, 2, a)
                   FCD error frames                                                 3 X PPR (1, 2, a)
                                                                                    Flags
                                                                                    Flags
              3 X PPS-MPS (1, 2, a)                                                 Flags
               3 X PPS-MPS (1, 2, a)                                                3 X MCF (1, 2)
                        FCD frames                                                  3 X MCF (1, 2)
                                                                                    Flags
                                                                                    Flags
                                                                                    Flags
               3 X PPS-NULL (1, 2, a)                                               Flags
               3 X PPS-NULL (1, 2, a)                                               3 X MCF (1, 2)
                        FCD frames                                                  3 X MCF (1, 2)
                                                                                    RNR
                                                                                    RNR
               3 X PPS-MPS (2, 2, b)                                                RNR
                                                                                    RNR
                                                                                    RNR
                Repeat for                                                          RNR
                up to                                                               RNR
                10 seconds
                                                                                    RNR
                                                                                    RNR
                             3 X DCN                                                RNR
                                                                                   T0829750-00/d100




                                                 Figure C.47/T.30




                                                                                  ITU-T Rec. T.30 (09/2005)          155
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2314 Filed 01/18/22 Page 190 of 715


             Example 11    A calling terminal wishing to transmit to an answering terminal.

                           The document being transmitted consists of several partial pages with errors on the
                           received document, receiver indicating it cannot receive any new information.



                           Calling                                                       Called

                              Flags                                                  Flags
                              Flags                                                  Flags
                              Flags                                                   3 X XID (NSF) (CSI) DIS
                              Flags                                                   3 X XID (NSF) (CSI) DIS
                      3 X (TSI) DCS                                                   3 X XID (NSF) (CSI) DIS
                        FCD frames                                                   Flags
                                                                                     Flags
                                                error                                Flags
                                                                                     Flags
              3 X PPS-NULL (1, 1, x)                                                 Flags
              3 X PPS-NULL (1, 1, x)                                                  3 X PPR (1, 1, a)
                   FCD error frames                                                   3 X PPR (1, 1, a)
                                                                                     Flags
                                                                                     Flags
              3 X PPS-NULL (1, 1, a)                                                  Flags
              3 X PPS-NULL (1, 1, a)                                                  3 X MCF (1, 1)
                        FCD frames                                                    3 X MCF (1, 1)
                                                                                      PID
                                                error                                Flags
              3 X PPS-MPS (1, 2, b)                                                  Flags
              3 X PPS-MPS (1, 2, b)                                                   3 X PPR (1, 2, p)
                   FCD error frames                                                   3 X PPR (1, 2, p)
                                                                                     Flags
                                                                                     Flags
              3 X PPS-MPS (1, 2, p)                                                  Flags
              3 X PPS-MPS (1, 2, p)                                                   3 X MCF (1, 2)
                           3 X DCN                                                    3 X MCF (1, 2)
                                                                                      T0829760-00/d101



                                                 Figure C.48/T.30




   156    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2315 Filed 01/18/22 Page 191 of 715


           Example 12 A calling terminal wishing to transmit to an answering terminal.

                          The calling terminal receives no recognizable signals from the called terminal and times out.


                          Calling                                                                      Called
                                                                                              Flags
                                      Flags                                                   Flags
                                      Flags                               error               3 X XID (NSF) (CSI) DIS
                                      Flags                               error               3 X XID (NSF) (CSI) DIS
                                      Flags                               error               3 X XID (NSF) (CSI) DIS
                                      Flags                               error               3 X XID (NSF) (CSI) DIS

               Timer T6               Flags                               error               3 X XID (NSF) (CSI) DIS
               expires                Flags                               error               3 X XID (NSF) (CSI) DIS
                                    3 X DCN                               error               3 X XID (NSF) (CSI) DIS
                                                                                            T0830160-00/d102




                                                     Figure C.49/T.30

               Example 13 A calling terminal wishing to transmit to an answering terminal.

                              The called terminal receives no recognizable signals from the calling terminal
                              and times out.


                      Calling                                                            Called
                            Flags                                                   Flags
                            Flags                                                   Flags
                            Flags                                                   3 X XID (NSF) (CSI) DIS
                            Flags
                            Flags                                                            Repeat until
                            Flags                                                            timer T6
                                                                                             expires
                            Flags
                            Flags
                            Flags                                                   3 X DCN
                                                                                  T0830170-00/d103




                                                     Figure C.50/T.30




                                                                                      ITU-T Rec. T.30 (09/2005)           157
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2316 Filed 01/18/22 Page 192 of 715


                  Example 14 A calling terminal wishing to receive from an answering terminal.

                              The document being transmitted consists of a single partial page with no errors
                              on the received document.



                        Calling                                                               Called
                                                                                    Flags
                             Flags                                                  Flags
                             Flags                                                  3 X XID (NSF) (CSI) DIS
                             Flags                                                  3 X XID (NSF) (CSI) DIS
                    3 X (CIG) DTC                                                   3 X XID (NSF) (CSI) DIS
                    3 X (CIG) DTC                                                   3 X (TSI) DCS
                             Flags                                                  FCD frames
                             Flags
                             Flags
                             Flags
                             Flags                                                  3 X PPS-EOP (1, 1, x)
                    3 X MCF (1, 1)                                                  3 X PPS-EOP (1, 1, x)

                    3 X MCF (1, 1)                                                  3 X DCN
                                                                                  T0829770-00/d104




                                                  Figure C.51/T.30

   C.7     Procedures for using Annex C within analog transmission environments
   This clause describes the use of Annex C procedures when a prior data path has been established
   between two facsimile terminals by means other than those described in Phases A and B of this
   Recommendation.
   C.7.1   Frame size
   The called terminal should be able to support 64 octet frames in addition to 256 octet frames. This
   capability will be indicated by setting DIS/DTC bit 7 to "1". The calling terminal shall honour a
   called terminal's request for 64 octet frames and respond by setting bit 28 of the DCS to "1".
   C.7.2   DIS/DTC/DCS indications
   When the Annex C procedures are used in the analog transmission mode, bit 66 shall be set to "0".
   C.7.3   Use of XID
   The User Data Subfield (UDS) of the XID information field may be employed to indicate the data
   rates to be used in transmission over the channel.
   C.7.4   Timers
   When Annex C procedures are used with analog transmission rates less than 32 kbit/s, the values
   for T6 and T8 (see C.3.7.2.1) should be increased according to Table C.1.




   158      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2317 Filed 01/18/22 Page 193 of 715


                                               Table C.1/T.30
          Timer      Value and tolerance                        Comment                           Note
           T6               35 ± 5 s         Annex C, terminal ID timer                             1
           T8               60 ± 5 s         Annex C, busy (no corrections and RNR) timer           2
        NOTE 1 – In Annex C, timer T6 is functionally equivalent to timer T1 (see 5.4.3.1) and is given
        the same value.
        NOTE 2 – In Annex C, timer T8 is functionally equivalent to timer T5 (see 5.4.3.1) and is given
        the same value.



                                                  Annex D

                       Optional automatic terminal selection procedures

   This annex provides for optional automatic terminal selection procedures for two types of devices.
   Device 1 provides for selection between combined facsimile and telephone answering. Device 2
   provides for selection between combined facsimile and telephone answering and recording device.
   Other terminal configurations are for further study.
   Device 1: Combined facsimile and telephone answering
   Full details of this procedure are defined in Figure D.1.
   1)       The called terminal shall attempt to detect CNG during the 1.8 to 2.5 seconds of quiet
            immediately after the called terminal is connected to the line.
   2)       Outgoing message (OGM1) shall be issued by the called terminal to inform the caller that
            the call has been answered and is being processed. An example of OGM1 follows: "Please
            wait, to start Fax begin transmission now".
            At 1.8 to 2.5 seconds after the called terminal is connected to the line, it shall send OGM1
            for a duration of not more than TOGM1. The value of TOGM1 is for further study.
   3)       The called terminal may continue to detect CNG in parallel during OGM1.
   4)       A local operator at the called terminal may lift the handset off-hook at any point during this
            procedure, prior to detection of CNG.
   5)       CNG detection shall continue at the end of OGM1 if CNG was not detected earlier or local
            operator has not taken control of the call. The duration of this CNG detection is defined by
            Ta timer. Another OGM (OGM2) may be issued during this CNG detection period.
   6)       Fax signals shall be issued by the called terminal some time after Ta timer has elapsed if
            CNG was not detected or local operator has not taken control of the call.




                                                                         ITU-T Rec. T.30 (09/2005)        159
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2318 Filed 01/18/22 Page 194 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2319 Filed 01/18/22 Page 195 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2320 Filed 01/18/22 Page 196 of 715


                                                Annex E

                Procedure for the Group 3 document facsimile transmission
                             of continuous-tone colour images
   E.1     Introduction
   This annex describes the additions to ITU-T Rec. T.30 to enable the transmission of
   continuous-tone (multilevel) colour and gray-scale images for Group 3 facsimile mode of operation.
   The objective is to enable the efficient transmission of high quality, full colour and gray-scale
   images over the general switched telephone network and other networks. The images are normally
   obtained by scanning the original sources with scanners of 200 pels/25.4 mm or higher, and bit
   depths of eight bits per picture element per colour component or higher. The original sources are
   typically colour or gray-scale photographs or hard copies from high-quality printing systems.
   The method specified here performs well on full-colour images, but for transmission of multi-colour
   images such as business graphics, other methods may be more efficient. Two such methods would
   be the transmission of images using ITU-T Recs T.434 (Binary File Transfer) and T.82
   (JBIG encoding). This annex does not address the encoding of multi-colour images. This topic is
   left for further study.
   The encoding methodology for continuous-tone (multilevel) images is based on the JPEG (ITU-T
   Rec. T.81 | ISO/IEC 10918-1) image encoding standard. The JPEG image coding method includes
   both a lossy mode and a lossless mode of encoding. This annex adopts the lossy mode of encoding
   which is based on the Discrete Cosine Transform.
   The representation of colour image data is based on ITU-T Rec. T.42. It adopts a device-
   independent colour space representation, the CIELAB space, that allows unambiguous exchange of
   colour information.
   This annex explains the procedure for negotiation of the capabilities for transmission of continuous-
   tone colour and gray-scale images. It specifies the definitions and the specifications of new entries
   to the Facsimile Information Field of the DIS/DTC and DCS frames of this Recommendation.
   Information is specified pertaining to image digitization resolution (in bits/pel), spatial resolution,
   sampling ratio of colour components, JPEG capability, colour capability, and image data scaling
   that is subject to negotiation in the pre-message phase of the T.30 protocol.
   This annex does not address the semantics and syntax of the actual encoding of the continuous-tone
   colour and gray-scale images. That information is included in Annex E/T.4.
   The use of Error Correction Mode (ECM) for error-free transmission is mandatory in the procedure
   described by this annex. Under the error correction mode of transmission, the JPEG encoded image
   data are embedded in the Facsimile Coded Data (FCD) part of the HDLC (High-level Data Link
   Control) transmission frames specified by Annex A.
   The technical features of encoding and decoding the continuous-tone colour and gray-scale image
   data are described in Annex E/T.4. It describes two modes of image encoding (lossy gray-scale and
   lossy colour) which are defined using ITU-T Rec. T.81.

   E.2     Definitions
   E.2.1 CIELAB: CIE 1976 (L* a* b*) space: A colour space defined by the CIE (Commission
   internationale de l'éclairage), having approximately equal visually perceptible difference between
   equally spaced points throughout the space. The three components are L*, or Lightness, and a* and
   b* in chrominance.



   162      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2321 Filed 01/18/22 Page 197 of 715


   E.2.2 JPEG: Joint Photographic Experts Group, and also shorthand for the encoding method,
   described in ITU-T Rec. T.81, which was defined by this group.
   E.2.3 baseline JPEG: A particular eight-bit sequential Discrete Cosine Transform (DCT) – based
   encoding and decoding process specified in ITU-T Rec. T.81.
   E.2.4 quantization table: A set of 64 values used to quantize the DCT coefficients in baseline
   JPEG.
   E.2.5 Huffman table: A set of variable length codes required in a Huffman encoder and a
   Huffman decoder.

   E.3       Normative references
   –         ITU-T Recommendation T.4 (2003), Standardization of Group 3 facsimile terminals for
             document transmission.
   –         ITU-T Recommendation T.42 (2003), Continuous-tone colour representation method for
             facsimile.
   –         ITU-T Recommendation T.81 (1992) | ISO/IEC 10918-1:1994, Information technology –
             Digital compression and coding of continuous-tone still images – Requirements and
             guidelines. (Commonly referred to as JPEG standard.)

   E.4       Negotiation procedure
   The negotiation to transmit and receive JPEG encoded continuous-tone colour and gray-scale
   images under the Group 3 facsimile protocol is invoked through the setting of the bits in the
   DIS/DTC and DCS frames during the pre-message procedure (Phase B) of the T.30 protocol.
   The first capability to be established between the calling terminal and the called terminal is to
   indicate whether JPEG Mode is available. Then the second capability to be established is whether
   full colour mode is available.
   Thirdly, a means is provided to indicate to the called terminal that the Huffman tables are the
   default tables. The transmission of Huffman tables is mandatory.
   In addition to these three characteristics, the following four capabilities (see Table E.1) that pertain
   to mandatory or optional capabilities are exchanged.

                           Table E.1/T.30 – Mandatory and optional capabilities
                         Mandatory                                          Optional
         8 bits/pel/component                       12 bits/pel/component
         4:1:1 Chrominance subsampling              No subsampling (1:1:1)
         CIE Standard Illuminant D50                Custom illuminant
         Default gamut range                        Custom gamut range
         200 × 200 pels/25.4 mm                     300 × 300 or 400 × 400 or 600 × 600 or
                                                    1200 × 1200 pels/25.4 mm
         200 × 200 pels/25.4 mm                     100 × 100 pels/25.4 mm




                                                                        ITU-T Rec. T.30 (09/2005)      163
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2322 Filed 01/18/22 Page 198 of 715


                                                  Annex F

                  Procedures for Group 3 facsimile transmission using the
                 half-duplex modulation system defined in ITU-T Rec. V.34
   F.1     Introduction
   This annex describes the procedures to be used for the optional use of the half-duplex modulation
   system defined in ITU-T Rec. V.34 in Group 3 facsimile terminals covered by Annex A/T.4 and
   Annex A.

   F.2     References
   –       ITU-T Recommendation V.8 (2000), Procedures for starting sessions of data transmission
           over the general switched telephone network.
   –       ITU-T Recommendation V.34 (1998), A modem operating at data signalling rates of up to
           33 600 bit/s for use on the general switched telephone network and on leased point-to-point
           2-wire telephone-type circuits.

   F.3     Procedures
   The use of the Error Correction Mode (ECM) is mandatory for all facsimile messages using the
   V.34 modulation system. The procedure described in Annex A shall be followed except as indicated
   below.
   F.3.1   General
   F.3.1.1 The terminal shall follow the start-up procedures defined in ITU-T Rec. V.8 and
   clause 12/V.34 except as noted in clause 6 and in this annex.
   F.3.1.2 After receiving the ANSam answer tone, in order to keep network echo suppressors
   disabled, the source terminal must transmit continuously except for the silent periods defined in
   ITU-T Recs V.8 and V.34 during the start-up procedure and between control channel and primary
   channel transmissions. After control channel start-up, the recipient terminal shall be silent only
   when receiving primary channel training or data.
   F.3.1.3 The binary coded procedural data shall be transmitted using the control channel also
   described in ITU-T Rec. V.34. The message data and RCP command shall be transmitted using the
   half-duplex primary channel described in ITU-T Rec. V.34.
   F.3.1.4 After executing the control channel start-up procedure defined in 12.4/V.34, each terminal
   shall condition its receiver to receive HDLC frames and shall transmit HDLC flags using the
   control channel data rate determined between terminals during the control channel start-up
   procedure. At least two flags shall be sent prior to the first control channel frame after any start-up,
   resynchronization or retraining procedure.
   The data signalling rate for the control channel shall be determined by the MPh sequence described
   in 12.4/V.34.
   NOTE – Use of the asymmetric data signalling rate as defined in bit 50 of MPh in Table 23/V.34 is left for
   further study.
   F.3.1.5 If, during control channel operation, a terminal determines, by some means, that its
   modulation system receiver has lost control channel synchronization with the remote transmitter,
   then it shall initiate a control channel retrain as described in 12.8/V.34.




   164      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2323 Filed 01/18/22 Page 199 of 715


   F.3.2    Pre-message procedures (Phase B)
   F.3.2.1 The TCF signal is not used in V.34 facsimile operation. Therefore, after transmitting a DCS
   frame, the source terminal shall transmit control channel HDLC flags while waiting to receive a
   valid response. The recipient terminal shall respond to a DCS with a CFR indicating that the entire
   pre-message procedure has been completed and the message transmissions may commence. The
   FTT response shall not be used.
   F.3.2.2 After sending a CFR frame, the recipient modulation system shall send flags until a string
   of at least 40 consecutive 1s is detected and then shall transmit silence. While silent, the recipient
   terminal shall be prepared to receive the primary channel resynchronization signal followed by
   message data at the data rate determined by the MPh exchange.
   F.3.2.3 After receiving a CFR frame, the source terminal shall transmit consecutive 1s until silence
   (or absence of flags) is detected from the recipient terminal and at least 40 1s have been sent. The
   source terminal shall then transmit silence for 70 ± 5 ms followed by the primary channel
   resynchronization signal as defined in ITU-T Rec. V.34 followed by the synchronization signal
   defined in A.3.1/T.4 and then the message data at the data rate determined by the MPh exchange.
   NOTE 1 – Optionally, machines may restart the T1 timer when the V.8 procedure is completed in order to
   conform with operation of Annex D.
   NOTE 2 – T2 timer shall be reset at the start of each new frame instead of the detection of flags.
   F.3.3    In-message procedure and message transmission (Phase C)
   Use of primary channel retrain as described in 12.7/V.34 is for further study.
   F.3.4    Post-message procedure (Phase D)
   F.3.4.1 After sending the message data and the return to control for partial page (RCP) sequence,
   the source terminal shall follow the primary channel turn-off procedure defined in ITU-T Rec. V.34
   and then initiate either the control channel resynchronization procedure or, if a data rate change is
   desired, the control channel start-up procedure defined in ITU-T Rec. V.34. Its receiver shall be
   conditioned to detect either a control channel resynchronization response or a control channel start-
   up response in the case of the resynchronization procedure and a control channel start-up response
   in the case of the start-up procedure from the recipient terminal. The control channel start-up
   procedure allows the renegotiation of data rate through an MPh exchange
   F.3.4.2 After receiving the message and the RCP sequence, the recipient modulation system shall
   condition its receiver to detect the control channel resynchronization signal. After detecting the
   signal, the recipient terminal shall respond with either the control channel resynchronization
   response or, if a data rate change is desired, the control channel start-up response in case of the
   resynchronization signal and with the control channel start-up response in case of the start-up
   signal. The control channel start-up procedure allows for the renegotiation of data rate through an
   MPh exchange.
   F.3.4.3 After the control channel has been re-established, the source modulation system shall send
   the post-message command. After receiving the post-message command, the recipient terminal shall
   send the post-message response.
   F.3.4.4 After sending the last post-message response between messages, the recipient modem
   modulation system shall send flags until a string of at least 40 consecutive 1s is detected and then
   shall transmit silence. While silent, the recipient terminal shall be prepared to receive the primary
   channel resynchronization signal followed by message data at the rate determined by the MPh
   exchange.
   F.3.4.5 After receiving the last post-message response between messages, the source terminal shall
   transmit consecutive 1s until silence (or absence of flags) is detected from the recipient terminal and
   at least forty 1s have been sent. The source terminal shall then transmit silence for 70 ± 5 ms

                                                                           ITU-T Rec. T.30 (09/2005)    165
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2324 Filed 01/18/22 Page 200 of 715


   followed by the primary channel resynchronization signal as defined in ITU-T Rec. V.34, followed
   by the synchronization signal defined in A.3.1/T.4 and then message data at the data rate
   determined by the MPh exchange.
   NOTE 1 – Data rate change is possible at every start of the control channel according to the procedures in
   F.3.4.1 and F.3.4.2. CTR/CTC frames shall not be used in V.34 ECM protocol and EOR/ERR or DCN
   signals are used to transit.
   NOTE 2 – Optionally, terminals may disconnect the line immediately after sending DCN without sending
   consecutive 1s.
   NOTE 3 – Use of PIP/PIN and PRI-Q commands is left for further study.

   F.4     Half-duplex operating procedures of ITU-T Recs V.34 and V.8 for Group 3 facsimile
   These procedures are defined by the corresponding parts of ITU-T Recs V.8 and V.34.

   F.5     Examples of sequences
   This clause contains examples of sequences used for the V.34 ECM protocol. See Figures F.5-1 to
   F.5-14.




   166      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2325 Filed 01/18/22 Page 201 of 715
                           Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2326 Filed 01/18/22 Page 202 of 715


      Source Terminal




                                                                               PPS-MPS
                           Image Data            Sh   Sh           ALT     E             Flags       "1"   S   S   PP   B1   Image Data




      Recipient Terminal


                                                       Sh     Sh     ALT   E   Flags     MCF     Flags

                                                                                                                                 T0829810-00/d108




                                                           Figure F.5-2/T.30 – Between pages




168      ITU-T Rec. T.30 (09/2005)
                    Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2327 Filed 01/18/22 Page 203 of 715


         Source Terminal




                                                                                              PPS-EOP
                                                              Sh    Sh       ALT        E                          DCN           "1"
                           Image Data                                                                   Flags                                       Line Disconnect
                                                                                                                               (Note)




         Recipient Terminal
                                                                     Sh    Sh    ALT    E     Flags     MCF            Flags                               Line Disconnect




                                                                                                                                        T0829820-00/d109


         NOTE – Some terminals may disconnect the line immediately after sending DCN without sending consecutive 1s.


                                                     Figure F.5-3/T.30 – Communication end procedure




169   ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2328 Filed 01/18/22 Page 204 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2329 Filed 01/18/22 Page 205 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2330 Filed 01/18/22 Page 206 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2331 Filed 01/18/22 Page 207 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2332 Filed 01/18/22 Page 208 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2333 Filed 01/18/22 Page 209 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2334 Filed 01/18/22 Page 210 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2335 Filed 01/18/22 Page 211 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2336 Filed 01/18/22 Page 212 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2337 Filed 01/18/22 Page 213 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2338 Filed 01/18/22 Page 214 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2339 Filed 01/18/22 Page 215 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2340 Filed 01/18/22 Page 216 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2341 Filed 01/18/22 Page 217 of 715




                                               Annex G

             Procedures for secure Group 3 document facsimile transmission
                            using the HKM and HFX system
   G.1     Introduction
   G.1.1 This annex describes the protocol used by Group 3 document facsimile terminals to provide
   secure communications using the HKM and HFX systems. The procedures used are based upon
   those defined in the main body as well as in Annexes A and C.

   G.1.2   Use of this annex is optional.

   G.1.3   The error correction defined in Annex A or Annex C (as appropriate) is mandatory.

   G.2     Outline of the secure facsimile document procedure
   G.2.1 The HKM and HFX systems provide the following capabilities for secure document
   communications between entities (terminals or terminal operators):
   •     mutual entity authentication;
   •     secret session key establishment;
   •     document confidentiality;
   •     confirmation of receipt;
   •     confirmation or denial of document integrity.
   G.2.2   Functions
   Key management is provided using the HKM system defined in Annex B/T.36. Two procedures are
   defined: the first being registration and the second being the secure transmission of a secret key.
   Registration establishes mutual secrets and enables all subsequent transmissions to be provided
   securely. In subsequent transmissions, the HKM system provides mutual authentication, a secret
   session key for document confidentiality and integrity, confirmation of receipt and a confirmation
   or denial of document integrity.
   Document confidentiality is provided using the carrier cipher defined in Annex D/T.36. The carrier
   cipher uses a 12-decimal digit key which is approximately equivalent to 40 bits.
   Document integrity is provided using the system defined in Annex E/T.36. ITU-T Rec. T.36 defines
   the hashing algorithm including the associated calculations and information exchange.
   G.2.3   Method
   In the registration mode, the two terminals exchange information which enables entities to uniquely
   identify each other. This is based upon the agreement between the users of a secret one-time key.
   Each entity stores a 16-digit number which is uniquely associated with the entity with which it has
   carried out registration.
   When it is required to send a document securely, the transmitting terminal transmits the 16-digit
   secret number associated with the receiving entity together with a random number and an encrypted
   session key as a challenge to the receiving entity. The receiving terminal responds by transmitting
   the 16-digit key associated with the transmitting entity along with a random number and a
   re-encrypted version of the challenge from the transmitting entity. At the same time it transmits a


                                                                   ITU-T Rec. T.30 (09/2005)      183
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2342 Filed 01/18/22 Page 218 of 715


   random number and an encrypted session key as a challenge to the transmitting entity. The
   transmitting terminal responds with a random number and a re-encrypted version of the challenge
   from the receiving entity. This procedure enables the two entities to mutually authenticate each
   other. At the same time, the transmitting terminal transmits a random number and the encrypted
   session key to be used for encrypting and hashing.
   After transmission of the document, the transmitting terminal transmits a random number and an
   encrypted session key as a challenge to the receiving entity. At the same time, it sends a random
   number and encrypted hash value which enables the receiving entity to ensure the integrity of the
   received document. The receiving terminal transmits a random number and the re-encrypted version
   of the challenge from the transmitting entity. At the same time, it sends a random number and
   encrypted Integrity Document to act as confirmation or denial of the integrity of the received
   document.
   The hashing algorithm used for document integrity is carried out on the whole document.
   An override mode is provided, it does not involve the exchange of any security signals between the
   two terminals. The users agree a one-time secret session key to be entered manually. This is used by
   the transmitting terminal to encrypt the document and by the receiving terminal to decrypt the
   document.

   G.3     References
   –       ITU-T Recommendation T.4 (2003), Standardization of Group 3 facsimile terminals for
           document transmission.
   –       ITU-T Recommendation T.36 (1997), Security capabilities for use with Group 3 facsimile
           terminals.

   G.4     Definitions
   G.4.1   Operation on the PSTN using the V.27 ter, V.29, V.17 and V.34 (half-duplex mode)
           modulation systems
   The signals and definitions used with the secure facsimile document procedures are as defined in
   the main body and in Annex A together with those detailed in G.6.1.
   G.4.2   Operation on the PSTN using the V.34 (full-duplex mode) modulation system and on
           the ISDN
   The signals and definitions used with the secure facsimile document procedures are as defined in
   Annex C together with those in G.6.1.

   G.5     Abbreviations
   G.5.1 The abbreviations used for secure facsimile transmission are as defined in the main body of
   this Recommendation and in Annexes A and C together with those specified below.
   ESHx        Encrypted Scrambled Hash Value from the transmitter
   ESIMy       Encrypted Scrambled Integrity Message from the receiver
   ESSC1x      Encrypted Scrambled Secret Challenge key from the transmitter
   ESSC1y      Encrypted Scrambled Secret Challenge key from the receiver
   ESSC2x      Encrypted Scrambled Secret Challenge key from the transmitter
   ESSR1x      Encrypted Scrambled Secret Response key from the transmitter
   ESSR1y      Encrypted Scrambled Secret Response key from the receiver
   ESSR2y      Encrypted Scrambled Secret Response key from the receiver

   184      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2343 Filed 01/18/22 Page 219 of 715


   ESSS1x       Encrypted Scrambled Secret session key from the transmitter
   RCNx         Registered Crypt Number (16 decimal digits in 16 octets) associated with the
                transmitter
   RCNy         Registered Crypt Number (16 decimal digits in 16 octets) associated with the receiver
   RK           Receiver Keys – see G.6.1
   RNC1x        Random number associated with a secret challenge from the transmitter
   RNC1y        Random number associated with a secret challenge from the receiver
   RNC2x        Random number associated with a secret challenge from the transmitter
   RNIMy        Random number associated with an integrity message from the receiver
   RNSR1x       Random number associated with a secret response from the transmitter
   RNSR1y       Random number associated with a secret response from the receiver
   RNSR2y       Random number associated with a secret response from the receiver
   RNSS1x       Random number associated with a secret session key from the transmitter
   RTC          Return To Control – as defined in ITU-T Rec. T.4
   TK           Transmitter Keys – see G.6.1
   TKx          Transfer Key provided by the transmitter
   TKy          Transfer Key provided by the receiver
   TNR          Transmitter Not Ready – see G.6.1
   TR           Transmitter Ready – see G.6.1
   NOTE 1 – All Random Number values are 4 decimal digits in 4 octets.
   NOTE 2 – All Encrypted Scrambled values are 12 decimal digits in 12 octets.

   G.6      Facsimile procedures
   G.6.1    Facsimile control field
   The HKM Key Management system uses the T.30 Transmitter Keys (TK) and Receiver Keys (RK)
   frames. The FIF contents of these signals vary according to use and are listed G.6.2. Each TK and
   RK signal is suffixed by a digit for cross reference to the flow diagrams and signal sequence
   diagrams in this annex.
   Each key transferred (other than during Registration) is in Encrypted Scrambled (ES) format and is
   accompanied by an associated Random Number (RN).
   1)     Transmitter Not Ready (TNR) – This signal is used to indicate that the transmitter is not yet
          ready to transmit.
          Format: X101 0111
   2)     Transmitter Ready (TR) – This signal is used to ask the status of the transmitter.
          Format: X101 0110
   3)     Transmitter Keys (TK) – This signal is used to carry security keys, etc., from the document
          transmitter to the document receiver. The FIF contents of this signal are defined later in this
          annex and will vary according to the circumstances under which they are used.
          Format: 1101 0010




                                                                         ITU-T Rec. T.30 (09/2005)   185
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2344 Filed 01/18/22 Page 220 of 715


   4)        Receiver Keys (RK) – This signal is used to carry security keys, etc., from the document
             receiver to the document transmitter. The FIF contents of this signal are defined later in this
             annex and will vary according to the circumstances under which they are used.
             Format: 0101 0010
   G.6.2     Facsimile information fields
   The coding of the keys shall be as shown in Table 3 and the least significant bit of the least
   significant digit shall be the first bit transmitted.

   G.6.2.1     Mutual Registration and authentication
   See Table G.1.

                                                  Table G.1/T.30
                            Signal             FIF octets            FIF contents
                                       1                       0000 0000
                                       2 length                0010 0000
                          TK0          3-18                    TKx
                                       19-22                   RNC0x
                                       23-34                   ESSC0x
                                       1                       0000 0001
                                       2 length                0100 0000
                                       3-18                    RCNy
                                       19-34                   TKy
                          RK1
                                       35-38                   RNSR0y
                                       39-50                   ESSR0y
                                       51-54                   RNC0y
                                       55-66                   ESSC0y
                                       1                       0000 0010
                                       2 length                0010 0000
                          TK2          3-18                    RCNx
                                       19-22                   RNSR0x
                                       23-34                   ESSR0x




   186        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2345 Filed 01/18/22 Page 221 of 715


   G.6.2.2   Pre-message signals: mutual authentication and exchange of secret session key
   See Table G.2.

                                               Table G.2/T.30
                          Signal            FIF octets          FIF contents
                                    1                       0000 1100
                                    2 length                0010 0000
                        TK8         3-18                    RCNy
                                    19-22                   RNC1x
                                    23-34                   ESSC1x
                                    1                       0000 1001
                                    2 length                0011 0000
                                    3-18                    RCNx
                        RK9         19-22                   RNSR1y
                                    23-34                   ESSR1y
                                    35-38                   RNC1y
                                    39-50                   ESSC1y
                                    1                       0000 1010
                                    2 length                0010 0000
                                    3-6                     RNSR1x
                        TK10
                                    7-18                    ESSR1x
                                    19-21                   RNSS1x
                                    23-34                   ESSS1x
                        NOTE – If the document is not encrypted, RNC1x and
                        ESSS1x are set to all zeros.

   G.6.2.3   In-message procedure
   From the transmitter to the receiver. The in-message procedure formats and specific signals shall be
   as defined in Annex A/T.4.




                                                                     ITU-T Rec. T.30 (09/2005)     187
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2346 Filed 01/18/22 Page 222 of 715


   G.6.2.4     Post-message signals: document confirmation and integrity (normal transmission)
   See Table G.3.

                                                Table G.3/T.30
                           Signal            FIF octets           FIF contents
                                     1                        0001 0000
                                     2 length                 0010 1000
                         TK16        3-6                      RNC2x
                                     7-18                     ESSC2x
                                     19-42                    ESHx
                                     1                        0001 0001
                                     2 length                 0010 0000
                                     3-6                      RNSR2y
                         RK17
                                     7-18                     ESSR2y
                                     19-22                    RNIMy
                                     23-34                    ESIMy
                         NOTE 1 – If the document does not have an integrity check,
                         ESHx, RNIMy and ESIMy are set to all zeros.
                         NOTE 2 – Frame TK16 is not provided if DCS indicates no
                         hashing.
                         NOTE 3 – Frame RK17 is not provided if TK16 is not
                         provided.

   G.6.2.5 General notes
   1)     During registration, challenges and responses are mandatory. The challenge/response
          mechanism is defined in ITU-T Rec. T.36.
   2)     During normal calls, all valid challenges and responses must have a non-zero random
          number. Random numbers set to zero in challenges or responses indicate that mutual
          authentication is not supported.
   3)     TK16/RK17 are normally sent with/after PPS-EOP except in the case of turnaround polling
          when they may be sent with/after PPS-EOM.
   4)     Hashing/encryption are determined by the first DIS/DCS exchange and apply to every
          document transmitted in that session.

   G.7       Flow diagrams
   G.7.1     Operation on the PSTN using the V.27 ter, V.29, V.17 and V.34 (half-duplex mode)
             modulation systems
   The flow diagrams in Figure G.7 show the phase B, pre-message procedures, phase C, message
   procedure, phase D, post-message procedure and phase E, call release, for both the transmitting and
   receiving terminals.

   Reference should also be made to the procedures defined in ITU-T Rec. T.36.




   188        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2347 Filed 01/18/22 Page 223 of 715


   G.7.2   Flow diagram rules
   The flow diagrams follow two simple rules:
   1)      All lines have an arrow at the destination only.
   2)      No lines cross.
   G.7.3   Timers used in the flow diagrams

                             T1    35 s ± 5 s
                             T2    6s±1s
                             T3    10 s ± 5 s
                             T4    4.5 s ± 15% for manual units
                                   3.0 s ± 15% for automatic units
                             T5    60 s ± 5 s

   G.7.4   Abbreviations and descriptions used in the flow diagrams
   Unless defined otherwise below, the definition of the flow chart terms is as given in the main body
   and/or in Annex A.
   Authen reqd?             Check to see if mutual authentication is required at the beginning of the
                            transmission.
   NOTE 1 – Once mutual authentication has been completed, then within the same session the "No" exit
   should always be followed.
   Reg mode?                Check to see if security registration is required.
   First page?              Check to see if mutual authentication is required at the beginning of the
                            transmission.
   NOTE 2 – Once mutual authentication has been completed, then within the same session the "No" exit
   should always be followed.




                                                                      ITU-T Rec. T.30 (09/2005)   189
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2348 Filed 01/18/22 Page 224 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2349 Filed 01/18/22 Page 225 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2350 Filed 01/18/22 Page 226 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2351 Filed 01/18/22 Page 227 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2352 Filed 01/18/22 Page 228 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2353 Filed 01/18/22 Page 229 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2354 Filed 01/18/22 Page 230 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2355 Filed 01/18/22 Page 231 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2356 Filed 01/18/22 Page 232 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2357 Filed 01/18/22 Page 233 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2358 Filed 01/18/22 Page 234 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2359 Filed 01/18/22 Page 235 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2360 Filed 01/18/22 Page 236 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2361 Filed 01/18/22 Page 237 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2362 Filed 01/18/22 Page 238 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2363 Filed 01/18/22 Page 239 of 715


            Receiving Terminal
                                  X




                                            Yes         Last post       No
                                 RR?                   message was                 IXa
                                                         PPS-Q?



                                      No                       Yes


                                  B                        Q

                                                                             T0826530-96/d138




                                 Figure G.7/T.30 (sheet 16 of 20)




                                                                ITU-T Rec. T.30 (09/2005)       205
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2364 Filed 01/18/22 Page 240 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2365 Filed 01/18/22 Page 241 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2366 Filed 01/18/22 Page 242 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2367 Filed 01/18/22 Page 243 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2368 Filed 01/18/22 Page 244 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2369 Filed 01/18/22 Page 245 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2370 Filed 01/18/22 Page 246 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2371 Filed 01/18/22 Page 247 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2372 Filed 01/18/22 Page 248 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2373 Filed 01/18/22 Page 249 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2374 Filed 01/18/22 Page 250 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2375 Filed 01/18/22 Page 251 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2376 Filed 01/18/22 Page 252 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2377 Filed 01/18/22 Page 253 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2378 Filed 01/18/22 Page 254 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2379 Filed 01/18/22 Page 255 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2380 Filed 01/18/22 Page 256 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2381 Filed 01/18/22 Page 257 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2382 Filed 01/18/22 Page 258 of 715


   G.8.3    Timers used in the flow diagrams

                              T1        35 s ± 5 s
                              T2        6s±1s
                              T3        10 s ± 5 s
                              T4        4.5 s ± 15% for manual units
                                        3.0 s ± 15% for automatic units
                              T5        60 s ± 5 s
                              T6        5 s ± 0.5 s
                              T7        6s±1s
                              T8        10 s ± 1 s
                              T9        Duration of 256 flags

   G.8.4    Abbreviations and descriptions used in the flow diagrams
   Unless defined otherwise below, the definition of the flow chart terms is as given in the main body
   and/or in Annex A.
   Authen reqd? Check to see if mutual authentication is required at the beginning of the transmission.
   NOTE 1 – Once mutual authentication has been completed, then within the same session the "No" exit
   should always be followed.
   Reg mode? Check to see if security registration is required.
   First page? Check to see if mutual authentication is required at the beginning of the transmission.
   NOTE 2 – Once mutual authentication has been completed, then within the same session the "No" exit
   should always be followed.

   G.9      Signal sequence examples in case of secure facsimile procedure
   The examples in Figures G.9-1 and G.9-2 are based on the flow diagrams and are for illustrative
   and instructional purposes only. They should not be interpreted as establishing or limiting the
   protocol. The exchanges of the various signals and responses are limited only by the rules specified
   in this Recommendation.
   NOTE – The hold-off signals, RNR/RR and TNR/TR, may be used at any time during phase B and phase D
   to enable the receiver or transmitter time to carry out any processing involving in calculating security values
   or to obtain keys from storage or, in the case of registration, from the operator.




   224       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2383 Filed 01/18/22 Page 259 of 715


   G.9.1     HKM mutual registration
                                            Calling                                  Called
                                           terminal                                 terminal

                                                            (NSF) CSI DIS

                                                         (SUB) (SID) TSI TK0

                                                                (RNR)

                                                                 (RR)
                                                                 RK1

                                                                (TNR)

                                                                 (TR)

                                                                 TK2

                                                                (RNR)

                                                                 (RR)

                                                                 MCF
                                                                                T0826720-96/d157
                                                                 DCN

   NOTE 1 – The operator of the called terminal may require time to enter the One Time key. If this is being entered manually in real
   time, RNR/RR is used to hold off the calling terminal. RNR/RR provides a delay of up to 65 seconds.
   NOTE 2 – The SUB signal may be used to identify an individual within the domain of the called terminal with whom registration is
   requested.
   NOTE 3 – The SID, Sender Identification, signal may be used to identify an individual within the domain of the calling terminal
   who is requesting the registration.




                                                       Figure G.9-1/T.30




                                                                                         ITU-T Rec. T.30 (09/2005)               225
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2384 Filed 01/18/22 Page 260 of 715


   G.9.2       HKM secure transmission with optional encryption and hashing
                                             Calling                                Called
                                            Terminal                               Terminal

                                                            (NSF) CSI DIS

                                                        (SUB) (SID) TSI TK8
      Entry 1 --->
                                                                (RNR)

                                                                (RR)

                                                                 RK9

                                                                (TNR)

                                                                 (TR)

                                                               TK10 DCS

         Entry 2 --->
                                                               Training

                                                                (RNR)
                                                                 (RR)

                                                                 CFR

                                                          T4 data using ECM
                                                           (TK16) PPS-EOP

                                                                 (RNR)

                                                                  (RR)

                                                              (RK17) MCF

                                                                (TNR)

                                                                 (TR)

                                                              (FNV) DCN
                                                                                  T0830180-00/d158



   NOTE 1 – The SUB signal may be used to identify an individual within the domain of the called terminal to receive the secure
   facsimile document.
   NOTE 2 – The SID, Sender Identification, signal may be used to identify an individual within the domain of the calling terminal who
   is sending the secure facsimile document.
   NOTE 3 – Data to be transmitted should be in exactly the same format as it would be if encryption was not being used, i.e., complete
   with any padding, etc. Encryption takes place immediately before these data are actually transmitted. When the receiving terminal
   decrypts the data, it should do so immediately before normal processing.



                                                        Figure G.9-2/T.30




   226           ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2385 Filed 01/18/22 Page 261 of 715


   G.9.3     HKM secure polling with optional encryption and hashing
   See Figure G.9-3.
                                            Calling                                       Called
                                           terminal                                      terminal

                                                               (NSF) CSI DIS

                                                            (SUB) (SID) TSI TK8

                                                                    (RNR)

                                                                    (RR)

                                                                     RK9

                                                                    (TNR)

                                                                     (TR)

                                                          (SEP) (PWD) TK10 DTC

                                                                    (TNR)

                                                                     (TR)

                                                                 (TK10) DCS
                                                                                     T0826740-96/d159

                                                      Rejoin transmission at Entry 2 or send
                                                            document without security

   NOTE 1 – The SUB signal may be used to identify an individual within the domain of the called terminal to receive the secure
   facsimile document.
   NOTE 2 – The SID, Sender Identification, signal may be used to identify an individual within the domain of the calling terminal who
   is sending the secure facsimile document.
   NOTE 3 – Data to be transmitted should be in exactly the same format as it would be if encryption was not being used, i.e., complete
   with any padding, etc. Encryption takes place immediately before these data are actually transmitted. When the receiving terminal
   decrypts the data, it should do so immediately before normal processing.


                                                          Figure G.9-3/T.30

   G.9.4     HKM secure polling (initiated by polled system) with optional encryption and hashing
   See Figure G.9-4.
                                            Calling                                      Called
                                           terminal                                     terminal

                                                               (NSF) CSI DIS

                                                   (SUB) (SID) (SEP) (PWD) CIG DTC

                                                                    (TNR)

                                                                    (TR)

                                                                    TK8
                                                                                  T0826750-96/d160

                                                       Rejoin transmission at Entry 1


   NOTE 1 – The SUB signal may be used to identify an individual within the domain of the called terminal to provide the secure
   facsimile document.
   NOTE 2 – The SID, Sender Identification, signal may be used to identify an individual within the domain of the calling terminal who
   is polling the secure facsimile document.
   NOTE 3 – Data to be transmitted should be in exactly the same format as it would be if encryption was not being used, i.e., complete
   with any padding, etc. Encryption takes place immediately before these data are actually transmitted. When the receiving terminal
   decrypts the data, it should do so immediately before normal processing.


                                                          Figure G.9-4/T.30


                                                                                               ITU-T Rec. T.30 (09/2005)           227
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2386 Filed 01/18/22 Page 262 of 715


   G.9.5     HKM secure turnaround poll with optional encryption and hashing
   See Figure G.9-5.
                                              Calling                                  Called
                                             terminal                                 terminal

                                                              (NSF) CSI DIS

                                                           (SUB) (SID) TSI TK8
                                                                  (RNR)

                                                                   (RR)

                                                                   RK9

                                                                   (TNR)

                                                                   (TR)

                                                                TK10 DCS

                                                                 Training
                                                                  (RNR)

                                                                   (RR)

                                                                   CFR

                                                            T4 data using ECM

                                                             (TK16) PPS-EOM

                                                                  (RNR)

                                                                   (RR)

                                                               (RK17) MCF

                                                                   (TNR)
                                                                   (TR)

                                                            (SEP) (PWD) DTC
                                                                   (TNR)
                                                                   (TR)

                                                                (TK10) DCS
                                                                                  T0826760-96/d161
                                                   Rejoin transmission at Entry 2 or send
                                                         document without security

   NOTE 1 – The SUB signal may be used to identify an individual within the domain of the called terminal to receive the secure
   facsimile document.
   NOTE 2 – The SID, Sender Identification, signal may be used to identify an individual within the domain of the calling terminal
   who is sending the secure facsimile document.
   NOTE 3 – Data to be transmitted should be in exactly the same format as it would be if encryption was not being used, i.e.,
   complete with any padding, etc. Encryption takes place immediately before these data are actually transmitted. When the receiving
   terminal decrypts the data, it should do so immediately before normal processing.
   NOTE 4 – TK10 is optional and, if present, will contain a new session key with the response values set to zero.



                                                        Figure G.9-5/T.30




   228         ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2387 Filed 01/18/22 Page 263 of 715


                                                Annex H

                    Security in facsimile G3 based on the RSA algorithm
   H.1     Preamble
   (The preamble is left blank on purpose.)

   H.2     Introduction
   This annex specifies the mechanisms to offer security features based on the RSA cryptographic
   mechanism. The coding scheme of the document transmitted with security features may be of any
   kind defined in Recs T.4 and T.30 (Modified Huffman, MR, MMR, Character mode as defined in
   Annex D/T.4, BFT, other file transfer mode defined in Annex C/T.4).

   H.3     References
   –       FIPS PUB 186-2: Digital Signature Standard, U.S NIST, 27 January 2000.
   –       ISO/IEC 9796-2:2002, Information technology – Security techniques – Digital signature
           schemes giving message recovery – Part 2: Integer factorization based mechanisms.
   –       ISO/IEC 9796-3:2000, Information technology – Security techniques – Digital signature
           schemes giving message recovery – Part 3: Discrete logarithm based mechanisms.
   –       RIVEST (R.L.), SHAMIR (A.), ADLEMAN (L.), A method for obtaining digital signatures
           and public-key cryptosystems, CACM (Communications of the ACM), Vol. 21, No. 2, pp.
           120-126, 1978.
   –       ISO/IEC 9979:1999, Information technology – Security techniques – Procedures for the
           registration of cryptographic algorithms.
   –       ISO/IEC 10118-3:2004, Information technology – Security techniques – Hash-functions –
           Part 3: Dedicated hash-functions.
   –       FIPS PUB 180-1: Secure Hash Standard, April 1995.
   –       ISO/IEC 14888-3:1998, Information technology – Security techniques – Digital signatures
           with appendix – Part 3: Certificate-based mechanisms.
   –       RFC 1321 (1992), The MD5 message-digest algorithm.

   H.4     Security mechanisms
   H.4.1   Digital signature mechanism and keys management
   The basic algorithm used for the digital signature (authentication and integrity type services) is the
   RSA.
   The couple of keys used for this purpose is "public key"/"secret key".
   When the optional confidentiality service is offered, the token containing the session key "Ks", used
   for enciphering the document, is encrypted also by the means of RSA algorithm. The couple of keys
   used for this purpose called ("encipherment public key"/"encipherment secret key") is not the same
   one as that used for authentication and integrity types services. This is for decoupling the two kinds
   of use.
   The implementation of RSA which is used in this annex is described in ISO/IEC 9796 (Digital
   signature scheme giving message recovery).
   For encipherment of the token containing the session key, the rules of redundancy when processing
   the algorithm RSA are the same ones as those specified in ISO/IEC 9796.


                                                                     ITU-T Rec. T.30 (09/2005)       229
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2388 Filed 01/18/22 Page 264 of 715


   NOTE – Certain Administrations in addition to RSA (which is the basic mechanism in the context of this
   annex), may require that an optional mechanism be implemented: the DSA.
   H.4.2   Length of the public keys, secret keys and digital signatures
   As a basic feature, the length of the public keys, secret keys and digital signatures is 512 bits.
   Longer lengths may be used as recognized options; they are negotiated through the protocol
   (see further).
   H.4.3   Length of the public exponent of RSA
   For digital signatures, the public exponent has a fixed value equal to 3.
   For encipherment of the token which includes the session key "Ks", the public exponent has a fixed
   value equal to: 216 + 1. The session key is used in case of encipherment of the document, see
   further.
   H.4.4   Certification authorities
   By default, certification authorities are not used.
   As an option, certification authorities may be used to certificate the validity of the public key of the
   sender of the facsimile message. In such a case, the public key may be certified as specified in
   ITU-T Rec. X.509.
   The means to transmit the certificate of the public key of the sender is described in this annex, but
   the precise format of the certificate is left for further study (in future versions of this annex).
   The actual transmission of the certificate is negotiated in the protocol.
   H.4.5   Registration mode
   As a mandatory feature, a registration mode is provided. It permits the sender and the receiver to
   register and store the public keys of the other party in confident manner prior to any secure
   facsimile communication between the two parties.
   Registration mode can avoid the need for the user to enter manually in the terminal the public keys
   of its correspondents (the public keys are fairly long, 64 octets or more).
   Because the registration mode permits to exchange the public keys and store them in the terminals,
   it is not necessary to transmit them during the facsimile communications.
   The scheme of the registration mode is detailed further in this annex.
   H.4.6   Hash function
   As described in this annex, some signatures are applied on the result of a "hash function".
   The hash function which is used is either (SHA-1, Secure Hash Algorithm 1), an algorithm which
   comes from the "NIST" in USA or MD-5 (RFC 1321).
   For SHA-1, the length of the result of the hashing process is on 160 bits.
   For MD-5, the length of the result of the hashing process is on 128 bits.
   A terminal may implement either SHA-1 or MD-5 or both.
   The use of one algorithm or the other is negotiated in the protocol (see further).
   In the future, other optional hash functions may be added in this annex.




   230      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2389 Filed 01/18/22 Page 265 of 715


   H.4.7      Encipherment
   H.4.7.1       General
   The encipherment of the data for provision of the confidentiality service is optional. Five optional
   encipherment schemes are registered in the scope of this annex:
   FEAL-32, SAFER K-64, RC5, IDEA and HFX40 (as described in ITU-T Rec. T.36). In some
   countries, their use may be subject to national regulation.
   Other optional algorithms could be registered in the future.
   Other optional algorithms may also be used. They are chosen conforming to the ISO/IEC 9979
   (Procedure for registering cryptographic algorithms).
   The capability of the terminal to handle one of these algorithms and the actual use of a particular
   one during the communication is negotiated in the protocol.
   A session key is used for encipherment. The session key is called "Ks".
   The basic length of "Ks" is 40 bits.
   –       For algorithms which use a 40-bit session key (e.g., HFX40), the session key "Ks" is the
           key actually used in the encipherment algorithm.
   –       For algorithms which require keys longer than 40 bits (e.g., FEAL-32, IDEA, SAFER K-64
           requiring respectively: 64 bits, 128 bits and 64 bits), a redundancy mechanism is performed
           to get the necessary length. The resultant key is called the "redundant session key". The
           "redundant session key" is the key which is actually used in the encipherment algorithm.
   The redundancy mechanism is described in the next clause.
   The token "BE" which includes "Ks" (see further) is enciphered by the "encipherment public key"
   of the recipient and sent to it by the sender.
   When a redundancy key is necessary, the receiving terminal regenerates it from the token "BE"
   received from the emitting terminal.
   H.4.7.2       Redundancy mechanism to get the redundant session key when necessary
   When a "redundant session key" is necessary (the encipherment algorithm needs a key longer than
   40 bits), this entity is generated as follows:
   The pattern of bits "Ks" is repeated as many times as necessary to get the necessary length required
   for the algorithm. If necessary, a portion of the pattern (beginning with the left-most bit) is
   appended at the end to fit the correct length.
   This principle is illustrated on an example below where the algorithm requires 128 bits
   (e.g., IDEA).
                                                      Redundant session key = 128 bits long
                                                                                                                                           8 bits

   x . . . . . . . . .40 bits . . . . . . . . . x . . . . . . . . .40 bits . . . . . . . . . x . . . . . . . . .40 bits . . . . . . . . . xxxxxxxx



   Left-most bit of Ks                 Left-most bit of Ks                         Left-most bit of Ks                         Left-most bit of Ks
                                                                                                                                   T0828020-98/d162




                                                                                                 ITU-T Rec. T.30 (09/2005)                    231
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2390 Filed 01/18/22 Page 266 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2391 Filed 01/18/22 Page 267 of 715


             b) For the cases where the content of the FIF of the existing T.30 signals is encapsulated
                within a tag encoded structure (see H.6.1.4.7, Encapsulated Frame Supergroup),
                consistency is maintained with the transmission order of the octets and bits for the FIF
                as previously defined for these signals (see 5.3 and 5.3.6.2).
             c) Within the FIF of the DES, DEC, DER and DTR, an exception to the general rule is for
                parameters identified as "binary coded" within Table H.1. For these parameters, the
                following rule applies:
                The first bit transmitted on the line is the left-most bit of the left-most octet:
                 left-most bit
                 
                 
                 ↓         left-most octet                     left-most octet but one            ...
                 0   1   2   3   4   5   6       7     0    1      2   3   4   5   6   7        0   ...
                 
                 0   1   2   3   4   5   6       7     8    9    10   11   12   13   14   15   16   ..
                 Transmission order ==>

   H.4.8.3     Bit order in the hash and RSA processes
   The hash function standards (SHA-1 and MD-5) define a bit string upon which the hashing process
   is applied and a bit string which is the hash result.
   The first bit of these bit strings is the left-most bit (as represented in the figures of this
   Recommendation).
   In this annex, various parameters are specified on which hash function is applied. Some hash results
   are transmitted on the line. The rules for bit order on the line and bit order for processing in the hash
   function are the same ones:
   –        The first bit passing through the hash function is the left-most bit of the left-most octet.
   If the hash function is applied on several concatenated entities, for example h(a,b,c,...), the bit string
   to be hashed is the bit string [a] immediately followed by the bit string [b], etc.
   For the RSA function, the same principle applies:
   –       The first bit passing through RSA function is the left-most bit of the left-most octet.
   The bit order through hash function and RSA is illustrated as follows (the bit strings represented are
   only for example):
   left-most bit in the entry of the hash function
   = first bit when transmitted on the line
   
   ↓
   001010101001010101010001000100..........
   
   ↓HASH FUNCTION

   result of the hash function: 160 bits (or 128 bits if MD-5):
   0101111001001010 ......     00010101
   ↑
   left-most bit at the result of the hash function
   = left-most bit in the entry of the RSA function
   
   ↓RSA

   result of the RSA: 64 octets (or more if negotiated as such, see further)
   10100101000000101010.........101010
   ↑
   
   left-most bit at the result of the RSA function
   = first bit when transmitted on the line



                                                                           ITU-T Rec. T.30 (09/2005)      233
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2392 Filed 01/18/22 Page 268 of 715


   This principle is valid also for the parameters passing directly into the RSA function without
   hashing (e.g., Token which includes the Session Key "Ks").
   If RSA is applied on several concatenated entities, for example (a,b,c, ...), the bit string to be
   processed by RSA is the bit string [a] immediately followed by the bit string [b], etc.

   H.5     Security parameters
   Table H.1 defines the various security parameters some of which are exchanged.
   For all the security parameters, a basic length is defined. The support of this basic length is
   mandatory.
   In addition, some parameters permit optional longer lengths which can be negotiated in the
   protocol.
   Table H.1 indicates also the type of coding of the parameters (binary, ASCII, ...).
   The means to transmit these parameters in the signals DES, DEC, DER and DTR is specified
   further in this annex.

                                   Table H.1/T.30 – Security parameters
                                                                      Optional
                                                           Basic
      Abbreviation             Description                             longer         Coding of the field
                                                          length
                                                                      lengths
            S         Sender's identity                  20 octets   For further   IA5 coded (Note 1)
                                                                     study
           Sp         Sender's public key                64 octets   Possible      Binary coded (Note 2)
           Ss         Sender's secret key                64 octets   Same as Sp    Binary coded (Note 2)
          SpE         Encipherment Sender's public       64 octets   Possible      Binary coded (Note 2)
                      key (for encryption of token
                      containing the session key)
          SsE         Encipherment Sender's secret       64 octets   Same as       Binary coded (Note 2)
                      key (for decryption of                         SpE
                      encrypted token containing the
                      session key)
           Sra        Random number created by           8 octets    Possible      Binary coded (Note 2)
                      the sender for authentication of
                      the recipient
           Srd        Random number created by           8 octets    Possible      Binary coded (Note 2)
                      the sender for the digital
                      signature
            R         Recipient's identity               20 octets   For further   IA5 coded (Note 1)
                                                                     study
           Rp         Recipient's public key             64 octets   Possible      Binary coded (Note 2)
           Rs         Recipient's secret key             64 octets   Same as Rp    Binary coded (Note 2)
          RpE         Encipherment Recipient's           64 octets   Possible      Binary coded (Note 2)
                      public key (for encryption of
                      token containing the session
                      key)




   234      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2393 Filed 01/18/22 Page 269 of 715




                                  Table H.1/T.30 – Security parameters
                                                                    Optional
                                                         Basic
     Abbreviation            Description                             longer         Coding of the field
                                                        length
                                                                    lengths
         RsE        Encipherment Recipient's           64 octets   Same as       Binary coded (Note 2)
                    secret key (for decryption of                  RpE
                    encrypted token containing the
                    session key)
          Rra       Random number created by           8 octets    Possible      Binary coded (Note 2)
                    the recipient for authentication
                    of the sender
          Ks        Session key                        40 bits     For further   Binary coded (Note 2)
                                                                   study
          BE        BE = RpE[S, Ks] = Sender           64 octets   Same as       Binary coded (Note 2)
                    identity and session key                       RpE
                    concatenated and encrypted by
                    RpE
        UTCd        Date/time chosen by the            8 octets    For further   YY MM DD HH MM SS
                    sender (date/time of the                       study         offset GMT
                    generation/signature of the                                  BCD coded (Note 3)
                    document)
        UTCr        Date/time chosen by the            8 octets    For further   YY MM DD HH MM SS
                    recipient (date/time of the                    study         offset GMT
                    confirmation of message                                      BCD coded (Note 3)
                    receipt)
          Lm        Length of the document             4 octets    For further   Corresponds to the
                                                                   study         number of octets of the
                                                                                 whole document
                                                                                 transmitted (data octets +
                                                                                 pad bits, see H.6.5).
                                                                                 BCD coded (Note 4)
         h(...)     Hashed result of the entity        160 bits  For further     Binary coded (Note 2)
                    enclosed in brackets               or 128    study
                                                       bits
                                                       depending
                                                       on the
                                                       hash-
                                                       function
       Rs[h(...)]   Hashed result of the entity        64 octets   Same as Rp    Binary coded (Note 2)
                    enclosed in brackets signed by
                    the recipient
       Ss[h(...)]   Hashed result of the entity        64 octets   Same as Sp    Binary coded (Note 2)
                    enclosed in brackets signed by
                    the sender
          Sia       Indicator in the token used for    1 octet     No            Octet equal to:
                    authentication of the sender                                 "00000000"
                                                                                 (Note 5)
          Ria       Indicator in the token used for    1 octet     No            Octet equal to:
                    authentication of the recipient                              "00000001"
                                                                                 (Note 5)


                                                                        ITU-T Rec. T.30 (09/2005)         235
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2394 Filed 01/18/22 Page 270 of 715




                                        Table H.1/T.30 – Security parameters
                                                                                     Optional
                                                                        Basic
     Abbreviation                   Description                                       longer             Coding of the field
                                                                       length
                                                                                     lengths
           Sis             Indicator in the token used for         1 octet          No               Octet equal to:
                           digital signature                                                         "00000010"
                                                                                                     (Note 5)
           Ris             Indicator in the token used for         1 octet          No               Octet equal to:
                           confirmation of message                                                   "00000011"
                           receipt                                                                   (Note 5)
         document          The document sent during the            Variable         Irrelevant       Irrelevant
                           secure facsimile transmission
                           mode
           enc.             The encrypted document sent            Variable         Irrelevant       Irrelevant
         document           during the secure facsimile
                            transmission mode when
                            confidentiality service is
                            invoked.
                            The encryption of the
                            document is made with session
                            key Ks (or the redundant
                            session key if the algorithm
                            requires more bits than Ks to
                            work).
     NOTE 1 – The general rule for FIF of DES/DEC/DER/DTR applies: the least significant bit of each
     octet is the first one transmitted.
     NOTE 2 – The rule for transmission of binary coded elements is defined in H.4.8.2.
     NOTE 3 – Example: for the 24th March of 1995. 8H25 05s PM. Offset GMT: 3 H:
     " 1     9         9     5     0     3        2   4        2        0       2        5       0   5      0     3 "
     0001 1001       1001 0101   0000 0011     0010 0100     0010 0000       0010 0101       0000 0101    0000 0011

     The general rule for FIF of DES/DEC/DER/DTR applies: the right-most bit of each octet is the first one
     transmitted.
     NOTE 4 – Example: for a document length of 123456 octets:
     " 0         0           1     2          3       4            5         6 "
     0000 0000             0001 0010         0011 0100        0101 0110
     The general rule for FIF of DES/DEC/DER/DTR applies: the right-most bit of each octet is the first one
     transmitted.
     NOTE 5 – The general rule for FIF of DES/DEC/DER/DTR applies: the right-most bit of each octet is
     the first one transmitted.

   H.6     Exchanges of security parameters
   The Error Correction Mode (ECM) described in Annex A is required for offering the security
   services based on RSA.
   Some specific security parameters must be transmitted during the facsimile communication at the
   protocol level (phases B and D of the T.30 protocol). As an option, see further "security page",
   some security parameters are transmitted at the message level (phase C of T.30 protocol).




   236      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2395 Filed 01/18/22 Page 271 of 715


   H.6.1   Exchange of security parameters at the protocol level
   The eight new signals which are used are the following:
   –       DER: Digital Extended Request
           This command is sent by the sending terminal. It can set security parameters for the session
           and also requests further details on the security capabilities of the receiving machine.
   –       DES: Digital Extended Signal
           Sent by the receiving device; contains security capabilities of the receiving machine.
   –       DEC: Digital Extended Command
           Sent by the sending terminal in response to DES or DTR.
           DEC contains all the settings for the current communication.
           DEC replaces DCS which is not sent. The information which is normally contained in the
           FIF of the DCS is contained in the DEC. DEC contains also the various security parameters
           sent from the emitting terminal to the receiving terminal.
   –       DTR: Digital Turnaround Request
           May be sent by the calling terminal in response to DIS or DES; used when polling or
           turnaround desired.
           DTR replaces DTC which is not sent. The information which is normally contained in the
           FIF of the DTC is contained in the DTR. DTR contains also the various security parameters
           sent from the receiving terminal to the emitting terminal.
   –       DNK: Digital Not Acknowledge
           DER, DES, DEC or DTR are structured in HDLC frames.
           DNK indicates that the previous command (DER, DES, DEC or DTR) has not been
           satisfactorily received and that the frames specified in the FIF of DNK are required to be
           retransmitted. DNK may be issued either by the emitting terminal or by the receiving
           terminal (contrary to PPR in Annex A which can only be sent by the receiving terminal).
           DNK is also used to reject TCF.
   –       TNR: Transmitter Not Ready
           This signal is used to indicate that the transmitter is not yet ready to transmit.
           Format:
           FCF: X101 0111 (X is the bit defined in 5.3.6.1).
   –       TR: Transmitter Ready?
           This signal is used to ask the status of the transmitter.
           Format:
           FCF: X101 0110 (X is the bit defined in 5.3.6.1).
   –       PPS-PSS: Partial Page Signal – Present Signature Signal
           This signal is used to indicate the end of the document and that a digital signature signal
           follows.
           Format:
           FCF1: X111 1101 (X is the bit defined in 5.3.6.1)
           FCF2: 1111 1000.
   The particular coding of DER, DES, DEC, DTR and DNK is detailed further in this annex.




                                                                    ITU-T Rec. T.30 (09/2005)      237
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2396 Filed 01/18/22 Page 272 of 715


   H.6.1.1    Structure of DER, DES, DEC and DTR
   H.6.1.1.1 General
   DER, DES, DEC and DTR signals are structured in HDLC frames.
   The structure of the sequence of frames follows the same rules as that of the multiframe commands
   already specified in this Recommendation (e.g., NSF-CSI-DIS). These rules are described in 5.3.1,
   5.3.3, 5.3.4 and 5.3.5.
   H.6.1.1.2 FCF (Facsimile Control Field)
   The FCF of the frames is the following:
   –     DES frames: 0000 0101
   –     DEC frames: 1100 1001
   –     DER frames: 1100 1010
   –     DTR frames: 1000 1000
   H.6.1.1.3 FIF (Facsimile Information Field)
   The specifications for the FIF of DES, DEC, DER and DTR in the scope of this annex are the
   following:
   The maximum length of the FIF of a frame is 65 octets. If a frame is an intermediate frame (not the
   last one), its FIF must be 65 octets long, except when the content of the frame is "FIF of DCS"
   (see further). In this latter case, the frame is as long as necessary to contain the FIF octets of the
   DCS but no more (no pad octet is allowed).
   If it is the last frame, the length of the FIF may be less than 65 octets depending on the number of
   data octets to carry. No pad octet is allowed.
   The first octet of the FIF of each frame contains the frame number, then follows the data field. The
   frame number is an eight bits binary number. The general rules for FIF of DES/DEC/DER/DTR
   applies: the least significant bit of the frame number (right-most bit) is transmitted the first.
   The frame numbered "0" is transmitted first.
   Figure H.2 illustrates these principles.
   NOTE – The use of frames with FIF longer than 65 octets is for further study.




   238       ITU-T Rec. T.30 (09/2005)
                            Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2397 Filed 01/18/22 Page 273 of 715




                                         Facsimile                                                                                 Facsimile
             HDLC          Control                                                                   HDLC
Preamble                                  control               FIF              FCS     Flag(s)                  Control field     control             FIF             FCS   Flag(s)
             Address        field                                                                    address
                                           field                                                                                     field
  Flags        1111        1100 X000      DEC =        Frame      Data field FCS At least                1111       1100 X000       DEC =       Frame     Data field    FCS   At least
               1111           X=0          1100       number       64 octets               one           1111          X=1           1100      number     ≤ 64 octets         one flag
                           (non-final      1001         0000                               flag                    (final frame)     1001       0000
                             frame)                     0000                                                                                    0001
NOTE 1 – The FCF is transmitted with the left-most bit (as printed in the figure) being the first one transmitted.
NOTE 2 – The Frame number is transmitted with the right-most bit (as printed in the figure) being the first one transmitted.
In the example, for the frame number of the second frame:
1000 0000
transmission order ===>
NOTE 3 – The data field of frame "0" may be less than 64 octets if containing the "FIF of DCS".


                                                         Figure H.2/T.30 – Example for a DEC consisting in 2 frames




239        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2398 Filed 01/18/22 Page 274 of 715


   H.6.1.2     Use and structure of DNK
   H.6.1.2.1 Structure of the DNK
   Definition
   In the rest of this annex, the terms "signal X" or "X" designate either the signal DER, DES, DEC or
   DTR.
   When some frames of "signal X" are improperly received, DNK permits to request the
   retransmission of those specific frames.
   DNK is also used to reject TCF; see further.
   NOTE – When all the frames of an X signal have been received correctly, the normal answer (as specified in
   this annex) is used as an implicit acknowledgement, except if TCF is to be rejected (DNK is used for this
   rejection).
   DNK consists in one HDLC frame whose structure follows the same rules as for the other
   T.30 signals (rules are described in 5.3.1, 5.3.3, 5.3.4, 5.3.5).
   H.6.1.2.2 FCF of the DNK
   The FCF is the following: X101 1001
   The definition of the X bit is in 5.3.6.1.
   H.6.1.2.3 FIF of the DNK
   H.6.1.2.3.1       General
   The FIF consists in an integer number of octets.
   For each octet of the FIF of DNK, the left-most bit (as printed) is the first one transmitted. It is
   numbered bit "0".
   The transmission order corresponding to the bit numbering is the following:
   Bit No. 01234567 01234567 01234567 …
             transmission order ========>
   The first octet of DNK is used to reject TCF when needed (TCF received corrupted).
   The further octets are used to request frames received in error.
   H.6.1.2.3.2       Request of frames received in error
   Beginning with the second octet of the FIF, each bit corresponds to a frame in the previously sent
   command or response, i.e., the first transmitted bit to the first frame, etc. For frames which are
   received correctly, the corresponding bit shall be set to "0"; those that are received incorrectly shall
   have their bit set to "1". Pad bits of value "1" shall be added as required to align on the last octet
   boundary.
   Likewise in ECM mode described in Annex A (but here at the protocol modulation speed), if more
   than one DNK is transmitted (consecutive to several faulty attempts of transmission of X frames),
   the bit corresponding to an X frame which has been already correctly received must always be set
   to "0".
   NOTE 1 – It may happen that DNK is resent with a FIF of a different size.
   For example: the X signal is received quite improperly and is found to be only 7 frames long whereas it is in
   fact 9 frames long. In such case, the FIF of the DNK will contain only two octets (the first one which is used
   for the TCF rejection – see further – and the second one which is sufficient to indicate the frames detected in
   error). Once the frames of the X signal are re-emitted, the receiving machine finds that the X signal is



   240        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2399 Filed 01/18/22 Page 275 of 715


   9 frames length. If it happens again that some frames are corrupted, a new DNK is sent with 3 octets in its
   FIF. This example is illustrated below.
   NOTE 2 – It must be noticed that the terminal receiving the X signal can locate the last frame with the bit "x"
   of the HDLC control field (set to "1").
   Example with a DEC received improperly (the same principles apply for a corrupted DES, DER
   or DTR signal)

   -------------------->
   DEC
   9 frames                                 <--------------------
                                            DNK with FIF 2 octets long:
                                Bit No.     0123     4567      01234567
                                            xxxx     xxx0      10101111

                                            first octet for TCF rejection (see explanation
                                            further)
                                            frames 0, 2, 4, 5 and 6 improperly received
                                            frames 7 and 8 not received
                                            (the last bit "1" is only for octet alignment)
   -------------------->
   DEC
   frames 0, 2, 4, 5, 6, 7                  <--------------------
   and 8
                                            DNK with FIF 3 octets long:
                                Bit No.     0123     4567      01234567     01234567
                                            xxxx     xxx0      10000000     01111111

                                            only frame 0 improperly received
   -------------------->
   DEC
   frame 0                                  <--------------------
                                            frame correctly received
                                            normal response = implicit acknowledgement
                                            (depends on the context)
   H.6.1.2.3.3        Maximum time for retransmissions of signal X upon DNK occurrences
   Concerning the retransmission of the signal X upon DNK occurrences, the "fail-safe" timer called
   Tx is defined.
   –       The fail-safe timer Tx is defined as follows:
            Tx = 60 s ± 5 s.
   –        At the transmitter of the signal X, the timer Tx is started at the time of the first DNK
            recognition and is stopped at the time of the normal response recognition or FNV.
   –        If the timer Tx has expired, the transmitter of the signal X sends a DCN command for call
            release.




                                                                           ITU-T Rec. T.30 (09/2005)          241
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2400 Filed 01/18/22 Page 276 of 715


   H.6.1.2.3.4        Specific rejection by DNK
   The left-most bit of the first octet of the FIF of DNK (numbered "No. 0" in Table H.2) is used for
   rejection of TCF (TCF corrupted); this is the equivalent role of FTT in normal T.30.
   The TCF rejection defined in Table H.2 cannot be combined with the indication of frames X
   received in error as defined in H.6.1.2.3.2.
   The process of rejection is sequential as follows:
   1)     First all the corrupted frames of the DEC (or DES, or DER or DTR) are requested by the
          DNK. The bit No. 7 and bit No. 0 of the first DNK octet are set to "0" (bit No. 0
          meaningless at this stage).
   2)     Once all the frames have been corrected, the content of the DEC (or DES, or DER or DTR)
          may be rejected by FNV if necessary (see further);
          or if the content of DEC is correct and in case of the TCF following the DEC is corrupted,
          the TCF is rejected by the first octet of DNK.

                    Table H.2/T.30 – "Specific rejection by first octet of FIF of DNK"
                                                                        Coding of the first octet of
                           Specific rejection
                                                                              FIF of DNK
         TCF corrupted                                            Bit No.   0   1   2   3   4   5   6   7
         (equivalent of FTT in normal mode)                                 1   x   x   x   x   x   x   x
         Bits 1 to 6 are reserved for future use.                 Bit No.   0   1   2   3   4   5   6   7
                                                                            x   x   x   x   x   x   x   x
         The bit No. 7 must be set to "1" if all the frames       Bit No.   0   1   2   3   4   5   6   7
         have been correctly received and DNK is sent                       x   x   x   x   x   x   x   1
         only for TCF rejection.
         If bit No. 7 is set to "1", the octets after the first
         one are not sent.

   Precisions:
   –       As specified in this annex, the bits of the FIF of DCS are placed in the first HDLC frame of
           the DEC.
   –       As for the other frames, frame No. 0 of a DEC containing the FIF of DCS is re-emitted only
           when requested by the DNK (if this frame has been improperly received). There is an
           exception to this rule when TCF is rejected: in such a case, frame No. 0 must always be
           sent along with the TCF, see example further.




   242       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2401 Filed 01/18/22 Page 277 of 715


   Example with a DEC followed by TCF

   -------------------->
   DEC 3 frames
   –––––––––––––––>
   TCF                                      <--------------------
                                            DNK with FIF 2 octets long:
                                 Bit No.    01234567      01234567
                                            00000000      01011111

                                            frame 1 improperly received
                                            frames 0 and 2 correctly received
   -------------------->
   DEC 1 frame:
   frame 1
   –––––––––––––––>
   TCF                                      <--------------------
                                            DNK with FIF 1 octet long:
                                 Bit No.    01234567
                                            10000001

                                            frame 1 correctly received
                                            TCF rejection
   -------------------->
   DEC 1 frame:
   frame 0 (contains FIF of
   DCS)
   –––––––––––––––>
   TCF                                      <--------------------
                                            frame 0 correctly received and TCF correct
                                            normal response = implicit acknowledgement
                                            (depends on the context)
   H.6.1.3    Precisions for the use of FNV in Annex H
   FNV defined in 5.3.6.2.13 is used only after the following condition is satisfied:
   –     There is no pending frame of a signal X to be corrected.




                                                                      ITU-T Rec. T.30 (09/2005)   243
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2402 Filed 01/18/22 Page 278 of 715


   Example

   -------------------->
   DEC 3 frames
   –––––––––––––––>
   TCF                                      <--------------------
                                            DNK with FIF 2 octets long:
                                 Bit No.    01234567     01234567
                                            00000000     01011111

                                            frame 1 improperly received
                                            frames 0 and 2 correctly received
   -------------------->
   DEC 1 frame:
   frame 1
   –––––––––––––––>
   TCF                                      <--------------------
                                            frame 1 correctly received
                                            FNV (because error in the parameter content)
   H.6.1.4    Data encoding within the FIFs of the DER, DES, DEC and DTR
   H.6.1.4.1 Supergroups and Groups
   The sequence of the Facsimile Information Fields of DER, DES, DEC and DTR signals is
   structured in Groups and Supergroups.
   Groups are collections of similar or related terminal or session attributes that will often need to be
   negotiated at the same time.
   Supergroups provide an additional hierarchy so that Groups of related attributes may be kept
   together.
   The general sequence of Supergroups and Groups which can be presented in the sequence of
   Facsimile Information Fields of DER, DES, DEC and DTR signals is as follows:
   SG1[G1..G2..G3...]SG2[G1..G2..G3...]...SGn[G1..G2..G3...]
   where SG indicates Supergroups and G indicates Groups.
   Supergroups are identified by Supergroup Tags, called also in this annex "super-tags".
   Supergoups contain Groups identified by Group Tags, called also in this annex simply as "tags".
   A super-tag is followed by the length of the Supergroup it identifies and then by the sequence of the
   Groups of the Supergroup.
   For each Group, the tag which identifies the Group is followed by the length of the Group and then
   by the content of the Group.
   Notations
   –      Within this annex, the content of the Group is called "parameter".
   –      The length of the Group is called "length of the parameter value".
   –      The content of the Group is called "value of the parameter".




   244       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2403 Filed 01/18/22 Page 279 of 715


   H.6.1.4.2 Tag Assignment
   1)      The super-tags are eight bits long.
           An initial tag value of Hex FF indicates an extension of 8 additional bits (may be used in
           future versions of this annex).
   2)      The tags are eight bits long. The extension principle applied is the same as used for super-
           tags.
   H.6.1.4.3 Length of Supergroups – Length of Groups
   The count is in units of octets. The first octet after the super-tag or tag contains the number of octets
   that follow. If the initial count octet is 0, then the two octets following the count octet indicate the
   number of octets to follow.
   Examples: for a 20-octet long parameter value, the length octet will be: "00010100".

   Examples: for a 257-octet long parameter value, the length octets will be:
             "0000 0000 0000 0001 0000 0001".
   The general rule for FIF of DES/DEC/DER/DTR applies: the right-most bit of each octet as printed
   (least significant bit) is the first one transmitted.
   H.6.1.4.4 Encoding rules
   A formal description of the encoding rules for encoding the Facsimile Information Fields of DER,
   DES, DEC and DTR signals follows in Backus-Naur Form (BNF):
   Encoding rules for facsimile tag encoding syntax
   <bit>                        ::=       <0> | <1>
   <octet>                      ::=       <bit><bit><bit><bit><bit><bit><bit><bit>
   <8_bit_tag>                  ::=       <octet>
   <extend_octet>               ::=       {<1><1><1><1><1><1><1><1>}
   <tag>                        ::=       <8_bit_tag> | <extend_octet> | <8_bit_tag><8_bit_tag>
   <parameter_value>            ::=       <octet>{<octet>}
   <count_extend_octet>         ::=       <0><0><0><0><0><0><0><0>
   <parameter_length>           ::=       <octet> | <count_extend_octet><octet><octet>
   <Group>                      ::=       <tag><parameter_length><parameter_value>
   <frame_number>               ::=       <octet>
   <Supergroup_tag>             ::=       <tag>
   <Supergroup_length>          ::=       <parameter_length>
   <Supergroup>                 ::=       <Supergroup_tag><Supergroup_length><Group>{<Group>}
   <Tag_Encoded_Data>           ::=       <Supergroup>{<Supergroup>}
   <FIF>                        ::=       <frame_number><Tag_Encoded_Data>
   NOTE – The Tag_Encoded_Data may extend over multiple frames; see H.6.1.4.6.
   H.6.1.4.5 Description of Backus-Naur Form
   The following provides a description of the Backus-Naur style syntax which is used in H.6.1.4.4.
   Symbol Description of use
   literal A token (or component) is noted by a literal.
   ::=      This is the production assignment operator.
   |        This symbol is used to separate alternative tokens or groups of tokens.
   <>       A non-terminal token is noted by a literal enclosed by the "<" and ">" characters.


                                                                       ITU-T Rec. T.30 (09/2005)        245
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2404 Filed 01/18/22 Page 280 of 715


   []       An optional token or group of tokens is enclosed by the "[" and "]" characters.
   {}       A group of tokens enclosed in "{" and "}" may be repeated 0, 1 or more times.
   H.6.1.4.6 Relationship between FIFs encoding and the structure in HDLC frames
   The formatting in super-tags, tags and parameters as described above is independent of the structure
   in HDLC frames described in H.6.1.1. The series of octets which constitutes the sequence of super-
   tags, tags and corresponding parameters is orderly inserted in the FIF of the HDLC frames: filling
   firstly the FIF of the first frame (frame "0"), then filling the FIF of the second frame (frame "1"),
   etc.
   H.6.1.4.7 Encapsulated Frame Supergroup
   A Supergroup is created which gathers all the Groups which contain the FIF of the following usual
   T.30 frames: DCS, TSI, SUB, SID, DTC, CIG, SEP, PWD, PSA.
   This Supergroup is called "Encapsulated Frame Supergroup".
   The super-tag which identifies this Supergroup is: "0000 0001".
   H.6.1.4.8 The two Supergroups for security
   Two Supergroups are created for security:
   –     one for the registration mode;
   –     another for the secure transmission mode.
   H.6.1.4.9 List of the super-tags
   See Table H.3.

                                   Table H.3/T.30 – List of the super-tags
     Code of the          Name of the
                                                                         Description
      super-tag            super-tag
    0000 0001         Encapsulated Frame       This super-tag is that of the Encapsulated Frame Supergroup
                      (Abbreviation "E-F")     which gathers all the Groups which contain the FIF of usual
                                               T.30 frames.
    0000 0010         Registration mode        This super-tag is that of the Supergroup which gathers all the
                                               Groups transmitted in the registration mode.
    0000 0011         Secure transmission      This super-tag is that of the Supergroup which gathers all the
                      mode                     Groups transmitted in the secure facsimile communication.

   H.6.1.4.10 List of the tags within the Encapsulated Frame Supergroup
   See Table H.4.

            Table H.4/T.30 – List of the tags within the Encapsulated Frame Supergroup
    Code of the tag    Name of the tag                                  Description
    1000 0011         FIF of DCS             This tag delimits the zone where the bits corresponding to the FIF
                                             of the DCS are placed (bits of Table 2).
    0100 0011         FIF of TSI             This tag delimits the zone where the bits corresponding to the FIF
                                             of the TSI are placed (when used).
    1100 0011         FIF of SUB             This tag delimits the zone where the bits corresponding to the FIF
                                             of the SUB are placed (when used).



   246      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2405 Filed 01/18/22 Page 281 of 715




               Table H.4/T.30 – List of the tags within the Encapsulated Frame Supergroup
       Code of the tag    Name of the tag                                 Description
       1010 0011         FIF of SID            This tag delimits the zone where the bits corresponding to the FIF
                                               of the SID are placed (when used).
       1000 0001         FIF of DTC            This tag delimits the zone where the bits corresponding to the FIF
                                               of the DTC are placed (when used).
       0100 0001         FIF of CIG            This tag delimits the zone where the bits corresponding to the FIF
                                               of the CIG are placed (when used).
       1100 0001         FIF of PWD            This tag delimits the zone where the bits corresponding to the FIF
                                               of the PWD are placed (when used).
       1010 0001         FIF of SEP            This tag delimits the zone where the bits corresponding to the FIF
                                               of the SEP are placed (when used).
       0110 0001         FIF of PSA            This tag delimits the zone where the bits corresponding to the FIF
                                               of the PSA are placed (when used).

   H.6.1.4.11 List of tags for security features
   The following tags can be introduced by:
   •          the security super-tags "Registration mode"; or
   •          "Secure transmission mode".
   Some of the parameters are only used at the message level ("security page", see further); they are
   marked by a star character " * " in Table H.5.

                                 Table H.5/T.30 – List of tags for security features
        Code of tag                Name of the tag                                Description
       0001 0001            S                              Sender's identity
       0001 0010            Sp                             Sender's public key
       0001 0011            Ss                             Sender's secret key
       0001 0100            SpE                            Encipherment Sender's public key
       0001 0101            SsE                            Encipherment Sender's secret key
       0001 0110            R                              Recipient's identity
       0001 0111            Rp                             Recipient's public key
       0001 1000            Rs                             Recipient's secret key
       0001 1001            RpE                            Encipherment Recipient's public key
       0001 1010            RsE                            Encipherment Recipient's secret key
       0001 1011                                           Random number created respectively
                            Sra                            – created by the sender authentication of the
                                                             recipient
                            Srd                            – created by the sender for the digital signature
                                                           – created by the recipient for the authentication of
                            Rra
                                                             the sender
       0001 1100            BE = RpE[S, Ks]                Sender identity and Session key encrypted by RpE
       0001 1101            UTCd                           Date/time chosen by the sender (date/time of the
                                                           generation/signature of the document)


                                                                               ITU-T Rec. T.30 (09/2005)      247
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2406 Filed 01/18/22 Page 282 of 715




                            Table H.5/T.30 – List of tags for security features
     Code of tag               Name of the tag                               Description
   0001 1110             UTCr                           Date/time chosen by the recipient (date/time of the
                                                        confirmation of message receipt)
   0001 1111             Lm                             Length of the document
   0010 0000             Token 2 =                      Token used for authentication of the sender when the
                         Ss[h(Sra, Rra, R), Sia]        [Message confidentiality + Session Key
                                                        establishment] service has not been invoked
   0010 0001             Token 2-enc. =                 Token used for authentication of the sender when the
                         Ss[h(Sra, Rra, R, BE), Sia]    [Message confidentiality + Session Key
                                                        establishment] service has been invoked
   0010 0010             Token 3 =                      Token used for authentication of the recipient
                         Rs[h(Rra, Sra, S), Ria]
   0010 0011             Token 4 =                      Token used for providing the message integrity when
                         Ss[h(Srd, UTCd, Lm, R,         the [Message confidentiality + Session Key
                         h(document)), Sis]             establishment] has not been invoked
   0010 0100             Token 4-enc. =                 Token used for providing the message integrity when
                         Ss[h(Srd, UTCd, Lm, R,         the [Message confidentiality + Session Key
                         BE, h(enc.document)), Sis]     establishment] has been invoked
   0010 0101             Token 5 =                      Token used for confirmation of message receipt
                         Rs[h(Srd, UTCr, Lm, S,         when the [Message confidentiality + Session Key
                         h(document)), Ris]             establishment] service has not been invoked
   0010 0110             Token 5-enc. =                 Token used for confirmation of message receipt
                         Rs[h(Srd, UTCr, Lm, S,         when the [Message confidentiality + Session Key
                         BE, h(enc.document)), Ris]     establishment] service has been invoked
   0010 0111             Security services              Security services
   0010 1000             Security mechanisms            Key management mechanisms, hash functions,
                                                        encipherment algorithms
   0010 1001             Optional lengths capability    Optional lengths capability
   0010 1010             Request of security            By use of this tag (and the relevant parameter), the
                         capabilities                   terminal requests the remote terminal for the
                                                        indication of its security capabilities
   0010 1011             Acknowledgement                Acknowledgement used in registration mode
   0010 1100         *   Security-page-indicator        Indicates the page where the security page is
   0010 1101         *   Security-Page-Type-            Indicates the version number of the security page.
                         Identification                 In future versions of this annex, other types of
                                                        security pages may be allowed, there will be given
                                                        other version numbers
   0010 1110         *   Certification path             Certification path
   0010 1111             Unstandardized features        Unstandardized features
   NOTE – The optional tag "Unstandardized features" may be used on the basis of recognition of
   identification codes in the NSF. The information contained in the initial octets of the "Unstandardized
   features" parameter value shall be consistent with the identification rules defined in 5.3.6.2.7
   (Non-standard capabilities NSF, NSC, NSS).




   248      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2407 Filed 01/18/22 Page 283 of 715


   H.6.1.4.12 Order of super-tags and tags
   In the sequence of super-tags, tags and parameters values, the order is the following:
   –        encapsulated Frame Supergroup is transmitted before the security Supergroups;
   –        within each Supergroup, the order of tags is unfixed, except that:
            • within the Encapsulated Frame Supergroup, the Tag "FIF of DCS" must be the first
                transmitted (if present); that is for easiness in case of re-emission after TCF rejected
                [the data field of the first DEC frame which contains (and only contains) "FIF of DCS"
                is shorter than 64 octets];
   –        within each sequence of tags (and parameters values) introduced by security super-tags, the
            order of tags is unfixed.
   H.6.1.4.13 Coding of the "Security services" parameter
   Table H.6 gives the coding of the parameter value which follows the tag "Security services" and the
   relevant length octet.
   The length octet is "0000 0001" (the parameter is only one octet long). In future versions of this
   annex, the parameter may be longer.

                              Table H.6/T.30 – "Security services" parameter
              Security services                    Status                     Coding of the field
    Mutual authentication                    Mandatory           Bit No.      7 6 5 4 3 2 1 0
                                                                              x x x x x x x x
                                                                 No necessity of bit assignment because
                                                                 mandatory
    Security service which includes:         Optional            Bit No.      7 6 5 4 3 2 1 0
    • Mutual authentication                                                   x x x x x x x 1

    • Message integrity
    • Confirmation of message receipt
    Security service which includes:         Optional            Bit No.      7 6 5 4 3 2 1 0
    • Mutual authentication                                                   x x x x x x 1 x

    • Message confidentiality
      (encryption)
    • Session Key establishment
    Security service which includes:         Optional            Bit No.      7 6 5 4 3 2 1 0
    • Mutual authentication                                                   x x x x x x 1 1

    • Message integrity
    • Confirmation of message receipt
    • Message confidentiality
      (encryption)
    • Session Key establishment
    NOTE 1 – Registration service does not need bit allocation because it is mandatory.
    NOTE 2 – If no optional service, the bit allocation is "0000 0000".
    NOTE 3 – If the security service "Mutual authentication" is only selected by the sender (for Secure
    facsimile transmission mode), the "Security services" parameter is not sent (because "Mutual
    authentication" is the basic service).




                                                                          ITU-T Rec. T.30 (09/2005)       249
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2408 Filed 01/18/22 Page 284 of 715


   The four sets of services as described in Table H.6 can be depicted in Table H.7 where 4 profiles of
   services can be identified:

                                Table H.7/T.30 – Security profiles in Annex H
                                                                      Service profiles
                       Security services
                                                             1            2           3               4
           Mutual authentication                             X            X           X               X
           • Message integrity                                            X                           X
           • Confirmation of message receipt
           • Message confidentiality (encryption)                                     X               X
           • Session Key establishment

   H.6.1.4.14 Coding of the "Security mechanisms" parameter
   Table H.8 gives the coding of the parameter value which follows the tag "Security mechanisms"
   and the relevant length octet.

                            Table H.8/T.30 – "Security mechanisms" parameter
                 Mechanisms                         Status                    Coding of the field
    Version of the security system             Mandatory         Bit No.      7 6 5 4 3 2 1 0
                                                                              x x x x x x 0 0
                                                                 (Note)
    SHA-1                                      Optional          Bit No.      7 6 5 4 3 2 1 0
    (hash function)                                                           x x x x x 1 x x
    MD-5                                       Optional          Bit No.      7 6 5 4 3 2 1 0
    (hash function)                                                           x x x x 1 x x x
    Security page                              Optional          Bit No.      7   6   5   4   3   2   1   0
                                                                              x   x   x   1   x   x   x   x
    SAFER K-64                                 Optional          Bit No.      7   6   5   4   3   2   1   0
    (encipherment algorithm)                                                  x   x   1   x   x   x   x   x
    FEAL-32                                    Optional          Bit No.      7 6 5 4 3 2 1 0
    (encipherment algorithm)                                                  x 1 x x x x x x
    RC5                                        Optional          Bit No.      7 6 5 4 3 2 1 0
    (encipherment algorithm)                                                  1 x x x x x x x
    Second octet                               Optional
    IDEA                                       Optional          Bit No.      7 6 5 4 3 2 1 0
    (encipherment algorithm)                                                  x x x x x x x 1
    HFX40                                      Optional          Bit No.      7   6   5   4   3   2   1   0
                                                                              x   x   x   x   x   x   1   x
    DSA                                        Optional          Bit No.      7   6   5   4   3   2   1   0
    (key management)                                                          x   x   x   x   x   1   x   x
    Bits 3 to 7 reserved for future use (set                     Bit No.      7 6 5 4 3 2 1 0
    to "0")                                                                   x x x x x x x x
    ...                                        Optional          Bit No.      7   6   5   4   3   2   1   0
                                                                              x   x   x   x   x   x   x   x
    Last octet                                 Optional          Bit No.      7   6   5   4   3   2   1   0
                                                                              x   x   x   x   x   x   x   x


   250       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2409 Filed 01/18/22 Page 285 of 715




                           Table H.8/T.30 – "Security mechanisms" parameter
    NOTE – As new versions of Annex H security system are introduced, backward compatibility should be
    maintained.
    The second octet is optional.
    The octets from the third one to the last one are also optional octets. They may be absent.
    Each of these octets codes an optional encipherment algorithm available in the receiving terminal. The
    octet is the number of one encipherment algorithm registered in the entry index of Attachment 2 of
    ISO/IEC 9979 (Procedure for registering cryptographic algorithms); this number is binary coded (e.g.,
    "0000 0000" for the entry No. 00).
    When the emitting terminal selects the mechanisms, the "Security mechanisms" parameter is usually only
    one or two octets long. The third octet is only necessary in case of selection of an encipherment algorithm
    registered in ISO/IEC 9979 and which is not SAFER K-64, nor FEAL-32, nor RC5, nor IDEA, nor
    HFX40 (the third octet indicates the algorithm selected).

   The length octet depends on the number of optional encipherment algorithms which are indicated
   (see Table H.8).
   For the negotiation:
   –       if requested by the emitting terminal, the receiving terminal indicates the security
           mechanisms it supports in sending the "Security mechanisms" parameter;
   –       the emitting terminal selects the security mechanisms for the session: one hash function,
           one (or none) encipherment algorithm.
   In the "security page" (see further), the "Security mechanisms" parameter indicates also the security
   mechanisms which have been selected for the session.
   H.6.1.4.15 Coding of the "Optional lengths capability" parameter
   H.6.1.4.15.1      Principle
   For indication of the optional lengths capabilities, the "Optional lengths capability" tag, length octet
   and corresponding parameter value are sent.
   H.6.1.4.15.2      Coding of the parameter "Optional lengths capability"
   For coding the parameter, the following principles are defined:
   –       Offsets permit to indicate the maximal lengths which can be processed by the terminal.
           These offsets are binary coded on 4 bits or 8 bits depending on the parameter which is
           concerned.
   –       These offsets are used on a specific order:

                      7          6              5   4        3         2               1   0      Octets
                                     offset a                               offset b              0
                                     offset c                              reserved               1

   First, the octet No. 0 which contains:
   –        firstly the offset "a" (4 bits) for indication of the maximum length of Public and Secret keys
            accepted;
   –        then the offset "b" (4 bits) for indication of the length of the Random numbers accepted
            (Sra, Srd, Rra).




                                                                             ITU-T Rec. T.30 (09/2005)       251
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2410 Filed 01/18/22 Page 286 of 715


   Then, the octet No. 1 (optional) which contains:
   –       the offset "c" (4 bits) for indication of the maximum length of Encipherment Public and
           Encipherment Secret keys accepted.
   Therefore, the length octet of the "Optional lengths capability" parameter is either "0000 0001" (one
   octet long if the [Message confidentiality + Session Key establishment] service is not offered) or
   "0000 0010" (two octets if the [Message confidentiality + Session Key establishment] service is
   offered). In future versions of this annex, the parameter may be longer.
   H.6.1.4.15.3       Rules for using the offsets
   Maximum length (in octets) of the Public and Secret keys =
                                    64 (basic length) + ([offset a] × 16) octets
                                    with 0 ” offset a ” 4                       octets
   The terminal must be capable to handle all the lengths between the basic length and the maximum
   length, by 16-octet increments.
   Maximum length (in octets) of Random numbers =
                                        8 (basic length) + [offset b]           octets
                                        with 0 ” offset b ” 8                   octets
   The terminal must be capable to handle all the lengths between the basic length and the maximum
   length.
   Maximum length (in octets) of the Encipherment Public and Encipherment Secret keys =
                                    64 (basic length) + ([offset c] × 16) octets
                                    with 0 ” offset c ” 4                       octets
   The terminal must be capable to handle all the lengths between the basic length and the maximum
   length, by 16-octet increments.
   H.6.1.4.15.4       Examples
   Example 1

                  7       6         5         4        3        2           1            0   Octets
                  0       0         0         1        0        0           0            0   0
                  0       0         0         1        0        0           0            0   1

   In this example:
   –     Maximum length of Public and = 64 + 16 × 1                     = 80 octets
         Secret key
   –     Maximum      length   of     Random = 8 + 0                    = 8 octets (no optional lengths
         numbers                                                          supported)
   –     Maximum length of Encipherment
         Public and Encipherment Secret = 64 + 16 × 1                   = 80 octets
         key
   Example 2

                  7       6         5         4        3        2           1            0   Octet
                  0       0         0         0        0        0           0            0   0

   In this example, the terminal indicates the only basic capabilities.


   252       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2411 Filed 01/18/22 Page 287 of 715


   H.6.1.4.16 Coding of the "Request of security capabilities" parameter
   By use of this tag (and the relevant parameter), the terminal requests the remote terminal for the
   indication of its security capabilities. See Table H.9.

   The length octet is "0000 0001" (the parameter is only one octet long). In future versions of this
   annex, the parameter may be longer.


                     Table H.9/T.30 – "Request of security capabilities" parameter
        Capabilities indication requested            Status                  Coding of the field
     Request of the "Security services"          Optional        Bit No.       7   6   5   4   3   2   1   0
                                                                               x   x   x   x   x   x   x   1
     Request of the "Security mechanisms"        Optional        Bit No.       7   6   5   4   3   2   1   0
                                                                               x   x   x   x   x   x   1   x
     Request of "Optional lengths capability"    Optional        Bit No.       7   6   5   4   3   2   1   0
                                                                               x   x   x   x   x   1   x   x
     Request of "Unstandardized features"        Optional        Bit No.       7   6   5   4   3   2   1   0
                                                                               x   x   x   x   1   x   x   x
     NOTE – If the "Request of security capabilities" parameter is used, at least one bit must be set to "1"
     (otherwise, there is no purpose of using this parameter for the session).

   H.6.2     Registration mode
   H.6.2.1     Scheme
   The scheme is described in Figure H.3. It comprises of two steps:
   –      Step one
          [The identity of the sender and its public key are hashed by the sending terminal.
          The identity of the recipient and its public key are hashed by the receiving terminal].
          OR/AND
          [(The identity of the sender and its encipherment public key are hashed by the sending
          terminal).
          OR/AND
          (The identity of the recipient and its encipherment public key is hashed by the receiving
          terminal)].
          These hash results are exchanged out-of-band (direct hand-to-hand, by mail, by phone, etc.)
          and stored in the terminals.
   –      Step two
          Exchange, by T.30 protocol means, of the identities and the public keys between the two
          parties. Storage in the terminals.
   The order of the two steps is not fixed.
   The validity of the identity and the public key(s) of the other party is assessed in comparing the
   hash result exchanged out-of-band with the hash result of the identity and public key(s) received
   through the protocol.




                                                                           ITU-T Rec. T.30 (09/2005)           253
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2412 Filed 01/18/22 Page 288 of 715


   Once validated, these values [identity and public key(s) of the remote party] are stored in the
   terminals and are used for the further secure facsimile communications with this party.
   The registration of either the public keys or the encipherment public keys or both is fixed by
   agreement between the users of the two terminals. For the encipherment public keys, the
   registration may concern only one user or both.
   Settings of the terminals for the relevant registrations is a local matter.
   Exchange of the hash results out-of-band and storage in the terminals.

               SENDER (S)                                                                                                    RECEIVER (R)
      S            Sp     Ss                                                                                           R          Rp   Rs

           Hash                                                                                                               Hash
                ↓                                                 h(S, Sp) and h(R, Rp)                                      ↓
                                           are exchanged out-of-band and stored in the memory of the
                                                                         terminals
               <---------------------- -----------------------------------------------------------------------------   ------->

      Instead of or in addition to [S, Sp, h(S, Sp)] and [R, Rp, h(R, Rp)], the above operation may concern [S, SpE, h(S, SpE)]
      and/or [R, RpE, h(R, RpE)]:

               SENDER (S)                                                  and/or                                            RECEIVER (R)
      S            SpE   SsE                                                                                           R         RpE   RsE

           Hash                                                                                                               Hash
               ↓                                             h(S, SpE) and/or h(R, RpE)                                           ↓
                                              are exchanged out-of-band and stored in the memory
                                                                    of the terminals
               <--------------------- -----------------------------------------------------------------------------    ------->

      T.30 call establishment, exchange of identities and public keys through T.30 protocol.

               SENDER (S)                                                                                                    RECEIVER (R)
                                                                      T.30 protocol
           (S            Sp) -------- -----------------------------------------------------------------------------    -------->
                                                                                                                       stored in the memory of the
                                                                                                                       terminal
         <------------------------- -----------------------------------------------------------------------------      -------- (R        Rp)
      stored in the memory of
      the terminal
      Instead of or in addition to [S, Sp] and [R, Rp], the above operation may concern [S, SpE] and/or [R, RpE]:

               SENDER (S)                                                and/or                                              RECEIVER (R)
                                                                     T.30 protocol
          (S           SpE) -------- -----------------------------------------------------------------------------     -------->
                                                                                                                       stored in the memory of the
                                                                                                                       terminal
         <------------------------- -----------------------------------------------------------------------------      -------- (R        RpE)
      stored in the memory of
      the terminal

                                           Figure H.3/T.30 – Scheme of registration mode




   254             ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2413 Filed 01/18/22 Page 289 of 715


   H.6.2.2    Use of DER, DES and DEC for registration mode
   In the second step of the registration mode, the signals DER, DES, DEC are used as in Figure H.4.

                        Calling side                                                     Called side
                                             -------------------CNG------------------------->      G (Note)
                                             <------------------CED-------------------------       G

                                             <-----------(NSF)-(CSI)-DIS-----------------
                                             -----------DER-----(phase 0)------------------>     G Optional

                                               <-----------DER-----(phase 1)-----------------   G
                                               -----DER contains [S and Sp] (phase 2)---->
                                               <---DES contains [R and Rp] (phase 3)------
                                               -----DEC (acknowledgement) (phase 4)---->
                                               <---DES (acknowledgement) (phase 5)------
                                               -------------------DCN------------------------->
                 NOTE – The call establishment CNG/CED which is depicted in the figure is given for example.
                 The other operating methods defined in 3.1 may take place as well.
                 Instead of or in addition to respectively Sp and Rp, the above operation may concern SpE
                 and/or RpE.
                 The timers used for the signals exchange above are the same ones as those for the standard
                 T.30 protocol (T1, T2, T4, ...). Upon no response after timer T4, the command from the emitting
                 side (DER, DEC or DNK) is resent (for DER and DEC, only the frames not yet acknowledged).

                        Figure H.4/T.30 – Signals exchange for registration mode

   H.6.2.3    Bits allocation in the DIS
   The bits allocation in the FIF of the DIS to indicate the security capabilities based on the RSA
   algorithm is given in Table 2. Bit No. 82 is used.
   H.6.2.4    Format of the Facsimile Information Fields of DER, DES and DEC for registration
              mode
   Convention
   In the figures of this annex, when the tag (and the relevant length octet and parameter value) is
   represented in grey boxes, its use is optional.
   When represented in white boxes, its use is mandatory.
   H.6.2.4.1 Phase 0 OPTIONAL
   If the calling side does not wish to use optional capabilities, phase 0 is optional; registration mode is
   carried on with the basic features (Sp, Rp are 64 octets long, no exchange of Encipherment public
   keys).




                                                                                        ITU-T Rec. T.30 (09/2005)   255
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2414 Filed 01/18/22 Page 290 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2415 Filed 01/18/22 Page 291 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2416 Filed 01/18/22 Page 292 of 715


   H.6.2.4.5 Phase 4
   The sequence contained in the FIF of the DEC is:

    Super-tag         Length of    Tag                 Length octet
    "Registration     Supergroup   "Acknowledgement"   "0000 0000"
    mode"

   If the calling terminal can find that the R and Rp parameters (and/or [R, RpE]) do not conform with
   the hash value stored (in case of exchange of hash values out-of-band already made, see H.6.2.1), it
   can reject them by the signal FNV.
   The reason of the error in FNV is "Registration error for public key" or "Registration error for
   encipherment public key", see Table H.10.
   The use of FNV for such an error indication is explained in H.6.7.
   H.6.2.4.6 Phase 5
   The sequence contained in the FIF of the DES is:

   Super-tag          Length of    Tag                  Length octet
   "Registration      Supergroup   "Acknowledgement"    "0000 0000"
   mode"

   H.6.3     Secure facsimile transmission mode
   This mode consists in the transmission of the facsimile document with security features.
   Security parameters are transmitted within protocol elements (phases B and D of the T.30 protocol).
   As an option, some security parameters are transmitted at the message level (at the message speed,
   phase C of T.30 protocol): within a special page called "the security page".
   H.6.3.1         Scheme
   See Figure H.5.




   258         ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2417 Filed 01/18/22 Page 293 of 715


     SENDER (S)                                                                                                        RECEIVER (R)
                             T.30 call establishment
                             ------------------------------------------phase 0--------------------------------------   -------->
                                                                               Request of security capabilities
                                                                                    Optional lengths capability
                                                                                                     of the sender
     <--------------------   ------------------------------------------phase 1--------------------------------------
                                                                                           Receiver capabilities:
                                                                                                 Security services
                                                                                            Security mechanisms
                                                                                    Optional lengths capability
                                                                                                                Rra
     (S, Sra, R, BE          ------------------------------------------phase 2--------------------------------------   -------->
     Ss[h(Sra, Rra, R,       + choice of security features:
     BE),                    Security services
     Sia])                   Security mechanisms

     (Note 1)
     <--------------------   ------------------------------------------phase 3--------------------------------------   (R, Rra,
                                                                                                                       Rs[h(Rra, Sra, S), Ria])
                             ----------------------------------Facsimile document-------------------------------       -------->
                             -----------------------------------optional phase 4-----------------------------------    -------->
                                                                                                                       (Note 2)
                            Signal containing the digital signature:
                            Srd, UTCd, Lm,                                                                             (Note 3)
     (Note 1)               Ss[h(Srd, UTCd, Lm, R, BE, h(enc.document)), Sis]
     <-------------------- ------------------------------------optional phase 5----------------------------------      (Note 2)
                            Confirmation of message receipt
                            containing:
                            UTCr, Rs[h(Srd, UTCr, Lm, S, BE, h(enc.document)), Ris]                                    (Note 1)
     Italicized characters indicate optional features.

     NOTE 1 – BE (= RpE[S, Ks]) exists in the various tokens only if the service [Message confidentiality + Session Key
     establishment] has been negotiated between the two parties (with the "Security services" parameter).
     NOTE 2 – Phases 4 and 5 exist only if the service [Message integrity + Confirmation of message receipt] has been
     negotiated between the two parties (with the "Security services" parameter).
     NOTE 3 – Additional parameters are present if the security page is used at phase 4.

                       Figure H.5/T.30 – Scheme of secure facsimile transmission mode




                                                                                                    ITU-T Rec. T.30 (09/2005)                     259
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2418 Filed 01/18/22 Page 294 of 715


   H.6.3.2      Use of DER, DES and DEC for secure facsimile transmission mode
   H.6.3.2.1 General scheme for secure facsimile transmission mode
   For the secure facsimile transmission mode, the signals DER, DES and DEC are used as in
   Figure H.6.

         Calling side                                                                                           Called side
                                        ---------------------------CNG--------------------------->           G (Note 1)
                                        <--------------------------CED-----------------------------          G
                                        <------------------(NSF)-(CSI)-DIS---------------------
                                        -------------------DER-----(phase 0)------------------->
                                         <------------------DES-----(phase 1)-------------------
                                         ---------------------------TNR-------------------------->           G (Note 2)
                                         <---------------------------TR----------------------------          G
                                         ----------------------DEC-----(phase 2)-------------->
                                                                  TCF                           >
                                         <---------------------------RNR--------------------------           G (Note 3)
                                         -----------------------------RR-------------------------->          G
                                         <---------------------DES-----(phase 3)----------------

                                                                                           ------>
                                                   Facsimile data                          ------>
                                                                                           ------>

                         ---PPS-PSS if phases 4 and 5 are present, PPS-EOP or PPS-EOM otherwise--->
                                       <---------------------------MCF----------------------------

                                                                                           ------>           G (Note 4)
                                        Optional phase 4, see Figure H.7/T.30              ------>           G
                                                                                           ------>           G

                                            <---------------------------RNR--------------------------           G (Note 3)
                                            -----------------------------RR-------------------------->          G
                                           <--Optional phase 5---MCF appended with octets--                     G (Note 4)
                                           -----------------------------DCN-------------------------->
      The timers used for the signals exchange above are the same ones as those for the standard T.30 protocol and Annex A (T1,
      T2, T4, T5, ...). Upon no response after timer T4, the command from the emitting side (DER, DEC or DNK) is resent (for
      DER and DEC, only the frames not yet acknowledged).
      NOTE 1 – The call establishment CNG/CED which is depicted in the figure is given for example. The other operating
      methods defined in 3.1 may take place as well.
      NOTE 2 – The use of TNR and TR is exactly the same one as the use of RNR/RR but concerns the emitting terminal instead
      of the receiving terminal. Some optional occurrences of the TNR-TR exchange can permit to the emitting terminal to hold
      off the receiving terminal during a maximum time of T5 (see Annex A).
      NOTE 3 – Some optional occurrences of the RNR-RR exchange (already defined in Annex A) can permit to the receiving
      terminal to hold off the emitting terminal during a maximum time of T5 (see Annex A).
      NOTE 4 – Phases 4 and 5 exist only if the service [Message integrity + Confirmation of message receipt] has been
      negotiated between the two parties (with the "Security services" parameter).

                Figure H.6/T.30 – Signals exchange for secure facsimile transmission mode
                               Example for a one facsimile page document




   260         ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2419 Filed 01/18/22 Page 295 of 715


   H.6.3.2.2 Phase 4
   When phase 4 (and then phase 5) is present, two cases exist depending on whether the security page
   capability has been negotiated between the two parties or not:
   Case 1 – When both machines (emitting and receiving) provide the security page capability and the
   [Message integrity + Confirmation of message receipt] service is invoked, the security page
   solution (case 1) must be used.
   Case 2 – When one of the two machines does not provide the security page capability and the
   [Message integrity + Confirmation of message receipt] service is invoked, the solution of PPS-EOP
   or PPS-EOM appended (case 2) must be used.
   PPS-EOM (not appended in case 1, appended in case 2) is used if the communication is to be
   continued by another document.
   PPS-EOP (not appended in case 1, appended in case 2) is used in the common case, with only one
   facsimile document during the communication.

      Case 1:         the [Message integrity + Confirmation of message receipt] service has been invoked and the security
                      page is used

                                                      Security page               ------>
                                                                                  ------>

                                     ----------------PPS-EOP or PPS-EOM-------------------->
      Case 2:         the [Message integrity + Confirmation of message receipt] service has been invoked and the security
                      page is not used
                                     -----PPS-EOP or PPS-EOM appended with octets----->

                                Figure H.7/T.30 – Signals exchange in phase 4

   H.6.3.3      Bits allocation in the DIS
   The bits allocation in the FIF of the DIS to indicate the security capabilities based on the RSA
   algorithm is given in Table 2. Bit No. 82 is used.
   The DCS is not emitted in the context of Annex H; FIF of DCS is included within the new signal
   "DEC" where the corresponding bit No. 82 must be set to "1".




                                                                                  ITU-T Rec. T.30 (09/2005)                 261
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2420 Filed 01/18/22 Page 296 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2421 Filed 01/18/22 Page 297 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2422 Filed 01/18/22 Page 298 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2423 Filed 01/18/22 Page 299 of 715


   H.6.3.5     Precisions for use of PPS-EOM within a secure document
   Within the sequence of partial pages which constitute one secure document, the use of PPS-EOM is
   allowed (e.g., for changing the image resolution). The procedure after PPS-EOM is quite close as in
   Annex A:


                                   ------------------------PPS-EOM----------------------->
                                   <--------------------------MCF---------------------------
                                                                               T2 elapsed
                                   <-------------------(NSF)-(CSI)-DIS-------------------
                                   --------------DEC (with FIF DCS)------------------->
                                   FFFFFFFFTCFFFFFFFFFFFFFF>


   In such a case, for setting the transmission of the remaining pages of the document, the DEC must
   contain the FIF of DCS [with the relevant bit(s) for security set to "1", as in phase 2]. The security
   parameters sent in phase 2 are not included in the DEC at this stage; they are valid throughout the
   transmission of the document.
   H.6.4     At the message level: Security page
   The use of the security page is defined in case 1 of Figure H.7.
   When both machines (emitting and receiving) provide the security page capability and the [Message
   integrity + Confirmation of message receipt] service is invoked, the security page solution must be
   used.
   H.6.4.1     Content of the security page
   The "security page" contains the following security parameters defined in Tables H.1 and H.5:
   Security-page-indicator            :    Indicates that the block contains the security page.
   S                                  :    Identity of the sender.
   Sp                                 :    Public Key of the sender.
   R                                  :    Identity of the recipient.
   Srd                                :    Random number created by the sender for the digital signature.
   UTCd                               :    Date/time chosen by the sender (date/time of the
                                           generation/signature of the document).
   Lm                                 :    Length of the document.
   "Security services" parameter      :    See definition in Table H.6.
   "Security mechanisms"              :    See definition in Table H.8.
   parameter
   BE                                 :    RpE[S, Ks].
   Token 4 or Token 4-enc.            :    See definition in Table H.5.
   Security-Page-Type-                :    Indicates the version number of the security page. In future
   Identification                          versions of this annex, other types of security pages may be
                                           allowed, they will be given other version numbers.
   Certification path                 :    Certificate of the public key of the sender. The precise definition
                                           of the certification path is for further study.
   Unstandardized features            :    Unstandardized features.


                                                                                        ITU-T Rec. T.30 (09/2005)   265
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2424 Filed 01/18/22 Page 300 of 715


   The bit order transmission within the security page follows the same rules as defined for FIF of
   DES/DEC/DER/DTR in H.4.8.2 and specified in Table H.1.
   H.6.4.1.1 Coding of the "Security-page-indicator" parameter
   This tag (and the relevant parameter) indicates that the block contains the security page.
   The length octet is "0000 1000" (8 octets).
   The content is (in hexadecimal):
                              0x01 0x23 0x45 0x67 0x89 0xAB 0xCD 0xEF
   H.6.4.1.2 Coding of the "Security-Page-Type-Identification" parameter
   This parameter is optional in the security page.
   The length octet is "0000 0001" (1 octet).
   The content is the version number of the security page. In this version of this annex, only one
   version of the security page exists, the version number is: 0x00.
   H.6.4.2    Format of the security page
   The security page has exactly the same kind of format as the sequences within the DER, DES, DEC
   and DTR signals (super-tags, tags and parameters values), except that in this case, the sequence is
   not placed in the series of FIF of DER, DES, DEC or DTR, but in the ECM frames.
   Within the sequence of tags introduced by the super-tag, the order is unfixed, except the Security-
   page-indicator which is the first one.




   266       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2425 Filed 01/18/22 Page 301 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2426 Filed 01/18/22 Page 302 of 715


              First page
              First block:                            FFFFFFFFFFFFFFFFFFFFFFFFFFFFF
              First frame FIF    : frame number   G   first data octet . . . . last octet of FIF G
              Second frame FIF   : frame number   G   first data octet . . . . last octet of FIF G
              ...                                 G                                              G
              Last frame FIF     : frame number   G   first data octet . . . . last octet of FIF G
              Second block:                       G                                              G
              First frame FIF    : frame number   G   first data octet . . . . last octet of FIF G
              Second frame FIF   : frame number   G   first data octet . . . . last octet of FIF G
              ...                                 G                                              G
              Last frame FIF     : frame number   G   first data octet . . . . last octet of FIF G
              ...                                 G                                              G
              ...                                 G                                              G
              ...                                 G                                              G
              Last block:                         G                                              G
              First frame FIF    : frame number   G   first data octet . . . . last octet of FIF G
              Second frame FIF   : frame number   G   first data octet . . . . last octet of FIF G
              ...                                 G                                              G
              Last frame FIF     : frame number   G   first data octet . . . . last octet of FIF G
              Second page                         G                                              G
              ...                                 G                                              G
              ...                                 G                                              G
              ...                                 G                                              G
              Last page                           G                                              G
              ...                                 G                                              G
              ...                                 G                                              G
              Last block:                         G                                              G
              First frame FIF    : frame number   G   first data octet . . . . last octet of FIF G
              Second frame FIF   : frame number   G   first data octet . . . . last octet of FIF G
              ...                                 G                                              G
              Last frame FIF     : frame number   G   first data octet . . . . last octet of FIF G
                                                      FFFFFFFFFFFFFFFFFFFFFFFFFFFFF


                             Figure H.8/T.30 – Rules for hashing the document

   H.6.5.2     Rules for enciphering the document
   The data of the document which will be encrypted are the octets contained in the FIF of the
   ECM data frames except the first octet of each frame (which is the frame number).
   The input bit order to the encryption function is the same order as the one when the facsimile data
   are transmitted over the line without encryption.
   NOTE – For FEAL-32, these data are aligned every 64 bits in order from the left to the right and are input to
   FEAL-32 function.
   Every 64 bits of the encrypted data from FEAL-32 function are aligned in order from the left to the right, and
   the left-most bit is transmitted first.
   H.6.6     Secure polling mode
   H.6.6.1     Simple polling
   The use and the coding of the signals in the secure polling mode follows the same rules as for the
   secure facsimile transmission mode.




   268        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2427 Filed 01/18/22 Page 303 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2428 Filed 01/18/22 Page 304 of 715


   H.6.6.2     Turnaround polling
   In case of turnaround polling, after DIS received, the sequence of phases (00, 0, 1, 2, 3 and 4) takes
   place exactly as for simple polling.

                                    document emission =====>                      G
                  ------------------------PPS-EOM---------------------->          G (Note)
                  <--------------------------MCF--------------------------
                                                                                  T2 time-out
                  <-------------------(NSF)-(CSI)-DIS-------------------
                  --------------------DTR-----(phase 00)--------------->
                             the rest is the same as for simple polling
   NOTE – If the document sent before the turnaround polling is sent with secure facsimile transmission mode,
   the rules in H.6.3.2 apply: if phases 4 and 5 are present, the security page is sent or the PPS-EOM appended
   with octets is sent and the response MCF is appended with octets.
   H.6.7     Error messages
   H.6.7.1     Error messages
   When an error message is to be indicated, the bit No. 5 of the Reason octet of FNV (bit indicating
   "Secure Fax Error") must be set to "1".
   FNV is defined in 5.3.6.2.13.
   The error reason is contained in the Diagnostic Information Octets of FNV.
   The Type octet for error messages is "Secure Fax Error" as defined in 5.3.6.2.13.
   Table H.10 specifies the octets contained in the Value field of "Secure Fax Error".

          Table H.10/T.30 – Error reasons coded in the value field of Secure Fax Error in FNV
         Coding of the value octets in FNV                                            Error reasons
                                                                                         First octet
    Bit No.       7 6 5 4 3 2 1 0                          Registration error for public key
                  x x x x x x x 1
    Bit No.       7 6 5 4 3 2 1 0                          Registration error for encipherment public key
                  x x x x x x 1 x
    Bit No.       7 6 5 4 3 2 1 0                          Service not supported
                  x x x x x 1 x x
    Bit No.       7 6 5 4 3 2 1 0                          Party not registered
                  x x x x 1 x x x
    Bit No.       7 6 5 4 3 2 1 0                          Authentication failure
                  x x x 1 x x x x
    Bit No.       7 6 5 4 3 2 1 0                          Receipt not confirmed (Srd non valid)
                  x x 1 x x x x x                          The Random number received is rejected by the recipient
                                                           (e.g., in case of replay detected)
    Bit No.       7 6 5 4 3 2 1 0                          Receipt not confirmed (UTCd non valid)
                  x 1 x x x x x x                          The recipient does not accept the UTCd received from the
                                                           sender (the criteria are implementation matter)




   270        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2429 Filed 01/18/22 Page 305 of 715




           Table H.10/T.30 – Error reasons coded in the value field of Secure Fax Error in FNV
         Coding of the value octets in FNV                                           Error reasons
                                                                                        First octet
    Bit No.           7 6 5 4 3 2 1 0                Receipt not confirmed (Lm non valid)
                      1 x x x x x x x                The length indicated by the sender does not correspond to the
                                                     actual length of the document received
                                                                                      Second octet
    Bit No.           7 6 5 4 3 2 1 0                Receipt not confirmed (Token 4 or Token 4-enc. non valid)
                      x x x x x x x 1                The recipient finds the digital signature by the sender not
                                                     correct
    Bit No.           7 6 5 4 3 2 1 0                Receipt not valid (Token 5 or Token 5-enc. non valid)
                      x x x x x x 1 x
    NOTE 1 – Several reasons may be indicated together (several bits set to "1").
    NOTE 2 – In future versions of this annex, more additional octets may be defined to code other error
    reasons.
    NOTE 3 – For each octet, the least significant bit (right-most bit) is the first one transmitted.

   H.6.7.2         Use of FNV for error indication
   Once the FNV indicating the Secure Fax error has been sent, the terminal which has received it
   "acknowledges" it in sending DCN and disconnects the line.
   An example is given below where authentication of the recipient at phase 3 of the secure facsimile
   transmission fails.

                Calling side                                                                             Called side
                                       <------------------DES-----(phase 3)-------------------
         authentication failure
                                      ----------------------------FNV-------------------------->
                                                                                       indication of
                                                                                       authentication
                                                                                       failure by FNV
                                      <--------------------------DCN---------------------------
                                                                                         disconnection
         (the document is not sent)




                                                          Annex I

                   Procedure for the Group 3 document facsimile transmission of
                             colour and gray-scale images using T.43
   I.1         Introduction
   This annex describes the additions to this Recommendation to enable the transmission of colour and
   gray-scale images using lossless coding method defined by ITU-T Rec. T.43 for Group 3 facsimile
   mode of operation.
   This Recommendation is an optional colour and gray-scale mode which shall only be implemented
   if the associated base colour and gray-scale mode defined in Annex E/T.4 is also implemented.

                                                                                        ITU-T Rec. T.30 (09/2005)      271
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2430 Filed 01/18/22 Page 306 of 715


   Implementation of the gray-scale mode of ITU-T Rec. T.43 requires implementation of the
   associated gray-scale mode of Annex E/T.4. Similarly, implementation of the colour mode of
   ITU-T Rec. T.43 requires implementation of the associated colour mode of Annex E/T.4.
   The objective is to enable the efficient transmission of a wide variety of images, from a simple
   document such as containing red or blue characters to high-quality full-colour/gray-scale images
   over the general switched telephone network and other networks. The images are normally obtained
   by scanning the original sources with scanners of 200 pels/25.4 mm or higher. The original sources
   are typically business documents underlined with assorted colour, computer-generated business
   graph, palettized colour images and high definition continuous-tone colour and gray-scale images.
   In this annex, three types of images are supported. They are one-bit per colour CMY(K)/RGB
   image, palettized colour image and continuous-tone colour and gray-scale image. One-bit per colour
   CMY(K)/RGB image is also represented using colour palette table, and is a special case of
   palettized colour image in which every colour is represented by one bit information of original
   printable colour. The representation of colour image data is based on ITU-T Recs T.42 and T.43.
   The basic way is a device-independent colour space representation, the CIELAB space, which
   enables unambiguous exchange of colour information. The bit-plane decomposition and coding
   using ITU-T Rec. T.82 is also described in ITU-T Rec. T.43.
   This annex describes the procedure for negotiation of the capabilities for transmission of colour and
   gray-scale images. It specifies the definitions and the specifications of new entries to the Facsimile
   Information field of the DIS/DTC and DCS frames of this Recommendation.
   Information pertaining to receiver capability, colour mode capability, image amplitude precision in
   digitization (bits/component), interleave method, custom illumination, and custom gamut are
   subject to negotiation in the pre-message phase of the T.30 protocol.
   This annex does not address the semantics and syntax of the actual encoding of the colour and gray-
   scale images by lossless coding. Such information is included in ITU-T Rec. T.43.
   The use of Error Correction Mode (ECM) for error-free transmission is mandatory in the procedure
   described by this annex. Under the error-correction mode of transmission, the encoded image data
   sequence is embedded in the Facsimile Coded Data (FCD) part of the HDLC (High-level Data Link
   Control) transmission frames specified by Annex A.

   I.2     Definitions
   I.2.1 CIE (L* a* b*) space (CIELAB): A colour space defined by the CIE (Commission
   internationale de l'éclairage), having approximately equal visually perceptible difference between
   equally spaced points throughout the space. The three components are L* (in Lightness), a* and b*
   (both in chrominance).
   I.2.2 Joint Bi-level Image experts Group (JBIG), and also shorthand for the encoding method,
   described in ITU-T Rec. T.82, which was defined by this group.

   I.3     Normative references
   –       ITU-T Recommendation T.4 (2003), Standardization of Group 3 facsimile terminals for
           document transmission.
   –       ITU-T Recommendation T.42 (2003), Continuous-tone colour representation method for
           facsimile.
   –       ITU-T Recommendation T.43 (1997), Colour and gray-scale image representations using
           lossless coding scheme for facsimile.
   –       ITU-T Recommendation T.82 (1993) | ISO/IEC 11544:1993, Information technology –
           Coded representation of picture and audio information – Progressive bi-level image
           compression. (Commonly referred to as JBIG standard.)


   272      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2431 Filed 01/18/22 Page 307 of 715


   I.4       Negotiation procedure
   The negotiation to transmit and receive encoded colour and gray-scale images by lossless bit-plane
   coding under the Group 3 facsimile protocol is invoked through the setting of the bits in the
   DIS/DTC and DCS frames during the pre-message procedure (Phase B) of the T.30 protocol.
   The above three image types are further divided into 7 coding submode classes as specified in
   Table G.1/T.4. The relation of 4 coding mode classes and 7 coding submode classes to be supported
   are shown in Table G.2/T.4.
   The relation of 7 coding submode classes and 4 coding mode classes, which are given by the
   combination of bits 36, 69 and 71, are given in Table I.1.
   In Table I.1, the capability of lossless gray-scale/colour coding, number of palette indices, and the
   number of bit precision are explicitly described. Parameters to be negotiated can be found in
   Table I.2.

         Table I.1/T.30 – The correspondence of coding submode classes and DIS/DTC/DCS bits
              Coding submode class                                          Bit 69      Bit 71
                                               Colour         Bit 36
                                                                            Colour      12-bit
         Image type         # of bit plane     space       T.43 coding
                                                                            mode        mode
     One-bit per                (3, 4)                          1              1          0       (Note)
     colour image
                         Basic
     Palettized          (1-12) × 1              Lab            1              1          0
     colour image        8 bits precision

                         Extended
                         (1-12) × 1              Lab            1              1          1
                         12 bits precision
                         or (13-16) × 1
                         8 or 12 bits
                         precision
     Continuous-tone     Gray-scale
     image               2-8                      L             1              0          0
                         9-12                     L             1              0          1

                         Colour
                         (2-8) × 3               Lab            1              1          0
                         (9-12) × 3              Lab            1              1          1
     NOTE – This coding submode is a special case of palettized colour submode, in which each bit plane
     corresponds to CMY(K) or RGB primaries. The number of planes (3 or 4) will be distinguished by
     G3FAX0 Entry.


                           Table I.2/T.30 – Mandatory and optional capabilities
                         Mandatory                                           Optional
     T.43 gray-scale                                   T.43 colour
     8-bit mode                                        12-bit mode
     Stripe interleave                                 Plane interleave
     CIE standard illuminant D50                       Custom illuminant
     Default gamut range                               Custom gamut range



                                                                          ITU-T Rec. T.30 (09/2005)        273
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2432 Filed 01/18/22 Page 308 of 715


                                                 Annex J

                 Procedure for Group 3 document facsimile transmission of
                          Mixed Raster Content (MRC) images
   J.1     Scope
   The method for Mixed Raster Content (MRC) image representation is defined in ITU-T Rec. T.44.
   Together with Annex H/T.4, this annex provides specification for the application of MRC in
   Group 3 facsimile. Unconstrained MRC, as defined in ITU-T Rec. T.44, shall be applied as a colour
   option of Annex E/T.4 (i.e., Annex E/T.4 shall be implemented in unconstrained
   MRC applications). Black-and-white constrained MRC, as defined in Annex H/T.4, shall be
   implemented in non-colour applications (i.e., applications that do not implement Annex E/T.4).
   MRC defines a means to efficiently represent raster-oriented pages that contain a mixture of
   multilevel (e.g., continuous-tone and palettized colour) and bi-level (e.g., text and line-art) images
   by combining different encodings, spatial and colour resolutions on a single page. More than one of
   the multilevel encodings (e.g., T.81 and T.82 as per ITU-T Rec. T.43) and/or bi-level encodings
   (e.g., T.6 and T.4, one and two-dimensional) which are negotiated (as defined within this annex)
   may be combined within a page, however, only bi-level encodings may be used in the MRC mask
   layer. Similarly, more than one of the square spatial resolutions (same resolution in both horizontal
   and vertical direction) and colour resolutions (i.e., bits/pels/component and chrominance
   subsampling) which are negotiated (as defined within this annex) may be combined within a page.
   This annex does not introduce new encodings or resolutions. The method of image segmentation is
   beyond the scope of this annex; segmentation is left to the manufacturer's implementations.

   J.2     References
   –       ITU-T Recommendation T.4 (2003), Standardization of Group 3 facsimile terminals for
           document transmission.
   –       ITU-T Recommendation T.44 (2005), Mixed Raster Content (MRC).

   J.3     Definitions
   The definitions in ITU-T Rec. T.44 apply to this annex.

   J.4     Image representation
   This annex makes provision for encapsulating two or more ITU-T encodings, spatial and colour
   resolutions as defined in ITU-T Rec. T.44 "Mixed Raster Content (MRC)". This provision marks a
   significant departure from normal T.30 procedures that typically permits only a single encoding,
   spatial and colour resolution within a page.
   A page is composed from a set of page-wide stripes of image data, which are coded independently.
   The stripes are transmitted sequentially from the top to the bottom of the page. Data is transmitted
   in a bit stream of least to most significant bit order.
   The different segments of the raster data are processed according to their individual attributes; text
   and line-art data (bi-level data), pictures and colour gradients (multilevel data). These different data
   types (bi-level and multilevel) are placed in separate layers/planes within the page and processed
   appropriately. The spatial details associate with text and line-art data is in the mask layer(s)
   (odd-numbered layers) while the colour details of the text and line-art data is in the image layers
   (odd-numbered layers such as the "foreground" layer). The continuous-tone colours associated with
   pictures and colour sweeps are in the lower "background" layer. The process of image regeneration
   is controlled by the bi-level mask layer(s) selecting whether pixels from the image layer below,



   274      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2433 Filed 01/18/22 Page 309 of 715


   such as background (e.g., contone) or image layer above, such as foreground (e.g., text/line-art
   colour) will be reproduced.
   The stripes are composed of one or more layers. No more than 3 types of stripes shall be used when
   applying the base mode (Mode 1) or Mode 2 of ITU-T Rec. T.44. Mode 3 defines provisions for
   more than three, up to N (where N is an integer), types of stripes. Stripe types are classified
   according to their layer (image type) content:
   •       N-layer stripe (NLS) where N is an integer, so referenced since it contains more than three
           layers.
   •       3-layer stripe (3LS), so referenced since it contains all three of the foreground, mask and
           background layers.
   •       2-layer stripe (2LS), so referenced since it contains coded data for two of the three layers
           (the third is set to a fixed value). The two layers may be mask and foreground or mask and
           background layers.
   •       1-layer stripe (1LS), so referenced since it contains coded data for only one of the three
           layers (the other two are set to fixed values). The one layer may be mask, foreground or
           background. The 1LS is appropriate when addressing an image that contains one of
           monochrome text/line-art, contone image or possibly richly coloured graphics.
   Each layer is coded using a recommended ITU-T encoding, spatial and colour resolution. A
   different encoding and colour resolution may be applied within each layer. The square spatial
   resolutions (same resolution in both horizontal and vertical direction) of Table 2 are available for
   use in this annex. The resolution of the main mask layer is fixed for the entire page. In general, it is
   possible to define lower spatial resolution for other layers. Within a stripe, varying spatial
   resolutions may be combined only when the resolutions of the other layers are integral factors of the
   main mask resolution. For example, if the main mask resolution is 400 pels/25.4 mm, the
   background and foreground layers may each be either 100, 200 or 400 pels/25.4 mm. The main
   mask resolution is specified in the page header. The resolutions of the other layers are specified in
   the layer data.
   These encodings, spatial and colour resolutions are selected from a set that is negotiated at the start
   of the session.
   Information required to decode the page, such as coding types available for use within the layers, is
   specified within the page header (start of page marker segment). Maximum Stripe height shall be
   negotiated at the start of the session. Mode 1 requires the actual applied stripe height to be specified
   within the stripe header (start of stripe marker segment) while other modes require its specification
   within the layer data structure. Information required to decode a layer is included in the stripe
   header and the layer data.
   The main mask (layer 2) shall be transmitted first, followed by the background (layer 1) the
   foreground (layer 3), layer 4, layer 5 ..., layer N. Details of the syntax are described in ITU-T
   Rec. T.44.
   The use of error correction mode (ECM) for error-free transmission, as defined in Annex A/T.4 and
   this Recommendation, is mandatory for the procedure specified in ITU-T Rec. T.44. Under the
   ECM mode of transmission the encoded image data sequence, associated headers and the layer data
   are embedded in the Facsimile Coded Data (FCD) part of the HDLC (High Level Data Link
   Control) transmission frames that are specified in Annex A. In alignment with Annex A/T.4, to
   complete the last frame, pad characters (X'00', the null character) may be added after ending marker
   within the last ECM frame of the page.




                                                                       ITU-T Rec. T.30 (09/2005)       275
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2434 Filed 01/18/22 Page 310 of 715


   J.4.1   Black-and-white only or colour representation
   The unconstrained MRC provisions accommodating use of multilevel and/or bi-level coders within
   a page shall only be implemented when the facsimile base colour mode, as defined in Annex E/T.4,
   is also implemented (i.e., Baseline JPEG is implemented). In other words, unconstrained MRC is a
   colour option of Annex E/T.4. When Annex E/T.4 is not implemented, then only the bi-level coder
   constrained provisions of MRC, as defined in the "Black-and-White Mixed Raster Content Profile
   (MRCbw)" clause H.5.5/T.4, shall be implemented. The MH (T.4 one-dimensional) coder is the
   only required coder when implementing MRCbw.
   All modes of MRC are available for use with Black-and-White Mixed Raster Content Profile;
   however, use of Modes 2 or higher modes is strongly recommended.
   J.4.2   Shared data representation
   MRC Mode 4 requires implementation of the SDMx (Share Data) marker segment provision to
   share coding information between pages, stripes or layers. The SDMx marker segment provision
   may be used with any encoder that benefits from sharing information between pages, stripes or
   layers. The JBIG2 encoder, however, shall only be used in combination with the SDMx marker
   segment provision.
   J.4.3   Colour tag representation
   The MRC Mode 4 optional colour tag provisions may be implemented in the representation of
   foreground colour. The T.45 "Run-length Encoder" shall be used to code the colour values of the
   foreground colour tags. Colour tags shall only be used with foreground layers that are associated
   with JBIG2 encoded mask layers.

   J.5     Layer transmission order
   In multi-layer stripes, the bi-level main mask data is transmitted first, followed by the background
   layer, the foreground layer, layer 4, layer 5, ..., layer N. In a multi-layer stripe without a background
   layer, the bi-level main mask image data is transmitted first, followed by the foreground, layer 4,
   layer 5, ..., layer N.

   J.6     Negotiation
   Negotiations to use the MRC (T.44) procedure, accommodating the transmission and reception of
   pages with mixed coding (i.e., encoding method, spatial and colour resolution, and other encoding
   parameters) and/or JBIG2 coding, shall be invoked through the setting of a sequence of bits in the
   DIS/DTC and DCS frames during the T.30 pre-message procedure (Phase B). This optional
   MRC procedure is only available when the base colour encoding mode, as defined in ITU-T
   Rec. T.42, Annex E/T.4 and Annex E, or the Black-and-White MRC Profile is available, as
   indicated by the setting of Table 2 bit 68 to "1" or bit 115 to "1" respectively. Provision is made, via
   the value of Table 2 bits 92-94, to negotiate one of the many modes (performance level) of ITU-T
   Rec. T.44 to be implemented during a transmission session. Table 2, Note 50, specifies the
   T.44 modes that are currently available for negotiations. Modes 1 and 2 make provision to apply
   one encoding scheme, one spatial and one colour resolution within each of the three layers of a
   stripe. Mode 3 and higher modes make provision to apply one encoding scheme, one spatial and one
   colour resolution within each of N layers per stripe, where N is an integer. Consult ITU-T Rec. T.44
   to determine all the provisions made available by each mode.
   Under the MRC procedure any of the different multilevel and bi-level coding methods, negotiated
   in Phase B, may be used in each of the layers. A bi-level coder must be used for the mask layer(s).
   Multilevel and bi-level encodings such as defined in: ITU-T Rec. T.42, Annex E/T.4 and Annex E;
   ITU-T Rec. T.43, Annex G/T.4 and Annex I; ITU-T Recs T.6 and T.4 are available. Multiple
   coding methods may be negotiated for use during Phase B by activating more than one coding


   276      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2435 Filed 01/18/22 Page 311 of 715


   related bits in the DCS. The coding bits activated in the DCS must be a subset of those activated in
   the DIS. Different colour resolutions and/or subsamplings may be used between layers in the event
   that the DIS indicates 12 bits/pel component and/or no subsampling (1:1:1) is available. If the
   DCS indicates 12 bits/pel component then 8 bits/pel component may also be sent (e.g., 12 applied to
   the background while 8 is applied to the foreground, 12 applied to one page while 8 is applied to
   another). In the same manner, if the DCS indicates no subsampling, then subsampling may be
   applied. These combinations are possible since the receiver is required to support both base modes.
   Additionally the applied coder, bit resolution and subsampling are identified in the layer data
   stream.
   Multiple spatial resolutions may be negotiated for use during Phase B by activating more than one
   resolution related bits in the DCS. The resolution bits activated in the DCS must be a subset of
   those activated in the DIS. All layer resolutions must be an integral factor of the main mask layer
   resolution. Resolution may vary between mask layers, as long as the mask layer resolution is one of
   the set identified in the DCS. The main mask layer resolution is identified in the start of page
   marker segment.
   Maximum stripe size may be negotiated between the default size of 256 lines maximum and the full
   height of the page. This negotiated stripe size maximum may only be changed following EOM and
   DIS/DCS negotiations.

   J.7     Application requirements summary
   1)      Only bi-level ITU-T coders shall be used in mask layers (i.e., even-numbered layers).
   2)      The Black-and-White MRC Profile, defined in Annex H/T.4, shall contain only mask layer
           data. The colours of the background layer (i.e., layer 1) and the foreground layers
           (i.e., odd-numbered layers greater than one) shall be fixed to black and white respectively.
   3)      Coders may vary between layers and between stripes within a layer; however, the main
           mask coder shall be fixed for the entire page.
   4)      All implementations shall include the MH (T.4 one-dimensional) bi-level coder, other
           ITU-T bi-level coders may be used.
   5)      Implementations other than Black-and-White MRC Profile shall include the Baseline JPEG
           (T.81, as defined in Annex E/T.4) multilevel coder, other multilevel coders may be used
           within the image layers (i.e., odd-numbered layers).
   6)      Only square (i.e., same resolution value in vertical and horizontal directions) ITU-T spatial
           resolutions shall be used.
   7)      Spatial and colour resolution may vary between layers and between stripes within a layer;
           however, the spatial resolution of all layers shall be integral factors of the main mask layer
           resolution and the main mask resolution shall be fixed for the entire page.
   8)      Dimensions of the main mask layer shall be such that the main mask layer(s) cover the
           entire page (i.e., each stripe has a mask layer that has a zero horizontal offset, the mask
           layer is always the page width, the stripe size is defined by the mask layer, and there are
           stripes that traverse the entire page height).
   9)      Pages may be subdivided into one or more contiguous horizontal stripes.
   10)     Maximum stripe heights of 256 lines or full page shall be accommodated.
   11)     Stripe width shall span the width of the page.
   12)     Dimensions of the main mask layer within a stripe shall be the same as the stripe
           dimensions.
   13)     Dimensions of other layers within a stripe may be the same as or less than the stripe
           dimensions.



                                                                     ITU-T Rec. T.30 (09/2005)       277
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2436 Filed 01/18/22 Page 312 of 715


   14)    A maximum of three (3) layers may be used in Mode 1 and Mode 2, while the number of
          layers are unrestricted in Mode 3 and higher level modes.
   15)    Error Correction Mode (ECM) shall be used during all transmissions.
   16)    Stripe transmission order within a page shall be in order of increasing stripe numbers.
   17)    Layer transmission order within a stripe shall be main mask layer (i.e., layer 2) first,
          followed by the background layer (i.e., layer 1), then the foreground layer (i.e., layer 3) and
          any other layers in order of increasing layer numbers (i.e., layers 4, 5, 6, 7, …, N). In the
          event that there is no background layer then the foreground layer shall immediately follow
          the main mask layer and any other layers in order of increasing layer numbers.
   18)    Layers shall be recombined and rendered in ascending order of layer numbers (i.e., layer 1
          is rendered first, next layer 3 on top of layer 1, then layer 5 on top of the 1 and 3
          combination, and so on until all layers have been rendered).
   19)    Mode 2 and higher mode implementations shall use the Start of Layer Coded Data (SLC)
          marker segment to specify information required to decode the coded layer data, such as
          layer coder, resolution, width, height, base colour and offset. Mode 1 implementations shall
          specify this information in the Start of Stripe (SOSt) marker segment.
   20)    Mode 4 and higher mode implementations may use the Shared Data (SDMx) marker
          segment to accommodate sharing of coding information between pages.
   21)    A JBIG2 encoded stream shall only be used in combination with the Mode 4 SDMx marker
          segment provision.
   22)    Shared data create (SDMc) marker segments must appear before the data stream (JBIG2)
          that uses the shared resources.
   23)    Shared data disposition (SDMd) marker segments identifying "use" of previously declared
          shared data resource(s) must appear before the layer in which the resource(s) is(are) used,
          and not before other layers. In other words, SDMd marker segments appear between layers
          and prior only to the layer that it will be used for. This could be between the SLC and EOH
          (unambiguously) or before or after the SOSt, if the use is for the first layer.
          Implementations must accommodate any of these placements.
   24)    The Black-and-White Mixed Raster Content Profile (MRCbw) (per Annex H/T.4) shall be
          used for black-and-white only applications of JBIG2.
   25)    Mode 4 and higher mode implementations may use T.45 "Run-length Colour Encoder" and
          colour tags provisions to code foreground layers, as defined in Annex B/T.44 and
          Annex H/T.4, only when JBIG2 is used to code the corresponding mask layers.
   26)    Unknown marker segments should be skipped (i.e., unknown APP1, APP3, and APP13
          identifiers).



                                               Annex K

               Procedure for the Group 3 document facsimile transmission
                 of continuous-tone colour and gray scale images (sYCC)
   K.1    Introduction
   This annex describes the additions to this Recommendation to enable the transmission of
   continuous-tone colour and gray scale images (sYCC) for Group 3 facsimile mode of operation.
   The objective is to enable the efficient transmission of high-quality, multilevel images over the
   general switched telephone network and other networks. The images are normally obtained by


   278      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2437 Filed 01/18/22 Page 313 of 715


   capturing the original sources with, for example, digital still-image cameras, and bit depths of eight
   bits per picture element per colour component or higher.
   The encoding methodology for continuous-tone colour and gray scale images (sYCC) is based on
   the JPEG (ITU-T Rec. T.81 | ISO/IEC 10918-1) image encoding standard. The JPEG image coding
   method includes both a lossy mode and a lossless mode of encoding. This annex adopts the lossy
   mode of encoding which is based on the Discrete Cosine Transform.
   The representation of colour image data is based on Annex F of IEC 61966-2-1 (8-bits
   sYCC values). It adopts colour space representation, the sYCC colour space.
   This annex explains the procedure for negotiation of the capabilities for transmission of
   continuous-tone colour and gray scale images (sYCC). It specifies the definitions and the
   specifications of new entries to the Facsimile Information Field of the DIS/DTC and DCS frames of
   this Recommendation.
   The two types of information specified – that pertaining to JPEG capability and the sYCC colour
   space – are subject to negotiation in the pre-message phase of the T.30 protocol.
   This annex does not address the semantics and syntax of the actual encoding of the continuous-tone
   colour and gray scale images (sYCC). That information is included in Annex I/T.4.
   The use of Error Correction Mode (ECM) for error-free transmission is mandatory in the procedure
   described by this annex. Under the error correction mode of transmission, the JPEG encoded image
   data are embedded in the Facsimile Coded Data (FCD) part of the HDLC (High-level Data Link
   Control) transmission frames specified by Annex A.
   The technical features of encoding and decoding the continuous-tone colour and gray scale images
   (sYCC) data are described in Annex I/T.4. It describes two modes of image encoding (lossy
   gray-scale and lossy colour) which are defined using ITU-T Rec. T.81.

   K.2     Definitions
   K.2.1 sYCC: A colour space defined by the IEC (International Electrotechnical Commission) in
   Annex F of IEC 61966-2-1.
   K.2.2 Joint Photographic Experts Group (JPEG): Shorthand for the encoding method,
   described in ITU-T Rec. T.81, which was defined by this group.
   K.2.3 baseline JPEG: A particular eight-bit sequential Discrete Cosine Transform (DCT)-based
   encoding and decoding process specified in ITU-T Rec. T.81.
   K.2.4 quantization table: A set of 64 values used to quantize the DCT coefficients in baseline
   JPEG.
   K.2.5 Huffman table: A set of variable length codes required in a Huffman encoder and a
   Huffman decoder.

   K.3     References
   –       IEC 61966-2-1-Amd 1:2003, Multimedia systems and equipment – Colour measurement
           and management – Part 2-1: Colour management – Default RGB colour space – sRGB.
   –       ITU-T Recommendation T.81 (1992) | ISO/IEC 10918-1:1994, Information technology –
           Digital compression and coding of continuous-tone still images – Requirements and
           guidelines. (Commonly referred to as JPEG standard.)
   –       ITU-T Recommendation T.4 (2003), Standardization of Group 3 facsimile terminals for
           document transmission.




                                                                     ITU-T Rec. T.30 (09/2005)       279
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2438 Filed 01/18/22 Page 314 of 715


   K.4     Negotiation procedure
   The negotiation to transmit and receive JPEG encoded continuous-tone colour and gray scale
   images (sYCC) under the Group 3 facsimile protocol is invoked through the setting of the bits in the
   DIS/DTC and DCS frames during the pre-message procedure (Phase B) of the T.30 protocol.

                                  Table K.1/T.30 – Mandatory capabilities
                                                     Mandatory
                      8 bits/pel/component
                      Subsampling less than MCU 10
                      CIE Standard Illuminant D65
                      Default gamut range (Annex F of IEC 61966-2-1 Default range)



                                                 Appendix I

                    Index of abbreviations used in this Recommendation

    Abbreviation                      Function                      Signal format        Reference
    ANSam            Modulated answer tone                   See ITU-T Rec. V.8.       4.1.2
    CED              Called terminal identification          2100 Hz                   4.1.1
    CFR              Confirmation to receive                 X010 0001                 5.3.6.1.4, 1)
    CI               Call indicator                          See ITU-T Rec. V.8.       F.5
    CIG              Calling subscriber identification       1000 0010                 5.3.6.1.2, 2)
    CJ               CM terminator                           See ITU-T Rec. V.8.       F.5
    CM               Call menu                               See ITU-T Rec. V.8.       F.5
    CNG              Calling tone                            1100 Hz for 500 ms        4.2
    CRP              Command repeat                          X101 1000                 5.3.6.1.8, 2)
    CSI              Called subscriber identification        0000 0010                 5.3.6.1.1, 2)
    CTC              Continue to correct                     X100 1000                 A.4.1
    CTR              Response for continue to correct        X010 0011                 A.4.2
    DCN              Disconnect                              X101 1111                 5.3.6.1.8, 1)
    DCS              Digital command signal                  X100 0001                 5.3.6.1.3, 1)
    DIS              Digital identification signal           0000 0001                 5.3.6.1.1, 1)
    DTC              Digital transmit command                1000 0001                 5.3.6.1.2, 1)
    EOM              End of message                          X111 0001                 5.3.6.1.6, 1)
    EOP              End of procedure                        X111 0100                 5.3.6.1.6, 3)
    EOR              End of retransmission                   X111 0011                 A.4.3, 2)
    ERR              Response for end of retransmission      X011 1000                 A.4.4, 3)
    FCD              Facsimile coded data                    0110 0000                 A.2.2
    FCF              Facsimile control field                 –                         5.3.6.1
    FDM              File diagnostic message                 X011 1111                 5.3.6.1.7, 9)
    FIF              Facsimile information field             –                         5.3.6.2



   280      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2439 Filed 01/18/22 Page 315 of 715



    Abbreviation                 Function                       Signal format           Reference
   FTT             Failure to train                     X010 0010                     5.3.6.1.4, 2)
   HDLC            High-level data link control         –                             5.3
   JM              Joint menu                           See ITU-T Rec. V.8.           F.5
   MCF             Message confirmation                 X011 0001                     5.3.6.1.7, 1)
   MPh             Modulation parameter                 See ITU-T Rec. V.34.          F.3.1.4
   MPS             Multipage signal                     X111 0010                     5.3.6.1.6, 2)
   NSC             Non-standard facilities command      1000 0100                     5.3.6.1.2, 3)
   NSF             Non-standard facilities              0000 0100                     5.3.6.1.1, 3)
   NSS             Non-standard set-up                  X100 0100                     5.3.6.1.3, 3)
   PID             Procedure interrupt disconnect       X011 0110                     C.3.4, 2)
   PIN             Procedure interrupt negative         X011 0100                     5.3.6.1.7, 5)
   PIP             Procedure interrupt positive         X011 0101                     5.3.6.1.7, 4)
   PPS             Partial page signal                  X111 1101                     A.4.3, 1)
   PPR             Partial page request                 X011 1101                     A.4.4, 1)
   PRI-EOM         Procedure interrupt-EOM              X111 1001                     5.3.6.1.6, 4)
   PRI-EOP         Procedure interrupt-EOP              X111 1100                     5.3.6.1.6, 6)
   PRI-MPS         Procedure interrupt-MPS              X111 1010                     5.3.6.1.6, 5)
   PWD             Password (for polling)               1000 0011                     5.3.6.1.2, 4)
   PWD             Password (for transmission)          X100 0101                     5.3.6.1.3, 5)
   RCP             Return to control for partial page   0110 0001                     A.2.2
   RNR             Receive not ready                    X011 0111                     A.4.4, 2)
   RR              Receive ready                        X111 0110                     A.4.3, 3)
   RTN             Retrain negative                     X011 0010                     5.3.6.1.7, 3)
   RTP             Retrain positive                     X011 0011                     5.3.6.1.7, 2)
   SEP             Selective polling                    1000 0101                     5.3.6.1.2, 5)
   SUB             Subaddress                           X100 0011                     5.3.6.1.3, 4)
   TCF             Training check                       Zeros for 1.5 s               5.3.6.1.3, 6)
   TSI             Transmitting subscriber              X100 0010                     5.3.6.1.3, 2)
                   identification




                                                                    ITU-T Rec. T.30 (09/2005)         281
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2440 Filed 01/18/22 Page 316 of 715


                                            Appendix II

                       List of commands and appropriate responses

          Commands                             Comments                        Appropriate responses
   (NSF) (CSI) DIS            Identifying capabilities: from a manual         (NSC) (CIG) DTC
                              receiver or an auto answer terminal             (TSI) DCS
                                                                              (NSF) (CSI) DIS
                                                                              (CRP) (TSI) (NSS)
                                                                              (PWD) (SEP) (CIG) DTC
                                                                              (PWD) (SUB) (TSI) DCS
   (NSC) (CIG) DTC            Mode setting command: from calling              (TSI) DCS
                              terminal                                        (NSF) (CSI) DIS
                                                                              (CRP) (TSI) (NSS)
   (PWD) (SEP) (CIG) DTC      This is a poll operation
   (TSI) DCS                  Mode setting command: from manual               CFR
   (TSI) (NSS)                transmitter or automatic receiver               FTT
                                                                              (NSC) (CIG) DTC
   (PWD) (SUB) (TSI) DCS      This command is always followed by              (NSF) (CSI) DIS
                              training                                        (CRP)
   CTC                        Mode setting command: from the transmitter      (CTR)
                              to the receiver                                 (CRP)
   (EOR-NULL)                 Indicate the next block transmission from the   (ERR)
                              transmitter to the receiver                     (RNR)
                                                                              (CRP)
   (EOR-MPS) or               Indicate the next message transmission from     (ERR)
   (EOR-EOP) or               the transmitter to the receiver                 (RNR)
   (EOR-EOM) or                                                               PIN
   (EOR-PRI-MPS) or                                                           (CRP)
   (EOR-PRI-EOP) or
   (EOR-PRI-EOM)
   MPS or EOP or EOM or       Post-message commands                           MCF
   (PRI-MPS) or                                                               RTP
   (PRI-EOP) or                                                               RTN
   (PRI-EOM)                                                                  PIP
                                                                              PIN
                                                                              (CRP)
   (PPS-NULL)                 Post-message command for a partial page:        (PPR)
                              from the transmitter to the receiver            MCF
                                                                              (RNR)
                                                                              (CRP)
   (PPS-MPS) or               Post-message commands for a complete            (PPR)
   (PPS-EOP) or               page: from the transmitter to the receiver      MCF
   (PPS-EOM) or                                                               (RNR)
   (PPS-PRI-MPS) or                                                           PIP
   (PPS-PRI-EOP) or                                                           PIN
   (PPS-PRI-EOM)                                                              (CRP)




   282     ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2441 Filed 01/18/22 Page 317 of 715



               Commands                                                 Comments                               Appropriate responses
    (RR)                                              Ask for the status of the receiver: from the           (RNR)
                                                      transmitter to the receiver                            (ERR)
                                                                                                             MCF
                                                                                                             PIP
                                                                                                             PIN
                                                                                                             (CRP)
    DCN                                               Phase E command                                        None
    NOTE – Where the symbols ( ) are used, the signals within these symbols are optional.



                                                                     Appendix III

           Alternative procedures used by some terminals which conform to the
                        pre-1996 versions of this Recommendation
   III.1     Alternative automatic answering sequence
   See Figure III.1.
           75 ± 20 ms




                                    Transmit CED (4.1.1)

                                    Silence (4.1.1)

                                    Transmit preamble (5.3.1)

                                    Transmit binary coded information (5.3)
           3 s ± 15%

                         (Note 1)




                                    Listen for command information



                                    Transmit tonal signal (Note 2)

                                    Transmit preamble (5.3.1)

                                    Transmit binary coded information (5.3)
                         (Note 1)
           3 s ± 15%




                                    Listen for command information


                                    Repeat tonal signal, the preamble and the binary coded information until tonal or coded command is
                                    detected or time-out occurs (30 to 40 s)




                        T0829990-00/d164


             NOTE 1 – For manual receivers using the binary coded procedure, this delay should be 4.5 s ± 15%.
             NOTE 2 – The tonal signal will have one of the following formats:
             a) 1650 Hz (±6 Hz) ON for 1.5 s and OFF for 3 s (timing tolerance ±15%); or
             b) 1850 Hz (±6 Hz) ON for 1.5 s and OFF for 3 s (timing tolerance ±15%); or
             c) 1650 Hz (±6 Hz) ON for 1.5 s immediately followed by 1850 Hz ON for 0.75 s followed by
                silence for 3 s (timing tolerance ±15%).

                                              Figure III.1/T.30 – Called terminal procedures

                                                                                                  ITU-T Rec. T.30 (09/2005)              283
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2442 Filed 01/18/22 Page 318 of 715


   III.2                            Optional binary coded preamble
   An example of a terminal having the standard binary coded, recognized optional binary coded and
   tonal capabilities is given in Figure III.2.
                    75 ± 20 ms



                                                 Transmit CED


                                                 Transmit preamble

                                                 Transmit binary coded identification signal at 300 bit/s
           3 s ± 15%

                                     (Note 1)




                                                 Listen to receive command information


                                                 Transmit tonal signals (Note 2)


                                                 Transmit preamble

                                                 Transmit binary coded identification signal at 300 bit/s
           3 s ± 15%

                                     (Note 1)




                                                 Listen to receive command information


                                                 Transmit long training modem sequence (Rec. V.27 ter, 2400 bit/s)
           3 s ± 20 ms 75 ± 20 ms




                                                 Transmit binary coded identification signal at 2400 bit/s


                                                 Transmit tonal signals (Note 2)
                                     (Note 1)




                                                 Listen to receive command information


                                                 Repeat the binary coded identification at 300 bit/s and the binary coded identification signal at 2400 bit/s
                                                 (followed by the tonal) alternately until reception of a tonal command or binary coded command, or
                                                 until the time T1 has elapsed (30 to 40 s)
                                                T0830000-00/d165


            NOTE 1 – For manual receivers using the binary coded procedure, this delay should be 4.5 s ± 15%.
            NOTE 2 – The tonal signal will have one of the following formats:
            a) 1650 Hz (±6 Hz) ON for 1.5 s and OFF for 3 s (timing tolerance ±15%); or
            b) 1850 Hz (±6 Hz) ON for 1.5 s and OFF for 3 s (timing tolerance ±15%); or
            c) 1650 Hz (±6 Hz) ON for 1.5 s immediately followed by 1850 Hz ON for 0.75 s followed
               by silence for 3 s (timing tolerance ±15%).


                                                           Figure III.2/T.30 – Called terminal procedures




   284                               ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2443 Filed 01/18/22 Page 319 of 715


                                                 Appendix IV

                                       Signal sequence examples

   The examples below are based on the flow diagrams and are for illustrative and instructional
   purpose only. They should not be interpreted as establishing or limiting the protocol. The exchange
   of the various commands and responses is limited only by the rules specified in this
   Recommendation (see 5.3 and 5.4).
   The notations used in these diagrams are as follows:
   –       An arrowhead signifies the receiver of the signal.
   –       A solid line indicates transmission of the signal at the data rate of 300 bit/s.
   –       The dashed lines indicate transmission at the message data rate (ITU-T Recs V.27 ter, V.29
           and V.17).
   –       A lightning bolt ( ) indicates an invalid frame.
   –       A bold solid line indicates the transmission of tonal signals.
   In Figures IV.1 to IV.14 the examples given assume the DIS will be repeated for T1 seconds unless
   responded by a valid signal.
                         Example 1 An auto calling terminal wishing to transmit to an auto
                                   answer terminal: example of post-message commands.



                         Calling terminal                                     Called terminal
                                                     CNG
                                                      CED
                                                      DIS
                                                      DCS
                                                  Training, TCF
                                                      CFR
                                                Training, FAX MSG
                                                     MPS
                                                     MCF
                                                Training, FAX MSG
                                                      EOP
                                                     MCF
                                                      DCN

                                                                  T0830010-00/d166




                                                Figure IV.1/T.30




                                                                                     ITU-T Rec. T.30 (09/2005)   285
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2444 Filed 01/18/22 Page 320 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2445 Filed 01/18/22 Page 321 of 715


                            Example 3 An auto calling terminal wishing to transmit to an auto
                                      answer terminal: example of post-message responses.


                            Calling terminal                                              Called terminal
                                                                    CNG
                                                                    CED
                                                                    DIS
                                                                    DCS
                                                             Training, TCF
                                                                    CFR
                                                          Training, FAX MSG
                                                                    MPS
                                                                                                (Request for
                                                              RTP or RTN
                                                                                                operator
                                                                    DCS                         retrain)
                                                             Training, TCF
                                                                    CFR
                                                          Training, FAX MSG
                                                                    MPS
                                                              PIN or PIP                        (Request for
                           Alert operator                                                       operator
                                                                                                intervention)


                                                                    PRI-Q
                       Operator                               PIN or PIP
                       on line

                                            Operator intervention                                    Operator
                (Operator will hear                                                                  on line
                PIN/PIP response)                                   CNG
                                                                    CED
                                                                    DIS
                                                                    DCS
                                                             Training, TCF
                                                                    CFR
                                                          Training, FAX MSG
                                                                    EOP
                                                                    MCF
                                                                    DCN

                                                                             T0830030-00/d168




                                                   Figure IV.3/T.30




                                                                                    ITU-T Rec. T.30 (09/2005)   287
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2446 Filed 01/18/22 Page 322 of 715


                Example 4 Manual transmitter wishing to transmit to an auto answer
                          terminal: example of initial training failure and procedural
                          interrupts.

                Transmitting terminal                  CED                   Called terminal

                                                        DIS
                                                       DCS
                                                   Training, TCF

                                                       FTT
                                                       DCS
                                                   Training, TCF
                                                       CFR
                  (Request for                  Training, FAX MSG
                  operator                            PRI-Q
                  intervention)                                                    Alert operator



                                                    PIN or PIP
                                                      PRI-Q                              Operator
                                                                                         on line
                  Operator                                                               (Operator will hear
                  on line                       Operator intervention
                                                                                         PRI-Q command)
                                                       CED

                                                       DIS
                                                       DCS
                                                   Training, TCF
                                                       CFR
                                                Training, FAX MSG
                                                      PRI-Q
                                                    PIN or PIP
                                                      PRI-Q

                                              Operator intervention                      Operator
                  Operator
                                                                                         on line
                  on line                    Both operators mutually
                                             decide to terminate the call
                                                                                         T0830040-00/d169




                                                 Figure IV.4/T.30




   288    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2447 Filed 01/18/22 Page 323 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2448 Filed 01/18/22 Page 324 of 715


                           Example 7 An auto calling terminal wishing to transmit to an
                                     auto answer terminal: example of standard error
                                     recovery techniques.

                           Calling terminal                                     Called terminal
                                                        CNG
                                                        CED
                                                         DIS
                                                         DIS                                  3 s elapsed

                                                         DCS
                                                    Training, TCF

                                                         DIS
                                                        DCS
                                                    Training, TCF

                                                        FTT
                                                        DCS
                                                     Training, TCF

                                                        CFR
                                                 Training, FAX MSG

                                                        MPS
                   3 s elapsed                          MPS
                                                        RTN
                                                        DCS
                                                     Training, TCF

                                                         CFR
                                                  Training, FAX MSG
                                                        EOP
                  3 s elapsed                           EOP
                  3 s elapsed                           EOP                             (Line lost)
                  3 s elapsed                           DCN
                                                                     T0830070-00/d172



                                               Figure IV.7/T.30
                  Example 8 Manual transmitter wishing to transmit to a manual receiver:
                            example of error recovery technique using the optional
                            CRP response.

                 Transmitting terminal                                        Receiving terminal
                                                       (CED)

                                                        DIS
                                                       CRP
                                                                                             4.5 s elapsed
                                                        DIS
                                                       DCS
                                                   Training, TCF
                                                       CFR
                                                Training, FAX MSG
                                                       EOM
                                                       CRP
                                                       EOM
                                                       MCF
                                                       DCN
                                                                                         T0830080-00/d173



                                               Figure IV.8/T.30


   290    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2449 Filed 01/18/22 Page 325 of 715


                   Example 9 An auto calling terminal wishing to receive from an auto
                             answer terminal using password/selective polling capabilities.


                   Calling terminal                                              Called terminal
                                                  CED
                                            (NSF) (CSI) DIS
                                         (PWD) (SEP) (CIG) DTC

                                                     ---------------    (Password OK?)




                                                   -------




                                                                                       -------------------
                                                                       Yes
                                                                                                             No
                                               (TSI) DCS




                                                   . . . .---
                                                     ------------------------------


                                                  DCN

                                                                          T0830090-00/d174




                                            Figure IV.9/T.30

                      Example 10 An auto calling terminal wishing to transmit to an auto
                                 answer terminal using password/subaddress capabilities.


                      Calling terminal                                          Called terminal
                                                             CED
                                                (NSF) (CSI) DIS
                                            (PWD) (SUB) (TSI) DCS
                                                                .
                                                                .
                                                                .
                                                                .   T0830100-00/d175




                                            Figure IV.10/T.30




                                                                                  ITU-T Rec. T.30 (09/2005)       291
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2450 Filed 01/18/22 Page 326 of 715


               Example 11 Auto calling terminal wishing to first transmit to, then receive from
                          an auto answer terminal.


                 Calling terminal                                                   Called terminal
                                                         CNG

                                                         CED

                                                   (NSF) (CSI) DIS

                                               (PWD) (SUB) (TSI) DCS

                                                   Training, TCF

                                                        CFR

                                                 Training, FAX MSG

                                                         EOM

                                                         MCF

                                                                                                   T2 elapsed
                                                   (NSF) (CSI) DIS

                                                (PWD) (SEP) (CIG) DTC


                                                   (SUB) (TSI) DCS


                                                   Training, TCF

                                                         CFR

                                                Training, FAX MSG

                                                        EOP

                                                         MCF

                                                         DCN
                                                                                     T0830110-00/d176




                                                 Figure IV.11/T.30




   292    ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2451 Filed 01/18/22 Page 327 of 715


            Example 12 Calling terminal wishing to receive multiple documents in one call.

            Calling terminal (Receiver)                            Called terminal (Transmitter)

                                              CNG
                                              CED

                                            (CSI) DIS
                                                                            Bits 9, 47, 34 in DIS = "1"
                                      (PWD) SEP (CIG) DTC
                                                                            Bit 34 in DTC = "1" (Notes 1 and 5)
                                            (TSI) DCS

                                           Training, TCF
                                               CFR

                                    Training, FAX MSG 1 (page 1)
                                              EOM
                                                                            (Note 6)
                                              MCF


          T2 elapsed
                                            (CSI) DIS

                                            (TSI) DCS

                                           Training, TCF

                                              CFR

                                   Training, FAX MSG 1 (page 2)

                                              EOS
                                                                            (Note 2)
                                              MCF


          T2 elapsed
                                      (PWD) SEP (CIG) DTC
                                                                            Bit 34 in DTC = "0" (Notes 3 and 5)
                                            (TSI) DCS

                                           Training, TCF

                                               CFR

                                  Training, FAX MSG 2 (page 1)
                                              EOP
                                                                            (Note 4)
                                              MCF

                                              DCN                           T0830120-00/d177



          NOTE 1 – Receiver sets bit 34 in DTC = "1" to indicate additional selection of document continues after
          current one.
          NOTE 2 – Transmitter sends EOS to indicate the end of document to Receiver.
          NOTE 3 – Receiver sets bit 34 in DTC = "0" to indicate no additional selection of documents continues
          after current one.
          NOTE 4 – Transmitter sends EOP to indicate the end of current document and communication to Receiver.
          NOTE 5 – Each FIF of PWD and SEP may be different.
          NOTE 6 – Transmitter can send EOM to indicate the end of complete page of facsimile information and
          return to the beginning of Phase B.


                                                  Figure IV.12/T.30




                                                                                   ITU-T Rec. T.30 (09/2005)        293
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2452 Filed 01/18/22 Page 328 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2453 Filed 01/18/22 Page 329 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2454 Filed 01/18/22 Page 330 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2455 Filed 01/18/22 Page 331 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2456 Filed 01/18/22 Page 332 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2457 Filed 01/18/22 Page 333 of 715


   V.2     Definitions
   V.2.1 attribute: A piece of information stating a property of something, taking one of a set of
   defined values, each value having a defined meaning.
   V.2.2 binary file (data): A sequence of octets, representing a binary file and optional attributes,
   formed, using the coding rules in Appendix I/T.434.
   V.2.3   file attributes: The name and other identifiable properties of a file.
   V.2.4 real filestore: An organized collection of files, including their attributes and names, which
   reside on a real system.
   V.2.5 virtual filestore: An abstract model for describing files and filestores, and the possible
   actions performed on them.

   V.3     BFT file transfer-protocol overview
   Group 3 terminals supporting BFT are capable of sending and receiving facsimile messages and
   binary data files in the same call establishment. This is accomplished by using Error Correction
   Mode (ECM) and sending the binary data as the logical equivalent of an error-corrected facsimile
   message.
   The BFT option is indicated by the setting of a capability bit in the DIS/DTC frame. Bit 53 specifies
   the additional capability required by BFT.
   The high-speed binary file data are formed using the coding rules in ITU-T Rec. T.434. These rules
   specify how to code the set of attributes as a sequence of octets. This binary data are then
   transmitted on the high-speed data channel using ECM.
   Transmitting a binary file is logically equivalent to transmitting an error-corrected facsimile
   message (with one or more pages). In fact, multiple binary files may be contained within the logical
   equivalent of an error-corrected facsimile message. At any point during the transmission, the
   transmitter may request a diagnostic message from the receiver by suspending the current transfer
   with a PPS post-message command. At this point the receiver may optionally respond with a
   diagnostic message. Transfer of the current binary file(s) will continue on the next page. The first
   octet of this new page will be the next unsent octet of the binary file data.
   Other protocol considerations for BFT can be found in Annex C/T.4.

   V.4     ECM-BFT data format
   The high-speed ECM-BFT binary data are a set of contiguous octets defined in ITU-T Rec. T.434.
   Using Group 3 facsimile terminal, this set of octets is transmitted as an ECM message. Within an
   ECM page, these octets are segmented into blocks and into the HDLC frames. This segmentation is
   completely independent of attribute boundaries. A sequence of octets is transmitted beginning with
   the least significant bit in the first octet.
   The ECM-BFT binary data format allows the following combinations of binary data and ECM
   pages. Cases a) and d) where each binary file corresponds to a single ECM page are the preferred
   formats.
   a)       a single binary file in a single ECM page;
   b)       a single binary file in a multiple of ECM pages;
   c)       multiple binary files in a single ECM page;
   d)       multiple binary files in a multiple of ECM pages.




                                                                      ITU-T Rec. T.30 (09/2005)     299
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2458 Filed 01/18/22 Page 334 of 715


   V.5       Simple BFT negotiation via Phase C method
   Session examples for the Simple Phase C BFT method are provided. The examples below are based
   on flow diagrams and are for illustrative and instruction purposes only. They should not be
   interpreted as establishing or limiting the protocol.
   V.5.1     Clause V.4 case a) examples
   V.5.1.1     A transmitted file is acceptable on a receiver. See Figure V.1.
                             Sender                                        Receiver




                                                      . . .
                                                      CFR

                                          Transmitting header and body
                                                                                  The file is acceptable
                                                   PPS-EOP

                                                      MCF

                                                      DCN
                                                                                  T0828260-98/d178




                        Figure V.1/T.30 – Transmitted file acceptable on a receiver


   A sender transmits header and body as the first ECM page. (PPS-NULL is transmitted in case of
   more than one ECM page data.) As a receiver recognizes that the file is acceptable from the header,
   it transmits MCF.
   V.5.1.2     A transmitted file is processed on a sender. See Figure V.2.
                                    Sender                                         Receiver
                                                                . . .




                                                               CFR

                                                Transmitting header and body
                                                                                         The file is not acceptable
                                                              PPS-EOP

                                                               FDM
                  The file is processed
                                                Transmitting header and body of
                                                         processed file
                                                                                         The file is acceptable
                                                              PPS-EOP

                                                               MCF

                                                               DCN
                                                                                          T0828270-98/d179




                         Figure V.2/T.30 – Transmitted file processed on a sender


   A sender transmits header and body as the first ECM page. As a receiver recognizes that the file is
   not acceptable from the header, it transmits FDM and notifies the sender with the diagnostic
   message. The sender processes the file from the content of FDM and transmits header and body of
   the processed file as the next ECM page.




   300        ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2459 Filed 01/18/22 Page 335 of 715


   V.5.1.3     A transmitted file is not processed on a sender. See Figure V.3.
                                       Sender                                        Receiver




                                                                 . . .
                                                                CFR

                                                   Transmitting header and body
                                                                                           The file is not acceptable
                                                               PPS-EOP

                                                                FDM
                 The file is not processed
                                                                DCN
                                                                                           T0828280-98/d180




                       Figure V.3/T.30 – Transmitted file not processed on a sender


   A sender transmits header and body as the first ECM page. As a receiver recognizes that the file is
   not acceptable from the header, it transmits FDM and notifies the sender of the diagnostic message.
   When the sender does not process the file from the content of FDM, it transmits DCN.
   V.5.2     Clause V.4 case b) examples
   V.5.2.1     A transmitted file is acceptable on a receiver. See Figure V.4.
                              Sender                                      Receiver
                                                       . . .




                                                       CFR

                                                Transmitting header
                                                                                  The file is acceptable
                                                    PPS-MPS

                                                      MCF

                                                Transmitting body
                                                                                  T0828290-98/d181




                         Figure V.4/T.30 – Transmitted file acceptable on a receiver


   A sender transmits header as the first ECM page. As a receiver recognizes that the file is acceptable
   from the header, it transmits MCF. The sender transmits body as the next ECM page.




                                                                                        ITU-T Rec. T.30 (09/2005)       301
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2460 Filed 01/18/22 Page 336 of 715


   V.5.2.2     A transmitted file is processed on a sender. See Figure V.5.
                                    Sender                                               Receiver




                                                                  . . .
                                                                  CFR
                                                         Transmitting header
                                                                                              The file is not acceptable
                                                               PPS-MPS

                                                                  FDM
                  The file is processed
                                               Transmitting header of processed file
                                                                                              The file is acceptable
                                                               PPS-MPS

                                                                  MCF

                                                   Transmitting body of processed file
                                                                                              T0828300-98/d182




                          Figure V.5/T.30 – Transmitted file processed on a sender


   A sender transmits header as the first ECM page. As a receiver recognizes that the file is not
   acceptable from the header, it transmits FDM and notifies the sender of the diagnostic message. The
   sender processes the file from the content of FDM and transmits header of the processed file as the
   next ECM page. The receiver transmits MCF and the sender transmits body of the processed file as
   the next ECM page.
   V.5.2.3     A transmitted file is not processed on a sender. See Figure V.6.
                                          Sender                                           Receiver
                                                                          . . .




                                                                      CFR
                                                            Transmitting header
                                                                                                The file is not acceptable
                                                                 PPS-MPS

                                                                      FDM
                The file is not processed
                                                                      DCN
                                                                                                T0828310-98/d183




                       Figure V.6/T.30 – Transmitted file not processed on a sender


   A sender transmits header as the first ECM page. As a receiver recognizes that the file is not
   acceptable from the header, it transmits FDM and notifies the sender of the diagnostic message.
   When the sender does not process the file from the content of FDM, it transmits DCN.

   V.6       Extended BFT Negotiation via Phase B Method
   Session examples for the Extended Phase B BFT method are provided. The examples below are
   based on flow diagrams and are for illustrative and instruction purposes only. They should not be
   interpreted as establishing or limiting the protocol.




   302       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2461 Filed 01/18/22 Page 337 of 715


   V.6.1     Identification of BFT Capabilities followed by BFT File Transfer Negotiations
             (Selection of extended negotiations via V.8)

                   Originator                                                                        Called Terminal
                                              <----------------------------------------   DES   Identify BFT Capabilities
           BFT Transfer Request        DEC    ---------------------------------------->
                                              <----------------------------------------   CFR   Accept BFT
                                                                                                Transfer Request
           BFT Message                        ---------------------------------------->
           PPS-EOP                            ---------------------------------------->
                                              <----------------------------------------   MCF
                                              ---------------------------------------->   DCN

   V.6.2     BFT File Transfer Negotiations in Phase B – Request rejected (Selection of extended
             negotiations via V.8)

                  Originator                                                                           Called Terminal
                                             <---------------------------------------     DES   Identify BFT Capabilities
        BFT Transfer Request           DEC   --------------------------------------->
                                             <---------------------------------------     FNV   Reject File Transfer Request
        Revise BFT Transfer Request    DEC   --------------------------------------->
                                             <---------------------------------------     CFR
        BFT Message                          --------------------------------------->
        PPS-EOP                              --------------------------------------->
                                             <---------------------------------------     MCF
                                             --------------------------------------->     DCN

   V.6.3     BFT File Transfer Request via Phase B (Single Step Indirect Entry)

                  Originator                                                                         Called Terminal
                                             <---------------------------------------     DIS   Extended BFT negs bit set
       BFT Transfer Request            DEC   --------------------------------------->
                                             <---------------------------------------     CFR
       BFT Message                           --------------------------------------->
       PPS-EOP                               --------------------------------------->
                                             <---------------------------------------     MCF
                                             --------------------------------------->     DCN

   V.6.4     BFT Capability Identification and File Transfer Request via Phase B (Indirect Entry)

                 Originator                                                                           Called Terminal
                                             <--------------------------------------      DIS   Extended BFT negs bit set
       Request Extended Capabilities   DER   --------------------------------------->
                                             <--------------------------------------      DES   I Identify BFT Capabilities
       BFT Transfer Request            DEC   --------------------------------------->
                                             <--------------------------------------      FNV   Reject File Transfer Request
       Revise BFT Transfer Request     DEC   --------------------------------------->
                                             <--------------------------------------      CFR   Accept BFT Transfer Request
       BFT Message                           --------------------------------------->
       PPS-EOP                               --------------------------------------->
                                             <--------------------------------------      MCF
                                             ---------------------------------------->    DCN

   Sample Coding Example for this case:
   Syntax of tag encoded data of first DER::=<Encapsulated Frame SG><SG Length><FIF of TSI
   Group><Group Length><TSI value>



                                                                                          ITU-T Rec. T.30 (09/2005)            303
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2462 Filed 01/18/22 Page 338 of 715


   Syntax of tag encoded data of DES response::=<BFT Negotiations SG><SG Length><File Types
   Group><Group Length><Sequence of Filetypes><Compression Types Group><Group
   Length><Sequence of Compression Types>
   Syntax of tag encoded data of DEC used for BFT Transfer Request::=<BFT Negotiations SG><SG
   Length><Transfer Request Group><Group Length><BFT tags for T.434 Binary Data Message>



                                                 Appendix VI

                                       Mixed Raster Content examples

   The following examples illustrate how the various image parameters may be combined and changed
   between strips and pages as a function of the DIS/DTC and DCS negotiations as defined in J.6. The
   relevant DIS/DTC and DCS bit definitions, per Table 2, are provided below:


         Bit       Definition                                           Bit    Definition
         15        200 × 200 pels/25.4 mm                               16     Two-dimensional
                                                                               coding
         31        T.6 coding                                           36     T.43 coding
         98        100 × 100 pels/25.4 mm                               42     300 × 300 pels/25.4 mm
         43        400 × 400 pels/25.4 mm                               68     JPEG coding
         71        12 bits/pel component                                73     No subsampling (1:1:1)
         74        Custom illuminant                                    75     Custom gamut range
         78        Single-progression sequential coding (ITU-T
                   Rec. T.85)

         Bits 92, 93, 94   T.44 (MRC) Mode Definition
         (1,0,0)           Base mode (Mode 1)
         (0,1,0)           Extended Mode beyond three layers (Mode 2)
   a)          In the example below, MMR (ITU-T Rec. T.6) and MH (ITU-T Rec. T.4, 1-D base mode)
               are the available bi-level coders. Switching between these two mask coders occurs on page
               boundary, the specific coder being used is identified in the Start of Page Marker Segment
               (SOP MS). JPEG and ITU-T Rec. T.43 are the available multilevel coders. JPEG or ITU-T
               Rec. T.43 may be used in either the background or foreground, switching between these
               two coders occurs on stripe boundary. Identification occurs in the data stream. The coders
               are made available for both layers by their identification in the SOP MS. Resolutions of
               400 × 400 and 200 × 200 pels/25.4 mm are available for the mask layer. Switching between
               these two mask resolutions occurs on page boundary, the specific resolution being used is
               identified in the Start of Page Marker Segment (SOP MS). Resolutions of 400 × 400, 200 ×
               200 and 100 × 100 pels/25.4 mm or 200 × 200 and 100 × 100 pels/25.4 mm are available
               for the background and foreground layers when the mask resolution is 400 × 400 or
               200 × 200 pels/25.4 mm respectively. Switching between these background and foreground
               resolutions occurs on stripe boundary. Identification occurs in the data stream. Only default
               colour resolution, subsampling, illuminant and gamut are available for the background and
               foreground layers.




   304          ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2463 Filed 01/18/22 Page 339 of 715



             Bits     15   16   31      36        98     42        43   68        71   73   74     75     78
           DIS        1     1      1    1         1      1         1    1         1    1     1     1      1
           DCS        1     0      1    1         1      0         1    1         0    0     0     0      0



                                             Spatial           Colour
                           Coder                                             Subsampling     Illuminant        Gamut
                                            resolution        resolution
    Page 1 stripe 1
    Mask              MMR                   400               na             na              na                na
    Background        ITU-T Rec. T.42       200               ” 8 bpc        (4:1:1)         D50               Default
    Foreground        ITU-T Rec. T.43       100               ” 8 bpc        (4:1:1)         D50               Default
    Page 1 stripe 2
    Mask              MMR                   400               na             na              na                na
    Background        ITU-T Rec. T.43       200               ” 8 bpc        (4:1:1)         D50               Default
    Foreground        ITU-T Rec. T.43       200               ” 8 bpc        (4:1:1)         D50               Default
    Page 1 stripe 3
    Mask              MMR                   400               na             na              na                na
    Background        ITU-T Rec. T.43       400               ” 8 bpc        (4:1:1)         D50               Default
    Foreground        ITU-T Rec. T.42       100               ” 8 bpc        (4:1:1)         D50               Default
    Page 2 stripe 1
    Mask              MH                    200               na             na              na                na
    Background        ITU-T Rec. T.43       100               ” 8 bpc        (4:1:1)         D50               Default
    Foreground        ITU-T Rec. T.42       200               ” 8 bpc        (4:1:1)         D50               Default
   b)      In the example below, JBIG (ITU-T Rec. T.85), MMR (ITU-T Rec. T.6) and MH (ITU-T
           Rec. T.4, 1-D base mode) are the available bi-level coders. Switching between these three
           mask coders occurs on page boundary; the specific coder being used is identified in the
           Start of Page Marker Segment (SOP MS). JPEG is the available multilevel coder. JPEG is
           used in both the background or foreground. The coder is made available for both layers by
           its identification in the SOP MS. Resolution of 300 × 300 pels/25.4 mm is available for the
           mask layer, it is identified in the Start of Page Marker Segment (SOP MS). Resolutions of
           300 × 300 and 100 × 100 pels/25.4 mm are available for the background and foreground
           layers. Switching between these two background and foreground resolutions occurs on
           stripe boundary. Identification occurs in the data stream. Switching between the two
           available colour resolutions (8 or 12 bits/component) and the two subsamplings (4:1:1 or
           1:1:1) in the background and foreground occurs on stripe boundary. Identification occurs in
           the data stream. Only default illuminant and gamut are available for the background and
           foreground layers.


             Bits     15   16   31      36        98     42        43   68        71   73   74     75     78
           DIS        1     1      1    1         1      1         1    1         1    1     1     1      1
           DCS        0     0      1    0         1      1         0    1         1    1     0     0      1




                                                                                  ITU-T Rec. T.30 (09/2005)         305
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2464 Filed 01/18/22 Page 340 of 715




                                         Spatial      Colour
                             Coder                                Subsampling    Illuminant    Gamut
                                        resolution   resolution
    Page 1 stripe 1
    Mask              MMR               300          na           na            na            na
    Background        ITU-T Rec. T.42   300          ” 12 bpc     (1:1:1)       D50           Default
                                        100
    Foreground        ITU-T Rec. T.42   100          ” 8 bpc      (4:1:1)       D50           Default
                                        100
    Page 1 stripe 2
    Mask              MMR               300          na           na            na            na
    Background        ITU-T Rec. T.42   300          ” 8 bpc      (4:1:1)       D50           Default
                                        100
    Foreground        ITU-T Rec. T.42   300          ” 8 bpc      (4:1:1)       D50           Default
                                        100
    Page 2 stripe 1
    Mask              JBIG              300          na           na            na            na
    Background        ITU-T Rec. T.42   100          ” 12 bpc     (4:1:1)       D50           Default
                                        100
    Foreground        ITU-T Rec. T.42   100          ” 12 bpc     (1:1:1)       D50           Default
                                        100
    Page 3 stripe 1
    Mask              MH                300          na           na            na            na
    Background        ITU-T Rec. T.42   100          ” 8 bpc      (4:1:1)       D50           Default
                                        100
    Foreground        ITU-T Rec. T.42   100          ” 8 bpc      (4:1:1)       D50           Default
                                        100
   c)      In the example below, MR (ITU-T Rec. T.4, 2-D) and MH (ITU-T Rec. T.4, 1-D base
           mode) are the available bi-level coders. Switching between these two mask coders occurs
           on page boundary, the specific coder being used is identified in the Start of Page Marker
           Segment (SOP MS). JPEG and ITU-T Rec. T.43 are the available multilevel coders. JPEG
           or ITU-T Rec. T.43 may be used in either the background or foreground; switching
           between these two coders occurs on stripe boundary. Identification occurs in the data
           stream. The coders are made available for both layers by their identification in the SOP MS.
           Resolution of 200 × 200 pels/25.4 mm is available for the mask layer, it is identified in the
           Start of Page Marker Segment (SOP MS). Resolutions of 200 × 200 and 100 × 100
           pels/25.4 mm are available for the background and foreground layers. Switching between
           these background and foreground resolutions occurs on stripe boundary. Identification
           occurs in the data stream. Switching between the two available colour resolutions (8 or 12
           bits/component) and the two subsamplings (4:1:1 or 1:1:1) in the background and
           foreground occurs on stripe boundary. Identification occurs in the data stream. Custom and
           default illuminant and gamut are available for the background and foreground layers.
           Switching between custom and default illuminant and gamut in the background and
           foreground occurs on stripe boundary. Identification occurs in the data stream.




   306      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2465 Filed 01/18/22 Page 341 of 715



             Bits      15    16     31   36    98     42     43    68           71   73   74     75      78
           DIS         1     1      1     1    1      1       1        1        1    1     1     1       1
           DCS         1     1      0     1    1      0       0        1        0    1     1     1       1



                                          Spatial          Colour
                            Coder                                          Subsampling      Illuminant        Gamut
                                         Resolution       Resolution
    Page 1 stripe 1
    Mask              MH                 200           na                  na              na                 na
    Background        ITU-T Rec. T.42 200              ” 8 bpc             (1:1:1)         Custom             Custom
    Foreground        ITU-T Rec. T.43 100              ” 8 bpc             (4:1:1)         D50                Default
    Page 1 stripe 2
    Mask              MH                 200           na                  na              na                 na
    Background        ITU-T Rec. T.43 200              ” 8 bpc             (1:1:1)         D50                Custom
    Foreground        ITU-T Rec. T.43 100              ” 8 bpc             (4:1:1)         Custom             Default
    Page 2 stripe 1
    Mask              MR                 200           na                  na              na                 na
    Background        ITU-T Rec. T.42 100              ” 8 bpc             (1:1:1)         D50                Default
    Foreground        ITU-T Rec. T.43 100              ” 8 bpc             (4:1:1)         D50                Default



                                               Appendix VII

                      Application rules for use of V.8 with Group 3 facsimile
   VII.1   Introduction
   ITU-T Rec. V.8 is used to identify the capabilities and select the modes of operation of modems
   whose application and requirements vary. Confusion may occur if two facsimile terminals try to
   connect using V.8. If V.34 is not a mutual mode, then applying the rules of modulation selection as
   specified in V.8 may result in V.17, V.29 or V.27 ter being selected as the highest common
   modulation for Sig C and Sig A. This is not what is desired for Group 3 Facsimile, since the correct
   Sig A is V.21 channel 2. This appendix provides guidance on how to use and interpret V.8 to avoid
   the incorrect selection of modulation.

   VII.2   Application rules
   The basis of these procedures is to use the V.8 Call Function octets to determine the proper
   interpretation of the Modulation codepoints. The following procedures are recommended.
   VII.2.1 Calling procedure
   When transmitting CM the calling terminal sets the required facsimile Call Function, and its
   supported modulation codepoints should be identified.
   VII.2.2 Answering procedure
   The answering terminal responds in the JM sequence by indicating in the Call Function octet that it
   is also a facsimile terminal and identifies its common modulations by setting the appropriate
   codepoints.


                                                                                ITU-T Rec. T.30 (09/2005)          307
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2466 Filed 01/18/22 Page 342 of 715


   VII.2.3 Decision procedure
   If the agreed Call Function is a facsimile transaction, and the highest common modulation selected
   by the terminals is either V.17, V.29 or V.27 ter, then upon completion of the V.8 negotiation the
   answering modem conditions its transmitter and the calling modem its receiver for V.21 Channel 2.
   The terminals continue with the procedures as defined in clause 5.
   NOTE – While the interpretation of the modulation bits for non-facsimile terminal applications is beyond the
   scope of this appendix, it is suggested the modulation bits be interpreted literally.



                                               Appendix VIII

                                Examples for Internet routing/polling

   NOTE – Signals indicated in parenthesis are optional.

   VIII.1 Internet routing using email fax through onramp and offramp gateways

                 Table VIII.1/T.30 – Phase 1: Calling facsimile terminal to the onramp
                                   gateway communication via T.30
                     Calling terminal                                      Onramp gateway
    1) Traditional facsimile user sets document in
       standard facsimile terminal with IRA option.
    2) Facsimile user introduces the international
       telephone number of the designated terminal to
       IRA.
       e.g., IRA: +41 1234 5678
       Alternatively an Email address of the designated
       terminal (PC email client, Internet aware
       facsimile terminal or standard facsimile terminal
       with optional Internet Address Exchange
       Protocol),
       e.g., ifax@ties.itu.int
       can be used, which is not applicable to this
       example.
    3) Facsimile user introduces optional additional
       information for the called destination:
       (SUB) e.g., SUB:130
       (SID)
    4) Facsimile user selects Internet Provider or
       accepts the pre-set one (local function).
    5) Facsimile user starts terminal.
       Terminal detects dial tone and dials telephone
       number of the gateway.
                                                           6) Gateway detects ring and answers the call
                                                              Transmit CED/Begin facsimile procedure
                                                           7) (Transmit CSI)
                                                              Transmit DIS with IRA-bit set;
                                                              optional SUB- and SID-bits set.




   308       ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2467 Filed 01/18/22 Page 343 of 715




               Table VIII.1/T.30 – Phase 1: Calling facsimile terminal to the onramp
                                 gateway communication via T.30
                    Calling terminal                                     Onramp gateway
   8) DIS detected
   9) (Transmit TSI)
      (Transmit SUB:130)
      (Transmit SID)
      Transmit IRA: +41 1234 5678
      Transmit DCS with IRA(/SUB/SID)-bit(s) set
   10) Continue with normal facsimile procedure          11) Continue with normal facsimile procedure
       (transmit fax message)                                (receive fax message)
                                                         12) Send Phase D confirmation to the calling
   13) Receive in Phase D confirmation from the              facsimile terminal.
       onramp gateway
   14) Switch back to telephone.                         15) Switch back to telephone.


    Table VIII.2/T.30 – Phase 2: Onramp gateway to offramp gateway communication via T.37
                                                            Offramp gateway/Internet aware facsimile
                   Onramp gateway
                                                                          terminal
   1) Communicate in T.37 mode of operation; map         2) Communicate in T.37 mode of operation;
      relevant information where applicable:                receive left hand side of email address.:
      IRA/(SUB)                                             Left hand side of email address
      –> Email address conforms to RFC 2304                 –> Phone number to be dialled: +41 1234 5678 //
      e.g., IRA: +41 1234 5678, SUB:130 are                 (SUB:130)
      designated by facsimile user, then email address
      is
      FAX=+4112345678/T33S=130@faxworld.org
      where the domain name "faxworld.org" is
      generated in the onramp gateway by the
      appropriate method, and the method is outside
      the scope of this appendix.
      Information from the following signals may be
      used for access or authentication purposes
      locally at the onramp gateway:
      (TSI)
      (SID)




                                                                        ITU-T Rec. T.30 (09/2005)       309
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2468 Filed 01/18/22 Page 344 of 715


                    Table VIII.3/T.30 – Phase 3: Offramp gateway communication
                               to the called facsimile terminal via T.30
                   Offramp gateway                                 Called facsimile terminal
    1) Gateway switches to line.
       Gateway detects dial tone, takes telephone
       number:
       +41 1234 5678 from left hand side of email
       address and dials this number.
                                                       2) Facsimile terminal detects ring and answers the
                                                          call
                                                          Transmit CED/Begin facsimile procedure
                                                       3) (Transmit CSI)
                                                          Transmit DIS; optional SUB- and SID-bits set.
    4) DIS detected
    5) (Transmit TSI of the offramp gateway)
       (Transmit SUB:130 extracted from left hand
       side of email address)
       (Transmit SID of the offramp gateway)
       Transmit DCS (with SUB/SID)-bit(s) set
    6) Continue with normal facsimile procedure        7) Continue with normal facsimile procedure
       (transmit fax message)                             (receive fax message)
                                                       8) Send Phase D confirmation to the calling
                                                          offramp gateway
    9) Receive in Phase D confirmation from the called
       facsimile terminal.
    10) Switch back to telephone.                      11) Switch back to telephone.

   VIII.2 Internet routing using real-time fax
   For further study.

   VIII.3 Internet polling
   For further study.




   310      ITU-T Rec. T.30 (09/2005)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2469 Filed 01/18/22 Page 345 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2470 Filed 01/18/22 Page 346 of 715




                         SERIES OF ITU-T RECOMMENDATIONS

   Series A   Organization of the work of ITU-T

   Series D   General tariff principles

   Series E   Overall network operation, telephone service, service operation and human factors

   Series F   Non-telephone telecommunication services

   Series G   Transmission systems and media, digital systems and networks

   Series H   Audiovisual and multimedia systems

   Series I   Integrated services digital network

   Series J   Cable networks and transmission of television, sound programme and other multimedia signals

   Series K   Protection against interference

   Series L   Construction, installation and protection of cables and other elements of outside plant

   Series M   Telecommunication management, including TMN and network maintenance

   Series N   Maintenance: international sound programme and television transmission circuits

   Series O   Specifications of measuring equipment

   Series P   Telephone transmission quality, telephone installations, local line networks

   Series Q   Switching and signalling

   Series R   Telegraph transmission

   Series S   Telegraph services terminal equipment

   Series T   Terminals for telematic services
   Series U   Telegraph switching

   Series V   Data communication over the telephone network

   Series X   Data networks, open system communications and security

   Series Y   Global information infrastructure, Internet protocol aspects and next-generation networks

   Series Z   Languages and general software aspects for telecommunication systems




                                                                                       Printed in Switzerland
                                                                                               Geneva, 2006
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2471 Filed 01/18/22 Page 347 of 715




                              Appendix C
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2472 Filed 01/18/22 Page 348 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2473 Filed 01/18/22 Page 349 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2474 Filed 01/18/22 Page 350 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2475 Filed 01/18/22 Page 351 of 715


 Copyright and License                                Trademark Credits

 © 2014 Copyright Hewlett-Packard                     Adobe®, Acrobat®, and PostScript® are
 Development Company, L.P.                            trademarks of Adobe Systems Incorporated.

 Reproduction, adaptation, or translation             Apple and the Apple logo are trademarks of
 without prior written permission is prohibited,      Apple Computer, Inc., registered in the U.S. and
 except as allowed under the copyright laws.          other countries. iPod is a trademark of Apple
                                                      Computer, Inc. iPod is for legal or rightholder-
 The information contained herein is subject to       authorized copying only. Don't steal music.
 change without notice.
                                                      Bluetooth is a trademark owned by its
 The only warranties for HP products and              proprietor and used by Hewlett-Packard
 services are set forth in the express warranty       Company under license.
 statements accompanying such products and
 services. Nothing herein should be construed         Java™ is a US trademark of Sun Microsystems,
 as constituting an additional warranty. HP shall     Inc.
 not be liable for technical or editorial errors or
 omissions contained herein.                          Microsoft®, Windows®, Windows® XP, and
                                                      Windows Vista® are U.S. registered trademarks
 Edition 1, 10/2014                                   of Microsoft Corporation.

 Part number: CF286-91027                             UNIX® is a registered trademark of The Open
                                                      Group.
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2476 Filed 01/18/22 Page 352 of 715




  Table of contents




  1 Product introduction ..................................................................................................................................... 1
                 Product views ........................................................................................................................................................ 2
                                  Product front view ............................................................................................................................... 2
                                  Product back view ............................................................................................................................... 3
                                  Serial number and model number location ........................................................................................ 3
                                  Control panel layout ............................................................................................................................ 4
                                  Control-panel Home screen ................................................................................................................ 4
                 Print product reports ............................................................................................................................................. 6
                 Printer sharing disclaimer ..................................................................................................................................... 7


  2 Paper tray ..................................................................................................................................................... 9
                 Supported paper sizes ......................................................................................................................................... 10
                 Supported paper types ........................................................................................................................................ 12
                 Load the input trays ............................................................................................................................................ 13
                                  Load Tray 1 ........................................................................................................................................ 13
                                  Load Tray 2 ........................................................................................................................................ 14
                                  Load optional Tray 3 ......................................................................................................................... 16


  3 Print ........................................................................................................................................................... 19
                 Supported printer drivers (Windows) .................................................................................................................. 20
                 Change print-job settings (Windows) .................................................................................................................. 21
                                  Priority for changing print-job settings ............................................................................................ 21
                                  Change the settings for all print jobs until the software program is closed ................................... 21
                                  Change the default settings for all print jobs ................................................................................... 21
                                  Change the product configuration settings ...................................................................................... 21
                 Change print-job settings (Mac OS X) .................................................................................................................. 23
                                  Priority for changing print-job settings ............................................................................................ 23
                                  Change the settings for all print jobs until the software program is closed ................................... 23
                                  Change the default settings for all print jobs ................................................................................... 23
                                  Change the product configuration settings ...................................................................................... 23
                 Print tasks for Windows ...................................................................................................................................... 24




  ENWW                                                                                                                                                                                      iii
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2477 Filed 01/18/22 Page 353 of 715


                                     Use a printing shortcut (Windows) ................................................................................................... 24
                                     Create a printing shortcut (Windows) ............................................................................................... 25
                                     Automatically print on both sides with Windows ............................................................................. 27
                                     Manually print on both sides with Windows ..................................................................................... 28
                                     Print multiple pages per sheet with Windows .................................................................................. 30
                                     Select the page orientation (Windows) ............................................................................................ 32
                                     Select the paper type (Windows) ...................................................................................................... 33
                                     Print the first or last page on different paper (Windows) ................................................................ 34
                                     Scale a document to fit page size (Windows) ................................................................................... 35
                                     Create a booklet (Windows) .............................................................................................................. 36
                    Print tasks for Mac OS X ...................................................................................................................................... 39
                                     Use a printing preset (Mac OS X) ....................................................................................................... 39
                                     Create a printing preset (Mac OS X) .................................................................................................. 39
                                     Automatically print on both sides (Mac OS X) .................................................................................. 39
                                     Manually print on both sides (Mac OS X) .......................................................................................... 39
                                     Print multiple pages on one sheet of paper (Mac OS X) ................................................................... 40
                                     Select the page orientation (Mac OS X) ............................................................................................ 41
                                     Select the paper type (Mac OS X) ...................................................................................................... 41
                                     Print a cover page (Mac OS X) ........................................................................................................... 41
                                     Scale a document to fit page size (Mac OS X) ................................................................................... 41
                                     Create a booklet (Mac OS X) .............................................................................................................. 42
                    Additional print tasks (Windows) ........................................................................................................................ 43
                                     Cancel a print job (Windows) ............................................................................................................. 43
                                     Select the paper size (Windows) ....................................................................................................... 43
                                     Select a custom paper size (Windows) ............................................................................................. 43
                                     Print watermarks (Windows) ............................................................................................................ 44
                    Additional print tasks (Mac OS X) ........................................................................................................................ 45
                                     Cancel a print job (Mac OS X) ............................................................................................................. 45
                                     Select the paper size (Mac OS X) ....................................................................................................... 45
                                     Select a custom paper size (Mac OS X) ............................................................................................. 45
                                     Print watermarks (Mac OS X) ............................................................................................................ 45
                    Create archival-quality prints ............................................................................................................................. 46
                    Use HP ePrint ....................................................................................................................................................... 47
                    Use AirPrint .......................................................................................................................................................... 48
                    Walk-up USB printing .......................................................................................................................................... 49


     4 Copy ........................................................................................................................................................... 51
                    Make a single copy ............................................................................................................................................... 52
                    Make multiple copies ........................................................................................................................................... 53
                    Copy a multiple-page original ............................................................................................................................. 54
                    Collate a copy job ................................................................................................................................................. 55


iv                                                                                                                                                                                 ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2478 Filed 01/18/22 Page 354 of 715


                 Copy on both sides (duplex) ................................................................................................................................ 56
                 Reduce or enlarge a copy .................................................................................................................................... 57
                 Copy identification cards ..................................................................................................................................... 58
                 Optimize copy quality .......................................................................................................................................... 59
                 Adjust the lightness or darkness for copies ........................................................................................................ 60
                 Copy in draft mode .............................................................................................................................................. 61
                 Set the paper size and type for copying on special paper .................................................................................. 62
                 Set new default copy settings ............................................................................................................................. 63
                 Restore copy default settings ............................................................................................................................. 64


  5 Scan ........................................................................................................................................................... 65
                 Scan by using the HP Scan software (Windows) ................................................................................................. 66
                 Scan by using the HP Scan software (Mac OS X) ................................................................................................. 67
                 Scan to a USB flash drive ..................................................................................................................................... 68
                 Set up scan to network folder and scan to email features ................................................................................. 69
                 Scan to a network folder ..................................................................................................................................... 70
                 Scan to email ....................................................................................................................................................... 71
                 Scan by using other software .............................................................................................................................. 72
                                  Scan from a TWAIN-compliant program ........................................................................................... 72
                                  Scan from a WIA-compliant program ............................................................................................... 72


  6 Fax ............................................................................................................................................................. 73
                 Connect fax to a telephone line .......................................................................................................................... 74
                 Set up fax with a telephone answering machine ................................................................................................ 74
                 Set up fax with an extension phone .................................................................................................................... 74
                 Setup for stand-alone fax ................................................................................................................................... 74
                 Configure the fax time, date, and header ........................................................................................................... 75
                                  Use the control panel ........................................................................................................................ 75
                                  Use the HP Fax Setup Wizard ............................................................................................................ 75
                 Use special characters in fax headers ................................................................................................................. 75
                 Use the phone book ............................................................................................................................................. 76
                                  Use the control panel to create and edit the fax phone book .......................................................... 76
                                  Delete phone book entries ................................................................................................................ 76
                                  Create and edit speed-dial entries .................................................................................................... 77
                                  Delete speed-dial entries .................................................................................................................. 78
                                  Create and edit group-dial entries .................................................................................................... 78
                                  Delete group-dial entries .................................................................................................................. 78
                 Configure send fax settings ................................................................................................................................ 80
                                  Set special dialing symbols and options .......................................................................................... 80
                                                   Set a dialing prefix .......................................................................................................... 80
                                  Set the dial tone detection ................................................................................................................ 80


  ENWW                                                                                                                                                                                      v
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2479 Filed 01/18/22 Page 355 of 715


                                           Tone dial or pulse dial ..................................................................................................... 81
                         Set autoredial and the time between redials ................................................................................... 81
                         Set light/dark and resolution ............................................................................................................ 82
                                           Set the default light/dark (contrast) setting ................................................................. 82
                                           Set resolution settings ................................................................................................... 82
                         Set billing codes ................................................................................................................................ 82
        Configure receive fax settings ............................................................................................................................ 84
                         Set fax forwarding ............................................................................................................................. 84
                         Set the answer mode ........................................................................................................................ 84
                         Block or unblock fax numbers .......................................................................................................... 84
                         Set the number of rings-to-answer .................................................................................................. 85
                         Set distinctive ring ............................................................................................................................ 86
                         Set notification for new fax received to computer ........................................................................... 86
                         Use autoreduction for incoming faxes ............................................................................................. 86
                         Set fax reprint settings ..................................................................................................................... 87
                         Set the fax sounds volume ............................................................................................................... 87
                                           Set the alarm volume, phone-line volume, and ring volume ........................................ 87
                         Set stamp-received faxes ................................................................................................................. 87
                         Set the private receive feature ......................................................................................................... 88
        Set fax polling ...................................................................................................................................................... 88
        Use fax ................................................................................................................................................................. 89
                         Supported fax programs ................................................................................................................... 89
                         Cancel a fax ....................................................................................................................................... 89
                                           Cancel the current fax ..................................................................................................... 89
                                           Cancel a pending fax job ................................................................................................. 89
                         Delete faxes from memory ............................................................................................................... 89
                         Use fax on a DSL, PBX, or ISDN system ............................................................................................. 90
                                           DSL .................................................................................................................................. 90
                                           PBX .................................................................................................................................. 90
                                           ISDN ................................................................................................................................. 90
                         Use fax on a VoIP service .................................................................................................................. 90
                         Fax memory contents are retained when there is a loss of power .................................................. 91
                         Security issues when connecting internal networks to public phone lines ..................................... 91
                         Fax from the flatbed scanner ........................................................................................................... 91
                         Fax from the document feeder ......................................................................................................... 92
                         Use speed dials and group-dial entries ............................................................................................ 92
                         Send a fax from the software ........................................................................................................... 93
                         Send a fax by dialing from a telephone connected to the fax line ................................................... 95
                         Send a fax with confirmation ............................................................................................................ 95
                         Schedule a fax to be sent later ......................................................................................................... 95
                         Send a fax combining an electronic and paper document ............................................................... 96



vi                                                                                                                                                                       ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2480 Filed 01/18/22 Page 356 of 715


                          Use access codes, credit cards, or calling cards ............................................................................... 96
                                           Send faxes internationally ............................................................................................. 96
                          Print a fax .......................................................................................................................................... 97
                          Reprint a fax ...................................................................................................................................... 98
                          Automatically print on both sides of received faxes ........................................................................ 99
                          Receive faxes when fax tones are audible on the phone line .......................................................... 99
                          Receive faxes to a computer ............................................................................................................. 99
                                           Print a stored fax when the private receive feature is on ............................................. 99
          Solve fax problems ............................................................................................................................................ 100
                          Fax troubleshooting checklist ........................................................................................................ 100
                          Fax trace report ............................................................................................................................... 102
                          Fax error report printing ................................................................................................................. 102
                                           Print all fax reports ....................................................................................................... 102
                                           Print individual fax reports ........................................................................................... 102
                                           Set the fax error report ................................................................................................ 103
                          Set the fax-error-correction mode ................................................................................................. 103
                          Change the fax speed ...................................................................................................................... 103
                          Fax error messages ......................................................................................................................... 104
                          Solve problems sending faxes ....................................................................................................... 0
                                           An error message displays on the control panel ......................................................... 0
                                                            The Communication error. message appears ........................................... 0
                                                            No dial tone. ............................................................................................... 0
                                                            The Fax is busy. message appears ............................................................ 0
                                                            The No fax answer. message appears ....................................................... 0
                                                            Document feeder paper jam ...................................................................... 0
                                                            The Fax storage is full. message appears ................................................. 0
                                                            Scanner error ............................................................................................. 0
                                           The control panel displays a Ready message with no attempt to send the fax ......... 0
                                           The control panel displays the message "Storing page 1" and does not progress
                                           beyond that message ................................................................................................... 0
                                           Faxes can be received, but not sent ............................................................................. 0
                                           Product is password protected .................................................................................... 0
                                           Unable to use fax functions from the control panel ................................................... 0
                                           Unable to use speed dials ............................................................................................ 0
                                           Unable to use group dials ............................................................................................ 0
                                           Receive a recorded error message from the phone company when trying to send
                                           a fax .............................................................................................................................. 0
                                           Unable to send a fax when a phone is connected to the product ............................... 0
                          Solve problems receiving faxes ..................................................................................................... 0
                                           The fax does not respond ............................................................................................ 0
                                                            The fax has a dedicated phone line ........................................................... 0



  ENWW                                                                                                                                                                                vii
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2481 Filed 01/18/22 Page 357 of 715


                                                                   An answering machine is connected to the product ................................. 114
                                                                   A telephone handset is connected to the product .................................... 115
                                                                   The Answer Mode setting is set to the Manual setting ............................. 115
                                                                   Voice mail is available on the fax line ........................................................ 115
                                                                   The product is connected to a DSL phone service ..................................... 116
                                                                   The product uses a fax over IP or VoIP phone service ............................... 116
                                                  An error message displays on the control panel ......................................................... 116
                                                                   The No fax detected. message appears .................................................... 116
                                                                   The Communication error. message appears ........................................... 117
                                                                   The Fax storage is full. message appears ................................................. 118
                                                                   The Fax is busy. message appears ............................................................ 118
                                                  A fax is received but does not print .............................................................................. 118
                                                                   The Private Receive feature is on .............................................................. 118
                                                  Sender receives a busy signal ...................................................................................... 118
                                                                   A handset is connected to the product ...................................................... 118
                                                                   A phone line splitter is being used ............................................................. 119
                                                  No dial tone ................................................................................................................... 119
                                                  Cannot send or receive a fax on a PBX line .................................................................. 119
                                 Solve general fax problems ............................................................................................................ 119
                                                  Faxes are sending slowly ............................................................................................. 119
                                                  Fax quality is poor ........................................................................................................ 120
                                                  Fax cuts off or prints on two pages .............................................................................. 121


   7 Manage and maintain ................................................................................................................................. 123
                 Use the HP Reconfiguration Utility to change the product connection ........................................................... 124
                 Set up HP Wireless Direct Printing .................................................................................................................... 125
                 Use HP Web Services applications .................................................................................................................... 126
                 Configure IP network settings ........................................................................................................................... 127
                                 View or change network settings ................................................................................................... 127
                                 Manually configure IPv4 TCP/IP parameters from the control panel ............................................ 127
                                 Rename the product on a network ................................................................................................. 127
                                 Link speed and duplex settings ...................................................................................................... 129
                 HP Device Toolbox (Windows) ........................................................................................................................... 130
                 HP Utility for Mac OS X ....................................................................................................................................... 132
                                 Open the HP Utility .......................................................................................................................... 132
                                 HP Utility features ........................................................................................................................... 132
                 HP Web Jetadmin ............................................................................................................................................... 133
                 Product security features .................................................................................................................................. 134
                                 Lock the product ............................................................................................................................. 134
                                 Set or change the product password .............................................................................................. 134
                 Economy settings .............................................................................................................................................. 135


viii                                                                                                                                                                       ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2482 Filed 01/18/22 Page 358 of 715


                                 Print with EconoMode ..................................................................................................................... 135
                                 Set the sleep delay .......................................................................................................................... 135
                                 Set the auto power down interval .................................................................................................. 135
                Print when a toner cartridge is at estimated end of life ................................................................................... 137
                                 Enable or disable the At Very Low settings .................................................................................... 137
                Store and recycle supplies ................................................................................................................................ 139
                                 Recycle supplies .............................................................................................................................. 139
                                 Toner cartridge storage .................................................................................................................. 139
                Replacement instructions ................................................................................................................................. 140
                                 Change the toner cartridge ............................................................................................................. 140
                Memory .............................................................................................................................................................. 142
                Update the firmware ......................................................................................................................................... 143
                                 Manually update the firmware ....................................................................................................... 143
                                 Set the product to automatically update the firmware ................................................................. 143


  8 Solve problems .......................................................................................................................................... 145
                Solve problems checklist .................................................................................................................................. 146
                                 Step 1: Make sure that the product is set up correctly .................................................................. 146
                                 Step 2: Check the cabling or wireless connection .......................................................................... 146
                                 Step 3: Check the control panel for error messages ...................................................................... 147
                                 Step 4: Check the paper .................................................................................................................. 147
                                 Step 5: Check the software ............................................................................................................. 147
                                 Step 6: Test print functionality ....................................................................................................... 147
                                 Step 7: Test copy functionality ....................................................................................................... 147
                                 Step 8: Check the toner cartridge ................................................................................................... 147
                                 Step 9: Try sending a print job from a computer ........................................................................... 147
                                 Step 10: Verify that the product is on the network ........................................................................ 147
                Restore the factory-set defaults ...................................................................................................................... 148
                Control panel help system ................................................................................................................................ 149
                Interpret control panel messages ..................................................................................................................... 150
                                 Control panel message types ......................................................................................................... 150
                                 Control panel messages ................................................................................................................. 150
                                                  49 Error, Turn off then on ............................................................................................. 150
                                                  50.x Fuser Error ............................................................................................................ 150
                                                  51.XX Error .................................................................................................................... 150
                                                  54.XX Error .................................................................................................................... 151
                                                  55.X Error ...................................................................................................................... 151
                                                  57 Fan Error, Turn off then on ...................................................................................... 151
                                                  59.X Error ...................................................................................................................... 152
                                                  79 Error Turn off then on .............................................................................................. 152
                                                  79 Service error ............................................................................................................ 152


  ENWW                                                                                                                                                                                      ix
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2483 Filed 01/18/22 Page 359 of 715


                                          Black cartridge low ....................................................................................................... 152
                                          Black cartridge very low ............................................................................................... 153
                                          Cleaning ........................................................................................................................ 153
                                          Device error, press OK .................................................................................................. 153
                                          Door open ..................................................................................................................... 153
                                          Genuine HP supply installed ......................................................................................... 153
                                          Incompatible black ....................................................................................................... 154
                                          Install black cartridge ................................................................................................... 154
                                          Invalid driver Press [OK] ............................................................................................... 154
                                          Jam in Tray 1, Clear jam and then press OK ................................................................. 154
                                          Load Tray 1 <TYPE> <SIZE>, Press OK to use available media ................................... 154
                                          Load Tray 1, <PLAIN> <SIZE> / Cleaning mode, OK to start ........................................ 154
                                          Load tray <X> Press [OK] for available media ............................................................. 155
                                          Load tray <X> <TYPE> <SIZE> ...................................................................................... 155
                                          Manual Duplex Load Tray 1, Press OK .......................................................................... 155
                                          Manual feed <SIZE> <TYPE>, Press OK to use available media .................................. 155
                                          Memory is low. Press OK. ............................................................................................. 155
                                          Misprint, Press OK ......................................................................................................... 156
                                          Print failure, press OK. If error repeats, turn off then on. ........................................... 156
                                          Rear door open ............................................................................................................. 156
                                          Remove shipping material from toner cartridge ......................................................... 156
                                          Replace black cartridge ................................................................................................ 156
                                          Unexpected size in tray <X> Load <size> Press [OK] ................................................... 157
                                          Unsupported black cartridge Press [OK] to continue .................................................. 157
                                          Used black cartridge is installed Press [OK] to continue ............................................. 157
        Paper feeds incorrectly or becomes jammed ................................................................................................... 158
                         The product does not pick up paper ............................................................................................... 158
                         The product picks up multiple sheets of paper .............................................................................. 158
                         Prevent paper jams ......................................................................................................................... 158
        Clear jams .......................................................................................................................................................... 159
                         Jam locations .................................................................................................................................. 159
                         Clear jams from the document feeder ............................................................................................ 160
                         Clear a jam in Tray 1 ........................................................................................................................ 161
                         Clear a jam in Tray 2 ........................................................................................................................ 163
                         Clear a jam in optional Tray 3 ......................................................................................................... 165
                         Clear jams from the output bin ....................................................................................................... 166
                         Clear a jam in the duplexer area ..................................................................................................... 166
                         Clear a jam in the fuser area ........................................................................................................... 167
        Improve print quality ......................................................................................................................................... 169
                         Check the paper type setting (Windows) ........................................................................................ 169
                         Check the paper type setting (Mac OS X) ........................................................................................ 169



x                                                                                                                                                                     ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2484 Filed 01/18/22 Page 360 of 715


                          Check toner cartridge status .......................................................................................................... 170
                                          Print the supplies status page ...................................................................................... 170
                                          Check the supplies status ............................................................................................. 170
                          Print a cleaning page ...................................................................................................................... 170
                          Inspect the toner cartridge for damage ......................................................................................... 170
                          Check the paper and printing environment .................................................................................... 171
                                          Use paper that meets HP specifications ...................................................................... 171
                                          Check the product environment ................................................................................... 172
                          Check print job settings .................................................................................................................. 172
                                          Check the EconoMode setting ...................................................................................... 172
                          Use the print driver that best meets your printing needs .............................................................. 172
          Solve copy quality problems ............................................................................................................................. 174
                          Check the scanner glass for dirt and smudges ............................................................................... 174
                          Check the paper settings ................................................................................................................ 175
                          Optimize for text or pictures .......................................................................................................... 175
                          Edge-to-edge copying .................................................................................................................... 176
                          Clean the pickup rollers and separation pad in the document feeder ........................................... 176
          Solve scan quality problems ............................................................................................................................. 178
                          Check the scanner glass for dirt and smudges ............................................................................... 178
                          Check the resolution settings ......................................................................................................... 178
                          Check the color settings .................................................................................................................. 179
                          Optimize for text or pictures .......................................................................................................... 179
                          Clean the pickup rollers and separation pad in the document feeder ........................................... 180
          Solve scan to email problems ........................................................................................................................... 182
                          Cannot connect to the email server ................................................................................................ 182
                          The email failed ............................................................................................................................... 182
                          Unable to scan ................................................................................................................................. 182
          Solve scan to network folder problems ............................................................................................................ 183
                          The scan failed ................................................................................................................................ 183
          Solve fax quality problems ............................................................................................................................... 184
                          Check the scanner glass for dirt and smudges ............................................................................... 184
                          Check the send-fax resolution setting ........................................................................................... 184
                          Optimize for text or pictures .......................................................................................................... 185
                          Check the error correction setting .................................................................................................. 185
                          Send to a different fax machine ..................................................................................................... 186
                          Clean the pickup rollers and separation pad in the document feeder ........................................... 186
                          Check the fit-to-page setting ......................................................................................................... 187
                          Check the sender's fax machine ..................................................................................................... 187
                          Perform a fax diagnostic test ......................................................................................................... 188
          The product does not print or it prints slowly .................................................................................................. 189
                          The product does not print ............................................................................................................. 189



  ENWW                                                                                                                                                                           xi
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2485 Filed 01/18/22 Page 361 of 715


                       The product prints slowly ............................................................................................................... 189
        Solve walk-up USB printing problems .............................................................................................................. 190
                       The USB Flash Drive menu does not open when you insert the USB accessory ............................ 190
                       The file does not print from the USB storage accessory ............................................................... 190
                       The file that you want to print is not listed in the USB Flash Drive menu ..................................... 190
        Solve direct connection problems .................................................................................................................... 191
        Solve wired network problems ......................................................................................................................... 192
                       Poor physical connection ................................................................................................................ 192
                       The computer is using the incorrect IP address for the product ................................................... 192
                       The computer is unable to communicate with the product ........................................................... 192
                       The product is using incorrect link and duplex settings for the network ...................................... 193
                       New software programs might be causing compatibility problems ............................................. 193
                       The computer or workstation might be set up incorrectly ............................................................ 193
                       The product is disabled, or other network settings are incorrect ................................................. 193
        Solve wireless network problems ..................................................................................................................... 194
                       Wireless connectivity checklist ....................................................................................................... 194
                       The product does not print after the wireless configuration completes ...................................... 194
                       The product does not print, and the computer has a third-party firewall installed ..................... 195
                       The wireless connection does not work after moving the wireless router or product ................. 195
                       Cannot connect more computers to the wireless product ............................................................. 195
                       The wireless product loses communication when connected to a VPN ........................................ 195
                       The network does not appear in the wireless networks list .......................................................... 195
                       The wireless network is not functioning ........................................................................................ 195
                       Perform a wireless network diagnostic test .................................................................................. 196
                       Reduce interference on a wireless network ................................................................................... 196
        Solve product software problems with Windows ............................................................................................. 197
                       A print driver for the product is not visible in the Printer folder ................................................... 197
                       An error message was displayed during the software installation ............................................... 197
                       The product is in Ready mode, but nothing prints ......................................................................... 197
        Solve product software problems with Mac OS X ............................................................................................. 199
                       The print driver is not listed in the Print & Fax or Print & Scan list ................................................ 199
                       The product name does not appear in the product list in the Print & Fax or Print & Scan list ...... 199
                       The print driver does not automatically set up the selected product in the Print & Fax or Print
                       & Scan list ........................................................................................................................................ 199
                       A print job was not sent to the product that you wanted .............................................................. 199
                       When connected with a USB cable, the product does not appear in the Print & Fax or Print &
                       Scan list after the driver is selected. .............................................................................................. 200
                       You are using a generic print driver when using a USB connection ............................................... 200
        Remove software (Windows) ............................................................................................................................ 201
        Remove software (Mac OS X) ............................................................................................................................ 202




xii                                                                                                                                                                 ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2486 Filed 01/18/22 Page 362 of 715


  9 Supplies and accessories ............................................................................................................................ 203
                 Order parts, accessories, and supplies ............................................................................................................. 204
                 HP policy on non-HP supplies ........................................................................................................................... 204
                 HP anticounterfeit Web site .............................................................................................................................. 204


  Index ........................................................................................................................................................... 205




  ENWW                                                                                                                                                                        xiii
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2487 Filed 01/18/22 Page 363 of 715




xiv                                                                         ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2488 Filed 01/18/22 Page 364 of 715




  1       Product introduction




          ●   Product views

          ●   Print product reports

          ●   Printer sharing disclaimer




  ENWW                                                                             1
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2489 Filed 01/18/22 Page 365 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2490 Filed 01/18/22 Page 366 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2491 Filed 01/18/22 Page 367 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2492 Filed 01/18/22 Page 368 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2493 Filed 01/18/22 Page 369 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2494 Filed 01/18/22 Page 370 of 715



  Printer sharing disclaimer
          HP does not support peer-to-peer networking, as the feature is a function of Microsoft operating systems
          and not of the HP printer drivers. Go to Microsoft at www.microsoft.com.




  ENWW                                                                                   Printer sharing disclaimer   7
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2495 Filed 01/18/22 Page 371 of 715




8   Chapter 1 Product introduction                                          ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2496 Filed 01/18/22 Page 372 of 715




  2       Paper tray




          ●   Supported paper sizes

          ●   Supported paper types

          ●   Load the input trays




  ENWW                                                                             9
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2497 Filed 01/18/22 Page 373 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2498 Filed 01/18/22 Page 374 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2499 Filed 01/18/22 Page 375 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2500 Filed 01/18/22 Page 376 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2501 Filed 01/18/22 Page 377 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2502 Filed 01/18/22 Page 378 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2503 Filed 01/18/22 Page 379 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2504 Filed 01/18/22 Page 380 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2505 Filed 01/18/22 Page 381 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2506 Filed 01/18/22 Page 382 of 715




  3       Print




          ●   Supported printer drivers (Windows)

          ●   Change print-job settings (Windows)

          ●   Change print-job settings (Mac OS X)

          ●   Print tasks for Windows

          ●   Print tasks for Mac OS X

          ●   Additional print tasks (Windows)

          ●   Additional print tasks (Mac OS X)

          ●   Create archival-quality prints

          ●   Use HP ePrint

          ●   Use AirPrint

          ●   Walk-up USB printing




  ENWW                                                                            19
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2507 Filed 01/18/22 Page 383 of 715



 Supported printer drivers (Windows)
            Printer drivers provide access to the product features and allow the computer to communicate with the
            product (using a printer language). Check the installation notes and readme files on the product CD for
            additional software and languages.

 HP PCL 6 driver description
            ●    Installs automatically when installing the product software

            ●    Provided as the default driver

            ●    Recommended for printing in all supported Windows environments

            ●    Provides the overall best speed, print quality, and product-feature support for most users

            ●    Developed to align with the Windows Graphic Device Interface (GDI) for the best speed in Windows
                 environments

            ●    Might not be fully compatible with third-party and custom software programs that are based on PCL 5

 HP UPD PS driver description
            ●    Available for download from the Web at www.hp.com/support/ljm425series

            ●    Recommended for printing with Adobe® software programs or with other highly graphics-intensive
                 software programs

            ●    Provides support for printing from postscript emulation needs, or for postscript flash font support

 HP UPD PCL 5 driver description
            ●    Available for download from the Web at www.hp.com/support/ljm425series

            ●    Compatible with previous PCL versions and older HP LaserJet products

            ●    The best choice for printing from third-party or custom software programs

            ●    Designed for use in corporate Windows environments to provide a single driver for use with multiple
                 printer models

            ●    Preferred when printing to multiple printer models from a mobile Windows computer

 HP UPD PCL 6 driver description
            ●    Available for download from the Web at www.hp.com/support/ljm425series

            ●    Recommended for printing in all supported Windows environments

            ●    Provides the overall best speed, print quality, and product-feature support for most users

            ●    Developed to align with the Windows Graphic Device Interface (GDI) for the best speed in Windows
                 environments

            ●    Might not be fully compatible with third-party and custom software programs that are based on PCL 5




20   Chapter 3 Print                                                                                               ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2508 Filed 01/18/22 Page 384 of 715



  Change print-job settings (Windows)
  Priority for changing print-job settings
          Changes to print settings are prioritized depending on where the changes are made:

          NOTE: The names of commands and dialog boxes might vary depending on your software program.

          ●    Page Setup dialog box: Click Page Setup or a similar command on the File menu of the program you
               are working in to open this dialog box. Settings changed here override settings changed anywhere else.

          ●    Print dialog box: Click Print, Print Setup, or a similar command on the File menu of the program you
               are working in to open this dialog box. Settings changed in the Print dialog box have a lower priority and
               usually do not override changes made in the Page Setup dialog box.

          ●    Printer Properties dialog box (printer driver): Click Properties in the Print dialog box to open the
               printer driver. Settings changed in the Printer Properties dialog box usually do not override settings
               anywhere else in the printing software. You can change most of the print settings here.

          ●    Default printer driver settings: The default printer driver settings determine the settings used in all
               print jobs, unless settings are changed in the Page Setup, Print, or Printer Properties dialog boxes.

          ●    Printer control panel settings: Settings changed at the printer control panel have a lower priority than
               changes made anywhere else.

  Change the settings for all print jobs until the software program is closed
          1.   From the software program, select the Print option.

          2.   Select the driver, and then click Properties or Preferences.

  Change the default settings for all print jobs
          1.   Windows XP, Windows Server 2003, and Windows Server 2008 (using the default Start menu view):
               Click Start, and then click Printers and Faxes.

               Windows XP, Windows Server 2003, and Windows Server 2008 (using the Classic Start menu view):
               Click Start, click Settings, and then click Printers.

               Windows Vista: Click Start, click Control Panel, and then in the category for Hardware and Sound click
               Printer.

               Windows 7: Click Start, and then click Devices and Printers.

          2.   Right-click the driver icon, and then select Printing Preferences.

  Change the product configuration settings
          1.   Windows XP, Windows Server 2003, and Windows Server 2008 (using the default Start menu view):
               Click Start, and then click Printers and Faxes.

               Windows XP, Windows Server 2003, and Windows Server 2008 (using the Classic Start menu view):
               Click Start, click Settings, and then click Printers.

               Windows Vista: Click Start, click Control Panel, and then in the category for Hardware and Sound click
               Printer.



  ENWW                                                                          Change print-job settings (Windows)       21
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2509 Filed 01/18/22 Page 385 of 715


                 Windows 7: Click Start, and then click Devices and Printers.

            2.   Right-click the driver icon, and then select Properties or Printer properties.

            3.   Click the Device Settings tab.




22   Chapter 3 Print                                                                              ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2510 Filed 01/18/22 Page 386 of 715



  Change print-job settings (Mac OS X)
  Priority for changing print-job settings
          Changes to print settings are prioritized depending on where the changes are made:

          NOTE: The names of commands and dialog boxes might vary depending on your software program.

          ●    Page Setup dialog box: Click Page Setup or a similar command on the File menu of the program you
               are working in to open this dialog box. Settings changed here might override settings changed
               anywhere else.

          ●    Print dialog box: Click Print, Print Setup, or a similar command on the File menu of the program you
               are working in to open this dialog box. Settings changed in the Print dialog box have a lower priority and
               do not override changes made in the Page Setup dialog box.

          ●    Default print driver settings: The default print driver settings determine the settings used in all print
               jobs, unless settings are changed in the Page Setup or Print dialog boxes.

          ●    Printer control panel settings: Settings changed at the printer control panel have a lower priority than
               changes made anywhere else.

  Change the settings for all print jobs until the software program is closed
          1.   On the File menu, click the Print item.

          2.   In the Printer menu, select this product.

          3.   From the settings drop-down list, change the settings that you want to change.

  Change the default settings for all print jobs
          1.   On the File menu, click the Print item.

          2.   In the Printer menu, select this product.

          3.   From the settings drop-down list, change the settings that you want to change.

          4.   On the Presets menu, click the Save As... option and type a name for the preset.

          These settings are saved in the Presets menu. To use the new settings, you must select the saved preset
          option every time you open a program and print.

  Change the product configuration settings
          1.   From the Apple menu      , click the System Preferences menu and then click the Print & Fax icon.

          2.   Select the product in the left side of the window.

          3.   Click the Options & Supplies button.

          4.   Click the Driver tab.

          5.   Configure the installed options.




  ENWW                                                                           Change print-job settings (Mac OS X)      23
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2511 Filed 01/18/22 Page 387 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2512 Filed 01/18/22 Page 388 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2513 Filed 01/18/22 Page 389 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2514 Filed 01/18/22 Page 390 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2515 Filed 01/18/22 Page 391 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2516 Filed 01/18/22 Page 392 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2517 Filed 01/18/22 Page 393 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2518 Filed 01/18/22 Page 394 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2519 Filed 01/18/22 Page 395 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2520 Filed 01/18/22 Page 396 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2521 Filed 01/18/22 Page 397 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2522 Filed 01/18/22 Page 398 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2523 Filed 01/18/22 Page 399 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2524 Filed 01/18/22 Page 400 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2525 Filed 01/18/22 Page 401 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2526 Filed 01/18/22 Page 402 of 715



  Print tasks for Mac OS X
  Use a printing preset (Mac OS X)
          1.   On the File menu, click the Print option.

          2.   In the Printer menu, select this product.

          3.   In the Presets menu, select the printing preset.

          4.   Click the Print button.

          NOTE: To use printer-driver default settings, select the standard option.


  Create a printing preset (Mac OS X)
          Use printing presets to save the current printer driver settings for reuse.

          1.   On the File menu, click the Print option.

          2.   In the Printer menu, select this product.

          3.   Select the print settings that you want to save for reuse.

          4.   In the Presets menu, click the Save As... option, and type a name for the preset.

          5.   Click the OK button.

  Automatically print on both sides (Mac OS X)
          1.   Insert enough paper into one of the trays to accommodate the print job.

          2.   On the File menu, click the Print option.

          3.   In the Printer drop-down list, select this product.

          4.   Select the Layout drop-down item.

          5.   From the Two-Sided drop-down list, select a binding option.

          6.   Click the Print button.

  Manually print on both sides (Mac OS X)
          NOTE: This product includes an automatic two-sided printing feature. However, the product also can print
          two-sided jobs manually if the paper is not supported by automatic two-sided printing, or if the duplex unit
          has been disabled.

          1.   Insert enough paper into Tray 1 to accommodate the print job.

          2.   On the File menu, click the Print option.

          3.   In the Printer drop-down list, select this product.

          4.   Select the Manual Duplex drop-down item.

          5.   Click the Manual Duplex check box, and then select a binding option.




  ENWW                                                                                      Print tasks for Mac OS X     39
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2527 Filed 01/18/22 Page 403 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2528 Filed 01/18/22 Page 404 of 715


          6.   From the Borders menu, select the type of border to print around each page on the sheet.

          7.   Click the Print button.

  Select the page orientation (Mac OS X)
          1.   On the File menu, click the Print option.

          2.   In the Printer menu, select this product.

          3.   In the Copies & Pages menu, click the Page Setup button.

          4.   Click the icon that represents the page orientation that you want to use, and then click the OK button.

          5.   Click the Print button.

  Select the paper type (Mac OS X)
          1.   On the File menu, click the Print option.

          2.   In the Printer menu, select this product.

          3.   Open the Finishing menu.

          4.   Select a type from the Media-type drop-down list.

          5.   Click the Print button.

  Print a cover page (Mac OS X)
          1.   On the File menu, click the Print option.

          2.   In the Printer menu, select this product.

          3.   Open the Cover Page menu, and then select where to print the cover page. Click either the Before
               Document button or the After Document button.

          4.   In the Cover Page Type menu, select the message that you want to print on the cover page.

               NOTE: To print a blank cover page, select the standard option from the Cover Page Type menu.

          5.   Click the Print button.

  Scale a document to fit page size (Mac OS X)
          1.   On the File menu, click the Print option.

          2.   In the Printer menu, select this product.

          3.   Open the Paper Handling menu.

          4.   In the Destination Paper Size area, click the Scale to fit paper size box, and then select the size from
               the drop-down list.

          5.   Click the Print button.




  ENWW                                                                                       Print tasks for Mac OS X     41
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2529 Filed 01/18/22 Page 405 of 715



 Create a booklet (Mac OS X)
            1.   On the File menu, click the Print option.

            2.   In the Printer menu, select this product.

            3.   Open the Manual Duplex menu.

            4.   Click the Manual Duplex box.

            5.   Open the Booklet Printing menu.

            6.   Click the Format Output as Booklet box, and select a binding option.

            7.   Select the paper size.

            8.   Click the Print button.




42   Chapter 3 Print                                                                    ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2530 Filed 01/18/22 Page 406 of 715



  Additional print tasks (Windows)
  Cancel a print job (Windows)
          1.   If the print job is currently printing, cancel it by pressing the Cancel    button on the product control
               panel.

               NOTE: Pressing the Cancel button clears the job that the product is currently processing. If more
               than one process is running, pressing the Cancel button clears the process that currently appears on
               the product control panel.

          2.   You can also cancel a print job from a software program or a print queue.

               ●    Software program: Typically, a dialog box appears briefly on the computer screen, allowing you
                    to cancel the print job.

               ●    Windows print queue: If a print job is waiting in a print queue (computer memory) or print spooler,
                    delete the job there.

                    ◦     Windows XP, Server 2003, or Server 2008: Click Start, click Settings, and then click Printers
                          and Faxes. Double-click the product icon to open the window, right-click the print job that
                          you want to cancel, and then click Cancel.

                    ◦     Windows Vista: Click Start, click Control Panel, and then, under Hardware and Sound, click
                          Printer. Double-click the product icon to open the window, right-click the print job that you
                          want to cancel, and then click Cancel.

                    ◦     Windows 7: Click Start, and then click Devices and Printers. Double-click the product icon to
                          open the window, right-click the print job that you want to cancel, and then click Cancel.

  Select the paper size (Windows)
          1.   From the software program, select the Print option.

          2.   Select the product, and then click the Properties or Preferences button.

          3.   Click the Paper/Quality tab.

          4.   Select a size from the Paper size drop-down list.

  Select a custom paper size (Windows)
          1.   From the software program, select the Print option.

          2.   Select the product, and then click the Properties or Preferences button.

          3.   Click the Paper/Quality tab.

          4.   Click the Custom button.

          5.   Type a name for the custom size and specify the dimensions.

               ●    The width is the short edge of the paper.

               ●    The length is the long edge of the paper.




  ENWW                                                                                    Additional print tasks (Windows)   43
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2531 Filed 01/18/22 Page 407 of 715



                 NOTE:    Always load paper into the trays short edge first.

            6.   Click the Save button, and then click the Close button.

 Print watermarks (Windows)
            1.   From the software program, select the Print option.

            2.   Select the product, and then click the Properties or Preferences button.

            3.   Click the Effects tab.

            4.   Select a watermark from the Watermarks drop-down list.

                 Or, to add a new watermark to the list, click the Edit button. Specify the settings for the watermark, and
                 then click the OK button.

            5.   To print the watermark on the first page only, select the First page only check box. Otherwise, the
                 watermark is printed on each page.




44   Chapter 3 Print                                                                                                ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2532 Filed 01/18/22 Page 408 of 715



  Additional print tasks (Mac OS X)
  Cancel a print job (Mac OS X)
          1.   If the print job is currently printing, cancel it by pressing the Cancel    button on the product control
               panel.

               NOTE: Pressing the Cancel button clears the job that the product is currently processing. If more
               than one print job is waiting, pressing the Cancel button clears the print job that currently appears on
               the product control panel.

          2.   You can also cancel a print job from a software program or a print queue.

               ●    Software program: Typically, a dialog box appears briefly on the computer screen, allowing you
                    to cancel the print job.

               ●    Mac print queue: Open the print queue by double-clicking the product icon in the dock. Highlight
                    the print job, and then click Delete.

  Select the paper size (Mac OS X)
          1.   On the File menu, click the Print option.

          2.   In the Printer menu, select this product.

          3.   In the Copies & Pages menu, click the Page Setup button.

          4.   Select a size from the Paper Size drop-down list, and then click the OK button.

          5.   Click the Print button.

  Select a custom paper size (Mac OS X)
          1.   On the File menu, click the Print option.

          2.   In the Printer menu, select this product.

          3.   In the Copies & Pages menu, click the Page Setup button.

          4.   From the Paper Size drop-down list, select the Manage Custom Sizes option.

          5.   Specify the dimensions for the page size, and then click the OK button.

          6.   Click the Print button.

  Print watermarks (Mac OS X)
          1.   On the File menu, click the Print option.

          2.   In the Printer menu, select this product.

          3.   Open the Watermarks menu.

          4.   Click the Watermark checkbox.

          5.   Beneath the check box, use the drop-down lists to set the various watermark elements.

          6.   Click the Print button.



  ENWW                                                                                    Additional print tasks (Mac OS X)   45
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2533 Filed 01/18/22 Page 409 of 715



 Create archival-quality prints
            Archive print produces output that is less susceptible to toner smearing and dusting. Use archive print to
            create documents that you want to preserve or archive.

            NOTE: Archival-quality printing is accomplished by increasing the temperature of the fuser. Because of the
            increased temperatures, the product prints at half-speed to avoid damage.

            1.   From the Home screen on the product control panel, touch the Setup        button.

            2.   Touch the Service menu.

            3.   Touch the Archive Print button, and then touch the On button.




46   Chapter 3 Print                                                                                                ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2534 Filed 01/18/22 Page 410 of 715



  Use HP ePrint
          Use HP ePrint to print documents by sending them as an email attachment to the product's email address
          from any email enabled device.

          NOTE: The product must be connected to a wired or wireless network and have Internet access to use
          HP ePrint.

          1.   To use HP ePrint, you must first enable HP Web Services.

               a.   From the Home screen on the product control panel, touch the Web Services           button.

               b.   Touch the Enable Web Services button.

          2.   From the HP Web Services menu, touch the Display E-Mail Address button to display the product's email
               address on the control panel.

          3.   Use the HP ePrintCenter Web site to define security settings and to configure default print settings for
               all HP ePrint jobs sent to this product.

               a.   Go to www.hpeprintcenter.com.

               b.   Click Sign In, and enter your HP ePrintCenter credentials or sign up for a new account.

               c.   Select your product from the list, or click + Add printer to add it. To add the product, you need the
                    printer code, which is the segment of the product email address that is before the @ symbol. You
                    can get this code by printing the Web Services page from the product control panel.

                    After you have added your product, you will have the option to customize the product email
                    address.

                    NOTE: This code is valid for only 24 hours from the time you enable HP Web Services. If it
                    expires, follow the instructions to enable HP Web Services again, and obtain a new code.

               d.   To prevent your product from printing unexpected documents, click ePrint Settings, and then click
                    the Allowed Senders tab. Click Allowed Senders Only, and add the email addresses from which
                    you want to allow ePrint jobs.

               e.   To set up default settings for all ePrint jobs sent to this product, click ePrint Settings, click Print
                    Options, and select the settings that you want to use.

          4.   To print a document, attach it to an email message sent to the product's email address. Both the email
               message and the attachment will print.




  ENWW                                                                                                     Use HP ePrint      47
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2535 Filed 01/18/22 Page 411 of 715



 Use AirPrint
            Direct printing using Apple’s AirPrint is supported for iOS 4.2 or later. Use AirPrint to print directly to the
            product from an iPad (iOS 4.2), iPhone (3GS or later), or iPod touch (third generation or later) in the following
            applications:

            ●    Mail

            ●    Photos

            ●    Safari

            ●    Select third-party applications

            To use AirPrint, the product must be connected to a network, or be connected through a wireless direct
            connection. For more information about using AirPrint and about which HP products are compatible with
            AirPrint, go to www.hp.com/go/airprint.

            NOTE: You might need to upgrade the product firmware to use AirPrint. Go to www.hp.com/support/
            ljm425series.




48   Chapter 3 Print                                                                                                   ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2536 Filed 01/18/22 Page 412 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2537 Filed 01/18/22 Page 413 of 715




50   Chapter 3 Print                                                        ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2538 Filed 01/18/22 Page 414 of 715




  4       Copy




          ●   Make a single copy

          ●   Make multiple copies

          ●   Copy a multiple-page original

          ●   Collate a copy job

          ●   Copy on both sides (duplex)

          ●   Reduce or enlarge a copy

          ●   Copy identification cards

          ●   Optimize copy quality

          ●   Adjust the lightness or darkness for copies

          ●   Copy in draft mode

          ●   Set the paper size and type for copying on special paper

          ●   Set new default copy settings

          ●   Restore copy default settings




  ENWW                                                                            51
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2539 Filed 01/18/22 Page 415 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2540 Filed 01/18/22 Page 416 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2541 Filed 01/18/22 Page 417 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2542 Filed 01/18/22 Page 418 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2543 Filed 01/18/22 Page 419 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2544 Filed 01/18/22 Page 420 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2545 Filed 01/18/22 Page 421 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2546 Filed 01/18/22 Page 422 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2547 Filed 01/18/22 Page 423 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2548 Filed 01/18/22 Page 424 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2549 Filed 01/18/22 Page 425 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2550 Filed 01/18/22 Page 426 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2551 Filed 01/18/22 Page 427 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2552 Filed 01/18/22 Page 428 of 715




  5       Scan




          ●   Scan by using the HP Scan software (Windows)

          ●   Scan by using the HP Scan software (Mac OS X)

          ●   Scan to a USB flash drive

          ●   Set up scan to network folder and scan to email features

          ●   Scan to a network folder

          ●   Scan to email

          ●   Scan by using other software




  ENWW                                                                            65
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2553 Filed 01/18/22 Page 429 of 715



 Scan by using the HP Scan software (Windows)
           1.   Double-click the HP Scan icon on the computer desktop.

           2.   Select a scanning shortcut, and adjust the settings if necessary.

           3.   Click Scan.

           NOTE: Click Advanced Settings to gain access to more options.

           Click Create New Shortcut to create a customized set of settings and save it in the list of shortcuts.




66   Chapter 5 Scan                                                                                                 ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2554 Filed 01/18/22 Page 430 of 715



  Scan by using the HP Scan software (Mac OS X)
          1.   Open the Applications folder, and then click Hewlett-Packard. Double-click HP Scan.

          2.   Open the HP Scan menu and click Preferences. From the Scanner pop-up menu, select this product
               from the list, and click Continue.

          3.   To use the standard preset settings, which produce acceptable results for images and text, click the
               Scan button.

               To use presets optimized for pictures or text documents, select a preset from the Scanning Presets
               pop-up menu. To adjust the settings, click the Edit button. When you are ready to scan, click the Scan
               button.

          4.   To scan more pages, load the next page and click Scan. Click Append to List to add the new pages to the
               current list. Repeat until you have scanned all the pages.

          5.   Click the Save button, and then browse to the folder on your computer where you want to save the file.

               NOTE: To print the scanned images now, click the Print button.




  ENWW                                                               Scan by using the HP Scan software (Mac OS X)       67
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2555 Filed 01/18/22 Page 431 of 715



 Scan to a USB flash drive
           1.   Load the document onto the scanner glass or into the document feeder.

           2.   Insert a USB flash drive into the port on the front of the product.

           3.   From the Home screen on the product control panel, touch the Scan button.

           4.   Touch the Scan to USB Drive screen.

           5.   Touch the Scan button to scan and save the file. The product creates a folder named HPSCANS on the
                USB drive, and it saves the file in .PDF or .JPG format using an automatically generated file name.

                NOTE:    When the summary screen opens, you can touch it to adjust settings.

                You also can change the folder name.




68   Chapter 5 Scan                                                                                            ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2556 Filed 01/18/22 Page 432 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2557 Filed 01/18/22 Page 433 of 715



 Scan to a network folder
           Use the product control panel to scan a file to a folder on the network.

           NOTE: In order to use this feature, the product must be connected to a network and the scan feature must
           be configured using the HP Embedded Web Server.

           1.   Load the document onto the scanner glass or into the document feeder.

           2.   From the Home screen on the product control panel, touch the Scan button.

           3.   Touch the Scan to Network Folder item.

           4.   In the list of network folders, select the folder to which you want to save the file.

           5.   The control panel screen displays the scan settings.

                ●     If you want to change any of the settings, touch the Settings button, and then change the settings.

                ●     If the settings are correct, go to the next step.

           6.   Touch the Scan button to start the scan job.




70   Chapter 5 Scan                                                                                               ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2558 Filed 01/18/22 Page 434 of 715



  Scan to email
          Use the product control panel to scan a file directly to an email address. The scanned file is sent to the
          address as an email message attachment.

          NOTE: In order to use this feature, the product must be connected to a network and the scan feature must
          be configured using the HP Embedded Web Server.

          1.   Load the document onto the scanner glass or into the document feeder.

          2.   From the Home screen on the product control panel, touch the Scan button.

          3.   Touch the Scan to E-mail item.

          4.   Touch the Send to E-mail item.

          5.   Select the From address that you want to use. This is also known as an “outgoing email profile.”

               NOTE: If the PIN feature has been set up, enter the PIN and touch the OK button. However, a PIN is not
               required to use this feature.

          6.   Touch the To button and pick the address or group to which you want to send the file. Touch the Done
               button when finished.

          7.   Touch the Subject button if you would like to add a subject line

          8.   Touch the Next button.

          9.   The control panel screen displays the scan settings.

               ●     If you want to change any of the settings, touch the Settings button, and then change the settings.

               ●     If the settings are correct, go to the next step.

          10. Touch the Scan button to start the scan job.




  ENWW                                                                                                    Scan to email    71
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2559 Filed 01/18/22 Page 435 of 715



 Scan by using other software
           The product is TWAIN-compliant and Windows Imaging Application (WIA)-compliant. The product works with
           Windows-based programs that support TWAIN-compliant or WIA-compliant scanning devices and with
           Macintosh-based programs that support TWAIN-compliant scanning devices.

           While you are in a TWAIN-compliant or WIA-compliant program, you can gain access to the scanning feature
           and scan an image directly into the open program. For more information, see the Help file or the
           documentation that came with your TWAIN-compliant or WIA-compliant software program.

 Scan from a TWAIN-compliant program
           Generally, a software program is TWAIN-compliant if it has a command such as Acquire, File Acquire, Scan,
           Import New Object, Insert from, or Scanner. If you are unsure whether the program is compliant or you do
           not know what the command is called, see the software program Help or documentation.

           When scanning from a TWAIN-compliant program, the HP Scan software program might start automatically.
           If the HP Scan program starts, you can make changes while previewing the image. If the program does not
           start automatically, the image goes to the TWAIN-compliant program immediately.

           Start the scan from within the TWAIN-compliant program. See the software program Help or documentation
           for information about the commands and steps to use.

 Scan from a WIA-compliant program
           WIA is another way to scan an image directly into a software program. WIA uses Microsoft software to scan,
           instead of the HP Scan software.

           Generally, a software program is WIA-compliant if it has a command such as Picture/From Scanner or
           Camera in the Insert or File menu. If you are unsure whether the program is WIA-compliant, see the software
           program Help or documentation.

           Start the scan from within the WIA-compliant program. See the software program Help or documentation for
           information about the commands and steps to use.

           -Or-

           From the Windows control panel, in the Cameras and Scanner folder (located inside the Hardware and Sound
           folder for Windows Vista and Windows 7), double-click the product icon. This opens the standard Microsoft
           WIA Wizard, which enables you to scan to a file.




72   Chapter 5 Scan                                                                                             ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2560 Filed 01/18/22 Page 436 of 715




  6       Fax




          ●   Connect fax to a telephone line

          ●   Set up fax with a telephone answering machine

          ●   Set up fax with an extension phone

          ●   Setup for stand-alone fax

          ●   Configure the fax time, date, and header

          ●   Use special characters in fax headers

          ●   Use the phone book

          ●   Configure send fax settings

          ●   Configure receive fax settings

          ●   Set fax polling

          ●   Use fax

          ●   Solve fax problems




  ENWW                                                                            73
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2561 Filed 01/18/22 Page 437 of 715



 Connect fax to a telephone line
     1.     Connect the telephone cable to the line port     on the
            product and to the telephone jack on the wall.



                  The product is an analog device. HP recommends using the product on a dedicated analog telephone line.

                  NOTE: Some countries/regions might require an adapter to the phone cord that came with the product.


 Set up fax with a telephone answering machine
                  ●     Set the product rings-to-answer setting for at least one ring more than the number of rings for which
                        the answering machine is set.

                  ●     If an answering machine is connected to the same telephone line but on a different jack (in another
                        room, for example), it might interfere with the product's ability to receive faxes.


 Set up fax with an extension phone
                  With this setting turned on, you can alert the product to pick up the incoming fax call by pressing 1-2-3
                  sequentially on the telephone keypad. The default setting is On. Turn this setting off only if you use pulse
                  dialing or if you have a service from your telephone company that also uses the 1-2-3 sequence. The
                  telephone company service does not work if it conflicts with the product.

                  1.    From the Home screen on the product control panel, touch the Setup       button.

                  2.    Scroll to and touch the Fax Setup menu.

                  3.    Scroll to and touch the Advanced Setup button.

                  4.    Scroll to and touch the Extension Phone button, and touch the On button.


 Setup for stand-alone fax
                  1.    Unpack and set up the product.

                  2.    From the Home screen on the product control panel, touch the Setup       button.

                  3.    Touch the Fax Setup menu.

                  4.    Touch the Fax Set-Up Utility button.

                  5.    Follow the on-screen prompts and select the appropriate response for each question.

                        NOTE:      The maximum number of characters for the fax number is 20.

                        NOTE:      The maximum number of characters for the fax header is 25.




74        Chapter 6 Fax                                                                                                    ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2562 Filed 01/18/22 Page 438 of 715



  Configure the fax time, date, and header
  Use the control panel
          To use the control panel to set the date, time, and header, complete the following steps:

          1.   From the Home screen on the product control panel, touch the Setup        button.

          2.   Touch the Fax Setup menu.

          3.   Touch the Basic Setup menu.

          4.   Scroll to and touch the Time/Date button.

          5.   Select the 12-hour clock or 24-hour clock.

          6.   Use the keypad to enter the current time, and then touch the OK button.

          7.   Select the date format.

          8.   Use the keypad to enter the current date, and then touch the OK button.

          9.   Touch the Fax Header menu.

          10. Use the keypad to enter your fax number, and then touch the OK button.

               NOTE: The maximum number of characters for the fax number is 20.

          11. Use the keypad to enter your company name or header, and then touch the OK button.

               NOTE: The maximum number of characters for the fax header is 25.


  Use the HP Fax Setup Wizard
          If you did not complete the fax setup process at the time you installed the software, you can complete it at
          any time by using the HP Fax Setup Wizard.

          1.   Click Start, and then click Programs.

          2.   Click HP, click the name of the product, and then click HP Fax Setup Wizard.

          3.   Follow the onscreen instructions in the HP Fax Setup Wizard to configure the fax settings.


  Use special characters in fax headers
          When using the control panel to enter your name in the header or to enter a name for a one-touch key,
          speed-dial entry, or group-dial entry, touch the 123 button to open a keypad that contains special
          characters.




  ENWW                                                                      Configure the fax time, date, and header     75
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2563 Filed 01/18/22 Page 439 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2564 Filed 01/18/22 Page 440 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2565 Filed 01/18/22 Page 441 of 715



     6.     Use the keypad to enter a name for the entry, and then touch
            the OK button.

     7.     Use the keypad to enter the fax number for the entry, and
            then touch the OK button.




 Delete speed-dial entries
                  1.    From the Home screen on the product control panel, touch the Fax button.

                  2.    Touch the Fax Menu button.

                  3.    Touch the Phone Book Setup button.

                  4.    Touch the Delete Entry button. Or, to delete all the entries, touch the Delete All Entries button.

                  5.    Touch the entry that you want to delete.

                  6.    Touch the OK button to confirm the deletion.

 Create and edit group-dial entries
                  1.    Create an individual entry for each fax number that you want in the group.

                        a.     From the Home screen on the product control panel, touch the Fax button.

                        b.     Touch the Fax Menu button.

                        c.     Touch the Phone Book Setup button.

                        d.     Touch the Individual Setup button.

                        e.     Touch an unassigned number from the list.

                        f.     Use the keypad to enter a name for the entry, and then touch the OK button.

                        g.     Use the keypad to enter the fax number for the entry, and then touch the OK button.

                  2.    From the Phone Book Setup menu, touch the Group Setup button.

                  3.    Touch an unassigned number from the list.

                  4.    Use the keypad to enter a name for the group, and then touch the OK button.

                  5.    Touch the name of each individual entry that you want to include in the group. When you are finished,
                        touch the Done Selecting button.

 Delete group-dial entries
                  1.    From the Home screen on the product control panel, touch the Fax button.

                  2.    Touch the Fax Menu button.

                  3.    Touch the Phone Book Setup button.

                  4.    Touch the Delete Entry button. Or, to delete all the entries, touch the Delete All Entries button.




78        Chapter 6 Fax                                                                                                      ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2566 Filed 01/18/22 Page 442 of 715


          5.   Touch the entry that you want to delete.

          6.   Touch the OK button to confirm the deletion.




  ENWW                                                             Use the phone book   79
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2567 Filed 01/18/22 Page 443 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2568 Filed 01/18/22 Page 444 of 715


  Tone dial or pulse dial
            Use this procedure to set the product to tone-dialing or pulse-dialing mode. The factory-set default is Tone.
            Do not change this setting unless you know that the telephone line cannot use tone dialing.

            NOTE: The pulse-dialing option is not available in all countries/regions.

            1.   From the Home screen on the product control panel, touch the Setup           button.

            2.   Touch the Fax Setup menu.

            3.   Touch the Advanced Setup menu.

            4.   Scroll to and touch the Dialing Mode button, and then touch the Tone or Pulse button.

  Set autoredial and the time between redials
            If the product was unable to send a fax because the receiving fax machine did not answer or was busy, the
            product attempts to redial based on the redial-on-busy, redial-on-no-answer, and redial-on-communication-
            error options.

  Set the redial-on-busy option

            If this option is on, the product redials automatically if it receives a busy signal. The factory-set default for
            the redial-on-busy option is On.

            1.   From the Home screen on the product control panel, touch the Setup           button.

            2.   Touch the Fax Setup menu.

            3.   Touch the Advanced Setup menu.

            4.   Scroll to and touch the Redial if Busy button, and then touch the On button.

  Set the redial-on-no-answer option
            If this option is on, the product redials automatically if the receiving machine does not answer. The factory-
            set default for the redial-on-no-answer option is Off.

            1.   From the Home screen on the product control panel, touch the Setup           button.

            2.   Touch the Fax Setup menu.

            3.   Touch the Advanced Setup menu.

            4.   Scroll to and touch the Redial if No Answer button, and then touch the On button.

  Set the redial-on-communication-error option
            If this option is on, the product redials automatically if some sort of communication error occurs. The factory-
            set default for the redial-on-communication-error option is On.

            1.   From the Home screen on the product control panel, touch the Setup           button.

            2.   Touch the Fax Setup menu.

            3.   Touch the Advanced Setup menu.

            4.   Scroll to and touch the Redial if Comm. Error button, and then touch the On button.


  ENWW                                                                                         Configure send fax settings      81
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2569 Filed 01/18/22 Page 445 of 715



 Set light/dark and resolution
 Set the default light/dark (contrast) setting
           The contrast affects the lightness and darkness of an outgoing fax as it is being sent.

           The default light/dark setting is the contrast that is normally applied to items that are being faxed. The slider
           is set to the middle as the default setting.

           1.    From the Home screen on the product control panel, touch the Setup        button.

           2.    Touch the Fax Setup menu.

           3.    Touch the Advanced Setup menu.

           4.    Touch the Lighter/Darker button, and then touch one of the arrows to adjust the slider.

 Set resolution settings
           NOTE: Increasing the resolution increases the fax file size. Larger faxes increase the send time and could
           exceed the available memory in the product.

           Use this procedure to change the default resolution for all fax jobs to one of the following settings:

           ●     Standard: This setting provides the lowest quality and the fastest transmission time.

           ●     Fine: This setting provides a higher resolution quality than Standard that is usually appropriate for text
                 documents.

           ●     Superfine: This setting is best used for documents that mix text and images. The transmission time is
                 slower than the Fine setting but faster than the Photo setting.

           ●     Photo: This setting produces the best images, but greatly increases the transmission time.

           The factory-set default resolution setting is Fine.

 Set the default resolution setting
           1.    From the Home screen on the product control panel, touch the Setup        button.

           2.    Touch the Fax Setup menu.

           3.    Touch the Advanced Setup menu.

           4.    Touch the Fax Resolution button, and then touch one of the options.

 Set billing codes
           If the billing codes feature is on, the product prompts you to enter a billing code for each fax. The product
           increases the billing code count for each sent fax page. This includes all types of faxes except for poll-
           received, fax-forwarded, or computer-downloaded faxes. For an undefined group or a group-dial fax, the
           product increases the billing code count for each successful fax that is sent to each destination.

           The factory-set default for the billing-code setting is Off. The billing code can be any number from 1 through
           250.




82   Chapter 6 Fax                                                                                                   ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2570 Filed 01/18/22 Page 446 of 715


  Set the billing-code setting
             1.   From the Home screen on the product control panel, touch the Setup           button.

             2.   Touch the Fax Setup menu.

             3.   Touch the Advanced Setup menu.

             4.   Scroll to and touch the Billing Codes button, and then touch the On button.

  Use billing codes
             1.   Load the document in the document feeder or on the scanner glass.

             2.   From the Home screen on the product control panel, touch the Fax button.

             3.   Enter the fax number, or select a speed-dial or group-dial entry.

             4.   Touch the Start Fax button.

             5.   Enter the billing code, and then touch the OK button.

  Print the billing-code report
             The billing-code report is a printed list of all the fax billing codes and the total number of faxes billed to each
             code.

             NOTE: After the product prints this report, it deletes all billing data.

             1.   From the Home screen on the product control panel, touch the Fax button.

             2.   Touch the Fax Menu button.

             3.   Touch the Fax Reports button.

             4.   Scroll to and touch the Print Billing Report button.




  ENWW                                                                                          Configure send fax settings        83
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2571 Filed 01/18/22 Page 447 of 715



 Configure receive fax settings
 Set fax forwarding
           You can set your product to forward incoming faxes to another fax number. When the fax arrives at your
           product, it is stored in the memory. The product then dials the fax number that you have specified and sends
           the fax. If the product cannot forward a fax because of an error (for example, the number is busy) and
           repeated redial attempts are unsuccessful, your product prints the fax.

           If the product runs out of memory while receiving a fax, it terminates the incoming fax and only forwards the
           pages and partial pages that have been stored in the memory.

           When it is using the fax-forwarding feature, the product (rather than the computer) must be receiving the
           faxes, and the answer mode must be set to Automatic.

           1.   From the Home screen on the product control panel, touch the Fax button.

           2.   Touch the Fax Menu button.

           3.   Touch the Receive Options button.

           4.   Touch the Forward Fax button, and touch the On button.

           5.   Use the keypad to enter the fax-forwarding number, and then touch the OK button.

 Set the answer mode
           Depending on the situation, set the product answer mode to Automatic, TAM, Fax/Tel, or Manual. The
           factory-set default is Automatic.

           ●    Automatic: The product answers incoming calls after a specified number of rings or upon recognition of
                special fax tones.

           ●    TAM: The product does not automatically answer the call. Instead, it waits until it detects the fax tone.

           ●    Fax/Tel: The product answers incoming calls immediately. If it detects the fax tone, it processes the call
                as a fax. If it does not detect the fax tone, it creates an audible ring to alert you to answer the incoming
                voice call.

           ●    Manual: The product never answers calls. You must start the fax-receiving process yourself, either by
                touching the Start Fax button on the control panel or by picking up a telephone that is connected to that
                line and dialing 1-2-3.

           To set or change the answer mode, complete the following steps:

           1.   From the Home screen on the product control panel, touch the Setup         button.

           2.   Touch the Fax Setup menu.

           3.   Touch the Basic Setup menu.

           4.   Scroll to and touch the Answer Mode button, and then touch the name of the option that you want to
                use.

 Block or unblock fax numbers
           If you do not want to receive faxes from specific people or businesses, you can block as many as 30 fax
           numbers by using the control panel. When you block a fax number and someone from that number sends you


84   Chapter 6 Fax                                                                                                   ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2572 Filed 01/18/22 Page 448 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2573 Filed 01/18/22 Page 449 of 715


           4.   Touch the Rings to Answer button.

           5.   Use the keypad to enter the number of rings, and then touch the OK button.

 Set distinctive ring
           Ring-pattern or distinctive-ring service is available through some local telephone companies. The service
           allows you to have more than one telephone number on a single line. Each telephone number has a unique
           ring pattern, so that you can answer voice calls and the product can answer fax calls.

           If you subscribe to a ring-pattern service with a telephone company, you must set the product to answer the
           correct ring pattern. Not all countries/regions support unique ring patterns. Contact the telephone company
           to determine if this service is available in your country/region.

           NOTE: If you do not have ring-pattern service and you change the ring-pattern settings to something other
           than the default, All Rings, the product might not be able to receive faxes.

           The settings are as follows:

           ●    All Rings: The product answers any calls that come through the telephone line.

           ●    Single: The product answers any calls that produce a single-ring pattern.

           ●    Double: The product answers any calls that produce a double-ring pattern.

           ●    Triple: The product answers any calls that produce a triple-ring pattern.

           ●    Double and Triple: The product answers any calls that produce a double-ring or triple-ring pattern.

           To change ring patterns for call answering, complete the following steps:

           1.   From the Home screen on the product control panel, touch the Setup           button.

           2.   Touch the Fax Setup menu.

           3.   Touch the Basic Setup menu.

           4.   Touch the Distinctive Ring button, and then touch the name of an option.

 Set notification for new fax received to computer
           Use the HP Digital Fax Setup Wizard software to set up this feature. To start the software program, from the
           Windows Start menu, navigate to the program group for this product, and then click the Digital Fax Setup
           Wizard item. Use the software to set up alerts for digital fax jobs.

 Use autoreduction for incoming faxes
           If the fit-to-page option is turned on, the product automatically reduces long faxes up to 75% to fit the
           information on the default paper size (for example, the fax is reduced from legal to letter size).

           If the fit-to-page option is turned off, long faxes print at full size on multiple pages. The factory-set default
           for incoming fax autoreduction is On.

           If you have the Stamp Faxes option turned on, you might also want to turn on autoreduction. This reduces
           the size of the incoming faxes slightly, and prevents the page-stamp from forcing a fax onto two pages.

           NOTE: Make sure that the default paper size setting matches the size of the paper in the tray.




86   Chapter 6 Fax                                                                                                     ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2574 Filed 01/18/22 Page 450 of 715


          1.   From the Home screen on the product control panel, touch the Setup       button.

          2.   Touch the Fax Setup menu.

          3.   Touch the Advanced Setup menu.

          4.   Touch the Fit to Page button, and then touch the On button.

  Set fax reprint settings
          1.   From the Home screen on the product control panel, touch the Setup       button.

          2.   Touch the Fax Setup menu.

          3.   Touch the Advanced Setup menu.

          4.   Scroll to and touch the Allow Fax Reprint button, and then touch the On button.

  Set the fax sounds volume
          Use this setting to control the volume of the fax sounds from the control panel. You can make changes to the
          following sounds:

          ●    Alarm Volume

          ●    Ring Volume

          ●    Phone Line Volume

  Set the alarm volume, phone-line volume, and ring volume
          1.   From the Home screen on the product control panel, touch the Setup       button.

          2.   Touch the System Setup menu.

          3.   Touch the Volume Settings menu.

          4.   Touch the name of the volume setting that you want to adjust, and then touch one of the options.
               Repeat this step for each volume setting.

  Set stamp-received faxes
          The product prints the sender identification information at the top of each received fax. You can also stamp
          the incoming fax with your own header information to confirm the date and time that the fax was received.
          The factory-set default for stamp-received faxes is Off.

          NOTE: Turning on the stamp-received setting might increase the page size and cause the product to print a
          second page.

          NOTE: This option applies only to received faxes that the product prints.

          1.   From the Home screen on the product control panel, touch the Setup       button.

          2.   Touch the Fax Setup menu.

          3.   Touch the Advanced Setup menu.

          4.   Scroll to and touch the Stamp Faxes button, and then touch the On button.


  ENWW                                                                                Configure receive fax settings     87
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2575 Filed 01/18/22 Page 451 of 715



 Set the private receive feature
           When the private-receive feature is active, received faxes are stored in memory. A password is required to
           print the stored faxes.

           1.   From the Home screen on the product control panel, touch the Setup         button.

           2.   Touch the Fax Setup menu.

           3.   Touch the Advanced Setup menu.

           4.   Scroll to and touch the Private Receive button, and then touch the On button.

           5.   If you have not already set a system password, the product prompts you to create one.

                NOTE:    The system password is case-sensitive.

                a.    Touch the OK button, and then use the keypad to enter the system password.

                b.    Touch the OK button, confirm the password by entering it a second time, and then touch the OK
                      button to save the password.


 Set fax polling
           If someone else has set up a fax to be polled, you can request that the fax be sent to your product. (This is
           known as polling another machine).

           1.   From the Home screen on the product control panel, touch the Fax button.

           2.   Touch the Fax Menu button.

           3.   Touch the Receive Options button.

           4.   Touch the Polling Receive button.

           5.   Use the keypad to enter the number of the fax machine that you want to poll, and then touch the OK
                button.

           The product dials the other fax machine and requests the fax.




88   Chapter 6 Fax                                                                                                   ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2576 Filed 01/18/22 Page 452 of 715



  Use fax
  Supported fax programs
          The PC fax program that came with the product is the only PC fax program that works with the product. To
          continue to use a PC fax program previously installed on the computer, use the modem that is already
          connected to the computer; it will not function through the product modem.

  Cancel a fax
          Use these instructions to cancel a single fax that is currently dialing or a fax that is being transmitted or
          received.

  Cancel the current fax
          Press the Cancel button on the control panel. Any pages that have not been transmitted are canceled.
          Pressing the Cancel button also stops group-dial jobs.

  Cancel a pending fax job
          Use this procedure to cancel a fax job in the following situations:

          ●    The product is waiting to redial after encountering a busy signal, an unanswered call, or a
               communication error.

          ●    The fax is scheduled to be sent at a future time.

          Use the following steps to cancel a fax job by using the Fax Job Status menu:

          1.   From the Home screen on the product control panel, touch the Fax button.

          2.   Touch the Fax Menu button.

          3.   Touch the Send Options button.

          4.   Touch the Fax Job Status button.

          5.   Touch the fax number for the job that you want to cancel.

  Delete faxes from memory
          Use this procedure only if you are concerned that someone else has access to your product and might try to
          reprint faxes from the memory.

          CAUTION: In addition to clearing the reprint memory, this procedure clears any fax that is currently being
          sent, unsent faxes that are pending redial, faxes that are scheduled to be sent at a future time, and faxes
          that are not printed or forwarded.

          1.   From the Home screen on the product control panel, touch the Setup           button.

          2.   Touch the Service menu.

          3.   Touch the Fax Service menu.

          4.   Touch the Clear Saved Faxes button.




  ENWW                                                                                                           Use fax   89
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2577 Filed 01/18/22 Page 453 of 715



 Use fax on a DSL, PBX, or ISDN system
           HP products are designed specifically for use with traditional analog phone services. They are not designed to
           work on DSL, PBX, ISDN lines, or VoIP services, but they work with the proper setup and equipment.

           NOTE: HP recommends discussing DSL, PBX, ISDN, and VoIP setup options with the service provider.

           The HP LaserJet product is an analog device that is not compatible with all digital phone environments
           (unless a digital-to-analog converter is used). HP does not guarantee that the product will be compatible
           with digital environments or digital-to-analog converters.

 DSL
           A digital subscriber line (DSL) uses digital technology over standard copper telephone wires. This product is
           not directly compatible with those digital signals. However, if the configuration is specified during DSL setup,
           the signal can be separated so that some of the bandwidth is used to transmit an analog signal (for voice and
           fax) while the remaining bandwidth is used to transmit digital data.

           NOTE: Not all faxes are compatible with DSL services. HP does not guarantee that the product will be
           compatible with all DSL service lines or providers.

           A typical DSL modem employs a filter to separate the higher frequency DSL modem communication from
           lower frequency analog phone and fax modem communication. It is often necessary to use a filter with
           analog phones and analog fax products that are connected to a telephone line used by a DSL modem. The
           DSL service provider usually provides this filter. Contact the DSL provider for more information or for
           assistance.

 PBX
           The product is an analog device that is not compatible in all digital phone environments. Digital-to-analog
           filters or converters may be needed for faxing functionality. If faxing issues occur in a PBX environment, it
           might be necessary to contact the PBX provider for assistance. HP does not guarantee that the product will
           be compatible with digital environments or digital-to-analog converters.

           Contact the PBX provider for more information and for assistance.

 ISDN
           The product is an analog device that is not compatible in all digital phone environments. Digital-to-analog
           filters or converters may be needed for faxing functionality. If faxing issues occur in an ISDN environment, it
           might be necessary to contact the ISDN provider for assistance. HP does not guarantee that the product will
           be compatible with ISDN digital environments or digital-to-analog converters.

 Use fax on a VoIP service
           Voice over internet protocol (VoIP) services are often not compatible with fax machines unless the provider
           explicitly states that it supports fax over IP services.

           If the product experiences problems getting a fax to work on a VoIP network, verify that all cables and
           settings are correct. Decreasing the fax-speed setting might allow the product to send a fax over a VoIP
           network.

           If the VoIP provider offers a "Pass through" mode for the connection, that will offer better fax performance
           on VoIP. Also if the provider has "comfort noise" added to the line, fax performance can be enhanced if this
           feature is not enabled.




90   Chapter 6 Fax                                                                                                   ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2578 Filed 01/18/22 Page 454 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2579 Filed 01/18/22 Page 455 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2580 Filed 01/18/22 Page 456 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2581 Filed 01/18/22 Page 457 of 715


           4.   Load the document in the document feeder.

           5.   Click Send Now.

 Send a fax from a third-party software program, such as Microsoft Word
           1.   Open a document in a third-party program.

           2.   Click the File menu, and then click Print.

           3.   Select the fax print driver from the print driver drop-down list. The fax software opens.

           4.   Enter the fax number of one or more recipients.

           5.   Include any pages loaded at the product. This step is optional.

           6.   Click Send Now.




94   Chapter 6 Fax                                                                                          ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2582 Filed 01/18/22 Page 458 of 715



  Send a fax by dialing from a telephone connected to the fax line
          Occasionally, you might want to dial a fax number from a telephone that is connected to the same line as the
          product. For example, if you are sending a fax to a person whose device is in the manual receive mode, you
          can precede the fax with a voice call to let that person know that the fax is coming.

          NOTE: The telephone must be connected to the product "telephone" port            .

          1.   Load the document into the document feeder.

          2.   From the Home screen on the product control panel, touch the Fax button.

          3.   Pick up the handset of a telephone that is connected to the same line as the product. Dial the fax
               number by using the telephone keypad.

          4.   When the recipient answers, instruct the person to start the fax machine.

          5.   When you hear the fax tones, touch the Start Fax button on the control panel, wait until Connecting
               appears on the control panel display, and then hang up the telephone.

  Send a fax with confirmation
          You can set the product so that it prompts you to enter the fax number a second time to confirm that you are
          sending the fax to the correct number.

          1.   From the Home screen on the product control panel, touch the Setup       button.

          2.   Touch the Fax Setup menu.

          3.   Touch the Advanced Setup menu.

          4.   Scroll to and touch the Confirm Fax Number button, and touch the On button.

          5.   Send the fax.

  Schedule a fax to be sent later
          Use the product control panel to schedule a fax to be sent automatically at a future time to one or more
          people. When this procedure is completed, the product scans the document into memory and then returns to
          the Ready state.

          NOTE: If the product cannot transmit the fax at the scheduled time, that information is indicated on the fax
          error report (if that option is turned on) or recorded in the fax activity log. The transmittal might not be
          initiated because the fax-sending call is not answered, or because a busy signal stops the redial attempts.

          If a fax has been scheduled to be sent at a future time but it requires updating, send the additional
          information as another job. All faxes that are scheduled to go to the same fax number at the same time are
          delivered as individual faxes.




  ENWW                                                                                                       Use fax     95
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2583 Filed 01/18/22 Page 459 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2584 Filed 01/18/22 Page 460 of 715



  Print a fax
          When the product receives a fax transmission, it prints the fax (unless the private-receive feature is enabled)
          and also stores it automatically to flash memory.




  ENWW                                                                                                        Use fax       97
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2585 Filed 01/18/22 Page 461 of 715



 Reprint a fax
           When the Allow Fax Reprint feature is on, the product stores received faxes in memory. The product has
           about 3.2 MB of storage space, which holds about 250 pages.

           These faxes are stored continuously. Reprinting them does not clear them from the memory.

           The default setting for this feature is Off.

 Turn on the Allow Fax Reprint feature

           1.    From the Home screen on the product control panel, touch the Setup      button.

           2.    Touch the Fax Setup menu.

           3.    Touch the Advanced Setup menu.

           4.    Scroll to and touch the Allow Fax Reprint button, and touch the On button.

 Reprint faxes
           1.    From the Home screen on the product control panel, touch the Fax button.

           2.    Touch the Fax Menu button.

           3.    Touch the Receive Options button.

           4.    Touch the Reprint Faxes button.

           5.    Touch the entry for the fax that you want to reprint.




98   Chapter 6 Fax                                                                                              ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2586 Filed 01/18/22 Page 462 of 715



  Automatically print on both sides of received faxes
           Use the product control panel to configure the product to print two-sided copies of received faxes.

           1.   From the Home screen on the product control panel, touch the Setup        button.

           2.   Touch the Fax Setup button.

           3.   Touch the Advanced Setup button.

           4.   Touch the Print Duplex button.

           5.   Touch the On button.

  Receive faxes when fax tones are audible on the phone line
           If you have a telephone line that receives both fax and telephone calls, and you hear fax tones when you
           answer the telephone, you can start the receiving process in one of two ways:

           ●    If you are close to the product, press the Start Fax button on the control panel.

           ●    If not, press 1-2-3 in sequence on the telephone keypad, listen for fax transmission sounds, and then
                hang up.

           NOTE: In order for the second method to work, the Extension Phone setting must be set to Yes.


  Receive faxes to a computer
  Print a stored fax when the private receive feature is on
           To print stored faxes, you must provide the product security password. After the product prints the stored
           faxes, the faxes are deleted from memory.

           1.   From the Home screen on the product control panel, touch the Fax button.

           2.   Touch the Fax Menu button.

           3.   Touch the Receive Options button.

           4.   Touch the Print Private Faxes button.

           5.   Use the keypad to enter the product security password, and then touch the OK button.




  ENWW                                                                                                           Use fax   99
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2587 Filed 01/18/22 Page 463 of 715



 Solve fax problems
 Fax troubleshooting checklist
           ●    Several possible fixes are available. After each recommended action, retry faxing to see if the problem
                is resolved.

           ●    For best results during fax problem solving, make sure the line from the product is plugged directly into
                the wall phone port. Disconnect all other devices that are connected to the product.

           1.   Verify that the telephone cord is plugged into the correct port on the back of the product.

           2.   Check the phone line by using the fax test:

                a.   From the Home screen on the product control panel, touch the Setup           button, and then touch
                     the Service menu.

                b.   Select the Fax Service menu.

                c.   Select the Run Fax Test option. The product prints a fax test report.

                     The report contains the following possible results:

                     ●    Pass: The report contains all of the current fax settings for review.

                     ●    Fail: The report indicates the nature of the error and contains suggestions for how to resolve
                          the issue.

           3.   Verify that the product firmware is current:

                a.   Print a configuration page from the control panel Reports menu to obtain the current firmware
                     date code.

                b.   Go to www.hp.com.

                     1.   Click the Support & Drivers link.

                     2.   Click the Download drivers and software (and firmware) link option.

                     3.   In the For product box, type the product model number, and then click the Go button.

                     4.   Click the link for your operating system.

                     5.   Scroll to the Firmware section of the table.

                          ●     If the listed version matches the version on the configuration page, you have the most
                                current version.

                          ●     If the versions are different, download the firmware upgrade and update the firmware
                                on the product following the instructions onscreen.

                                NOTE: The product must be connected to a computer with internet access to upgrade
                                firmware.

                          ●     Resend the fax.

           4.   Verify that the fax was set up when the product software was installed.

                From the computer, in the HP program folder, run the Fax Setup Utility.



100 Chapter 6 Fax                                                                                                   ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2588 Filed 01/18/22 Page 464 of 715


          5.   Verify that the telephone service supports analog fax.

               ●    If using ISDN or digital PBX, contact your service provider for information about configuring to an
                    analog fax line.

               ●    If using a VoIP service, change the Fax Speed setting to Slow(V.29) or disable Fast(V.34) from the
                    control panel. Ask if your service provider supports fax and for the recommended fax modem
                    speed. Some companies might require an adapter.

               ●    If using a DSL service, ensure that a filter is included on the phone line connection to the product.
                    Contact the DSL service provider or purchase a DSL filter if you do not have one. If a DSL filter is
                    installed, try another since these filters can be defective.

          6.   If the error persists, find more detailed problem-solving solutions in the sections that follow this one.




  ENWW                                                                                             Solve fax problems 101
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2589 Filed 01/18/22 Page 465 of 715



 Fax trace report
           A fax T.30 trace report has information that can help resolve fax transmission problems. If you call HP for
           help in resolving these problems, print a T.30 trace report before you call.

           1.   From the Home screen on the product control panel, touch the Setup           button.

           2.   Touch the Service menu.

           3.   Touch the Fax Service menu.

           4.   Touch the Print T.30 Trace button, and then touch the Now button.

           NOTE: This procedure prints a report for the last fax job, successful or not. To generate a report for each
           unsuccessful fax job, select the If Error setting. To generate a report for each fax job, select the At End of Call
           setting.

 Fax error report printing
           Use the following instructions to print fax logs and reports:

 Print all fax reports
           Use this procedure to print all of the following reports at one time:

           ●    Last Call Report

           ●    Fax Activity Log

           ●    Phone Book Report

           ●    Junk Fax List

           ●    Billing Report (when Billing Codes are turned on)

           ●    Configuration Report

           ●    Usage Page



           1.   From the Home screen on the product control panel, touch the Fax button.

           2.   Touch the Fax Menu button.

           3.   Touch the Fax Reports button.

           4.   Touch the Print All fax Reports button.

 Print individual fax reports
           1.   From the Home screen on the product control panel, touch the Fax button.

           2.   Touch the Fax Menu button.

           3.   Touch the Fax Reports button.

           4.   Touch the name of the report that you want to print.




102 Chapter 6 Fax                                                                                                      ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2590 Filed 01/18/22 Page 466 of 715


  Set the fax error report
           A fax error report is a brief report that indicates the product experienced a fax job error. You can set it to print
           after the following events:

           ●    Every fax error (the factory-set default)

           ●    Send fax error

           ●    Receive fax error

           ●    Never

                NOTE: With this option, you will have no indication that a fax failed to be transmitted unless you print
                a fax activity log.

           1.   From the Home screen on the product control panel, touch the Fax button.

           2.   Touch the Fax Menu button.

           3.   Touch the Fax Reports button.

           4.   Touch the Fax Error Report button, and then touch the printing option that you want to use.

  Set the fax-error-correction mode
           Usually, the product monitors the signals on the telephone line while it is sending or receiving a fax. If the
           product detects an error during the transmission and the error-correction setting is On, the product can
           request that the portion of the fax be resent. The factory-set default for error correction is On.

           You should turn off error correction only if you are having trouble sending or receiving a fax, and you are
           willing to accept the errors in the transmission. Turning off the setting might be useful when you are trying to
           send a fax overseas or receive one from overseas, or if you are using a satellite telephone connection.

           1.   From the Home screen on the product control panel, touch the Setup           button.

           2.   Touch the Service menu.

           3.   Touch the Fax Service menu.

           4.   Touch the Error Correction button, and then touch the On button.

  Change the fax speed
           The fax-speed setting is the modem protocol that the product uses to send faxes. It is the worldwide
           standard for full-duplex modems that send and receive data across telephone lines at up to 33,600 bits per
           second (bps). The factory-set default for the fax-speed setting is Fast(V.34).

           You should change the setting only if you are having trouble sending a fax to or receiving a fax from a
           particular device. Decreasing the fax speed might be useful when you are trying to send a fax overseas, or
           receive one from overseas, or if you are using a satellite telephone connection.

           1.   From the Home screen on the product control panel, touch the Setup           button.

           2.   Touch the Fax Setup menu.

           3.   Touch the Advanced Setup menu.

           4.   Scroll to and touch the Fax Speed button, and then touch the speed setting that you want to use.


  ENWW                                                                                                 Solve fax problems 103
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2591 Filed 01/18/22 Page 467 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2592 Filed 01/18/22 Page 468 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2593 Filed 01/18/22 Page 469 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2594 Filed 01/18/22 Page 470 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2595 Filed 01/18/22 Page 471 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2596 Filed 01/18/22 Page 472 of 715


  An error message displays on the control panel

  The Communication error. message appears
             ●    Allow the product to retry sending the fax. Re-sending temporarily reduces the fax speed.

             ●    Unplug the product telephone cord from the wall, plug in a telephone, and try making a call. Plug the
                  product phone cord into a jack for another phone line.

             ●    Try a different phone cord.

             ●    From the control panel, change the Fax Speed option to the Medium(V.17) setting or Slow(V.29) setting.

                  a.   From the Home screen on the product control panel, touch the Setup       button.

                  b.   Open the Fax Setup menu.

                  c.   Open the Advanced Setup menu.

                  d.   Open the Fax Speed menu.

                  e.   Select the correct setting.

             ●    Turn off the Error Correction option.

                  a.   From the Home screen on the product control panel, touch the Setup       button.

                  b.   Open the Service menu.

                  c.   Open the Fax Service menu.

                  d.   Open the Error Correction menu.

                  e.   Select the Off setting.

                  NOTE: Turning off the Error Correction option can reduce image quality.

             ●    If the error persists, contact HP. See www.hp.com/support/ljm425series or the support flyer that came
                  in the product box.

  No dial tone.
             ●    Make sure that the telephone cord is plugged into the correct port on the product.

             ●    Make sure that the telephone cord from the product is plugged directly into the wall telephone jack.

             ●    Check for a dial tone on the phone line by using the Start Fax button.

             ●    Unplug the product telephone cord from the wall, plug in a telephone, and try making a voice call.

             ●    Unplug the telephone cord from both the product and the wall and replug the cord.

             ●    Make sure that you are using the telephone cord that came with the product.

             ●    Plug the product phone cord into a jack for another phone line.

             ●    Check the phone line by using the Run Fax Test option from the Service menu on the control panel.




  ENWW                                                                                             Solve fax problems 109
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2597 Filed 01/18/22 Page 473 of 715


                a.   From the Home screen on the product control panel, touch the Setup        button.

                b.   Open the Service menu.

                c.   Open the Fax Service menu.

                d.   Select the Run Fax Test item.

 The Fax is busy. message appears
           ●    Try sending the fax again.

           ●    Call the recipient to ensure that the fax machine is on and ready.

           ●    Check that you are dialing the correct fax number.

           ●    Check for a dial tone on the phone line by using the Start Fax button.

           ●    Make sure that the phone is working by disconnecting the product, plugging in a telephone to the phone
                line, and making a voice call.

           ●    Plug the product phone cord into a jack for another phone line, and try sending the fax again.

           ●    Try a different phone cord.

           ●    Send the fax at a later time.

           ●    If the error persists, contact HP. See www.hp.com/support/ljm425series or the support flyer that came
                in the product box.

 The No fax answer. message appears
           ●    Try to resend the fax.

           ●    Call the recipient to ensure that the fax machine is on and ready.

           ●    Check that you are dialing the correct fax number.

           ●    Unplug the product telephone cord from the wall, plug in a telephone, and try making a voice call.

           ●    Plug the product phone cord into a jack for another phone line.

           ●    Try a different phone cord.

           ●    Make sure that the phone cord from the wall telephone jack is plugged into the line      port.

           ●    Check the phone line by using the Run Fax Test option from the Service menu on the control panel.

                a.   From the Home screen on the product control panel, touch the Setup        button.

                b.   Open the Service menu.

                c.   Open the Fax Service menu.

                d.   Select the Run Fax Test item.

           ●    If the error persists, contact HP. See www.hp.com/support/ljm425series or the support flyer that came
                in the product box.




110 Chapter 6 Fax                                                                                                    ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2598 Filed 01/18/22 Page 474 of 715


  Document feeder paper jam
            ●     Verify that the paper meets product size requirements. The product does not support pages longer than
                  381 mm (15 in) for faxing.

            ●     Copy or print the original to letter, A4, or legal size paper, and then resend the fax.

  The Fax storage is full. message appears
            ●     Turn the product off then on.

            ●     Print stored faxes that have not been printed.

                  a.   Touch the Fax button, and then touch the Fax Menu button.

                  b.   Open the Receive Options menu.

                  c.   Select the Print Private Faxes item.

                  d.   Provide the password when the product prompts you.

            ●     Delete stored faxes from memory.

                  a.   From the Home screen on the product control panel, touch the Setup           button.

                  b.   Open the Service menu.

                  c.   Open the Fax Service menu.

                  d.   Select the Clear Saved Faxes item.

            ●     Divide the large fax job into smaller sections, and then fax them individually.

  Scanner error
            ●     Verify that the paper meets product size requirements. The product does not support pages longer than
                  381 mm (15 in) for faxing.

            ●     Copy or print the original onto letter, A4, or legal size paper and then resend the fax.

  The control panel displays a Ready message with no attempt to send the fax
            ●     Check the fax activity log for errors.

                  a.   Touch the Fax button, and then touch the Fax Menu button.

                  b.   Open the Fax Reports menu.

                  c.   Open the Fax Activity Log menu.

                  d.   Select the Print Log Now option.

            ●     If a phone is connected to the product, make sure that the phone is hung up.

            ●     Disconnect all other lines between the fax and the product.

            ●     Connect the product directly into the wall telephone jack and resend the fax.




  ENWW                                                                                                  Solve fax problems 111
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2599 Filed 01/18/22 Page 475 of 715


 The control panel displays the message "Storing page 1" and does not progress beyond that
 message
           ●    Delete stored faxes from memory.

                a.   From the Home screen on the product control panel, touch the Setup            button.

                b.   Open the Service menu.

                c.   Open the Fax Service menu.

                d.   Select the Clear Saved Faxes item.

 Faxes can be received, but not sent
           Send fax and nothing happens.

           1.   Check for a dial tone on the phone line by using the Start Fax button.

           2.   Turn the product off then on.

           3.   Use the control panel or the HP Fax Setup Wizard to configure the fax time, date, and fax header
                information.

                a.   From the Home screen on the product control panel, touch the Setup            button.

                b.   Open the Fax Setup menu.

                c.   Open the Basic Setup menu.

                d.   Open the Fax Header menu.

                e.   Enter the correct settings.

           4.   Verify that any extension phones on the line are hung up.

           5.   If using a DSL service, make sure that the phone line connection to the product includes a high-pass
                filter.

 Product is password protected
           If a network administrator has set a product password, then you must obtain the password in order to use
           the product fax features.

 Unable to use fax functions from the control panel
           ●    The product might be password protected. Use the HP Embedded Web Server, HP Toolbox software, or
                the control panel to set a password.

           ●    If you do not know the password for the product, contact your system administrator.

           ●    Verify with the system administrator that the fax functionality has not been disabled.

 Unable to use speed dials
           ●    Make sure that the fax number is valid.

           ●    If an outside line requires a prefix, turn on the Dial Prefix option or include the prefix in the speed dial
                number.



112 Chapter 6 Fax                                                                                                       ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2600 Filed 01/18/22 Page 476 of 715


               a.   From the Home screen on the product control panel, touch the Setup            button.

               b.   Open the Fax Setup menu.

               c.   Open the Basic Setup menu.

               d.   Open the Dial Prefix menu.

               e.   Select the On setting.

  Unable to use group dials
          ●    Make sure that the fax number is valid.

          ●    If an outside line requires a prefix, turn on the Dial Prefix option or include the prefix in the speed dial
               number.

               a.   From the Home screen on the product control panel, touch the Setup            button.

               b.   Open the Fax Setup menu.

               c.   Open the Basic Setup menu.

               d.   Open the Dial Prefix menu.

               e.   Select the On setting.

          ●    Set up all entries in the group with speed dial entries.

               a.   Open an unused speed dial entry.

               b.   Enter the fax number for the speed dial.

               c.   Touch the OK button to save the speed dial.

  Receive a recorded error message from the phone company when trying to send a fax
          ●    Make sure you dial the fax number correctly, and make sure that the phone service is not blocked. For
               example, some phone services might prevent long distance calling.

          ●    If an outside line requires a prefix, turn on the Dial Prefix option or include the prefix in the speed dial
               number.

               a.   From the Home screen on the product control panel, touch the Setup            button.

               b.   Open the Fax Setup menu.

               c.   Open the Basic Setup menu.

               d.   Open the Dial Prefix menu.

               e.   Select the On setting.

               NOTE: To send a fax without a prefix, when the Dial Prefix option is turned on, send the fax manually.

          ●    Send a fax to an international number

               a.   If a prefix is required, manually dial the telephone number with the prefix.

               b.   Enter the country/region code before dialing the phone number.


  ENWW                                                                                                Solve fax problems 113
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2601 Filed 01/18/22 Page 477 of 715


                c.   Wait for pauses as you hear the tones on the phone.

                d.   Send the fax manually from the control panel.

 Unable to send a fax when a phone is connected to the product
           ●    Make sure that the telephone is hung up.

           ●    Make sure that the telephone is not being used for a voice call when faxing.

           ●    Unplug the phone from the line, and then try sending the fax.

 Solve problems receiving faxes
           ●    The fax does not respond

           ●    An error message displays on the control panel

           ●    A fax is received but does not print

           ●    Sender receives a busy signal

           ●    No dial tone

           ●    Cannot send or receive a fax on a PBX line

 The fax does not respond

 The fax has a dedicated phone line
           ●    Set the Answer Mode option to the Automatic setting from the control panel.

                a.   From the Home screen on the product control panel, touch the Setup        button.

                b.   Open the Fax Setup menu.

                c.   Open the Basic Setup menu.

                d.   Open the Answer Mode menu.

                e.   Select the Automatic setting.

 An answering machine is connected to the product
           ●    Set the Answer Mode option to the TAM setting and plug the answering machine into the “telephone”
                port.

                a.   From the Home screen on the product control panel, touch the Setup        button.

                b.   Open the Fax Setup menu.

                c.   Open the Basic Setup menu.

                d.   Open the Answer Mode menu.

                e.   Select the TAM setting.




114 Chapter 6 Fax                                                                                            ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2602 Filed 01/18/22 Page 478 of 715


                  If the TAM setting is unavailable, set the Answer Mode option to the Automatic setting.

             ●    Set the Rings to Answer setting to at least one ring more than the number of rings for which the
                  answering machine is set.

                  a.    From the Home screen on the product control panel, touch the Setup      button.

                  b.    Open the Fax Setup menu.

                  c.    Open the Basic Setup menu.

                  d.    Open the Rings to Answer menu.

                  e.    Select the correct setting.

             ●    Plug the answering machine into the “telephone” port.

             ●    If the product has a telephone handset connected, set the Answer Mode option to the Fax/Tel setting to
                  route calls to the correct device. When detecting a voice call, the product generates a ring tone that
                  alerts you to pick up the telephone handset.

                  a.    From the Home screen on the product control panel, touch the Setup      button.

                  b.    Open the Fax Setup menu.

                  c.    Open the Basic Setup menu.

                  d.    Open the Answer Mode menu.

                  e.    Select the Fax/Tel setting.

  A telephone handset is connected to the product

             Set the Answer Mode option to the Automatic setting.

             1.   From the Home screen on the product control panel, touch the Setup       button.

             2.   Open the Fax Setup menu.

             3.   Open the Basic Setup menu.

             4.   Open the Answer Mode menu.

             5.   Select the Automatic setting.

  The Answer Mode setting is set to the Manual setting
             ●    Touch the Start Fax button on the product control panel.

  Voice mail is available on the fax line
             ●    Add a distinctive ring service to your telephone line and change the Distinctive Ring setting on the
                  product to match the ring pattern supplied by the telephone company. Contact your telephone company
                  for information.

                  a.    From the Home screen on the product control panel, touch the Setup      button.

                  b.    Open the Fax Setup menu.

                  c.    Open the Basic Setup menu.



  ENWW                                                                                               Solve fax problems 115
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2603 Filed 01/18/22 Page 479 of 715


                d.    Open the Distinctive Ring menu.

                e.    Select the correct setting.

           ●    Buy a dedicated line for faxing.

           ●    Set the Answer Mode option to the Manual setting.

                a.    From the Home screen on the product control panel, touch the Setup      button.

                b.    Open the Fax Setup menu.

                c.    Open the Basic Setup menu.

                d.    Open the Answer Mode menu.

                e.    Select the Manual setting.

                NOTE:    You must be present to receive faxes.

 The product is connected to a DSL phone service
           ●    Check the installation and features. A DSL modem requires a high-pass filter on the phone line
                connection to the product. Contact your DSL service provider for a filter or buy a filter.

           ●    Verify that the filter is plugged in.

           ●    Replace the existing filter to make sure that it is not defective.

 The product uses a fax over IP or VoIP phone service
           ●    Set the Fax Speed option to the Slow(V.29) or Medium(V.17) setting, or disable the Fast(V.34) setting.

                a.    From the Home screen on the product control panel, touch the Setup      button.

                b.    Open the Fax Setup menu.

                c.    Open the Advanced Setup menu.

                d.    Open the Fax Speed menu.

                e.    Select the correct setting.

           ●    Contact your service provider to make sure that fax is supported and for a recommended fax speed
                settings. Some companies might require an adapter.

 An error message displays on the control panel

 The No fax detected. message appears

           NOTE: This error does not always refer to a missed fax. If a voice call is made to a fax number by mistake
           and the caller hangs up, the No fax detected. message appears on the control panel.

           ●    Ask the sender to resend the fax.

           ●    Make sure that the telephone cord from the product is plugged into the wall telephone jack.

           ●    Try a different phone cord.




116 Chapter 6 Fax                                                                                                 ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2604 Filed 01/18/22 Page 480 of 715


           ●    Plug the product phone cord into a jack for another phone line.

           ●    Make sure the telephone line and phone wall jack are active by plugging in a telephone and checking for
                a dial tone.

           ●    Make sure that the telephone cord is plugged into the “line” port on the product.

           ●    Check the phone line by running a fax test from the control panel.

           ●    If the error persists, contact HP. See www.hp.com/support/ljm425series or the support flyer that came
                in the product box.

  The Communication error. message appears
           ●    Ask the sender to send the fax again or send at a later time when line conditions have improved.

           ●    Unplug the product telephone cord from the wall, plug in a telephone, and try making a call. Plug the
                product phone cord into a jack for another phone line.

           ●    Try a different phone cord.

           ●    Set the Fax Speed option to the Slow(V.29) or Medium(V.17) setting, or disable the Fast(V.34) setting.

                a.   From the Home screen on the product control panel, touch the Setup         button.

                b.   Open the Fax Setup menu.

                c.   Open the Advanced Setup menu.

                d.   Open the Fax Speed menu.

                e.   Select the correct setting.

           ●    Turn off the Error Correction feature to prevent automatic error correction.

                NOTE: Turning off the Error Correction feature can reduce image quality.

                a.   From the Home screen on the product control panel, touch the Setup         button.

                b.   Open the Service menu.

                c.   Open the Fax Service menu.

                d.   Open the Error Correction menu.

                e.   Select the Off setting.

           ●    Print the Fax Activity Log report from the control panel to determine if the error occurs with a specific
                fax number.

                a.   Touch the Fax button, and then touch the Fax Menu button.

                b.   Open the Fax Reports menu.

                c.   Open the Fax Activity Log menu.

                d.   Select the Print Log Now option.

           ●    If the error persists, contact HP. See www.hp.com/support/ljm425series or the support flyer that came
                in the product box.



  ENWW                                                                                              Solve fax problems 117
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2605 Filed 01/18/22 Page 481 of 715


 The Fax storage is full. message appears
           ●     Turn the product off then on.

           ●     Print all of the faxes, and then have the sender resend the fax.

           ●     Ask the sender to divide a large fax job into smaller sections, and then fax them individually.

           ●     Make sure that the resolution of the sending fax machine is not set to the Photo setting or the Superfine
                 setting.

                 a.   From the Home screen on the product control panel, touch the Setup         button.

                 b.   Open the Fax Setup menu.

                 c.   Open the Advanced Setup menu.

                 d.   Open the Fax Resolution menu.

                 e.   Select the correct setting.

           ●     Cancel all fax jobs or clear the faxes from memory.

 The Fax is busy. message appears
           ●     The product cannot receive a fax while attempting to send one. Cancel the fax send and try sending at a
                 later time.

           ●     Allow the product to try sending the fax again.

 A fax is received but does not print

 The Private Receive feature is on
           ●     When the Private Receive feature is activated, received faxes are stored in memory. A password is
                 required to print the stored faxes.

           ●     Enter the password to print the fax. If you do not know the password, contact the product
                 administrator.

           NOTE: Memory errors might occur if the faxes are not printed. The product will not answer if the memory is
           full.

 Sender receives a busy signal

 A handset is connected to the product
           ●     Make sure the phone is hung up.

           ●     Change the Answer Mode option to match the product setup.

                 a.   From the Home screen on the product control panel, touch the Setup         button.

                 b.   Open the Fax Setup menu.

                 c.   Open the Basic Setup menu.




118 Chapter 6 Fax                                                                                                  ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2606 Filed 01/18/22 Page 482 of 715


                  d.   Open the Answer Mode menu.

                  e.   Select the setting that matches the product setup.

                       Set the Answer Mode option to the Fax/Tel setting to automatically receive faxes. The Fax/Tel
                       setting automatically detects whether the incoming transmission is a fax or a voice call and routes
                       the call to the appropriate device.

  A phone line splitter is being used
             ●    If you are using a phone line splitter, remove the splitter and set up the phone as a downstream phone.

             ●    Make sure the phone is hung up.

             ●    Make sure the phone is not being used for a voice call when faxing.

  No dial tone
             ●    If using a phone line splitter, remove the phone line splitter and set up the phone as a downstream
                  phone.

  Cannot send or receive a fax on a PBX line
             ●    If you are using a PBX phone line, contact your PBX administrator to configure an analog fax line for
                  your product.

  Solve general fax problems
             ●    Faxes are sending slowly

             ●    Fax quality is poor

             ●    Fax cuts off or prints on two pages

  Faxes are sending slowly
             The product is experiencing poor phone line quality.

             ●    Retry sending the fax when the line conditions have improved.

             ●    Check with the phone service provider that the line supports fax.

             ●    Turn off the Error Correction setting.

                  a.   Open the Setup Menu menu.

                  b.   Open the Service menu.

                  c.   Open the Fax Service menu.

                  d.   Open the Error Correction menu.

                  e.   Select the Off setting.

                  NOTE: This can reduce image quality.

             ●    Use white paper for the original. Do not use colors such as gray, yellow, or pink.

             ●    Increase the Fax Speed setting.


  ENWW                                                                                                 Solve fax problems 119
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2607 Filed 01/18/22 Page 483 of 715


                a.    Open the Setup Menu menu.

                b.    Open the Fax Setup menu.

                c.    Open the Advanced Setup menu.

                d.     Open the Fax Speed menu.

                e.     Select the correct setting.

           ●    Divide large fax jobs into smaller sections, and then fax them individually.

           ●    Change the fax settings on the control panel to a lower resolution.

                a.     Open the Setup Menu menu.

                 b.    Open the Fax Setup menu.

                 c.    Open the Advanced Setup menu.

                 d.    Open the Fax Resolution menu.

                 e.    Select the correct setting.

 Fax quality is poor
           Fax is blurry or light.

           ●    Increase fax resolution when sending faxes. Resolution does not affect received faxes.

                a.    Open the Setup Menu menu.

                b.    Open the Fax Setup menu.

                c.    Open the Advanced Setup menu.

                d.     Open the Fax Resolution menu.

                e.     Select the correct setting.

                NOTE:     Increasing resolution slows transmission speed.

           ●    Turn on the Error Correction setting from the control panel.

                a.    Open the Setup Menu menu.

                b.    Open the Service menu.

                c.     Open the Fax Service menu.

                d.     Open the Error Correction menu.

                 e.    Select the On setting.

           ●     Check the toner cartridges and replace if necessary.

           ●     Ask the sender to darken the contrast setting on the sending fax machine, and then resend the fax.




120 Chapter 6 Fax                                                                                                ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2608 Filed 01/18/22 Page 484 of 715


  Fax cuts off or prints on two pages
           ●    Set the Default Paper Size setting. Faxes print on a single size of paper based on the Default Paper Size
                settings.

                a.    Open the Setup Menu menu.

                b.    Open the System Setup menu.

                c.    Open the Paper Setup menu.

                d.    Open the Default Paper Size menu.

                e.    Select the correct setting.

           ●    Set the paper type and size for the tray used for faxes.

           ●    Turn on the Fit to Page setting to print longer length faxes on letter or A4 size paper.

                a.    Open the Setup Menu menu.

                b.    Open the Fax Setup menu.

                c.    Open the Advanced Setup menu.

                d.    Open the Fit to Page menu.

                e.    Select the On setting.

           NOTE: If the Fit to Page setting is off and the Default Paper Size setting is set to letter, a legal size original
           prints on two pages.




  ENWW                                                                                                Solve fax problems 121
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2609 Filed 01/18/22 Page 485 of 715




122 Chapter 6 Fax                                                           ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2610 Filed 01/18/22 Page 486 of 715




  7       Manage and maintain




          ●   Use the HP Reconfiguration Utility to change the product connection

          ●   Set up HP Wireless Direct Printing

          ●   Use HP Web Services applications

          ●   Configure IP network settings

          ●   HP Device Toolbox (Windows)

          ●   HP Utility for Mac OS X

          ●   HP Web Jetadmin

          ●   Product security features

          ●   Economy settings

          ●   Print when a toner cartridge is at estimated end of life

          ●   Store and recycle supplies

          ●   Replacement instructions

          ●   Memory

          ●   Update the firmware




  ENWW                                                                              123
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2611 Filed 01/18/22 Page 487 of 715



 Use the HP Reconfiguration Utility to change the product
 connection
           If you are already using the product and you wish to change the way it is connected, use the
           HP Reconfiguration Utility to set up the connection. For example, you can reconfigure the product to use a
           different wireless address, to connect to a wired or wireless network, or change from a network connection
           to a USB connection. You can change the configuration without inserting the product CD. After you select the
           type of connection you wish to make, the program goes directly to the portion of the product setup
           procedure that needs to change.

           The HP Reconfiguration Utility is located in the HP programs group on your computer.




124 Chapter 7 Manage and maintain                                                                                ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2612 Filed 01/18/22 Page 488 of 715



  Set up HP Wireless Direct Printing
          NOTE: This feature is available with wireless models only.

          The HP Wireless Direct Printing feature lets you print from your wireless mobile device directly to an
          HP Wireless Direct-enabled product without requiring connection to an established network or the Internet.
          Use HP Wireless Direct to print wirelessly from the following devices:

          ●    iPhone, iPad, or iTouch using Apple AirPrint

          ●    Mobile devices that run Android, iOS, or Symbian using the HP ePrint Home & Biz application

          To set up HP Wireless Direct from the control panel, complete the following steps:

          1.   From the Home screen on the product control panel, touch the Setup      button.

          2.   Open the following menus:

               ●    Network Setup

               ●    Wireless Menu

               ●    Wireless Direct Settings

               ●    Wireless Direct On/Off

               NOTE: If the Wireless Direct Settings item does not appear on the control panel, you need to upload
               the current version of the product firmware. To get the current version, go to www.hp.com, enter the
               HP product number in the search box, select the specific product model, and then click the Software &
               Driver Downloads link.

          3.   Touch the On menu item. The product saves the setting and then returns the control panel to the
               Wireless Direct Settings menu.




  ENWW                                                                            Set up HP Wireless Direct Printing 125
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2613 Filed 01/18/22 Page 489 of 715



 Use HP Web Services applications
           1.   From the Home screen on the product control panel, touch the Web Services      button.

           2.   Touch the Enable Web Services button.

           After you download an application from the HP ePrintCenter Web site, it is available in the Apps menu on the
           product control panel. This process enables both HP Web Services and the Apps menu.




126 Chapter 7 Manage and maintain                                                                                ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2614 Filed 01/18/22 Page 490 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2615 Filed 01/18/22 Page 491 of 715


           4.   On the Device Information page, the default product name is in the Device Status field. You can change
                this name to uniquely identify this product.

                NOTE:   Completing the other fields on this page is optional.

           5.   Click the Apply button to save the changes.




128 Chapter 7 Manage and maintain                                                                              ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2616 Filed 01/18/22 Page 492 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2617 Filed 01/18/22 Page 493 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2618 Filed 01/18/22 Page 494 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2619 Filed 01/18/22 Page 495 of 715



 HP Utility for Mac OS X
           Use the HP Utility for Mac OS X to view or change product settings from your computer. This tool opens the
           HP Embedded Web Server for the product.

           You can use the HP Utility when the product is connected with a USB cable or is connected to a TCP/IP-based
           network.

 Open the HP Utility
           ▲    From the dock, click HP Utility.

                -or-

                From Applications, click Hewlett Packard, and then click HP Utility.

 HP Utility features
           Use the HP Utility software to perform the following tasks:

           ●    Obtain information about supplies status.

           ●    Obtain information about the product, such as the firmware version and the serial number.

           ●    Print a configuration page.

           ●    Configure the paper type and size for the tray.

           ●    Transfer files and fonts from the computer to the product.

           ●    Update the product firmware.

           ●    Change the Bonjour name for the product on the Bonjour network.

           ●    Display the color usage page.




132 Chapter 7 Manage and maintain                                                                                ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2620 Filed 01/18/22 Page 496 of 715



  HP Web Jetadmin
          HP Web Jetadmin is an award-winning, industry-leading tool for efficiently managing a wide variety of
          networked HP devices, including printers, multifunction products, and digital senders. This single solution
          allows you to remotely install, monitor, maintain, troubleshoot, and secure your printing and imaging
          environment — ultimately increasing business productivity by helping you save time, control costs, and
          protect your investment.

          HP Web Jetadmin updates are periodically made available to provide support for specific product features.
          Visit www.hp.com/go/webjetadmin and click the Self Help and Documentation link to learn more about
          updates.

          NOTE: Device plug-ins can be installed into HP Web Jetadmin to provide support for specific product
          features.

          NOTE: Browsers must be Java-enabled. Web Jetadmin is not supported for Mac OS X.




  ENWW                                                                                             HP Web Jetadmin 133
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2621 Filed 01/18/22 Page 497 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2622 Filed 01/18/22 Page 498 of 715



  Economy settings
  Print with EconoMode
          This product has an EconoMode option for printing drafts of documents. Using EconoMode can use less toner.
          However, using EconoMode can also reduce print quality.

          HP does not recommend the full-time use of EconoMode. If EconoMode is used full-time, the toner supply
          might outlast the mechanical parts in the toner cartridge. If print quality begins to degrade and is no longer
          acceptable, consider replacing the toner cartridge.

          NOTE: If this option is not available in your print driver, you can set it using the HP Embedded Web Server

          1.   From the software program, select the Print option.

          2.   Select the product, and then click the Properties or Preferences button.

          3.   Click the Paper/Quality tab.

          4.   Click the EconoMode check box.

  Set the sleep delay
          1.   From the Home screen on the product control panel, touch the Setup         button.

          2.   Open the following menus:

               ●     System Setup

               ●     Energy Settings

               ●     Sleep Delay

          3.   Select the time for the sleep delay.

               NOTE: The default value is 15 Minutes.


  Set the auto power down interval
          1.   From the Home screen on the product control panel, touch the Setup         button.

          2.   Open the following menus:

               ●     System Setup

               ●     Energy Settings

               ●     Auto Power Down

               ●     Sleep/Auto Off After




  ENWW                                                                                              Economy settings 135
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2623 Filed 01/18/22 Page 499 of 715


           3.   Select the time for the power-down delay.

                NOTE:   The default value is 30 Minutes.

           4.   The product automatically wakes from the auto power-down mode when it receives jobs or when you
                press a button on the control panel. You can change which events cause the product to wake. Open the
                following menus:

                ●    System Setup

                ●    Energy Settings

                ●    Auto Power Down

                ●    Wake Events

                To turn off a wake event, select the event and then select the No option.




136 Chapter 7 Manage and maintain                                                                              ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2624 Filed 01/18/22 Page 500 of 715



  Print when a toner cartridge is at estimated end of life
          Black Low: The product indicates when a toner cartridge level is low. Actual toner cartridge life remaining
          may vary. Consider having a replacement available to install when print quality is no longer acceptable. The
          toner cartridge does not need to be replaced now.

          Black Very Low: The product indicates when the toner cartridge level is very low. Actual toner cartridge life
          remaining may vary. Consider having a replacement available to install when print quality is no longer
          acceptable. The toner cartridge does not need to be replaced now unless the print quality is no longer
          acceptable.

          Once an HP toner cartridge has reached “very low”, HP’s Premium Protection Warranty on that toner
          cartridge has ended.

          You can change the way the product reacts when supplies reach the Very Low state. You do not have to re-
          establish these settings when you install a new toner cartridge.

  Enable or disable the At Very Low settings
          You can enable or disable the default settings at any time, and you do not have to re-enable them when you
          install a new toner cartridge.

          1.   From the Home screen on the product control panel, touch the Setup         button.

          2.   Open the following menus:

               ●     System Setup

               ●     Supply Settings

               ●     Black Cartridge

               ●     Very Low Setting

          3.   Select one of the following options:

               ●     Select the Continue option to set the product to alert you that the toner cartridge is very low, but
                     to continue printing.

               ●     Select the Stop option to set the product to stop printing (including printing faxes) until you
                     replace the toner cartridge.

               ●     Select the Prompt option to set the product to stop printing (including printing faxes) and prompt
                     you to replace the toner cartridge. You can acknowledge the prompt and continue printing. A
                     customer configurable option on this product is "Prompt to Remind Me in 100 pages, 200 pages,
                     300 pages, 400 pages, or never." This option is provided as a customer convenience and is not an
                     indication these pages will have acceptable print quality.

          When the product is set to the Stop option, there is some risk that faxes will not print after the new cartridge
          is installed if your product has received more faxes than the memory can hold while stopped.

          When the product is set to the Prompt option, there is some risk that faxes will not print after the new
          cartridge is installed if your product has received more faxes than the memory can hold while the product is
          waiting for the prompt to be acknowledged.

          Once an HP toner cartridge has reached Very Low, HP’s Premium Protection Warranty on that toner cartridge
          has ended. All print defects or cartridge failures incurred when an HP toner cartridge is used in Continue at




  ENWW                                                         Print when a toner cartridge is at estimated end of life 137
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2625 Filed 01/18/22 Page 501 of 715


           very low mode will not be considered to be defects in materials or workmanship in the toner cartridge under
           the HP Print Cartridge Warranty Statement.




138 Chapter 7 Manage and maintain                                                                                ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2626 Filed 01/18/22 Page 502 of 715



  Store and recycle supplies
  Recycle supplies
          To recycle a genuine HP toner cartridge, place the used cartridge in the box in which the new cartridge
          arrived. Use the enclosed return label to send the used supply to HP for recycling. For complete information,
          see the recycling guide that is included with each new HP supply item.

  Toner cartridge storage
          Do not remove the toner cartridge from its package until you are ready to use it.

          CAUTION: To prevent damage to the toner cartridge, do not expose it to light for more than a few minutes.




  ENWW                                                                                    Store and recycle supplies 139
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2627 Filed 01/18/22 Page 503 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2628 Filed 01/18/22 Page 504 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2629 Filed 01/18/22 Page 505 of 715



  Memory
           This product includes a memory panel that will accept the following third-party font and barcode memory
           modules. Hewlett-Packard does not sell these products.

           ●    BarDIMM Pro, Jetmobile

           ●    MicrDIMM Pro, Jetmobile

           ●    TypeHaus Fonts and Barcodes Solutions, TypeHaus, Inc.

           ●    Asian Fonts, JITCO, Ltd.

           ●    BarDIMM® Box, Jetmobile

           ●    BarSIMM 1.9, Jetmobile

           ●    EIO Hard-Disk for LaserJet Series, Oberon Service SRL

           ●    Ethernet to Token Ring Router (ETRR), Ringdale

           ●    EuroForm Barcode 100, EuroForm A/S

           CAUTION: Handling a memory module without wearing a grounded, antistatic device might damage the
           module. Touch any metal part of the product or other grounded metal before touching the memory module.




142 Chapter 7 Manage and maintain                                                                              ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2630 Filed 01/18/22 Page 506 of 715



  Update the firmware
          HP offers periodic upgrades to the product firmware. You can load the firmware updates manually, or you
          can set the product to automatically load firmware updates.

  Manually update the firmware
          1.   From the Home screen on the product control panel, touch the Setup     button.

          2.   Open the following menus:

               ●    Service

               ●    LaserJet Update

               ●    Check For Updates Now

          3.   Touch the Yes button to prompt the product to search for firmware updates. If the product detects an
               upgrade, it will begin the update process.

  Set the product to automatically update the firmware
          1.   From the Home screen on the product control panel, touch the Setup     button.

          2.   Open the following menus:

               ●    Service

               ●    LaserJet Update

               ●    Manage Updates

               ●    Prompt Before Install

          3.   Touch the Install Automatically option.




  ENWW                                                                                       Update the firmware 143
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2631 Filed 01/18/22 Page 507 of 715




144 Chapter 7 Manage and maintain                                           ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2632 Filed 01/18/22 Page 508 of 715




  8       Solve problems




          ●   Solve problems checklist

          ●   Restore the factory-set defaults

          ●   Control panel help system

          ●   Interpret control panel messages

          ●   Paper feeds incorrectly or becomes jammed

          ●   Clear jams

          ●   Improve print quality

          ●   Solve copy quality problems

          ●   Solve scan quality problems

          ●   Solve scan to email problems

          ●   Solve scan to network folder problems

          ●   Solve fax quality problems

          ●   The product does not print or it prints slowly

          ●   Solve walk-up USB printing problems

          ●   Solve direct connection problems

          ●   Solve wired network problems

          ●   Solve wireless network problems

          ●   Solve product software problems with Windows

          ●   Solve product software problems with Mac OS X

          ●   Remove software (Windows)

          ●   Remove software (Mac OS X)




  ENWW                                                                           145
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2633 Filed 01/18/22 Page 509 of 715



  Solve problems checklist
           Follow these steps when trying to solve a problem with the product.

           ●    Step 1: Make sure that the product is set up correctly

           ●    Step 2: Check the cabling or wireless connection

           ●    Step 3: Check the control panel for error messages

           ●    Step 4: Check the paper

           ●    Step 5: Check the software

           ●    Step 6: Test print functionality

           ●    Step 7: Test copy functionality

           ●    Step 8: Check the toner cartridge

           ●    Step 9: Try sending a print job from a computer

           ●    Step 10: Verify that the product is on the network

  Step 1: Make sure that the product is set up correctly
           1.   Press the power button to turn on the product or to deactivate the Auto Power Down mode.

           2.   Check the power-cable connections.

           3.   Make sure that the line voltage is correct for the product power configuration. (See the label on the back
                of the product for voltage requirements.) If you are using a power strip and its voltage is not within
                specifications, plug the product directly into the wall. If it is already plugged into the wall, try a different
                outlet.

           4.   If none of these measures restores power, contact HP Customer Care.

  Step 2: Check the cabling or wireless connection
           1.   Check the cable connection between the product and the computer. Make sure that the connection is
                secure.

           2.   Make sure that the cable itself is not faulty by using a different cable, if possible.

           3.   If the product is connected to a network, check the following items:

                ●    Check the light next to the network connection on the product. If the network is active, the light is
                     green.

                ●    Make sure that you are using a network cable and not a phone cord to connect to the network.

                ●    Make sure the network router, hub, or switch is turned on and that it is working correctly.

                ●    If your computer or the product is connected to a wireless network, low signal quality or
                     interference might be delaying print jobs.

           4.   If you are using a personal firewall system on the computer, it might be blocking communication with
                the product. Try temporarily disabling the firewall to see if it is the source of the problem.




146 Chapter 8 Solve problems                                                                                            ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2634 Filed 01/18/22 Page 510 of 715



  Step 3: Check the control panel for error messages
          The control panel should indicate ready status. If an error message appears, resolve the error.

  Step 4: Check the paper
          1.   Make sure that the paper that you are using meets specifications.

          2.   Make sure that the paper is loaded correctly in the input tray.

  Step 5: Check the software
          1.   Make sure that the product software is installed correctly.

          2.   Verify that you have installed the print driver for this product. Check the program to make sure that you
               are using the print driver for this product.

  Step 6: Test print functionality
          1.   Print a configuration page.

          2.   If the page does not print, verify that the input tray contains paper.

          3.   If the page jams in the product, clear the jam.

  Step 7: Test copy functionality
          1.   Place the configuration page onto the capture stage and make a copy.

          2.   If the print quality on the copied pages is not acceptable, clean the cover over the camera lens with a
               soft cloth or sponge that has been moistened with nonabrasive glass cleaner.

               CAUTION: Do not use abrasives, acetone, benzene, ammonia, ethyl alcohol, or carbon tetrachloride on
               any part of the product; these can damage the product. Do not place liquids directly on the capture
               stage. They might seep and damage the product.

  Step 8: Check the toner cartridge
          Print a supplies status page and check remaining life of the toner cartridge.

  Step 9: Try sending a print job from a computer
          1.   Try printing the job from another computer that has the product software installed.

          2.   Check the USB or network cable connection. Direct the product to the correct port, or reinstall the
               software, selecting the connection type that you are using.

          3.   If the print quality is unacceptable, verify that the print settings are correct for the media that you are
               using.

  Step 10: Verify that the product is on the network
          For networked products, open a Web browser, type the product IP address (from the previously printed
          configuration page) in the address box, and then press the Enter button to open the HP Embedded Web
          Server. If the HP EWS does not open, reinstall the product on the network.




  ENWW                                                                                        Solve problems checklist 147
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2635 Filed 01/18/22 Page 511 of 715



  Restore the factory-set defaults
           Restoring the factory-set defaults returns all of the product and network settings to the factory defaults. It
           will not reset the page count, tray size, or language. To restore the product to the factory-default settings,
           follow these steps.

           CAUTION: Restoring the factory-set defaults returns all of the settings to the factory defaults, and it also
           deletes any pages that are stored in the memory. The procedure then automatically restarts the product.

           1.   On the product control panel, touch the Setup      button.

           2.   Scroll to and touch the Service menu.

           3.   Scroll to and touch the Restore Defaults button, and then touch the OK button.

                The product automatically restarts.




148 Chapter 8 Solve problems                                                                                        ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2636 Filed 01/18/22 Page 512 of 715



  Control panel help system
          The product has a built-in Help system that explains how to use each screen. To open the Help system, touch
          the Help button in the upper-right corner of the screen.

          For some screens, the Help opens to a global menu where you can search for specific topics. You can browse
          through the menu structure by touching the buttons in the menu.

          Some Help screens include animations that guide you through procedures, such as clearing jams.

          For screens that contain settings for individual jobs, the Help opens to a topic that explains the options for
          that screen.

          If the product alerts you of an error or warning, touch the Help button to open a message that describes the
          problem. The message also contains instructions to help solve the problem.




  ENWW                                                                                      Control panel help system 149
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2637 Filed 01/18/22 Page 513 of 715



  Interpret control panel messages
  Control panel message types
           The control panel messages indicate the current product status or situations that might require action.

           Alert and warning messages appear temporarily and might require you to acknowledge the message by
           pressing the OK button to resume or by pressing the Cancel button to cancel the job. With certain
           warnings, the job might not complete or the print quality might be affected. If the alert or warning message is
           related to printing and the auto-continue feature is on, the product will attempt to resume the printing job
           after the warning has appeared for 10 seconds without acknowledgement.

           Critical error messages can indicate some kind of failure. Turning off and then turning on the power might fix
           the problem. If a critical error persists, the product might require service.

  Control panel messages
  49 Error, Turn off then on
           Description

           The product experienced an internal error.

           Recommended action

           Turn the product off, wait at least 30 seconds, and then turn the product on and wait for it to initialize.

           If you are using a surge protector, remove it. Plug the product directly into the wall socket. Turn the product
           power on.

           If the message persists, contact HP support.

  50.x Fuser Error
           Description

           The product has experienced an error with the fuser.

           Recommended action

           Turn the product power off, wait at least 30 seconds, and then turn the product power on and wait for it to
           initialize.

           Turn off the product, wait at least 25 minutes, and then turn on the product.

           If you are using a surge protector, remove it. Plug the product directly into the wall socket. Turn the product
           power on.

           If the message persists, contact HP support.

  51.XX Error
           Description

           The product has experienced an internal hardware error.




150 Chapter 8 Solve problems                                                                                             ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2638 Filed 01/18/22 Page 514 of 715


           Recommended action

           Turn the product power off, wait at least 30 seconds, and then turn the product power on and wait for it to
           initialize.

           If you are using a surge protector, remove it. Plug the product directly into the wall socket. Turn the product
           on.

           If the message persists, contact HP support.

  54.XX Error
           Description

           The product has experienced an error with one of the internal sensors.

           Recommended action

           Turn the product power off, wait at least 30 seconds, and then turn the product power on and wait for it to
           initialize.

           If you are using a surge protector, remove it. Plug the product directly into the wall socket. Turn the product
           power on.

           If the message persists, contact HP support.

  55.X Error
           Description

           The product has experienced an internal error.

           Recommended action

           Turn the product power off, wait at least 30 seconds, and then turn the product power on and wait for it to
           initialize.

           If you are using a surge protector, remove it. Plug the product directly into the wall socket. Turn the product
           power on.

           If the message persists, contact HP support.

  57 Fan Error, Turn off then on
           Description

           The product has experienced a problem with its internal fan.

           Recommended action

           Turn the product power off, wait at least 30 seconds, and then turn the product power on and wait for it to
           initialize.

           If you are using a surge protector, remove it. Plug the product directly into the wall socket. Turn the product
           power on.

           If the message persists, contact HP support.




  ENWW                                                                               Interpret control panel messages 151
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2639 Filed 01/18/22 Page 515 of 715


  59.X Error
           Description

           The product has experienced a problem with one of the motors.

           Recommended action

           Turn the product power off, wait at least 30 seconds, and then turn the product power on and wait for it to
           initialize.

           If you are using a surge protector, remove it. Plug the product directly into the wall socket. Turn the product
           power on.

           If the message persists, contact HP support.

  79 Error Turn off then on
           Description

           The product has experienced an internal firmware error.

           Recommended action

           Turn the product power off, wait at least 30 seconds, and then turn the product power on and wait for it to
           initialize.

           If you are using a surge protector, remove it. Plug the product directly into the wall socket. Turn the product
           power on.

           If the message persists, contact HP support.

  79 Service error
           Description

           An incompatible DIMM is installed.

           Recommended action

           1.   Turn the product power off.

           2.   Install a DIMM that the product supports.

           3.   Turn the product on.

           If the message persists, contact HP support.

  Black cartridge low
           Description

           The toner cartridge is nearing the end of its useful life.

           Recommended action

           Printing can continue, but consider having a replacement toner cartridge on hand.




152 Chapter 8 Solve problems                                                                                         ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2640 Filed 01/18/22 Page 516 of 715


  Black cartridge very low
             Description

             The toner cartridge is at the end of its useful life. A customer configurable option on this product is "Prompt
             to Remind Me in 100 pages, 200 pages, 300 pages, 400 pages, or never." This option is provided as a
             customer convenience and is not an indication these pages will have acceptable print quality.

             Recommended action

             To ensure optimal print quality, HP recommends replacing the toner cartridge at this point. You can continue
             printing until you notice a decrease in print quality. Actual cartridge life may vary.

             Once an HP toner cartridge has reached very low, HP's Premium Protection Warranty on that toner cartridge
             has ended. All print defects or cartridge failures incurred when an HP toner cartridge is used in continue at
             very low mode will not be considered to be defects in materials or workmanship in the toner cartridge under
             the HP Print Cartridge Warranty Statement.

  Cleaning
             Description

             The product periodically performs a cleaning procedure to maintain the best print quality.

             Recommended action

             Wait for the cleaning process to finish.

  Device error, press OK
             Description

             An internal error occurred.

             Recommended action

             Press the OK button to resume the job.

  Door open
             Description

             The product front door is open.

             Recommended action

             Close the door.

  Genuine HP supply installed
             Description

             A genuine HP toner cartridge was installed.

             Recommended action

             No action necessary.




  ENWW                                                                                  Interpret control panel messages 153
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2641 Filed 01/18/22 Page 517 of 715


  Incompatible black
           Description

           You have installed a toner cartridge that is intended for use in a different HP product model. The product
           might not function correctly with this toner cartridge installed.

           Recommended action

           Install the correct toner cartridge for this product.

  Install black cartridge
           Description

           The toner cartridge is either not installed or not correctly installed in the product.

           Recommended action

           Install the toner cartridge.

  Invalid driver Press [OK]
           Description

           You are using an incorrect print driver.

           Recommended action

           Select the correct print driver.

  Jam in Tray 1, Clear jam and then press OK
           Description

           The product has detected a jam.

           Recommended action

           Clear the jam from the tray, and then press OK.

           If the message persists, contact HP support.

  Load Tray 1 <TYPE> <SIZE>, Press OK to use available media
           Description

           The tray is not configured for the paper type and size that the print job is requesting.

           Recommended action

           Load the correct paper into Tray 1. Or press the OK button to use the paper currently in the tray.

  Load Tray 1, <PLAIN> <SIZE> / Cleaning mode, OK to start
           Description

           The product is ready to process the cleaning operation.




154 Chapter 8 Solve problems                                                                                       ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2642 Filed 01/18/22 Page 518 of 715


          Recommended action

          Load Tray 1 with plain paper in the size indicated, and then press the OK button.

  Load tray <X> Press [OK] for available media
          Description

          The tray is empty.

          Recommended action

          Load paper into the tray to continue printing. Press the OK button to select a different tray.

  Load tray <X> <TYPE> <SIZE>
          Description

          A tray is configured for the paper type and size that the print job is requesting, but that tray is empty.

          Recommended action

          Load the correct paper into the tray, or press the OK button to use paper in a different tray.

  Manual Duplex Load Tray 1, Press OK
          Description

          The first side of a manual duplex job has printed, and the page needs to be loaded to process the second side.

          Recommended action

          Load the page in the indicated tray with the side to be printed face up, and the top of the page away from you
          and then press the OK button.

  Manual feed <SIZE> <TYPE>, Press OK to use available media
          Description

          The product is set for manual feed mode.

          Recommended action

          Press the OK button to clear the message or load the correct paper into Tray 1.

  Memory is low. Press OK.
          Description

          The product memory is almost full.

          Recommended action

          Press the OK button to finish the job, or press the Cancel    button to cancel the job.

          Break the job into smaller jobs that contain fewer pages.




  ENWW                                                                                Interpret control panel messages 155
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2643 Filed 01/18/22 Page 519 of 715


  Misprint, Press OK
           Description

           Paper has been delayed as it moves through the product.

           Recommended action

           Press the OK button to clear the message.

           To avoid this problem, try the following solutions:

           1.   Adjust the paper guides in the tray. Make sure the front paper guide is pushing the paper against the
                back edge of the tray.

           2.   Use paper that meets HP specifications. Store paper unopened in its original packaging.

           3.   Use the product in an area that meets the environmental specifications for this product.

  Print failure, press OK. If error repeats, turn off then on.
           Description

           The product cannot process the page.

           Recommended action

           Press the OK button to continue printing the job, but output might be affected.

           If the error persists, turn the power off and then on. Resend the print job.

  Rear door open
           Description

           The product rear door is open.

           Recommended action

           Close the door.

  Remove shipping material from toner cartridge
           Description

           A toner cartridge shipping lock is installed.

           Recommended action

           Pull the orange tab to remove the shipping lock from the cartridge.

  Replace black cartridge
           Description

           The toner cartridge is at the end of its useful life, and the product is customer-configured to stop printing
           when it reaches the very low state.




156 Chapter 8 Solve problems                                                                                         ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2644 Filed 01/18/22 Page 520 of 715


           Recommended action

           To ensure optimal print quality, HP recommends replacing the toner cartridge at this point. You can continue
           printing until you notice a decrease in print quality. Actual cartridge life may vary. Once an HP toner cartridge
           has reached very low, HP's Premium Protection Warranty on that toner cartridge has ended. All print defects
           or cartridge failures incurred when an HP toner cartridge is used in Continue at Very Low mode will not be
           considered to be defects in materials or workmanship in the toner cartridge under the HP Print Cartridge
           Warranty Statement.

  Unexpected size in tray <X> Load <size> Press [OK]
           Description

           The product has detected paper in the tray that does not match the configuration for the tray.

           Recommended action

           Load the correct paper into the tray, or configure the tray for the size that you have loaded.

  Unsupported black cartridge Press [OK] to continue
           Description

           The product has detected an installed toner cartridge that was not made by HP.

           Recommended action

           Press the OK button to continue printing.

           If you believe you purchased an HP supply, go to www.hp.com/go/anticounterfeit. Service or repairs that are
           required as a result of using unsupported supplies are not covered under HP warranty.

  Used black cartridge is installed Press [OK] to continue
           Description

           You are using a toner cartridge that reached the default low threshold while it was installed in a product.

           Recommended action

           Prining can continue, but consider having a replacement toner cartridge on hand.




  ENWW                                                                                Interpret control panel messages 157
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2645 Filed 01/18/22 Page 521 of 715



  Paper feeds incorrectly or becomes jammed
  The product does not pick up paper
           If the product does not pick up paper from the tray, try these solutions.

           1.   Open the product and remove any jammed sheets of paper.

           2.   Load the tray with the correct size of paper for your job.

           3.   Make sure the paper guides in the tray are adjusted correctly for the size of paper. Adjust the guides so
                they are touching the paper stack without bending it.

           4.   Check the product control panel to see if the product is waiting for you to acknowledge a prompt to feed
                the paper manually. Load paper, and continue.

  The product picks up multiple sheets of paper
           If the product picks up multiple sheets of paper from the tray, try these solutions.

           1.   Remove the stack of paper from the tray and flex it, rotate it 180 degrees, and flip it over. Do not fan
                the paper. Return the stack of paper to the tray.

           2.   Use only paper that meets HP specifications for this product.

           3.   Use paper that is not wrinkled, folded, or damaged. If necessary, use paper from a different package.

           4.   Make sure the tray is not overfilled. If it is, remove the entire stack of paper from the tray, straighten
                the stack, and then return some of the paper to the tray.

           5.   Make sure the paper guides in the tray are adjusted correctly for the size of paper. Adjust the guides so
                they are touching the paper stack without bending it.

  Prevent paper jams
           To reduce the number of paper jams, try these solutions.

           1.   Use only paper that meets HP specifications for this product.

           2.   Use paper that is not wrinkled, folded, or damaged. If necessary, use paper from a different package.

           3.   Use paper that has not previously been printed or copied on.

           4.   Make sure the tray is not overfilled. If it is, remove the entire stack of paper from the tray, straighten
                the stack, and then return some of the paper to the tray.

           5.   Make sure the paper guides in the tray are adjusted correctly for the size of paper. Adjust the guides so
                they are touching the paper stack without bending it.

           6.   If you are printing on heavy, embossed, or perforated paper, use the manual feed feature and feed
                sheets one at a time.




158 Chapter 8 Solve problems                                                                                          ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2646 Filed 01/18/22 Page 522 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2647 Filed 01/18/22 Page 523 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2648 Filed 01/18/22 Page 524 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2649 Filed 01/18/22 Page 525 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2650 Filed 01/18/22 Page 526 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2651 Filed 01/18/22 Page 527 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2652 Filed 01/18/22 Page 528 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2653 Filed 01/18/22 Page 529 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2654 Filed 01/18/22 Page 530 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2655 Filed 01/18/22 Page 531 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2656 Filed 01/18/22 Page 532 of 715



  Improve print quality
  Check the paper type setting (Windows)
          Check the paper type setting if you are having any of the following problems:

          ●    Toner is smearing on the printed pages.

          ●    Repeated marks occur on the printed pages.

          ●    Printed pages are curled.

          ●    Toner flakes off the printed pages.

          ●    Printed pages have small unprinted areas.

          1.   From the software program, select the Print option.

          2.   Select the product, and then click the Properties or Preferences button.

          3.   Click the Paper/Quality tab.

          4.   From the Paper type drop-down list, click the More... option.

          5.   Expand the list of Type is: options.

          6.   Expand each category of paper types until you find the paper type that you are using.

          7.   Select the option for the type of paper you are using, and then click the OK button.

  Check the paper type setting (Mac OS X)
          Check the paper type setting if you are having any of the following problems:

          ●    Toner is smearing on the printed pages.

          ●    Repeated marks occur on the printed pages.

          ●    Printed pages are curled.

          ●    Toner flakes off the printed pages.

          ●    Printed pages have small unprinted areas.

          1.   On the File menu, click the Print option.

          2.   In the Printer menu, select this product.

          3.   In the Copies & Pages menu, click the Page Setup button.

          4.   Select a size from the Paper Size drop-down list, and then click the OK button.

          5.   Open the Finishing menu.

          6.   Select a type from the Media-type drop-down list.

          7.   Click the Print button.




  ENWW                                                                                           Improve print quality 169
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2657 Filed 01/18/22 Page 533 of 715



  Check toner cartridge status
  Print the supplies status page
             Information pages reside within the product memory. These pages help diagnose and solve problems with
             the product.

             NOTE: If the product language was not correctly set during installation, you can set the language manually
             so the information pages print in one of the supported languages. Change the language by using the System
             Setup menu on the control panel or the embedded Web server.

             1.    From the Home screen on the product control panel, touch the Setup        button.

             2.    Touch the Reports button.

             3.    Touch the Supplies Status button to print the report.

  Check the supplies status
             Check the supplies status page for the following information:

             ●     Estimated percentage of cartridge life remaining

             ●     Approximate pages remaining

             ●     Part numbers for HP toner cartridges

             ●     Number of pages printed

  Print a cleaning page
             1.    From the Home screen on the product control panel, touch the Setup        button.

             2.    Touch the Service menu.

             3.    Touch the Cleaning Page button.

             4.    Load plain letter or A4 paper when you are prompted.

             5.    Touch the OK button to begin the cleaning process.

                   The product prints the first side and then prompts you to remove the page from the output bin and
                   reload it in Tray 1, keeping the same orientation. Wait until the process is complete. Discard the page
                   that prints.

  Inspect the toner cartridge for damage
  1.   Remove the toner cartridge from the product, and verify that
       the sealing tape has been removed.




170 Chapter 8 Solve problems                                                                                          ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2658 Filed 01/18/22 Page 534 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2659 Filed 01/18/22 Page 535 of 715


           Always use a paper type and weight that this product supports. In addition, follow these guidelines when
           selecting paper:

           ●     Use paper that is of good quality and free of cuts, nicks, tears, spots, loose particles, dust, wrinkles,
                 voids, staples, and curled or bent edges.

           ●     Use paper that has not been previously printed on.

           ●     Use paper that is designed for use in laser printers. Do not use paper that is designed only for use in
                 inkjet printers.

           ●     Use paper that is not too rough. Using smoother paper generally results in better print quality.

  Check the product environment
           Verify that the product is operating within the environmental specifications listed in the product Warranty
           and Legal Guide.

  Check print job settings
  Check the EconoMode setting
           This product has an EconoMode option for printing drafts of documents. Using EconoMode can use less toner.
           However, using EconoMode can also reduce print quality. To improve print quality, verify that the EconoMode
           setting is deactivated.

           1.    From the software program, select the Print option.

           2.    Select the product, and then click the Properties or Preferences button.

           3.    Click the Paper/Quality tab.

           4.    Verify that the EconoMode check box is cleared. If there is a checkmark in the check box, click the check
                 box to clear it.

           HP does not recommend the full-time use of EconoMode. If EconoMode is used full-time, the toner supply
           might outlast the mechanical parts in the toner cartridge. If print quality begins to degrade and is no longer
           acceptable, consider replacing the toner cartridge.

  Use the print driver that best meets your printing needs
           You might need to use a different print driver if the printed page has unexpected lines in graphics, missing
           text, missing graphics, incorrect formatting, or substituted fonts.

            HP PCL 6 driver                       ●    Provided as the default driver. This driver is automatically installed unless you
                                                       select a different one.

                                                  ●    Recommended for all Windows environments

                                                  ●    Provides the overall best speed, print quality, and product-feature support for
                                                       most users

                                                  ●    Developed to align with the Windows Graphic Device Interface (GDI) for the best
                                                       speed in Windows environments

                                                  ●    Might not be fully compatible with third-party and custom software programs that
                                                       are based on PCL 5




172 Chapter 8 Solve problems                                                                                                         ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2660 Filed 01/18/22 Page 536 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2661 Filed 01/18/22 Page 537 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2662 Filed 01/18/22 Page 538 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2663 Filed 01/18/22 Page 539 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2664 Filed 01/18/22 Page 540 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2665 Filed 01/18/22 Page 541 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2666 Filed 01/18/22 Page 542 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2667 Filed 01/18/22 Page 543 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2668 Filed 01/18/22 Page 544 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2669 Filed 01/18/22 Page 545 of 715



  Solve scan to email problems
           If scan to email problems occur, try these solutions:

           ●    Make sure this feature has been set up. If this feature has not been set up, use the setup wizard in the
                HP Device Toolbox (Windows) or HP Utility for Mac OS X software to set it up.

           ●    Make sure the Scan to Email feature is enabled. If it has been disabled, enable the feature through the
                HP Device Toolbox (Windows) or HP Utility for Mac OS X software.

           ●    Make sure the product is connected to a computer or to a network.

  Cannot connect to the email server
           ●    Make sure the SMTP server name is correct. Check this setting with your system administrator or
                Internet Service Provider.

           ●    If the product cannot establish a secure connection to the SMTP server, try without the secure
                connection or try a different server or port. Check this setting with your system administrator or
                Internet Service Provider.

           ●    If the SMTP server requires authentication, make sure a valid user name and password are used.

           ●    If the SMTP server uses an authentication method that is not supported, try a different server. Check
                this setting with your system administrator or Internet Service Provider.

  The email failed
           ●    Verify that email addresses entered are correct.

           ●    If the size of the email was too large, send fewer pages or reduce the scan resolution.

  Unable to scan
           ●    If you are prompted for a PIN, enter the correct PIN for the outgoing profile.

           ●    Make sure at least one email address is selected in the To field.




182 Chapter 8 Solve problems                                                                                         ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2670 Filed 01/18/22 Page 546 of 715



  Solve scan to network folder problems
          If scan to network folder problems occur, try these solutions:

          ●    Make sure this feature has been set up. If this feature has not been set up, use the setup wizard in the
               HP Device Toolbox (Windows) or HP Utility for Mac OS X software to set it up.

          ●    Make sure the Scan to Network Folder feature is enabled. If it has been disabled, enable the feature
               through the HP Device Toolbox (Windows) or HP Utility for Mac OS X software.

          ●    Make sure the product is connected to a network.

  The scan failed
          ●    Make sure the network path is in the correct format (//host/share/path) and the folder exists.

          ●    Make sure the network directory is readable and writeable.

          ●    If you are using the default file names for scanned files, make sure there are no conflicting file names.
               Remove some of the previously scanned files.

          ●    Use the IP address instead of the host name. Make sure the product and host are connected to the same
               network.

          ●    If the network folder is password protected, make sure to enter the correct user name and password.

          ●    If a Disk full message displays, remove some files from the network folder.

          ●    Turn the product off, and then on. Scan again.




  ENWW                                                                        Solve scan to network folder problems 183
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2671 Filed 01/18/22 Page 547 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2672 Filed 01/18/22 Page 548 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2673 Filed 01/18/22 Page 549 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2674 Filed 01/18/22 Page 550 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2675 Filed 01/18/22 Page 551 of 715



  Perform a fax diagnostic test
           From the product control panel, you can run a diagnostic test that provides information about the product
           fax settings.

           1.   From the Home screen on the product control panel, touch the Setup       button.

           2.   Open the following menus

                ●    System Setup

                ●    Self Diagnostics

           3.   Touch the Run Fax Test button to start the test. The product prints a test page that shows test results.




188 Chapter 8 Solve problems                                                                                       ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2676 Filed 01/18/22 Page 552 of 715



  The product does not print or it prints slowly
  The product does not print
          If the product does not print at all, try the following solutions.

          1.   Make sure the product is turned on and that the control panel indicates it is ready.

               ●     If the control panel does not indicate the product is ready, turn the product off and then on again.

               ●     If the control panel indicates the product is ready, try sending the job again.

          2.   If the control panel indicates the product has an error, resolve the error and then try sending the job
               again.

          3.   Make sure the cables are all connected correctly. If the product is connected to a network, check the
               following items:

               ●     Check the light next to the network connection on the product. If the network is active, the light is
                     green.

               ●     Make sure that you are using a network cable and not a phone cord to connect to the network.

               ●     Make sure the network router, hub, or switch is turned on and that it is working correctly.

          4.   Install the HP software from the CD that came with the product. Using generic print drivers can cause
               delays clearing jobs from the print queue.

          5.   From the list of printers on your computer, right-click the name of this product, click Properties, and
               open the Ports tab.

               ●     If you are using a network cable to connect to the network, make sure the printer name listed on
                     the Ports tab matches the product name on the product configuration page.

               ●     If you are using a USB cable and are connecting to a wireless network, make sure the box is
                     checked next to Virtual printer port for USB.

          6.   If you are using a personal firewall system on the computer, it might be blocking communication with
               the product. Try temporarily disabling the firewall to see if it is the source of the problem.

          7.   If your computer or the product is connected to a wireless network, low signal quality or interference
               might be delaying print jobs.

  The product prints slowly
          If the product prints, but it seems slow, try the following solutions.

          1.   Make sure the computer meets the minimum specifications for this product. For a list of specifications,
               go to this Web site: www.hp.com/support/ljm425series.

          2.   When you configure the product to print on some paper types, such as heavy paper, the product prints
               more slowly so it can correctly fuse the toner to the paper. If the paper type setting is not correct for the
               type of paper you are using, change the setting to the correct paper type.

          3.   If your computer or the product is connected to a wireless network, low signal quality or interference
               might be delaying print jobs.




  ENWW                                                                     The product does not print or it prints slowly 189
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2677 Filed 01/18/22 Page 553 of 715



  Solve walk-up USB printing problems
           ●    The USB Flash Drive menu does not open when you insert the USB accessory

           ●    The file does not print from the USB storage accessory

           ●    The file that you want to print is not listed in the USB Flash Drive menu

  The USB Flash Drive menu does not open when you insert the USB accessory
           1.   You might be using a USB storage accessory or a file system that this product does not support. Save
                the files on a standard USB storage accessory that uses File Allocation Table (FAT) file systems. The
                product supports FAT12, FAT16, and FAT32 USB storage accessories.

           2.   If another menu is already open, close that menu and then reinsert the USB storage accessory.

           3.   The USB storage accessory might have multiple partitions. (Some USB storage accessory manufacturers
                install software on the accessory that creates partitions, similar to a CD.) Reformat the USB storage
                accessory to remove the partitions, or use a different USB storage accessory.

           4.   The USB storage accessory might require more power than the product can provide.

                a.   Remove the USB storage accessory.

                b.   Turn the product off and then on.

                c.   Use a USB storage accessory that has its own power supply or that requires less power.

           5.   The USB storage accessory might not be functioning correctly.

                a.   Remove the USB storage accessory.

                b.   Turn the product off and then on.

                c.   Try printing from another USB storage accessory.

  The file does not print from the USB storage accessory
           1.   Make sure paper is in the tray.

           2.   Check the control panel for messages. If paper is jammed in the product, clear the jam.

  The file that you want to print is not listed in the USB Flash Drive menu
           1.   You might be trying to print a file type that the USB printing feature does not support. The product
                supports .PDF and .JPEG file types.

           2.   You might have too many files in a single folder on the USB storage accessory. Reduce the number of
                files in the folder by moving them to subfolders.

           3.   You might be using a character set for the file name that the product does not support. In this case, the
                product replaces the file names with characters from a different character set. Rename the files using
                ASCII characters.




190 Chapter 8 Solve problems                                                                                       ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2678 Filed 01/18/22 Page 554 of 715



  Solve direct connection problems
          If you have connected the product directly to a computer, check the cable.

          ●    Verify that the cable is connected to the computer and to the product.

          ●    Verify that the cable is not longer than 5 m (16.4 ft). Try using a shorter cable.

          ●    Verify that the cable is working correctly by connecting it to another product. Replace the cable if
               necessary.




  ENWW                                                                               Solve direct connection problems 191
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2679 Filed 01/18/22 Page 555 of 715



  Solve wired network problems
           Check the following items to verify that the product is communicating with the network. Before beginning,
           print a configuration page from the product control panel and locate the product IP address that is listed on
           this page.

           ●    Poor physical connection

           ●    The computer is using the incorrect IP address for the product

           ●    The computer is unable to communicate with the product

           ●    The product is using incorrect link and duplex settings for the network

           ●    New software programs might be causing compatibility problems

           ●    The computer or workstation might be set up incorrectly

           ●    The product is disabled, or other network settings are incorrect

           NOTE: HP does not support peer-to-peer networking, as the feature is a function of Microsoft operating
           systems and not of the HP print drivers. For more information, go to Microsoft at www.microsoft.com.

  Poor physical connection
           1.   Verify that the product is attached to the correct network port using a cable of the correct length.

           2.   Verify that cable connections are secure.

           3.   Look at the network port connection on the back of the product, and verify that the amber activity light
                and the green link-status light are lit.

           4.   If the problem continues, try a different cable or port on the hub.

  The computer is using the incorrect IP address for the product
           1.   Open the printer properties and click the Ports tab. Verify that the current IP address for the product is
                selected. The product IP address is listed on the product configuration page.

           2.   If you installed the product using the HP standard TCP/IP port, select the box labeled Always print to
                this printer, even if its IP address changes.

           3.   If you installed the product using a Microsoft standard TCP/IP port, use the hostname instead of the IP
                address.

           4.   If the IP address is correct, delete the product and then add it again.

  The computer is unable to communicate with the product
           1.   Test network communication by pinging the network.




192 Chapter 8 Solve problems                                                                                           ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2680 Filed 01/18/22 Page 556 of 715


               a.   Open a command-line prompt on your computer. For Windows, click Start, click Run, and then
                    type cmd.

               b.   Type ping followed by the IP address for your product.

                    For Mac OS X, open the Network Utility, and then supply the IP address in the correct field in the
                    Ping pane.

               c.   If the window displays round-trip times, the network is working.

          2.   If the ping command failed, verify that the network hubs are on, and then verify that the network
               settings, the product, and the computer are all configured for the same network.

  The product is using incorrect link and duplex settings for the network
          Hewlett-Packard recommends leaving this setting in automatic mode (the default setting). If you change
          these settings, you must also change them for your network.

  New software programs might be causing compatibility problems
          Verify that any new software programs are correctly installed and that they use the correct print driver.

  The computer or workstation might be set up incorrectly
          1.   Check the network drivers, print drivers, and the network redirection.

          2.   Verify that the operating system is configured correctly.

  The product is disabled, or other network settings are incorrect
          1.   Review the configuration page to check the status of the network protocol. Enable it if necessary.

          2.   Reconfigure the network settings if necessary.




  ENWW                                                                                  Solve wired network problems 193
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2681 Filed 01/18/22 Page 557 of 715



  Solve wireless network problems
  Wireless connectivity checklist
           ●    Verify that the network cable is not connected.

           ●    Verify that the product and the wireless router are turned on and have power. Also make sure that the
                wireless radio in the product is turned on.

           ●    Verify that the service set identifier (SSID) is correct. Print a configuration page to determine the SSID. If
                you are not sure the SSID is correct, run the wireless setup again.

           ●    With secured networks, verify that the security information is correct. If the security information is
                incorrect, run the wireless setup again.

           ●    If the wireless network is working correctly, try accessing other computers on the wireless network. If
                the network has Internet access, try connecting to the Internet over a wireless connection.

           ●    Verify that the encryption method (AES or TKIP) is the same for the product as it is for the wireless
                access point (on networks using WPA security).

           ●    Verify that the product is within the range of the wireless network. For most networks, the product
                must be within 30 m (100 ft) of the wireless access point (wireless router).

           ●    Verify that obstacles do not block the wireless signal. Remove any large metal objects between the
                access point and the product. Make sure poles, walls, or support columns containing metal or concrete
                do not separate the product and wireless access point.

           ●    Verify that the product is located away from electronic devices that might interfere with the wireless
                signal. Many devices can interfere with the wireless signal including motors, cordless phones, security
                system cameras, other wireless networks, and some Bluetooth devices.

           ●    Verify that the print driver is installed on the computer.

           ●    Verify that you have selected the correct printer port.

           ●    Verify that the computer and product connect to the same wireless network.

           ●    For Mac OS X, verify that the wireless router supports Bonjour.

  The product does not print after the wireless configuration completes
           1.   Make sure that the product is turned on and in the ready state.

           2.   Turn off any third-party firewalls on your computer.

           3.   Make sure that the wireless network is working correctly.

           4.   Make sure that your computer is working correctly. If necessary, restart the computer.

           5.   Verify that you can open the product HP Embedded Web Server from a computer on the network.




194 Chapter 8 Solve problems                                                                                           ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2682 Filed 01/18/22 Page 558 of 715



  The product does not print, and the computer has a third-party firewall installed
          1.   Update the firewall with the most recent update available from the manufacturer.

          2.   If programs request firewall access when you install the product or try to print, make sure you allow the
               programs to run.

          3.   Temporarily turn off the firewall, and then install the wireless product on the computer. Enable the
               firewall when you have completed the wireless installation.

  The wireless connection does not work after moving the wireless router or product
          1.   Make sure that the router or product connects to the same network that your computer connects to.

          2.   Print a configuration page.

          3.   Compare the service set identifier (SSID) on the configuration page to the SSID in the printer
               configuration for the computer.

          4.   If the numbers are not the same, the devices are not connecting to the same network. Reconfigure the
               wireless setup for the product.

  Cannot connect more computers to the wireless product
          1.   Make sure that the other computers are within the wireless range and that no obstacles block the
               signal. For most networks, the wireless range is within 30 m (100 ft) of the wireless access point.

          2.   Make sure that the product is turned on and in the ready state.

          3.   Turn off any third-party firewalls on your computer.

          4.   Make sure that the wireless network is working correctly.

          5.   Make sure that your computer is working correctly. If necessary, restart the computer.

  The wireless product loses communication when connected to a VPN
          ●    Typically, you cannot connect to a VPN and other networks at the same time.

  The network does not appear in the wireless networks list
          ●    Make sure the wireless router is turned on and has power.

          ●    The network might be hidden. However, you can still connect to a hidden network.

  The wireless network is not functioning
          1.   Make sure that the network cable is not connected.

          2.   To verify if the network has lost communication, try connecting other devices to the network.

          3.   Test network communication by pinging the network.




  ENWW                                                                              Solve wireless network problems 195
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2683 Filed 01/18/22 Page 559 of 715


                a.   Open a command-line prompt on your computer. For Windows, click Start, click Run, and then
                     type cmd.

                b.   Type ping followed by the router IP address.

                     For Mac OS X, open the Network Utility, and then supply the IP address in the correct field in the
                     Ping pane.

                c.   If the window displays round-trip times, the network is working.

           4.   Make sure that the router or product connects to the same network that the computer connects to.

                a.   Print a configuration page.

                b.   Compare the service set identifier (SSID) on the configuration report to the SSID in the printer
                     configuration for the computer.

                c.   If the numbers are not the same, the devices are not connecting to the same network. Reconfigure
                     the wireless setup for the product.

  Perform a wireless network diagnostic test
           From the product control panel, you can run a diagnostic test that provides information about the wireless
           network settings.

           1.   From the Home screen on the product control panel, touch the Setup          button.

           2.   Open the following menus

                ●    System Setup

                ●    Self Diagnostics

           3.   Touch the Run Network Test button to start the test. The product prints a test page that shows test
                results.

  Reduce interference on a wireless network
           The following tips can reduce interference in a wireless network:

           ●    Keep the wireless devices away from large metal objects, such as filing cabinets, and other
                electromagnetic devices, such as microwaves and cordless telephones. These objects can disrupt radio
                signals.

           ●    Keep the wireless devices away from large masonry structures and other building structures. These
                objects can absorb radio waves and lower signal strength.

           ●    Position the wireless router in a central location in line of sight with the wireless products on the
                network.




196 Chapter 8 Solve problems                                                                                            ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2684 Filed 01/18/22 Page 560 of 715



  Solve product software problems with Windows
  A print driver for the product is not visible in the Printer folder
          1.   Reinstall the product software.

               NOTE: Close any applications that are running. To close an application that has an icon in the system
               tray, right-click the icon, and select Close or Disable.

          2.   Try plugging the USB cable into a different USB port on the computer.

  An error message was displayed during the software installation
          1.   Reinstall the product software.

               NOTE: Close any applications that are running. To close an application that has an icon in the system
               tray, right-click the icon, and select Close or Disable.

          2.   Check the amount of free space on the drive where you are installing the product software. If necessary,
               free up as much space as you can, and reinstall the product software.

          3.   If necessary, run the Disk Defragmenter, and reinstall the product software.

  The product is in Ready mode, but nothing prints
          1.   Print a configuration page, and verify the product functionality.

          2.   Verify that all of the cables are correctly seated and within specifications. This includes the USB and
               power cables. Try a new cable.

          3.   Verify the IP address on the configuration page matches the IP address for the software port. Use one of
               the following procedures:

               Windows XP, Windows Server 2003, Windows Server 2008, and Windows Vista

               a.   Click Start.

               b.   Click Settings.

               c.   Click Printers and Faxes (using the default Start menu view) or click Printers (using the Classic
                    Start menu view).

               d.   Right-click the product driver icon, and then select Properties.

               e.   Click the Ports tab, and then click Configure Port.

               f.   Verify the IP address, and then click OK or Cancel.

               g.   If the IP addresses are not the same, delete the driver, and reinstall the driver using the correct IP
                    address.

               Windows 7
               a.   Click Start.

               b.   Click Devices and Printers.

               c.   Right-click the product driver icon, and then select Printer properties.


  ENWW                                                               Solve product software problems with Windows 197
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2685 Filed 01/18/22 Page 561 of 715


                d.   Click the Ports tab, and then click Configure Port.

                e.   Verify the IP address, and then click OK or Cancel.

                f.   If the IP addresses are not the same, delete the driver, and reinstall the driver using the correct IP
                     address.




198 Chapter 8 Solve problems                                                                                         ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2686 Filed 01/18/22 Page 562 of 715



  Solve product software problems with Mac OS X
          ●    The print driver is not listed in the Print & Fax or Print & Scan list

          ●    The product name does not appear in the product list in the Print & Fax or Print & Scan list

          ●    The print driver does not automatically set up the selected product in the Print & Fax or Print & Scan list

          ●    A print job was not sent to the product that you wanted

          ●    When connected with a USB cable, the product does not appear in the Print & Fax or Print & Scan list
               after the driver is selected.

          ●    You are using a generic print driver when using a USB connection

  The print driver is not listed in the Print & Fax or Print & Scan list
          1.   Make sure that the product .GZ file is in the following hard-drive folder: Library/Printers/PPDs/
               Contents/Resources. If necessary, reinstall the software.

          2.   If the GZ file is in the folder, the PPD file might be corrupt. Delete the file and then reinstall the
               software.

  The product name does not appear in the product list in the Print & Fax or Print &
  Scan list
          1.   Make sure that the cables are connected correctly and the product is on.

          2.   Print a configuration page to check the product name. Verify that the name on the configuration page
               matches the product name in the Print & Fax (Print & Scan in Mac OS X v10.7) list.

          3.   Use the + button to add the product to the Print & Fax (Print & Scan in Mac OS X v10.7) list.

          4.   Replace the USB or network cable with a high-quality cable.

  The print driver does not automatically set up the selected product in the Print &
  Fax or Print & Scan list
          1.   Make sure that the cables are connected correctly and the product is on.

          2.   Make sure that the product .GZ file is in the following hard-drive folder: Library/Printers/PPDs/
               Contents/Resources. If necessary, reinstall the software.

          3.   If the GZ file is in the folder, the PPD file might be corrupt. Delete the file and then reinstall the
               software.

          4.   Use the + button to add the product to the Print & Fax (Print & Scan in Mac OS X v10.7) list.

          5.   Replace the USB or network cable with a high-quality cable.

  A print job was not sent to the product that you wanted
          1.   Open the print queue and restart the print job.

          2.   Another product with the same or similar name might have received your print job. Print a configuration
               page to check the product name. Verify that the name on the configuration page matches the product
               name in the Print & Fax (Print & Scan in Mac OS X v10.7) list.


  ENWW                                                                  Solve product software problems with Mac OS X 199
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2687 Filed 01/18/22 Page 563 of 715



  When connected with a USB cable, the product does not appear in the Print & Fax or
  Print & Scan list after the driver is selected.
  Software troubleshooting

           1.   Make sure that your Mac operating system is Mac OS X 10.5 or later.

           2.   Use the + button to add the product to the Print & Fax (Print & Scan in Mac OS X v10.7) list.

  Hardware troubleshooting
           1.   Make sure that the product is turned on.

           2.   Make sure that the USB cable is connected correctly.

           3.   Make sure that you are using the appropriate Hi-Speed USB cable.

           4.   Make sure that you do not have too many USB devices drawing power from the chain. Disconnect all of
                the devices from the chain, and then connect the cable directly to the USB port on the computer.

           5.   Check to see if more than two non-powered USB hubs are connected in a row on the chain. Disconnect
                all of the devices from the chain, and then connect the cable directly to the USB port on the computer.

                NOTE:    The iMac keyboard is a non-powered USB hub.


  You are using a generic print driver when using a USB connection
           If you connected the USB cable before you installed the software, you might be using a generic print driver
           instead of the driver for this product.

           1.   Delete the generic print driver.

           2.   Reinstall the software from the product CD. Do not connect the USB cable until the software installation
                program prompts you.

           3.   If multiple printers are installed, make sure that you have selected the correct printer in the Format For
                drop-down menu in the Print dialog box.




200 Chapter 8 Solve problems                                                                                       ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2688 Filed 01/18/22 Page 564 of 715



  Remove software (Windows)
  Windows XP
           1.   Click Start, and then click Programs.

           2.   Click HP, and then click the product name.

           3.   Click Uninstall, and then follow the onscreen instructions to remove the software.

  Windows Vista and Windows 7
           1.   Click Start, and then click All Programs.

           2.   Click HP, and then click the product name.

           3.   Click Uninstall, and then follow the onscreen instructions to remove the software.




  ENWW                                                                                 Remove software (Windows) 201
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2689 Filed 01/18/22 Page 565 of 715



  Remove software (Mac OS X)
           You must have administrator rights to remove the software.

           1.   Disconnect the product from the computer.

           2.   Open Applications.

           3.   Select Hewlett Packard.

           4.   Select HP Uninstaller.

           5.   Select the product from the list of devices, and then click the Uninstall button.

           6.   After the software is uninstalled, restart the computer and empty the Trash.




202 Chapter 8 Solve problems                                                                        ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2690 Filed 01/18/22 Page 566 of 715




  9       Supplies and accessories




          ●   Order parts, accessories, and supplies

          ●   HP policy on non-HP supplies

          ●   HP anticounterfeit Web site




  ENWW                                                                           203
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2691 Filed 01/18/22 Page 567 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2692 Filed 01/18/22 Page 568 of 715




  Index




  A                                    cartridges                          custom-size copies 57
  accessories                              non-HP 204
     ordering 203, 204                     recycling 139                   D
  AirPrint 48                              storage 139                     darkness, contrast settings
  answer mode, setting 84              checklist                               copy 60
  answering machines, connecting           fax troubleshooting 100             fax 82
     fax settings 85                   cleaning                            default copy settings
  anticounterfeit supplies 204             glass 174, 178, 184                 changing 63
  applications                             paper path 170                      restoring to factory settings 64
     downloading 126                   collating copies 55                 default gateway, setting 127
  Apps menu 126                        configuration page 6                defaults, restoring 148
  archival-quality printing 46         contrast settings                   delaying fax sending 95
  autoreduction settings, fax 86           copy 60                         deleting faxes from memory 89
                                           fax 82                          dial tone detection settings 80
  B                                    control panel                       dialing
  billing codes, fax                       buttons and lights 4                from a telephone 95
       using 82                            help 149                            pauses, inserting 80
  bin, output                              Home screen 4                       prefixes, inserting 80
       locating 2                          locating 2                          redialing automatically,
  bins, output                             menu map, printing 6                  settings 81
       jams, clearing 166                  message types 150                   tone or pulse settings 81
  blocking faxes 84                        messages, troubleshooting 150   distinctive-ring settings 86
  booklets                                 Reports menu 6                  document feeder
       printing (Mac) 42               copying                                 jams 160
       printing (Windows) 36               collation 55                    door release, locating 2
  busy signals, redialing options 81       contrast, adjusting 60          dots per inch (dpi)
                                           double-sided 56                     fax 82
  C                                        draft mode 61                   dpi (dots per inch)
  camera, locating 2                       enlarging 57                        fax 82
  canceling                                light/dark settings 60          draft mode, copying 61
     faxes 89                              multiple copies 53              drivers
     print job (Mac) 45                    multiple-page originals 54          changing settings (Mac) 23
     print job (Windows) 43                paper size and type 62              changing settings (Windows) 21
  capture stage, locating 2                quality, adjusting 59               presets (Mac) 39
  cartridge                                reducing 57                         settings (Mac) 39
     part numbers 204                      restore default settings 64         usage page 6
     replacing 140                         set new default settings 63     DSL
     supplies status page 6                single copies 52                    faxing 90
                                       counterfeit supplies 204



  ENWW                                                                                                Index 205
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2693 Filed 01/18/22 Page 569 of 715


 duplex printing (double-sided)            printing 97                       deleting 78
    manual settings (Windows) 28           printing private faxes 99         editing 78
 duplex settings, changing 129             private receive 88
                                           receiving when you hear fax    H
 E                                           tones 99                     help, control panel 149
 EconoMode setting 135                     redial settings 81             Home screen, control panel 4
 economy settings 135                      reports, printing all 102      HP Device Toolbox, using 130
 electronic faxes                          reprinting faxes 87            HP Embedded Web Server
    sending 93                             reprinting from memory 98         changing network settings 127
 email, scanning to                        resolution 82                     changing password 134
    resolution settings 178                ring patterns 86                  changing product name 127
 Embedded Web Server                       rings-to-answer 85                opening 127, 134
    changing network settings 127          security, private receive 88   HP ePrint, using 47
    changing password 134                  sending from a telephone 95    HP fraud Web site 204
    changing product name 127              sending from software 93       HP Reconfiguration Utility
    opening 127, 134                       solve general problems 119        network installation 124
 enlarging documents                       speed dials 92                 HP Scan software (Mac) 67
    copying 57                             stamp-received 87              HP Scan software (Windows) 66
 error messages, control panel 150         unable to receive 114          HP Utility for Mac
 error messages, fax 104, 108, 114         unable to send 108                Bonjour 132
 error report, fax                         using DSL, PBX, or ISDN 90        features 132
    printing 103                           using VoIP 90                     opening 132
 error-correction setting, fax 103         V.34 setting 103               HP Utility, Mac 132
 errors                                    volume settings 87             HP Web Jetadmin 133
    software 197                       fax date, setup                    HP Web Services
 extension phones                          use control panel 75              applications 126
    receiving faxes from 74                use HP Fax Setup Wizard 75        enabling 126
    sending faxes from 95              fax header, setup                  HP Web Services, enabling 47
                                           use control panel 75
 F                                         use HP Fax Setup Wizard 75     I
 factory-set defaults, restoring 148   fax time, setup                    identification cards
 fax                                       use control panel 75               copying 58
     answer mode 84                        use HP Fax Setup Wizard 75     input tray
     autoreduction 86                  fax troubleshooting                    loading 13
     billing codes 82                      checklist 100                      locating 2
     blocking 84                       faxing                             interface ports
     canceling 89                          from a computer (Mac) 93           locating 3
     confirming number 95                  from a computer (Windows) 93   IPv4 address 127
     contrast setting 82               Fit to Page setting, fax 86        ISDN
     delaying sending 95               fonts                                  faxing 90
     deleting from memory 89               lists, printing 6
     detect-dial-tone settings 80      forwarding faxes 84                J
     dial prefixes 80                  fraud Web site 204                 jams
     dialing, tone or pulse 81         front cover, locating 2               document feeder, clearing 160
     error report, printing 103                                              locating 159
     error-correction 103              G                                     output bin, clearing 166
     extension phone receiving 74      gateway, setting default 127          preventing 158
     forwarding 84                     glass, cleaning 174, 178, 184         tracking number of 6
     pauses, inserting 80              group-dial entries                 Jetadmin, HP Web 133
     polling 88                           creating 78



206 Index                                                                                            ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2694 Filed 01/18/22 Page 570 of 715


  L                                  networks                            paper sizes
  landscape orientation                 configuration page 6                 copy settings 62
      changing (Mac) 41                 default gateway 127                  selecting (Mac) 45
      changing (Windows) 32             installing the product 124           selecting (Windows) 43
  lightness                             IPv4 address 127                     selecting custom sizes (Mac) 45
      copy contrast 60                  settings report 6                    selecting custom sizes
      fax contrast 82                   subnet mask 127                        (Windows) 43
  link speed settings 129            non-HP supplies 204                 paper types
  loading paper                      number of copies, changing 53           copy settings 62
      input tray 13                                                          selecting (Mac) 41
  lock                               O                                       selecting (Windows) 33
      product 134                    online help, control panel 149      paper, covers
  logs, fax                          optional Tray 3                         printing (Mac) 41
      error 103                          part numbers 204                    printing (Windows) 34
      printing all 102               ordering                            part numbers
                                         supplies and accessories 204        optional Tray 3 204
  M                                  ordering supplies                       toner cartridge 204
  Mac                                    Web sites 203                       USB cable 204
     driver settings 23, 39          orientation                         pauses, inserting 80
     HP Utility 132                      changing (Mac) 41               PBX
     problems, troubleshooting 199       changing (Windows) 32               faxing 90
     scanning from TWAIN-compliant   output bin                          PCL font list 6
       software 72                       locating 2                      phone book, fax
  managing network 127               outside lines                           adding entries 92
  media                                  dial prefixes 80                    deleting all entries 76
     pages per sheet 40                  pauses, inserting 80            phones
  memory                                                                     receiving faxes from 74, 99
     deleting faxes 89               P                                   phones, downstream
     reprinting faxes 98             page count 6                            sending faxes from 95
  menus, control panel               page orientation                    polling faxes 88
     map, printing 6                    changing (Mac) 41                portrait orientation
  messages, control panel 150           changing (Windows) 32                changing (Mac) 41
  Microsoft Word, faxing from 94     page sizes                              changing (Windows) 32
  model number, locating 3              scaling documents to fit (Mac)   ports
  multiple pages per sheet 40             41                                 locating 3
     printing (Windows) 30              scaling documents to fit         power-down delay
  multiple-page originals                 (Windows) 35                       setting 135
     copying 54                      pages per sheet 40                  prefixes, dial 80
                                        selecting (Windows) 30           presets (Mac) 39
  N                                  paper                               print drivers
  n-up printing 40                      fax autoreduction settings 86        choosing 172
     selecting (Windows) 30             jams 158                         print drivers (Mac)
  network                               ordering 204                         changing settings 23
     password, changing 134             pages per sheet 40                   settings 39
     password, setting 134              selecting 171                    print job
     product name, changing 127         supported sizes 10                   canceling (Mac) 45
     settings, changing 127             supported types 12                   canceling (Windows) 43
     settings, viewing 127           paper jams. See jams                print quality
  network port                       paper pickup problems                   improving 169
     locating 3                         solving 158



  ENWW                                                                                              Index 207
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2695 Filed 01/18/22 Page 571 of 715


 printer driver (Windows)               PS Font List 6                         drivers 21
     supported 20                       Service Page 6                         drivers (Mac) 23
 printer drivers (Mac)                  Supplies Status 6                      factory-set defaults, restoring
     settings 39                        Usage Page 6                             148
 printer drivers (Windows)          Reports menu 6                             network report 6
     changing settings 21           reports, fax                           setup
 printing                               error 103                              scan to email and network
     from USB storage accessories       printing all 102                         folder 69
       49                           reprinting faxes 87, 98                shortcuts (Windows)
     product reports 6              resize documents                           creating 25
     settings (Mac) 39                  copying 57                             using 24
 printing on both sides                 Mac 41                             size, copy
     manual settings (Windows) 28       Windows 35                             reducing or enlarging 57
 private receive 88                 resolution                             sizes, media
 problem-solving                        fax 82                                 Fit to Page setting, faxing 86
     no response 189                restoring factory-set defaults   148   sleep delay
     slow response 189              ring patterns 86                           disabling 135
 protocol settings, fax 103         ring tones                                 enabling 135
 PS font list 6                         distinctive 86                     small documents
 pulse-dialing 81                   rings-to-answer setting 85                 copying 58
                                                                           software
 R                                  S                                          HP Utility for Mac 132
 rear door                          scale documents                            HP Web Jetadmin 133
    locating 3                         Mac 41                                  problems 197
 receiving faxes                       Windows 35                              scanning from TWAIN or WIA 72
    answer mode, setting 84         scaling documents                          sending faxes 93
    autoreduction settings 86          copying 57                              uninstalling for Mac 202
    blocking 84                     scanner                                    uninstalling for Windows 201
    error report, printing 103         glass cleaning 174, 178, 184        solve
    from extension phone 74         scanning                                   fax problems 108
    polling 88                         from HP Scan software (Mac) 67      solve problems
    reprinting 98                      from HP Scan software                   fax 119
    reprinting faxes 87                  (Windows) 66                      solving
    ring patterns, settings 86         to email, setup 69                      walk-up USB printing problems
    rings-to-answer settings 85        to network folder, setup 69               190
    stamp-received setting 87          TWAIN-compliant software 72         special paper for covers
    when you hear fax tones 99         WIA-compliant software 72               printing (Mac) 41
 recycling supplies 139             sending faxes                              printing (Windows) 34
 redialing                             billing codes 82                    speed dials
    automatically, settings 81         canceling 89                            programming 92
 reducing documents                    confirmation 95                     speed-dial entries
    copying 57                         delaying 95                             creating 77
 replacing toner cartridge 140         error report, printing 103              deleting 78
 reports                               forwarding 84                           editing 77
    Configuration Report 6             from downstream telephone 95        status
    Demo Page 6                        from software 93                        Home screen, control panel 4
    Menu Structure 6                serial number, locating 3                  HP Utility, Mac 132
    Network Summary 6               service page 6                             supplies, printing report 6
    PCL Font List 6                 settings                               storing
    PCL6 Font List 6                   driver presets (Mac) 39                 toner cartridges 139



208 Index                                                                                               ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2696 Filed 01/18/22 Page 572 of 715


  subnet mask 127                              receive fax 114                  wireless network
  supplies                                     send fax 108                        troubleshooting 194
     counterfeit 204                           USB connection 191               wireless network interference 196
     low threshold settings 137                walk-up USB printing problems    Word, faxing from 94
     non-HP 204                                  190
     ordering 203, 204                         Windows problems 197
     part numbers 204                          wired network 192
     recycling 139                             wireless network 194
     replacing toner cartridge 140         TWAIN-compliant software, scanning
     status, viewing with HP Utility for     from 72
       Mac 132                             two-sided printing
     using when low 137                        manual settings (Windows) 28
  supplies status page 6
                                           U
  T                                        unblocking fax numbers 84
  TCP/IP                                   uninstalling Mac software 202
      manually configuring IPv4            uninstalling Windows software 201
        parameters 127                     usage page 6
  telephones                               USB cable, part number 204
      receiving faxes from 74, 99          USB connection
  telephones, downstream                      troubleshooting 191
      sending faxes from 95                USB port
  tone-dialing 81                             locating 3
  toner cartridge                          USB storage accessories
      checking for damage 170                 printing from 49
      low threshold settings 137
      part numbers 204                     V
      replacing 140                        V.34 setting 103
      supplies status page 6               VoIP
      using when low 137                      faxing 90
  toner cartridges                         volume, adjusting 87
      door release, locating 2
      non-HP 204                           W
      recycling 139                        walk-up USB printing 49
      storage 139                          watermarks
  Tray 1                                      printing (Mac) 45
      jams, clearing 161                      printing (Windows) 44
  trays                                    Web Services
      jams, clearing 163, 165                 applications 126
      supported paper sizes 10                enabling 126
      supported paper types 12             Web sites
  troubleshooting                             fraud reports 204
      checklist 146                           ordering supplies 203
      control panel messages 150           WIA-compliant software, scanning
      fax error-correction setting 103      from 72
      faxes 100                            Windows
      jams 158                                driver settings 21
      Mac problems 199                        faxing from 93
      network problems 192                    scanning from TWAIN or WIA
      paper feed problems 158                   software 72



  ENWW                                                                                                    Index 209
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2697 Filed 01/18/22 Page 573 of 715




210 Index                                                                   ENWW
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2698 Filed 01/18/22 Page 574 of 715
  Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2699 Filed 01/18/22 Page 575 of 715
© 2014 Hewlett Packard Development Company, L.P.

www.hp.com




  *CF286-91027*
  *CF286-91027*
  CF286-91027
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2700 Filed 01/18/22 Page 576 of 715




                              Appendix D1
                                         Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2701 Filed 01/18/22 Page 577 of 715
Attorneys Eyes Only Pursuant to Protective Order




                                                                                                                         Exhibit A
                                                   Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2702 Filed 01/18/22 Page 578 of 715
Attorneys Eyes Only Pursuant to Protective Order




                                                                                                                                   Exhibit A
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2703 Filed 01/18/22 Page 579 of 715




                              Appendix D2
                                                   Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2704 Filed 01/18/22 Page 580 of 715



                                                        55
Attorneys Eyes Only Pursuant to Protective Order




                                                                                                                                   Exhibit B
                                                   Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2705 Filed 01/18/22 Page 581 of 715
Attorneys Eyes Only Pursuant to Protective Order




                                                                                                                                   Exhibit B
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2706 Filed 01/18/22 Page 582 of 715




                      Howard Declaration Ex. 1(A)
                                 (PLACEHOLDER)

               UNREDACTED NATIVE VERSION OF DOCUMENT
     TO BE FILED SEPARATELY UNDER SEAL PURSUANT TO LR 5.3(b)(3)(B)(iii)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2707 Filed 01/18/22 Page 583 of 715




                      Howard Declaration Ex. 1(B)
                                 (PLACEHOLDER)

               UNREDACTED NATIVE VERSION OF DOCUMENT
     TO BE FILED SEPARATELY UNDER SEAL PURSUANT TO LR 5.3(b)(3)(B)(iii)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2708 Filed 01/18/22 Page 584 of 715




                        Howard Declaration Ex. 2
        (Supplemental Rebuttal) Expert Report Dated December 21, 2021


                      REDACTED VERSION OF DOCUMENT
            TO BE FILED UNDER SEAL PURSUANT TO LR 5.3(b)(3)(B)(iii)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2709 Filed 01/18/22 Page 585 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2710 Filed 01/18/22 Page 586 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2711 Filed 01/18/22 Page 587 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2712 Filed 01/18/22 Page 588 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2713 Filed 01/18/22 Page 589 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2714 Filed 01/18/22 Page 590 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2715 Filed 01/18/22 Page 591 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2716 Filed 01/18/22 Page 592 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2717 Filed 01/18/22 Page 593 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2718 Filed 01/18/22 Page 594 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2719 Filed 01/18/22 Page 595 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2720 Filed 01/18/22 Page 596 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2721 Filed 01/18/22 Page 597 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2722 Filed 01/18/22 Page 598 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2723 Filed 01/18/22 Page 599 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2724 Filed 01/18/22 Page 600 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2725 Filed 01/18/22 Page 601 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2726 Filed 01/18/22 Page 602 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2727 Filed 01/18/22 Page 603 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2728 Filed 01/18/22 Page 604 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2729 Filed 01/18/22 Page 605 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2730 Filed 01/18/22 Page 606 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2731 Filed 01/18/22 Page 607 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2732 Filed 01/18/22 Page 608 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2733 Filed 01/18/22 Page 609 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2734 Filed 01/18/22 Page 610 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2735 Filed 01/18/22 Page 611 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2736 Filed 01/18/22 Page 612 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2737 Filed 01/18/22 Page 613 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2738 Filed 01/18/22 Page 614 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2739 Filed 01/18/22 Page 615 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2740 Filed 01/18/22 Page 616 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2741 Filed 01/18/22 Page 617 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2742 Filed 01/18/22 Page 618 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2743 Filed 01/18/22 Page 619 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2744 Filed 01/18/22 Page 620 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2745 Filed 01/18/22 Page 621 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2746 Filed 01/18/22 Page 622 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2747 Filed 01/18/22 Page 623 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2748 Filed 01/18/22 Page 624 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2749 Filed 01/18/22 Page 625 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2750 Filed 01/18/22 Page 626 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2751 Filed 01/18/22 Page 627 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2752 Filed 01/18/22 Page 628 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2753 Filed 01/18/22 Page 629 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2754 Filed 01/18/22 Page 630 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2755 Filed 01/18/22 Page 631 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2756 Filed 01/18/22 Page 632 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2757 Filed 01/18/22 Page 633 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2758 Filed 01/18/22 Page 634 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2759 Filed 01/18/22 Page 635 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2760 Filed 01/18/22 Page 636 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2761 Filed 01/18/22 Page 637 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2762 Filed 01/18/22 Page 638 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2763 Filed 01/18/22 Page 639 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2764 Filed 01/18/22 Page 640 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2765 Filed 01/18/22 Page 641 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2766 Filed 01/18/22 Page 642 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2767 Filed 01/18/22 Page 643 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2768 Filed 01/18/22 Page 644 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2769 Filed 01/18/22 Page 645 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2770 Filed 01/18/22 Page 646 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2771 Filed 01/18/22 Page 647 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2772 Filed 01/18/22 Page 648 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2773 Filed 01/18/22 Page 649 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2774 Filed 01/18/22 Page 650 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2775 Filed 01/18/22 Page 651 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2776 Filed 01/18/22 Page 652 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2777 Filed 01/18/22 Page 653 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2778 Filed 01/18/22 Page 654 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2779 Filed 01/18/22 Page 655 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2780 Filed 01/18/22 Page 656 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2781 Filed 01/18/22 Page 657 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2782 Filed 01/18/22 Page 658 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2783 Filed 01/18/22 Page 659 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2784 Filed 01/18/22 Page 660 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2785 Filed 01/18/22 Page 661 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2786 Filed 01/18/22 Page 662 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2787 Filed 01/18/22 Page 663 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2788 Filed 01/18/22 Page 664 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2789 Filed 01/18/22 Page 665 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2790 Filed 01/18/22 Page 666 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2791 Filed 01/18/22 Page 667 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2792 Filed 01/18/22 Page 668 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2793 Filed 01/18/22 Page 669 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2794 Filed 01/18/22 Page 670 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2795 Filed 01/18/22 Page 671 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2796 Filed 01/18/22 Page 672 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2797 Filed 01/18/22 Page 673 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2798 Filed 01/18/22 Page 674 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2799 Filed 01/18/22 Page 675 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2800 Filed 01/18/22 Page 676 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2801 Filed 01/18/22 Page 677 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2802 Filed 01/18/22 Page 678 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2803 Filed 01/18/22 Page 679 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2804 Filed 01/18/22 Page 680 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2805 Filed 01/18/22 Page 681 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2806 Filed 01/18/22 Page 682 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2807 Filed 01/18/22 Page 683 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2808 Filed 01/18/22 Page 684 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2809 Filed 01/18/22 Page 685 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2810 Filed 01/18/22 Page 686 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2811 Filed 01/18/22 Page 687 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2812 Filed 01/18/22 Page 688 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2813 Filed 01/18/22 Page 689 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2814 Filed 01/18/22 Page 690 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2815 Filed 01/18/22 Page 691 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2816 Filed 01/18/22 Page 692 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2817 Filed 01/18/22 Page 693 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2818 Filed 01/18/22 Page 694 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2819 Filed 01/18/22 Page 695 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2820 Filed 01/18/22 Page 696 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2821 Filed 01/18/22 Page 697 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2822 Filed 01/18/22 Page 698 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2823 Filed 01/18/22 Page 699 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2824 Filed 01/18/22 Page 700 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2825 Filed 01/18/22 Page 701 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2826 Filed 01/18/22 Page 702 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2827 Filed 01/18/22 Page 703 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2828 Filed 01/18/22 Page 704 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2829 Filed 01/18/22 Page 705 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2830 Filed 01/18/22 Page 706 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2831 Filed 01/18/22 Page 707 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2832 Filed 01/18/22 Page 708 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2833 Filed 01/18/22 Page 709 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2834 Filed 01/18/22 Page 710 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2835 Filed 01/18/22 Page 711 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2836 Filed 01/18/22 Page 712 of 715
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2837 Filed 01/18/22 Page 713 of 715




                      Howard Declaration Ex. 2(A)
                                 (PLACEHOLDER)

               UNREDACTED NATIVE VERSION OF DOCUMENT
     TO BE FILED SEPARATELY UNDER SEAL PURSUANT TO LR 5.3(b)(3)(B)(iii)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2838 Filed 01/18/22 Page 714 of 715




                      Howard Declaration Ex. 2(B)
                                 (PLACEHOLDER)

               UNREDACTED NATIVE VERSION OF DOCUMENT
     TO BE FILED SEPARATELY UNDER SEAL PURSUANT TO LR 5.3(b)(3)(B)(iii)
Case 2:16-cv-13777-DPH-RSW ECF No. 113-1, PageID.2839 Filed 01/18/22 Page 715 of 715




                      Howard Declaration Ex. 2(C)
                                 (PLACEHOLDER)

               UNREDACTED NATIVE VERSION OF DOCUMENT
     TO BE FILED SEPARATELY UNDER SEAL PURSUANT TO LR 5.3(b)(3)(B)(iii)
